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                 IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF CONNECTICUT

THE STATE OF CONNECTICUT;
THE STATE OF ALABAMA;
THE STATE OF ALASKA;                       MDL 2724
THE TERRITORY OF AMERICAN                  16-MD-2724
  SAMOA;
THE STATE OF ARIZONA;
THE STATE OF ARKANSAS;                     HON. CYNTHIA M. RUFE
THE STATE OF COLORADO;
THE STATE OF DELAWARE;
THE DISTRICT OF COLUMBIA;                  Civil Action No. 19-CV-2407-CMR
THE STATE OF FLORIDA;
THE STATE OF GEORGIA;
THE TERRITORY OF GUAM;                     October 31, 2019
THE STATE OF HAWAII;
THE STATE OF IDAHO;
THE STATE OF ILLINOIS;                     AMENDED COMPLAINT
THE STATE OF INDIANA;
THE STATE OF IOWA;
THE STATE OF KANSAS;
THE COMMONWEALTH OF KENTUCKY;
THE STATE OF LOUISIANA;
THE STATE OF MAINE;
THE STATE OF MARYLAND;
THE COMMONWEALTH OF
  MASSACHUSETTS;
THE STATE OF MICHIGAN;
THE STATE OF MINNESOTA;
THE STATE OF MISSISSIPPI;
THE STATE OF MISSOURI;
THE STATE OF MONTANA;
THE STATE OF NEBRASKA;
THE STATE OF NEVADA;
THE STATE OF NEW HAMPSHIRE;
THE STATE OF NEW JERSEY;
THE STATE OF NEW MEXICO;
THE STATE OF NEW YORK;
THE STATE OF NORTH CAROLINA;
THE STATE OF NORTH DAKOTA;
THE COMMONWEALTH OF THE NORTHERN
  MARIANA ISLANDS;
THE STATE OF OHIO;
THE STATE OF OKLAHOMA;
THE STATE OF OREGON;
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THE COMMONWEALTH OF
  PENNSYLVANIA;
THE COMMONWEALTH OF PUERTO RICO;
THE STATE OF RHODE ISLAND;
THE STATE OF SOUTH CAROLINA;
THE STATE OF SOUTH DAKOTA;
THE STATE OF TENNESSEE;
THE STATE OF UTAH;
THE STATE OF VERMONT;
THE COMMONWEALTH OF VIRGINIA;
THE STATE OF WASHINGTON;
THE STATE OF WEST VIRGINIA;
THE STATE OF WISCONSIN;
THE STATE OF WYOMING;

    v.

TEVA PHARMACEUTICALS USA, INC.;
ACTAVIS HOLDCO US, INC.;
ACTAVIS PHARMA, INC.;
AMNEAL PHARMACEUTICALS, INC.;
AMNEAL PHARMACEUTICALS LLC;
APOTEX CORP.;
ARA APRAHAMIAN;
AUROBINDO PHARMA U.S.A., INC.;
DAVID BERTHOLD;
BRECKENRIDGE PHARMACEUTICAL, INC.;
JAMES (JIM) BROWN;
MAUREEN CAVANAUGH;
TRACY SULLIVAN DIVALERIO;
DR. REDDY'S LABORATORIES, INC.;
MARC FALKIN;
GLENMARK PHARMACEUTICALS, INC., USA;
JAMES (JIM) GRAUSO;
KEVIN GREEN;
GREENSTONE LLC;
ROBIN HATOSY;
ARMANDO KELLUM;
LANNETT COMPANY, INC.;
LUPIN PHARMACEUTICALS, INC.;
MYLAN PHARMACEUTICALS INC.;
JILL NAILOR;
JAMES (JIM) NESTA;
PAR PHARMACEUTICAL COMPANIES, INC.;
NISHA PATEL;
PFIZER, INC.;
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KONSTANTIN OSTAFICIUK;
DAVID REKENTHALER;
RICHARD (RICK) ROGERSON;
SANDOZ, INC.;
TARO PHARMACEUTICALS USA, INC.
UPSHER-SMITH LABORATORIES, LLC;
WOCKHARDT USA LLC;
ZYDUS PHARMACEUTICALS (USA), INC.
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      People of the same trade seldom meet together, even for merriment and diversion, but the
      conversation ends in a conspiracy against the public, or in some contrivance to raise prices.

                          -    Adam Smith, The Wealth of Nations, 1776

        Teva said in a statement it would continue to defend itself and that while it does "review
       prices in the context of market conditions, availability and cost of production," it does not
       "discuss individual pricing rationale/strategies." It denied that it engaged in anything that
                                 would lead to criminal or civil liability.

          "Overall, we establish prices to enable patient access, maintain our commitment to
       innovative and generic medicines and fulfill obligations to our shareholders," Teva said.
       "Teva delivers high-quality medicines to patients around the world, and is committed to
      complying with all applicable competition laws and regulations in doing so. Teva fosters a
        culture of compliance with these laws and regulations, and is dedicated to conducting
      business with integrity and fairness. Litigation surrounding U.S. generic pricing of several
         companies, including Teva, continues to be the subject of innacurate media stories."


                    -    Statements by Teva reported in Law360, January 18, 2019

                                    AMENDED COMPLAINT 1

       The States of Connecticut, Alabama, Alaska, Arizona, Arkansas, Colorado, Delaware,

Florida, Georgia, Hawaii, Idaho, Illinois, Indiana, Iowa, Kansas, Louisiana, Maine, Maryland,

Michigan, Minnesota, Mississippi, Missouri, Montana, Nebraska, Nevada, New Hampshire, New

Jersey, New Mexico, New York, North Carolina, North Dakota, Ohio, Oklahoma, Oregon,

Rhode Island, South Carolina, South Dakota, Tennessee, Utah, Vermont, Washington, West

Virginia, Wisconsin, Wyoming, the Commonwealths of Kentucky, Massachusetts, the Northern

Mariana Islands, Pennsylvania, Puerto Rico, and Virginia, the Territories of American Samoa

and Guam, and the District of Columbia (the "Plaintiff States"), by and through their Attorneys

General, bring this civil law enforcement action against Teva Pharmaceuticals USA, Inc.

("Teva"), Actavis Holdco US, Inc., Actavis Pharma, Inc., Amneal Pharmaceuticals, Inc., Amneal

Pharmaceuticals LLC, Apotex Corp., Ara Aprahamian, Aurobindo Pharma U.S.A., Inc., David


1
 The Plaintiff States are filing this Amended Complaint as of right under Fed. R. Civ. P.
15(a)(1).

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Berthold, Breckenridge Pharmaceutical, Inc., James (Jim) Brown, Maureen Cavanaugh, Tracy

Sullivan DiValerio, Dr. Reddy's Laboratories, Inc., Marc Falkin, Glenmark Pharmaceuticals,

Inc., USA, James (Jim) Grauso, Kevin Green, Greenstone LLC, Robin Hatosy, Armando

Kellum, Lannett Company, Inc., Lupin Pharmaceuticals, Inc., Mylan Pharmaceuticals Inc., Jill

Nailor, James (Jim) Nesta, Konstantin Ostaficiuk, Par Pharmaceutical Companies, Inc., Nisha

Patel, Pfizer, Inc., David Rekenthaler, Richard (Rick) Rogerson, Sandoz, Inc., Taro

Pharmaceuticals USA, Inc., Upsher-Smith Laboratories, LLC, Wockhardt USA LLC, and Zydus

Pharmaceuticals (USA), Inc. (collectively, the "Defendants") and allege as follows:

I.     SUMMARY OF THE CASE

       1.      For many years, the generic pharmaceutical industry has operated pursuant to an

understanding among generic manufacturers not to compete with each other and to instead settle

for what these competitors refer to as "fair share." This understanding has permeated every

segment of the industry, and the purpose of the agreement was to avoid competition among

generic manufacturers that would normally result in significant price erosion and great savings to

the ultimate consumer. Rather than enter a particular generic drug market by competing on price

in order to gain market share, competitors in the generic drug industry would systematically and

routinely communicate with one another directly, divvy up customers to create an artificial

equilibrium in the market, and then maintain anticompetitively high prices. This "fair share"

understanding was not the result of independent decision making by individual companies to

avoid competing with one another. Rather, it was a direct result of specific discussion,

negotiation and collusion among industry participants over the course of many years.

       2.      By 2012, Teva and other co-conspirators decided to take this understanding to the

next level. Apparently unsatisfied with the status quo of "fair share" and the mere avoidance of

price erosion, Teva and its co-conspirators embarked on one of the most egregious and damaging

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price-fixing conspiracies in the history of the United States. Teva and its competitors sought to

leverage the collusive nature of the industry to not only maintain their "fair share" of each

generic drug market, but also to significantly raise prices on as many drugs as possible. In order

to accomplish that objective, Teva selected a core group of competitors with which it already had

very profitable collusive relationships – Teva referred to them as "High Quality" competitors –

and targeted drugs where they overlapped. Teva had understandings with its highest quality

competitors to lead and follow each other’s price increases, and did so with great frequency and

success, resulting in many billions of dollars of harm to the national economy over a period of

several years.

       3.        At the zenith of this collusive activity involving Teva, during a 19-month period

beginning in July 2013 and continuing through January 2015, Teva significantly raised prices on

approximately 112 different generic drugs. Of those 112 different drugs, Teva colluded with its

"High Quality" competitors on at least 86 of them (the others were largely in markets where

Teva was exclusive). The size of the price increases varied, but a number of them were well

over 1,000%.

       4.        In July 2014, the State of Connecticut initiated a non-public investigation into

suspicious price increases for certain generic pharmaceuticals. Over time, the investigation

expanded and Connecticut was joined in its efforts by forty-eight (48) additional states and U.S.

territories. The allegations in this Amended Complaint are based on, and supported by,

information and evidence gleaned directly from the investigation, including: (1) the review of

many thousands of documents produced by dozens of companies and individuals throughout the

generic pharmaceutical industry, (2) an industry-wide phone call database consisting of more

than 11 million phone call records from hundreds of individuals at various levels of the



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Defendant companies and other generic manufacturers, and (3) information provided by several

as-of-yet unidentified cooperating witnesses who were directly involved in the conduct alleged

herein.

          5.   As a result of the information and evidence developed through that investigation,

which is still ongoing, the Plaintiff States allege that Defendant Teva consistently and

systematically, over a period of several years, along with the other Defendants named herein and

other unnamed co-conspirators, engaged in contracts, combinations and conspiracies that had the

effect of unreasonably restraining trade, artificially inflating and maintaining prices and reducing

competition in the generic pharmaceutical industry throughout the United States, including but

not limited to, the markets for well more than one-hundred (100) different generic drugs, many

of which are identified herein. This conduct has resulted in many billions of dollars of

overcharges to the Plaintiff States and others, and has had a significant negative impact on our

national health and economy.

          6.   Plaintiff States also allege that Defendants participated in an overarching

conspiracy, the effect of which was to minimize if not thwart competition across the generic drug

industry. The overarching conspiracy was effectuated by a series of conspiracies that affected

and continue to affect the market for a number of generic drugs identified in this Amended

Complaint.

          7.   The Plaintiff States focus here on the role of these named Defendants and their

participation in and agreement with this overarching conspiracy. The Amended Complaint

describes conspiracies regarding the sale of specific drugs, and how these specific conspiracies

are also part of the larger overarching conspiracy. The Plaintiff States continue to investigate

additional conspiracies, involving these and other generic drug manufacturers, regarding the sale




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of other drugs not identified in this Complaint, and will likely bring additional actions based on

those conspiracies at the appropriate time in the future.

       8.      Defendants' illegal agreements have raised prices, maintained artificially inflated

prices, thwarted Congress's goal to lower the prices of drugs, and thus frustrated the potential of

the industry to deliver great value to Plaintiff States and those they represent. Generic drugs are

pharmaceutically equivalent to the referenced brand name drug in dosage, form, route of

administration, strength or concentration, and amount of active ingredient. Generic drugs can

save (and have saved) consumers, other purchasers of drugs, and taxpayers tens of billions of

dollars annually because generic drugs are a lower-priced alternative to brand name drugs.

When the manufacturer of a branded drug loses the market exclusivity that comes with patent

rights, generic drugs offer lower prices and greater access to healthcare for all consumers in the

United States through genuine competition. A consumer with a prescription can fill that

prescription not only with the brand name drug, but also with a generic version of that drug, if

one is available. State laws often require pharmacists to fill prescriptions with generic versions

of the drug.

       9.      Typically, when the first generic manufacturer enters a market for a given drug,

the manufacturer prices its product slightly lower than the brand-name manufacturer. When a

second generic manufacturer enters, that reduces the average generic price to nearly half the

brand-name price. As additional generic manufacturers market the product, the prices continue

to fall. For drugs that attract a large number of generic manufacturers, the average generic price

falls to 20% or less of the price of the branded drug.

       10.     Generic drugs were one of the few "bargains" in the United States healthcare

system. Health care experts believe cost savings from the growing number of generic drugs




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helped keep the lid on increasing health care costs. With the Hatch-Waxman Act of 1984,

Congress designed the generic drug market to keep costs low, and the market initially operated

that way.

       11.     At some point, that price dynamic changed for many generic drugs. Prices for

hundreds of generic drugs have risen – while some have skyrocketed, without explanation,

sparking outrage from politicians, payers and consumers across the country whose costs have

doubled, tripled, or even increased 1,000% or more. The growing outrage and public reports of

unexplained and suspicious price increases caused the State of Connecticut to commence its

investigation in July 2014. Shortly thereafter, Congress opened an inquiry and various

companies acknowledged that a criminal grand jury investigation had been convened by the

United States Department of Justice Antitrust Division.

       12.     Generic drug manufacturers argued publicly that the significant price increases

were due to a myriad of benign factors, such as industry consolidation, FDA-mandated plant

closures, or elimination of unprofitable generic drug product lines. What the Plaintiff States

have found through their investigation, however, is that the reason underlying many of these

price increases is much more straightforward – illegal collusion among generic drug

manufacturers. Prices of many generic pharmaceuticals were and remain artificially inflated

through collusive bid rigging and market allocation agreements designed to prevent price wars

from occurring when key competitive opportunities arise in the marketplace.

       13.     Generic drug manufacturers, through their senior leadership and marketing, sales

and pricing executives, have routine and direct interaction. The Defendants exploited their

interactions at various and frequent industry trade shows, customer conferences and other similar

events, to develop relationships and sow the seeds for their illegal agreements. These




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anticompetitive agreements are further refined and coordinated at regular "industry dinners,"

"girls' nights out," lunches, parties, golf outings, frequent telephone calls, e-mails and text

messages.

       14.     The anticompetitive conduct – schemes to fix and maintain prices, allocate

markets and otherwise thwart competition – has caused, and continues to cause, significant harm

to the United States healthcare system, which is ongoing. Moreover, executives and others at the

highest levels in many of the Defendant companies, including but not limited to Defendants Ara

Aprahamian, David Berthold, James (Jim) Brown, Maureen Cavanaugh, Tracy Sullivan

DiValerio, Marc Falkin, James (Jim) Grauso, Kevin Green, Armando Kellum, Jill Nailor, James

(Jim) Nesta, Konstantin (Kon) Ostaficiuk, Nisha Patel, David Rekenthaler, and Richard (Rick)

Rogerson, among others, conceived, directed and ultimately benefited from these schemes.

       15.     Defendant Teva is a consistent participant in the conspiracies identified in this

Amended Complaint, but the conduct is pervasive and industry-wide. The schemes identified

herein are part of a larger, overarching understanding about how generic manufacturers fix prices

and allocate markets to suppress competition. Through its senior-most executives and account

managers, Teva participated in a wide-ranging series of restraints with more than a dozen generic

drug manufacturers, all of whom knowingly and willingly participated. As a result of these

conspiracies, Defendants reaped substantial monetary rewards.

       16.     Defendants' anticompetitive conduct falls principally into two categories, the

overarching goal being to avoid price erosion and maintain inflated pricing within and across

their respective broad product portfolios and, at times, increase pricing for targeted products

without triggering a “fight to the bottom” among existing competitors. First, to avoid competing

with one another and thus eroding the prices for a myriad of generic drugs, Defendants – either




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upon their entry into a given generic market or upon the entry of a new competitor into that

market – communicated with each other to determine and agree on how much market share and

which customers each competitor was entitled to. They then implemented the agreement by

either refusing to bid for particular customers or by providing a cover bid that they knew would

not be successful.

       17.     Second, and often in conjunction with the market allocation schemes, competitors

in a particular market communicated -- either in person, by telephone, or by text message – and

agreed to collectively raise and/or maintain prices for a particular generic drug.

       18.     Defendants here understood and acted upon an underlying code of conduct that is

widespread in the generics industry: an expectation that any time a competitor is entering a

particular generic drug market, it can contact its competitors and allocate the market according to

a generally agreed-upon standard of "fair share" in order to avoid competing and keep prices

high. While different drugs may involve different sets of companies, this background

understanding remains constant and is an important component of the Defendants' ability to

reach agreements for specific drugs.

       19.     The Defendants knew their conduct was unlawful. The conspirators usually chose

to communicate in person or by cell phone, in an attempt to avoid creating a written record of

their illegal conduct. The structure of the generic drug industry provided numerous opportunities

for collusive communications at trade shows, customer events and smaller more intimate dinners

and meetings. When communications were reduced to writing or text message, Defendants often

took overt and calculated steps to destroy evidence of those communications.

       20.     As a result of the conspiracies identified in this Amended Complaint, consumers

and payors nationwide, including the Plaintiff States, paid substantially inflated and




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anticompetitive prices for numerous generic pharmaceutical drugs, and the Defendants illegally

profited as a result.

        21.     The Plaintiff States seek a finding that the Defendants' actions violated federal

and state antitrust and consumer protection laws; a permanent injunction preventing the

Defendants from continuing their illegal conduct and remedying the anticompetitive effects

caused by their illegal conduct; disgorgement of the Defendants' ill-gotten gains; damages on

behalf of various state and governmental entities and consumers in various Plaintiff States; and

civil penalties and other relief as a result of Defendants' violations of law.

II.     JURISDICTION AND VENUE

        22.     This Court has jurisdiction over this action under Section 1 of the Sherman Act,

15 U.S.C. § 1 & 26, and under 28 U.S.C. §§ 1331 and 1337.

        23.     In addition to pleading violations of federal law, the Plaintiff States also allege

violations of state law, as set forth below, and seek civil penalties, damages and equitable relief

under those state laws. All claims under federal and state law are based on a common nucleus of

operative fact, and the entire law enforcement action commenced by this Amended Complaint

constitutes a single case that would ordinarily be tried in one judicial proceeding. The Court has

jurisdiction over the non-federal claims under 18 U.S.C. § 1367(a), as well as under principles of

pendent jurisdiction. Pendent jurisdiction will avoid unnecessary duplication and multiplicity of

actions, and should be exercised in the interests of judicial economy, convenience, and fairness.

        24.     This Court may exercise personal jurisdiction over all of the Defendants because

they either transact business in the District of Connecticut where this action was commenced, or

they have engaged in anticompetitive and illegal conduct that has had an impact in the District of

Connecticut. Specifically, the corporate Defendants market and sell generic pharmaceutical




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drugs in interstate and intrastate commerce to consumers nationwide through drug wholesalers

and distributors, pharmacy and supermarket chains, and other resellers of generic pharmaceutical

drugs. The individual Defendants were executives of various Defendants or non-Defendant co-

conspirators who engaged in and directed some of the unlawful conduct addressed herein. The

acts complained of have, and will continue to have, substantial effects in the District of

Connecticut.

        25.     Venue is proper in this district under Section 12 of the Clayton Act, 15 U.S.C. §

22, and 28 U.S.C. § 1391(b)-(c). At all times relevant to the Plaintiff States' Amended

Complaint, the Defendants resided, transacted business, were found, or had agents in this

District, and a portion of the affected interstate trade and commerce described below has been

carried out in this District.

III.    THE PARTIES

        26.     The Attorneys General are the chief legal officers for their respective States.

They are granted authority under federal and state antitrust and consumer protection laws to

bring actions to protect the economic well-being of the Plaintiff States and obtain injunctive and

other relief from the harm that results from the violations of antitrust and consumer protection

laws alleged herein. All Plaintiff States seek equitable and other relief under federal antitrust

laws in their sovereign or quasi-sovereign capacities. To the extent specified in the state claims

asserted in the Amended Complaint, certain Attorneys General of the Plaintiff States have and

here exercise authority to secure relief, including monetary relief, including for governmental

entities and consumers in their states who paid or reimbursed for the generic pharmaceutical

drugs that are the subject of the Amended Complaint. As specified in Count 34, some states also

seek damages for state entities or their consumers under state antitrust law, and some states seek




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additional relief for violations of state consumer protection laws.

          27.   Defendant Teva Pharmaceuticals USA, Inc. ("Teva") is a corporation organized

and existing under the laws of the State of Delaware with its principal place of business at 1090

Horsham Road, North Wales, Pennsylvania. At all times relevant to the Amended Complaint,

Teva has marketed and sold generic pharmaceuticals in this District and throughout the United

States.

          28.   Defendant Actavis Holdco US, Inc. ("Actavis Holdco"), is a corporation

organized and existing under the laws of the State of Delaware with its principal place of

business in Parsippany, New Jersey. In August 2016, Teva Pharmaceuticals USA, Inc. acquired

the Actavis generics business of Allergan plc, including Actavis, Inc. Upon the acquisition,

Actavis, Inc. – the acquired Allergan plc generics operating company (formerly known as

Watson Pharmaceuticals) – was renamed Allergan Finance, LLC, which in turn assigned all of

the assets and liabilities of the former Allergan plc generic business to the newly formed Actavis

Holdco, including subsidiaries Actavis Pharma, Inc. and Actavis Elizabeth LLC (a research and

development and manufacturing entity for Actavis generic operations), among others. Actavis

Holdco is a wholly-owned subsidiary of Teva Pharmaceuticals USA, Inc., which is a Delaware

corporation with its principal place of business in North Wales, Pennsylvania.

          29.   Defendant Actavis Pharma, Inc. is a Delaware corporation with its principal place

of business at 400 Interpace Parkway, Parsippany, New Jersey. It is a wholly-owned subsidiary

of Actavis Holdco and is a principal operating company in the U.S. for Teva's generic products

acquired from Allergan plc. It manufactures, markets, and/or distributes generic

pharmaceuticals. Unless addressed individually, Actavis Holdco and Actavis Pharma, Inc. are

collectively referred to herein as "Actavis." At all times relevant to the Amended Complaint,




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Actavis has marketed and sold generic pharmaceuticals in this District and throughout the United

States.

          30.   Defendant Amneal Pharmaceuticals LLC ("Amneal LLC") is a limited liability

company organized and existing under the laws of the state of Delaware, with a principal place

of business at 400 Crossing Boulevard, Bridgewater, New Jersey. Defendant Amneal

Pharmaceuticals Inc. ("Amneal Inc.") is a Delaware corporation also with its principal place of

business at 400 Crossing Boulevard, Bridgewater, New Jersey. Amneal Inc. owns a portion of

Amneal LLC and, as the managing member of Amneal LLC, conducts and exercises full control

over all activities of Amneal LLC (Amneal LLC and Amneal Inc. are collectively referred to

herein as "Amneal"). At all times relevant to the Amended Complaint, Amneal has marketed

and sold generic pharmaceuticals in this District and throughout the United States.

          31.   Defendant Apotex Corp. (“Apotex”) is a corporation organized and existing under

the laws of the State of Delaware. Its principal place of business is 2400 North Commerce

Parkway, Weston, Florida. At all times relevant to the Amended Complaint, Apotex has

marketed and sold generic pharmaceuticals in this District and throughout the United States.

          32.   Defendant Ara Aprahamian ("Aprahamian") is an individual residing at 14

Catalpa Court, Bardonia, New York. At all times relevant to the Amended Complaint,

Aprahamian was the Vice President of Sales and Marketing at Defendant Taro Pharmaceuticals

USA, Inc.

          33.   Defendant Aurobindo Pharma U.S.A., Inc. ("Aurobindo") is a corporation

organized and existing under the laws of the State of Delaware with its principal place of

business at 6 Wheeling Road, Dayton, New Jersey. At all times relevant to the Amended

Complaint, Aurobindo has marketed and sold generic pharmaceuticals in this District and

throughout the United States.

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       34.     Defendant David Berthold ("Berthold") is an individual residing at 21 Hillcrest

Road, Towaco, New Jersey. At all times relevant to the Amended Complaint, Berthold was the

Vice President of Sales at Defendant Lupin Pharmaceuticals, Inc.

       35.     Defendant Breckenridge Pharmaceutical, Inc. ("Breckenridge") is a Florida

corporation with its principal place of business at 15 Massirio Drive, Berlin, Connecticut. At all

times relevant to the Amended Complaint, Breckenridge has marketed and sold generic

pharmaceuticals in this District and throughout the United States.

       36.     Defendant James (Jim) Brown ("Brown") is an individual residing at 4521

Christensen Circle, Littleton, Colorado. At all times relevant to the Amended Complaint, Brown

was the Vice President of Sales at Defendant Glenmark Pharmaceuticals, Inc.

       37.     Defendant Maureen Cavanaugh (“Cavanaugh”) is an individual residing at 529

North York Road, Hatboro, Pennsylvania. At all times relevant to the Amended Complaint,

Cavanaugh was the Senior Vice President, Commercial Officer, North America, for Defendant

Teva Pharmaceuticals USA, Inc.

       38.     Defendant Tracy Sullivan DiValerio ("Sullivan") is an individual residing at 2

       Pierre Court, Marlton, New Jersey. At all times relevant to the Amended Complaint,

Sullivan was a Director of National Accounts at Defendant Lannett Company, Inc.

       39.     Defendant Dr. Reddy’s Laboratories, Inc. ("Dr. Reddy's") is a corporation

organized and existing under the laws of the State of New Jersey with its principal place of

business at 107 College Road East, Princeton, New Jersey. At all times relevant to the Amended

Complaint, Dr. Reddy's has marketed and sold generic pharmaceuticals in this District and

throughout the United States.




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         40.     Defendant Marc Falkin ("Falkin") is an individual residing at 2915 Weston Road,

Westin, Florida. At all times relevant to the Amended Complaint, Falkin was the Vice President,

Marketing, Pricing and Contracts at Defendant Actavis.

         41.     Defendant Glenmark Pharmaceuticals Inc., USA ("Glenmark") is a corporation

organized and existing under the laws of the State of Delaware with a principal place of business

at 750 Corporate Drive, Mahwah, New Jersey. At all times relevant to the Amended Complaint,

Glenmark has marketed and sold generic pharmaceuticals in this District and throughout the

United States.

         42.     Defendant James (Jim) Grauso ("Grauso") is an individual residing at 113

Windsor Lane, Ramsey, New Jersey. Defendant Grauso worked at Defendant Aurobindo as a

Senior Vice President, Commercial Operations from December 2011 through January 2014.

Since February 2014, Grauso has been employed as the Executive Vice President, N.A.

Commercial Operations at Defendant Glenmark.

         43.     Defendant Kevin Green ("Green") is an individual residing at 110 Coachlight

Circle, Chalfont, Pennsylvania. Defendant Green worked at Defendant Teva as a Director of

National Accounts from January 2006 through October 2013. Since November 2013, Green has

worked at Defendant Zydus Pharmaceuticals (USA) Inc. and is currently the Vice President of

Sales.

         44.     Defendant Greenstone LLC ("Greenstone") is a limited liability company located

at 100 Route 206, North Peapack, New Jersey. Greenstone is a wholly-owned subsidiary of

Defendant Pfizer Inc. ("Pfizer"), a global pharmaceutical company headquartered in New York,

New York, and has at all relevant times operated as the generic drug division of Pfizer.

Greenstone operates out of Pfizer's Peapack, New Jersey campus, and a majority of Greenstone's

employees are also employees of Pfizer's Essential Health Division, including Greenstone's

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President. Greenstone employees also use Pfizer for financial analysis, human resources and

employee benefit purposes, making the two companies essentially indistinguishable. At all times

relevant to the Amended Complaint, Greenstone has – under the direction and control of Pfizer –

marketed and sold generic pharmaceuticals in this District and throughout the United States.

          45.   Defendant Robin Hatosy (“Hatosy”) is an individual residing at 155 Providence

Forge Road, Royersford, Pennsylvania. At all times relevant to the Amended Complaint, Hatosy

was employed as a Director of National Accounts at Defendant Greenstone.

          46.   Defendant Armando Kellum ("Kellum") is an individual residing at 56 Gravel

Hill Road, Huntingdon Valley, Pennsylvania. At all times relevant to the Amended Complaint,

Kellum was the Vice President, Contracting and Business Analytics at Defendant Sandoz, Inc.

          47.   Defendant Lannett Company, Inc. ("Lannett") is a corporation organized and

existing under the laws of the State of Delaware with its principal place of business at 9000 State

Road, Philadelphia, Pennsylvania. At all times relevant to the Amended Complaint, Lannett has

marketed and sold generic pharmaceuticals in this District and throughout the United States.

          48.   Defendant Lupin Pharmaceuticals, Inc. ("Lupin") is a Delaware corporation with

its principal place of business in Baltimore, Maryland. Lupin is a wholly-owned subsidiary of

Lupin Limited, an Indian company with its principal place of business in Mumbai, India. At all

times relevant to the Amended Complaint, Lupin has marketed and sold generic pharmaceuticals

in this District and throughout the United States.

          49.   Defendant Mylan Pharmaceuticals Inc. ("Mylan") is a corporation organized and

existing under the laws of the State of Delaware with its principal place of business at 1000

Mylan Boulevard, Canonsburg, Pennsylvania. At all times relevant to the Amended Complaint,

Mylan has marketed and sold generic pharmaceuticals in this District and throughout the United

States.

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          50.   Defendant Jill Nailor ("Nailor") is an individual residing at 1918 McRae Lane,

Mundelein, Illinois. At all times relevant to the Amended Complaint, Nailor was the Senior

Director of Sales and National Accounts at Defendant Greenstone.

          51.   Defendant James (Jim) Nesta ("Nesta") is an individual residing at 9715

Devonshire Drive, Huntersville, North Carolina. At all times relevant to the Amended

Complaint, Nesta was the Vice President of Sales at Defendant Mylan.

          52.   Defendant Konstantin Ostaficiuk ("Ostaficiuk") is an individual residing at 29

Horizon Drive, Mendham, New Jersey. At all times relevant to the Amended Complaint,

Ostaficiuk was the President of Camber Pharmaceuticals, Inc. (“Camber”).

          53.   Defendant Par Pharmaceutical Companies, Inc. ("Par") is a corporation organized

and existing under the laws of the State of Delaware with its principal place of business at One

Ram Ridge Road, Chestnut Ridge, New York. At all times relevant to the Amended Complaint,

Par has marketed and sold generic pharmaceuticals in this District and throughout the United

States.

          54.   Defendant Nisha Patel ("Patel") is an individual residing at 103 Chinaberry Lane

Collegeville, Pennsylvania. At all times relevant to the Amended Complaint, Patel worked as a

Director of Strategic Customer Marketing and as a Director of National Accounts at Defendant

Teva.

          55.   Defendant Pfizer, Inc. (“Pifizer”) is a corporation organized and existing under

the laws of Delaware, with its principal place of business at 235 East 42nd Street New York, New

York. Pfizer is a global biopharmaceutical company and is the corporate parent of Defendant

Greenstone. At all times relevant to the Amended Complaint, Pfizer has marketed and sold

generic pharmaceuticals in this District and throughout the United States, and has also

participated in and directed the business activities of Defendant Greenstone.

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       56.       Defendant David Rekenthaler ("Rekenthaler") is an individual residing at 2626

Lulworth Lane, Marietta, Georgia. At all times relevant to the Amended Complaint, Rekenthaler

was the Vice President, Sales US Generics at Defendant Teva.

       57.       Defendant Richard (Rick) Rogerson ("Rogerson") is an individual residing at 32

Chestnut Trail, Flemington, New Jersey. At all times relevant to the Amended Complaint,

Rogerson was the Executive Director of Pricing and Business Analytics at Defendant Actavis.

       58.       Defendant Sandoz, Inc. ("Sandoz") is a corporation organized and existing under

the laws of the State of Colorado, with its principal place of business at 100 College Road West,

Princeton, New Jersey. Sandoz is a subsidiary of Novartis AG, a global pharmaceutical company

based in Basel, Switzerland. At all times relevant to the Amended Complaint, Sandoz has

marketed and sold generic pharmaceuticals in this District and throughout the United States.

       59.       Defendant Taro Pharmaceuticals USA, Inc. ("Taro") is a corporation organized

and existing under the laws of the State of New York, with its principal place of business at 3

Skyline Drive, Hawthorne, New York. At all times relevant to the Amended Complaint, Taro

marketed and sold generic pharmaceutical drugs in this District and throughout the United States.

       60.       Defendant Upsher-Smith Laboratories, LLC (formerly known as Upsher-Smith

Laboratories, Inc.) ("Upsher-Smith"), is a Minnesota limited liability company located at 6701

Evenstad Drive, Maple Grove, MN. Upsher-Smith is a subsidiary of Sawaii Pharmaceutical Co.,

Ltd., a large generics company in Japan. At all times relevant to the Amended Complaint,

Upsher-Smith has marketed and sold generic pharmaceuticals in this District and throughout the

United States.

       61.       Defendant Wockhardt USA LLC ("Wockhardt") is a Delaware limited liability

company located at 20 Waterview Boulevard, 3rd Floor, Parsippany, New Jersey. At all times




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relevant to the Amended Complaint, Wockhardt has marketed and sold generic pharmaceuticals

in this District and throughout the United States.

         62.   Defendant Zydus Pharmaceuticals (USA), Inc. ("Zydus") is a corporation

organized and existing under the laws of the State of New Jersey with its principal place of

business at 73 Route 31 North, Pennington, New Jersey. At all times relevant to the Amended

Complaint, Zydus has marketed and sold generic pharmaceuticals in this District and throughout

the United States.

         63.   Whenever any reference is made in any allegation of the Amended Complaint to

any representation, act or transaction of Defendants, or any agent, employee or representative

thereof, such allegation shall be deemed to mean that such principals, officers, directors,

employees, agents or representatives of Defendants, while acting within the scope of their actual

or apparent authority, whether they were acting on their own behalf or for their own benefit, did

or authorized such representations, acts or transactions on behalf of Defendants, respectively.

IV.      FACTS SUPPORTING THE LEGAL CLAIMS

         A.    Factual Support For The Allegations

         64.   The allegations in this Amended Complaint are supported and corroborated by

facts and evidence obtained from numerous sources, including but not limited to those set forth

below.

         65.   During the course of the investigation, the Plaintiff States have issued over 30

subpoenas to various generic drug manufacturers, individuals and third parties, and have

compiled over 7 million documents in a shared document review platform.

         66.   The Plaintiff States have issued more than 300 subpoenas to various telephone

carriers, and have obtained phone call and text message records for numerous companies and




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individuals throughout the generic pharmaceutical industry. The Plaintiff States have loaded

those call and text records into a software application for communications surveillance,

collection and analysis, designed exclusively for law enforcement. The Plaintiff States have also

loaded the names and contact information for over 600 sales and pricing individuals throughout

the industry, at every level – giving the Plaintiff States a unique perspective to know who in the

industry was talking to who, and when.

       67.     Defendant Teva has, at all times relevant to the Amended Complaint, maintained

a live database that it refers to as Delphi where it has catalogued nearly every decision it has

made regarding the products it sells, including those decisions that were made collusively –

which Teva often referred to as "strategic" decisions. Although the Plaintiff States have not been

provided with full access to that important database from Teva, they have obtained static images

of the database that were internally disseminated over time by Teva, which were referred to as

Market Intel Reports. Through its review and investigation of some of those reports, in

combination with the phone records, the Plaintiff States have, to date, identified over 300

instances of collusion where Teva spoke to competitors shortly before or at the time it made what

the company referred to as a "strategic" market decision. A number of those instances are

detailed throughout this Amended Complaint.

       68.     During the course of their investigation, the States have also obtained valuable

cooperation from a number of individuals. The expected testimony from certain of those

individuals will directly support and corroborate the allegations throughout this Amended

Complaint. Some of those cooperating witnesses include:

               (a)     A former pricing executive at Defendant Sandoz during the time period

       relevant to this Amended Complaint [referred to herein as CW-1];




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               (b)    A former sales and marketing executive at Rising Pharmaceuticals, Inc.

       and Defendant Sandoz during the time period relevant to this Amended Complaint

       [referred to herein as CW-2];

               (c)    A former senior sales executive at Defendant Sandoz during the time

       period relevant to this Amended Complaint [referred to herein as CW-3];

               (d)    A former senior sales executive at Defendant Sandoz during the time

       period relevant to this Amended Complaint [referred to herein as CW-4];

               (e)    A former senior executive at Defendant Glenmark during the time period

       relevant to this Amended Complaint [referred to herein as CW-5]; and

               (f)    Jason Malek (“Malek”), former Vice President of Commercial Operations

       at Heritage Pharmaceuticals, Inc. (“Heritage”)

       B.      The Generic Drug Market

               1.     The Hatch-Waxman Act

       69.     In 1984, Congress enacted the Drug Price Competition and Patent Term

Restoration Act, commonly known as the "Hatch-Waxman" Act. Its intention was to balance

two seemingly contradictory interests: encouraging drug innovation, and promoting competition

between brand and generic drugs in order to lower drug prices. To encourage innovation, Hatch-

Waxman gave branded drug manufacturers longer periods of market exclusivity for newly-

approved products; this increased the financial returns for investment in drug research and

development.

       70.     To promote price competition, the law established a new regulatory approval

pathway for generic products to help ensure that generic drugs became available more quickly

following patent expiration. To gain approval for a new drug, drug manufacturers must submit a




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new drug application ("NDA") to the United States Food and Drug Administration ("FDA")

showing that the new drug is safe and effective for its intended use. Developing a new drug and

obtaining an NDA can take many years and cost tens or hundreds of millions of dollars.

        71.        The Hatch-Waxman Act encouraged faster approval for generic versions of

brand-name drugs through the use of "abbreviated new drug applications" ("ANDAs"). These

applications rely on the safety and efficacy evidence previously submitted by the branded drug

manufacturer, permitting generic manufacturers to avoid conducting costly and duplicative

clinical trials.

        72.        Hatch-Waxman succeeded in both of its goals. Since the law was passed in 1984,

generic drugs have moved from being less than 20% of prescriptions filled in the United States to

nearly 90% of prescriptions filled. A recent study found that, in 2011 alone, generic medicines

saved $193 billion for consumers. During the same period, innovation has continued to lead to

many new and helpful drugs.

                   2.     The Importance Of Generic Drugs

        73.        Like their branded counterparts, generic drugs are used in the diagnosis, cure,

mitigation, treatment or prevention of disease and, thus, are integral components in modern

healthcare, improving health and quality of life for nearly all people in the United States. In

2015, sales of generic drugs in the United States were estimated at $74.5 billion dollars. Today,

the generic pharmaceutical industry accounts for nearly 90% of all prescriptions written in the

United States.

        74.        A branded drug manufacturer that develops an innovative drug can be rewarded

with a patent granting a period of exclusive rights to market and sell the drug. During this period

of patent protection, the manufacturer typically markets and sells its drug under a brand name,




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and the lack of competition can permit the manufacturer to set its prices extremely high.

       75.     Once the brand-name drug’s exclusivity period ends, additional firms that receive

FDA approval are permitted to manufacture and sell “generic” versions of the brand-name drug.

As generic drugs enter the market, competition typically leads to dramatic reductions in price.

Generic versions of brand name drugs are priced lower than the brand-name versions. Under

most state laws, generic substitution occurs automatically, unless the prescriber indicates on the

prescription that the branded drug must be "dispensed as written."

       76.     As additional manufacturers enter a particular drug market, competition pushes

the price down much more dramatically. Often, the price of a generic drug will end up as low as

20% of the branded price or even lower. For this reason, generic drugs have long been referred

to as one of the few "bargains" in the United States healthcare system. Experts have stated that

the substantial cost savings gained from the growing number of generic drugs have played a

major role in keeping health care costs from increasing more dramatically.

       77.     Where there is genuine competition, the savings offered by generics drugs over

their brand-name equivalents provide tremendous benefits to consumers and health care payors.

Patients typically see lower out of pocket expenses, while lower costs for payors and insurers can

lead to lower premiums for those who pay for health insurance, and lower costs to government

health care programs like Medicare and Medicaid mean greater value for taxpayers.

               3. The Players In The Drug Distribution System

       78.     The United States prescription drug distribution system includes entities that are

involved at various levels before prescription drugs are ultimately delivered to end users.

                       a.     Manufacturers/Suppliers

       79.     Drug manufacturers are the source of the prescription drugs in the pharmaceutical




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supply chain. Unlike branded drug manufacturers, generic manufacturers typically do not

develop new drug therapies, but instead manufacture generic drugs that can be substituted (often

automatically under state law) for the branded drug after expiration of the brand's exclusivity.

Generic pharmaceuticals can be manufactured in a variety of forms, including tablets, capsules,

injectables, inhalants, liquids, ointments and creams. A manufacturer seeking to sell a “new

drug” in the United States (including generic versions of previously approved drugs) must obtain

approval from the FDA, which evaluates many factors, including drug safety, efficacy, raw

material suppliers, manufacturing processes, labeling and quality control.

       80.     Generic drug manufacturers operate manufacturing facilities, and compete with

each other to sell the generic drugs they produce to wholesalers, distributors, and in some cases,

directly to retail pharmacy chains, mail-order and specialty pharmacies, hospital chains, and

some health plans.

       81.     Generic drug manufacturers also sell some of their drugs through auctions to

different purchasers in the supply chain, e.g., group purchasing organizations, retail pharmacies

and supermarket chains with pharmacies.

       82.     In marketing their generic drugs, manufacturers often do not attempt to

differentiate their products because, primarily, a generic drug is a commodity. Consequently,

competition is dictated by price and supply. As a result, generic drug manufacturers usually all

market the drug under the same name, which is the name of the active ingredient (e.g.,

Acetazolamide).

       83.     Drug suppliers include the manufacturers themselves, as well as other companies

that have agreements to sell or distribute certain generic pharmaceutical drugs manufactured by

another company. The corporate Defendants in this action are all drug manufacturers and




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suppliers who compete with one another for the sale of generic pharmaceutical drugs which are

ultimately sold to consumers in the United States.

       84.     Drugs sold in the United States may be manufactured either domestically or

abroad. Many manufacturers that produce drugs for the United States market are owned by, or

are, foreign companies. Generic drugs may be manufactured by the same companies that

manufacture brand-name drugs (even in the same factories), or may come from companies that

manufacture generics exclusively. Drug manufacturers typically sell their products through

supply agreements negotiated with their customers.

       85.     Generic manufacturers report certain benchmark or list prices for each generic

drug that they offer, including the average wholesale price ("AWP") and wholesale acquisition

cost ("WAC"); these sometimes serve as benchmarks, but given the different characteristics of

different buyers and the nature of individual negotiations, a manufacturer will frequently supply

the same generic drug at several different prices depending on the customer or type of customer.

       86.     In addition, generic manufacturers that enter into a Medicaid rebate agreement

must report their average manufacturer prices ("AMP") to the federal Centers for Medicare and

Medicaid Services on a monthly and quarterly basis. Pursuant to federal law, AMP is defined as

the average price paid to the manufacturer for the drug in the United States by (a) wholesalers for

drugs distributed to retail community pharmacies and (b) retail community pharmacies that

purchase drugs directly from the manufacturer.

       87.     Medicaid reimbursement for certain generic drugs is calculated using a formula

that is derived from a manufacturer's AMP for that specific generic drug. Put another way, a

manufacturer's AMP may have a direct impact on how much a state Medicaid program pays for a

generic drug dispensed to a Medicaid beneficiary.




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       88.       The corporate Defendants in this case are among the largest generic

pharmaceutical manufacturers in the industry. Each has a broad portfolio of generic drugs which

it sells to distributors, retailers and group purchasing organizations, many of whom have a

nationwide presence. Competitors for particular pharmaceutical products vary given the shifting

pharmaceutical landscape as drugs lose exclusivity, and as manufacturers decide to enter or exit

an existing drug market. At all time relevant to this Amended Complaint, every Defendant’s

portfolio remained broad, and was marketed to customers in virtually every state across the

United States.

       89.       The Defendants’ customers supply generic pharmaceuticals to a wide swath of

consumer populations, including but not limited to Medicaid recipients; private and public sector

employees with commercial payor, employer-funded, or self-funded health plans; patients in

non-profit, for-profit, or public hospitals or long-term care facilities; uninsured “cash pay”

consumers; and prisons.

       90.       The generic pharmaceutical portfolios of the Defendants run the gamut of

indications, servicing a wide range of health needs. These include potentially less common

health problems such as human immunodeficiency virus (HIV) treated with

Lamivudine/Zidovudine and long-term kidney disease treated by Paricalcitol, as well as more

commonplace conditions such as high blood pressure treated with medications including

Clonidine-TTS Patch, Irbesartan, Moexipril HCL and Enalapril Maleate, high cholesterol treated

with medications such as Fenofibrate, Pravastatin or Niacin ER, and attention deficit

hyperactivity disorder (ADHD) treated by Dexmethylphenidate or

Amphetamine/Dextroamphetamine.




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       91.     Taken together, customers purchase a wide range of generic pharmaceutical

products, in enormous volumes, in every state. Defendants' business plans and strategies for

their broad portfolios focus on the nationwide supply and demand chain that funnels their

products through various purchasers, including state governments, municipalities, and private

sector employers, in order to reach consumer populations in every state. This supply and

demand chain is described in more detail below.

                       b.     Wholesalers/Distributors

       92.     Wholesalers and distributors purchase pharmaceutical products from

manufacturers and distribute them to a variety of customers, including pharmacies (retail and

mail-order), hospitals, long-term care and other medical facilities. Some wholesalers sell to a

broad range of customers while others specialize in sales of particular products (e.g., biologic

products) or sales to a particular type of customer (e.g., nursing homes).

       93.     Wholesalers and distributors have similar business models, but distributors

typically provide more services to their customers. Some of the largest wholesalers and

distributors of generic drugs include AmerisourceBergen Corporation ("ABC"), Cardinal Health,

Inc. ("Cardinal"), H.D. Smith, LLC ("HD Smith"), McKesson Corporation ("McKesson") and

Morris & Dickson, LLC ("Morris & Dickson").

                       c.     Group Purchasing Organizations (GPOs)

       94.     Group purchasing organizations ("GPOs") are membership-based entities that

negotiate with manufacturers, wholesalers, and distributors on behalf of a large group of

purchasers. GPOs leverage their buying power to obtain better prices and terms for their

members, and assist buyers in trade relations and contract management with sellers. GPOs have

formed to serve state and local governments, hospital groups, retail pharmacies, and supermarket



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chains. Some of the GPOs who sell large volumes of Defendants’ generic products for

distribution nationwide include Vizient (formerly Novation), Premier, Inc. ("Premier"), Intalere

(formerly Amerinet), the Minnesota Multistate Contracting Alliance for Pharmacy ("MMCAP")

and Econdisc Contracting Solutions ("Econdisc").

                      d.      Pharmacy and Supermarket Chains

       95.     Pharmacies are the final step on the pharmaceutical supply chain before drugs

reach the consumer. There are several types of pharmacies, including chain and independent

retail pharmacies, pharmacies in supermarkets and other large retail establishments, and mail-

order pharmacies. If a retail pharmacy or supermarket chain purchases generic drugs on a large

enough scale, manufacturers may agree to contract with them directly. Such retailers can obtain

attractive terms by avoiding the markups or fees charged by wholesalers, distributors, and GPOs.

Retailers large enough to purchase drugs directly from manufacturers include Rite Aid

Corporation ("Rite Aid"), CVS Health ("CVS"), The Walgreen Company ("Walgreens"), Wal-

Mart Stores, Inc. ("Walmart"), Target Corporation, and Publix Super Markets, Inc. ("Publix").

                      e.      Customer Incentives

       96.     Some of the largest buyers that purchase from generic manufacturers actually

benefit when prices are higher. For example, in McKesson's 2014 10-K filing, the company

reported the following:

               A significant portion of our distribution arrangements with the
               manufacturers provides us compensation based on a percentage of
               our purchases. In addition, we have certain distribution
               arrangements with pharmaceutical manufacturers that include an
               inflation-based compensation component whereby we benefit when
               the manufacturers increase their prices as we sell our existing
               inventory at the new higher prices. For these manufacturers, a
               reduction in the frequency and magnitude of price increases, as
               well as restrictions in the amount of inventory available to us,
               could have a material adverse impact on our gross profit margin.


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In that same filing, McKesson also reported that "The business’ practice is to pass on to

customers published price changes from suppliers."

       97.      Similarly, in Cardinal's 2014 10-K filing, the company reported that

                Gross margin in our Pharmaceutical segment is impacted by
                generic and branded pharmaceutical price appreciation and the
                number and value of generic pharmaceutical launches. In past
                years, these items have been substantial drivers of Pharmaceutical
                segment profit. Prices for generic pharmaceuticals generally
                decline over time. But at times, some generic products experience
                price appreciation, which positively impacts our margins.

       98.      ABC's Annual Summary 2014 and Annual Report 2014 make very similar

observations:

                Our results of operations continue to be subject to the risks
                and uncertainties of inflation in branded and generic
                pharmaceutical prices and deflation in generic pharmaceutical
                prices.
                Certain distribution service agreements that we have entered into
                with branded and generic pharmaceutical manufacturers continue
                to have an inflation-based compensation component to them.
                Arrangements with a small number of branded manufacturers
                continue to be solely inflation-based. As a result, our gross profit
                from brand-name and generic manufacturers continues to be
                subject to fluctuation based upon the timing and extent of
                manufacturer price increases. If the frequency or rate of branded
                and generic pharmaceutical price increases slows, our results of
                operations could be adversely affected. In addition, generic
                pharmaceuticals are also subject to price deflation. If the frequency
                or rate of generic pharmaceutical price deflation accelerates, our
                results of operations could be adversely affected.

       99.      Other large retail customers have similar contractual provisions in their contracts

with generic manufacturers that allow for potentially greater compensation when prices are

higher. For example, contracts between Walgreens Boots Alliance Development GmbH, a

GPO, and generic manufacturers contain provisions about Rebates and Administrative fees that




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are directly tied to "total contract sales" – a number that increases when prices increase. In other

words, that GPO (and other larger retail customers with similar contractual terms) may make

more money when generic pharmaceutical prices are higher.

          100.   The generic manufacturers are keenly aware that some of their customers benefit

from their price increases. In fact, many of the generic drug manufacturers regularly tout these

price increases in their discussions with customers. As just one example, when Teva met with

large customer Red Oak (a joint venture between Cardinal and CVS) in December 2014, it

boasted that during its August 28, 2014 price increase it had been able to increase twenty

different product families, resulting in an estimated $29.0M price increase value to the customer.

                 4.     The Cozy Nature Of The Industry And Opportunities For Collusion

          101.   The generic drug market is structured in a way that allows generic drug

manufacturers, including but not limited to the Defendants, to interact and communicate with

each other directly and in person, on a frequent basis.

                        a.     Trade Association and Customer Conferences

          102.   Many customers of the Defendants, including but not limited to (a) large

wholesalers or distributors like ABC, Cardinal, HD Smith, McKesson and Morris & Dickson, (b)

GPOs like Premier, MMCAP and Econdisc, and (c) other large drug purchasers like pharmacy or

grocery store chains, hold multi-day conferences throughout the year in various locations

throughout the United States. Generic manufacturers from across the United States are invited to

attend.

          103.   Additionally, the Defendants and other generic drug manufacturers also attend

various industry trade shows throughout the year, including those hosted by the National

Association of Chain Drug Stores ("NACDS"), Healthcare Distribution Management Association




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("HDMA") (now the Healthcare Distribution Alliance), the Generic Pharmaceutical Association

("GPhA") and Efficient Collaborative Retail Marketing ("ECRM"), in a variety of locations

throughout the United States.

       104.    At these various conferences and trade shows, sales representatives from many

generic drug manufacturers, including Defendants, interact with each other and discuss

their respective businesses and customers. Many of these conferences and trade shows include

organized recreational and social events such as golf outings, lunches, cocktail parties and

dinners that provide additional opportunities to meet with competitors. Defendants use these

opportunities to discuss and share competitively-sensitive information concerning upcoming

bids, specific generic drug markets, pricing strategies and pricing terms in their contracts with

customers.

       105.    These trade shows and customer conferences provide generic drug manufacturers,

including but not limited to the Defendants, with ample opportunity to meet, discuss, devise and

implement a host of anticompetitive schemes that unreasonably restrain competition in the

United States' market for generic drugs.

                       b.       Industry Dinners and Private Meetings

       106.    In addition to these frequent conferences and trade shows, senior executives and

sales representatives gather in smaller groups, allowing them to further meet face-to-face with

their competitors and discuss competitively sensitive information.

       107.    Many generic drug manufacturers, including several of the Defendants, are

headquartered in close proximity to one another in New Jersey or eastern Pennsylvania, giving

them additional opportunities to foster connections and meet and collude. At least forty-one (41)

different generic drug manufacturers are concentrated between New York City and Philadelphia,




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including, among others, Defendants Actavis, Aurobindo, Breckenridge, Dr. Reddy’s, Glenmark,

Greenstone, Lannett, Par, Pfizer, Sandoz, Taro, Teva, Wockhardt and Zydus.

       108.    High-level executives of many generic drug manufacturers get together

periodically for what some of them refer to as "industry dinners." For example, in January 2014,

at a time when the prices of a number of generic drugs were reportedly soaring, at least thirteen

(13) high-ranking executives, including CEOs, Presidents and Senior Vice Presidents of various

generic drug manufacturers, met at a steakhouse in Bridgewater, New Jersey. Executives

(including individual Defendants Berthold, Falkin and Ostaficiuk) from Defendants Actavis,

Aurobindo, Breckenridge, Dr. Reddy's and Lannett, among many other generic manufacturers,

attended this particular dinner.

       109.    At these industry dinners, one company is usually responsible for paying for all of

the attendees. For example, in a group e-mail conversation among the competitors in December

2013, one of the participants -- a high-ranking executive for Defendant Dr. Reddy's -- joked

"[y]ou guys are still buying for Mark and I, right?" The response from another executive:

"Well. . . I didn't think the topic would come up so quickly but . . . we go in alphabetical order by

company and [a generic drug manufacturer not identified in this Complaint as a conspirator]

picked up the last bill. . . . PS. . . . no backing out now! Its [sic] amazing how many in the group

like 18 year-old single malt scotch when they aren't buying."

       110.    Other groups of competitors gather routinely for golf outings, where they have the

opportunity to spend several days at a time together without interruption. One such annual event

was organized by a packaging contractor in Kentucky. From September 17-19, 2014, for

example, high-level executives from Defendants Teva, Apotex, Actavis, Amneal, Lannett, Par,

Zydus and others were invited to a gathering at a country club in Bowling Green, Kentucky




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where they would play golf all day and socialize at night. Defendant Rekenthaler was in

attendance with high-level executives from Defendants Lannett, Amneal, Apotex, Wockhardt

and other generic manufacturers. Rekenthaler and a high-level executive from Apotex, J.H.,

actually stayed together in the home of the owner of the packaging company that sponsored the

event. At the conclusion of the outing, one of the executives – Defendant Ostaficiuk – sent an e-

mail to the other attendees, stating: "This is a crazy biz but I am grateful to have friends like all

of you!!!! Happy and honored to have you all as 'fraternity brothers.'" As discussed more fully

below in Section IV.C.6.a, Defendants Rekenthaler and Ostaficiuk used this golf outing as an

opportunity to negotiate Camber's anticompetitive entry into the market for two different Teva

drugs.

         111.   Some generic pharmaceutical sales representatives also get together regularly for

what they refer to as a "Girls Night Out" ("GNO"), or alternatively "Women in the Industry"

meeting or dinner. During these events, the sales representatives meet with their competitors and

discuss competitively sensitive information.

         112.   Many "Women in the Industry" dinners were organized by A.S., a salesperson

from non-Defendant Heritage Pharmaceuticals, Inc. who resides in the State of Minnesota.

Other participants in these meetings were employees of generic drug manufacturers located in

Minnesota, or salespeople residing in the area. However, out-of-town sales representatives were

also aware of these dinners and were included when in the area. For example, in November

2014, Defendant Sullivan of Defendant Lannett sent A.S. a text message asking "[w]hen is your

next industry women event? I'm due for a trip out there and I'd love to plan for it if possible...."

A.S. responded: "There is an XMas [sic] party at Tanya's house on Dec 6th. Yes that is a

Saturday. We do it about once a quarter and usually it is during the week -- this was an

exception."

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       113.    Sometimes dinners were also planned around visits of out-of-town competitors.

As A.S. stated in organizing the dinner:

               Sorry if the meeting/dinner invite is a little short notice, but [K.N.,
               a National Account Representative at Defendant Dr. Reddy's] will
               [be] in MN on Sept 29th and it would be a great time for everyone
               to get together! So much has been happening in the industry too --
               we can recap all our findings from NACDS [trade show] over a
               martini or glass of wine! :) Plus the food is super Yummy!

       114.    Several different GNOs were held in 2015, including: (1) at the ECRM

conference in February (involving Defendants Dr. Reddy's, Greenstone, Lannett, Teva, Upsher-

Smith and Zydus, among others – including individual Defendants Nailor and Sullivan); (2) in

Baltimore in May (involving Defendants Dr. Reddy's, Lupin and Teva among others); and (3) at

the NACDS conference in August (involving Defendant Dr. Reddy's among others).

               5.      The Overarching Conspiracy Between Generic Drug Manufacturers –
                       Playing Nice In The Sandbox

       115.    As a result of these communications, sales and marketing executives in the

generic pharmaceutical industry are well aware of their competitors' current and future business

plans. This reciprocal sharing of inside information greatly facilitates agreements among

competitors to allocate markets to avoid price competition.

       116.    The overarching conspiracy among generic manufacturers, however – which ties

together all of the agreements on individual drugs identified in this Complaint – is an agreed-

upon code that each competitor is entitled to its "fair share" of the market, whether that market is

a particular generic drug, or a number of generic drugs. Coined "fair share," the term is

generally understood as an approximation of how much market share each competitor is entitled

to, based on the number of competitors in the market, with a potential adjustment based on the

timing of entry. Once a manufacturer has achieved its "fair share," it is generally understood that

the competitor will no longer compete for additional business. The common goal or purpose of

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this overarching agreement is to keep prices high, avoid price erosion and serve as the basis for

further supra-competitive price increases.

       117.    This overarching agreement is widespread across the generic drug industry and is

broader than the Defendant manufacturers named in this Complaint. The Plaintiff States focus

here on the role of these named Defendants and their participation in, and agreement with, this

overarching conspiracy. This Complaint describes conspiracies regarding the sale of specific

drugs, and how these specific conspiracies are also part of the larger overarching conspiracy.

       118.    The exact contours of this "fair share" understanding, which has been in place for

many years (and pre-dates any of the specific conduct detailed herein), has evolved over time

during the numerous in-person meetings, telephonic communications, and other interactions

between generic manufacturers about specific drugs. These business and social events occur

with such great frequency that there is an almost constant ability for Defendants to meet in

person and discuss their business plans. For example, between February 20, 2013 and December

20, 2013 (a 41-week period), there were at least forty-four (44) different tradeshows or customer

conferences where the Defendants had the opportunity to meet in person. These in-person

meetings gave the Defendants the opportunity and cover to have these conversations, and reach

these agreements, without fear of detection.

       119.    As described in more detail below, when necessary, this larger understanding was

reinforced through phone calls and text messages between the Defendants to discuss "fair share"

and the desire to maintain or raise prices with respect to specific drugs. These types of

communications occur with great frequency across the industry, including among Defendants.

       120.    For example, from the period of January 1, 2013 through December 31, 2013,

senior sales executives and other individuals responsible for the pricing, marketing and sales of




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generic drugs at Defendant Teva spoke to representatives of every significant competitor by

phone and/or text on multiple occasions. Phone calls and text messages with several of those

key competitors during the 2013 calendar year are set forth below. The following Table (Table

1), which is conservative because it is based on phone and text message records from only some

of the executives and salespeople at issue, and therefore shows only some of the phone calls and

text messages between the Defendants during that period, sheds some light on the frequency with

which Defendants communicated with each other throughout 2013.

                                                        Table 1
                            Teva phone/text communications with other Defendants (by month)
                                          January 1, 2013 – December 31, 2013

               Jan-13     Feb-13   Mar-13   Apr-13   May-13   Jun-13   Jul-13   Aug-13   Sep-13   Oct-13   Nov-13   Dec-13   Totals
     Actavis      2         2        0        7        27        1       17       12       15       40       13       47      183
  Glenmark        0         3        0        0        26        9       6        8        1        12       14       16       95
 Greenstone       2         0        20       1        4         5       6        1        0        2        7        11       59
      Lupin      10         5        9        3        33        9       19       9        5        13       6        0       121
      Mylan      31         47       32       37       33        26      26       16       1        1        0        11      261
     Sandoz      17         5        4        4        12        16      18       14       3        0        9        2       104
       Taro       0         0        0        0        2         1       8        11       0        11       1        1        35
      Zydus      13         23       42       20       30        40      59       21       34      148       58       43      531
      Totals     75         85      107       72      167       107     159       92       59      227      108      131      1389


         121.           Of the 1,389 calls listed in Table 1, 1,234 of them – or 89% – involved

Defendants Green, Patel and Rekenthaler of Teva speaking with competitors. Many – though

not all – of those communications involve matters that are addressed throughout this Complaint.

         122.           Similarly, from the period of January 1, 2014 through December 31, 2014, senior

sales executives and other individuals responsible for the pricing, marketing and sales of generic

drugs at Defendant Teva continued to speak to representatives of every significant competitor by

phone and/or text on multiple occasions. Phone calls and text messages with several of those

key competitors during the 2014 calendar year are set forth below. The following Table (Table

2), which is conservative because it is based on phone and text message records from only some

of the executives and salespeople at issue, and therefore shows only some of the phone calls and




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text messages between the Defendants during that period, sheds similar light on the frequency

with which Defendants communicated with each other throughout 2014.

                                                        Table 2
                            Teva phone/text communications with other Defendants (by month)
                                          January 1, 2014 – December 31, 2014

               Jan-14     Feb-14   Mar-14   Apr-14   May-14   Jun-14   Jul-14   Aug-14   Sep-14   Oct-14   Nov-14   Dec-14   Totals
     Actavis     31         17       47       42       76       9        38       24       36       23       8        14       365
  Glenmark        4         11       11       7        7        2        9        6        1        6        3        3         70
 Greenstone      17         3        13       3        1        1        6        1        9        0        0        0         54
      Lupin      11         5        13       4        0        0        0        0        0        0        0        0         33
      Mylan       6         1        1        1        7        2        0        10       13       5        2        9         57
     Sandoz       5         10       7        10       0        1        28       7        4        1        6        3         82
       Taro       1         1        7        4        17       16       5        2        1        0        0        1         55
      Zydus      18         36       44       24       37       14       19       15       5        5        4        4        225
      Totals     93         84      143       95      145       45      105       65       69       40       23       34       941


         123.           Of the 941 calls listed in Table 2, 778 of them – or 83% – involved Defendants

Patel and Rekenthaler of Teva speaking with competitors (by this time, Defendant Green no

longer worked at Teva). Many – though not all – of those communications involve matters that

are addressed throughout this Complaint.

         124.           It was not just Teva personnel speaking to their competitors, however. All of

these individuals were speaking to each other, when needed, hundreds or even thousands of

times to ensure adherence to the overarching conspiracy. Because it would be too voluminous to

list the total number of calls among all of the Defendants, the following graphic shows the

interlocking web of communications and relationships between just some of the individuals

employed by Teva and its key competitors. Each line in the graphic below demonstrates that at

least one phone call or text message was sent between those individuals (identified by their

initials) while they were competitors. For many of these individuals, there were hundreds of

calls and texts with competitors, but the volume of those communications is not captured by this

graphic.




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       125.    In order to provide some organizational principle around the massive amount of

collusive behavior by the Defendants described in this Complaint, certain sections are centered

around the relationship between Defendant Teva and another conspirator. However, this

convenience should not imply that the Complaint is solely concerned with bilateral relationships

involving Teva.

       126.    The specific drug agreements often involve overlapping sets of Defendants in

communication with each other, all following their agreed-upon “fair share” code of conduct.

For example, to view only a small portion of the interlocking, overlapping web of collusion

formed by Defendants: Teva, Taro and Wockhardt discussed amongst themselves the allocation

of the Enalapril Maleate market; Teva and Taro communicated with Sandoz concerning the

prices for Ketoconazole Cream; Sandoz worked with Mylan to allocate the market for Valsartan

HCTZ; Teva, Mylan and Par all communicated with each other in the spring of 2014 concerning

the market for Budesonide DR Capsules. These are not isolated, one-off agreements, but rather

demonstrate the ongoing, sprawling nature of the Defendants’ overarching conspiracy.


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       127.    Referred to sometimes as the "rules of engagement" for the generic drug industry,

the fair share understanding among Defendants dictates that when two generic manufacturers

enter the market at the same time, they generally expect that each competitor is entitled to

approximately 50% of the market. When a third competitor enters, each competitor expects to

obtain 33% share; when a fourth competitor enters, each expects 25%; and so on, as additional

competitors enter the market.

       128.    When a generic drug manufacturer is the first to enter a particular drug market on

an exclusive basis it is commonly understood that that manufacturer is entitled to a little more

than its proportional share of the market. For example, when Defendant Dr. Reddy's was about

to enter the market for a drug in January 2013, the Vice President of Sales and Marketing

explained during negotiations with his competitor that "he views it this way. If they [Dr.

Reddy's] are first and others come out after, he deserves 60%. If he launches with others on day

[one], he considers fair share 2-50%, 3-33%, 4-25%, etc."

       129.    Conversely, those generic manufacturers that enter later are typically entitled to a

little less than their proportional share. One of the many examples of this occurred in March

2014, when – as discussed more fully below – Defendant Lupin entered the Niacin ER market

after Defendant Teva had previously been exclusive. Defendants Patel of Teva and Berthold of

Lupin spoke directly by phone a number of times during this period, including three (3) calls on

March 24, 2014. That same day, Defendant Rekenthaler of Teva sent an internal e-mail to

Defendant Patel stating: "We should concede Optum then defend everything else. This should

be it for Lupin. I believe this should be the 40% we were okay with conceding." Here, Teva's

expectation to maintain 60% share in a two-player market, after being the first in that market,

was consistent with the overarching conspiracy.




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        130.   Defendant Taro went so far as to create a graphic representation of that

understanding, taking into account both the number of competitors and order of entry to estimate

what its "fair share" should be in any given market:




[TARO_000224150.]

        131.   Although these general parameters are well-known, there is no precise method for

apportioning "fair share" because market share is ultimately determined by either winning or

maintaining the business of various customers, which is inherently variable in a given year. The

shared objective, however, is to attain a state of equilibrium, where no competitors are

incentivized to compete for additional market share by eroding price.

        132.   This common goal was stated succinctly by Defendant Aprahamian, who advised

the Taro Pricing Department in training documents from September and November 2013 that

"[g]iving up share to new entrant (as warranted) shows responsibility and will save us in the long

run" and "[d]on't rock the boat – [g]reedy hogs go to slaughter." As demonstrated throughout the

Amended Complaint, Aprahamian’s idea of “responsibility” meant constantly reaching out to

competitors in order to coordinate giving up share to reach a “fair” allocation and keep prices

high.




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       133.    This scheme to minimize competition and allocate "fair share" is typically

implemented as follows. First, Defendants allocate the market for an individual drug based on

the number of competitors and the timing of their entry so that each competitor obtains an

acceptable share of the market. Then, the competitors agree on ways to avoid competing on

price and, at times, significantly raise price. This pattern is frequently followed even in the

absence of direct communication between the competitors, demonstrating the universal code of

conduct agreed to by Defendants.

       134.    This "fair share" understanding has been particularly effective when a new

competitor enters the market – a time when, in a free-functioning, competitive market for generic

drugs, prices would be expected to go down. In today's generic drug markets, a new competitor

will either approach or be approached by the existing competitors. Existing competitors will

agree to "walk away" from a specific customer or customers by either refusing to bid or

submitting a cover bid. The new competitor's transition into the market is seamless; the new

entrant is ceded market share and immediately charges a supra-competitive price. The

competitors then continue this process of dividing up customers until the market reaches a new

artificial equilibrium. This is referred to as a "stable" market.

       135.    "Fair share" principles also dictate how generic drug manufacturers respond when

a competitor experiences supply issues. If the disruption is temporary, the existing competitors

will refrain from taking any action that might upset the market balance. By contrast, if the

disruption is for a longer term, the competitors will divide up customers until each player

achieves a revised "fair share" based on the number of players remaining in the market. For

example, in July 2013, a retail pharmacy customer e-mailed Defendant Taro stating that one of

Defendant Mylan's products was on back order and asked Taro to bid for the business.

Defendant Aprahamian sent an internal e-mail stating "Not inclined to take on new business . . .

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Wholesalers have product, let them pull from there temporarily and we can certainly review if

shortage persists. Don't want to overreact to this product. Not sure how long Mylan is out."

       136.    These rules about "fair share" apply equally to price increases. As long as

everyone is playing fair, and the competitors believe that they have their "fair share," the larger

understanding dictates that they will not seek to compete or take advantage of a competitor's

price increase by bidding a lower price to take that business. Doing so is viewed as "punishing"

a competitor for raising prices – which is against the "rules." Indeed, rather than competing for

customers in the face of a price increase, competitors often use this as an opportunity to follow

with comparable price increases of their own.

       137.    For example, in May 2013 after a Glenmark price increase on a number of

different drugs (discussed more fully below), Teva was approached by a large retail customer

requesting a bid for several drugs. Defendant Green immediately sought to determine whether

this request was due to a competitor price increase, in order to determine what Teva's strategy

should be:




Teva declined to bid, after conversations with its competitors confirming that the reason for the

request was due to a competitor's price increase.

       138.    When a generic manufacturer participates in this scheme, and prices stay high,

this is viewed as "playing nice in the sandbox." For example – as discussed more fully below –

in December 2014 Defendant Teva was approached by a large retail customer on behalf of

Defendant Greenstone. The customer indicated that Greenstone was entering the market for




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Cabergoline and was seeking to target specific customers. The customer specifically requested

that Teva give up a large customer to the new entrant, and indicated that "Greenstone has

promised to play nice in the sandbox." After discussing the matter internally, a Teva

representative responded to the customer: "[t]ell Greenstone we are playing nice in the sandbox

and we will let them have [the targeted customer.]"

       139.    Similarly, when a generic manufacturer is "playing nice in the sandbox," it is

generally referred to as a "responsible" or "rational" competitor. For instance, in May 2013,

R.T., a senior sales and marketing executive at Defendant Sandoz, sent an internal e-mail to J.G.,

another Sandoz senior executive, stating "My sense is that Sandoz is viewed by customers and

competition as a respectful/responsible player in the market, which we should be proud of and

has taken years to develop. I would be very careful to destroy this through behavior that is too

aggressive or desperation."

       140.    Defendant Sandoz, in turn, uses that same terminology to refer to its competitors

that are acting in accordance with "fair share" principles. For example, in internal company

presentations throughout 2014, Sandoz consistently referred to Defendant Actavis as a

"responsible competitor" and Defendant Taro as a "very responsible price competitor."

       141.    Defendant Teva had its own term of art – referring to the competitors it had the

most collusive relationships with as "high quality" competitors. As explored more fully below,

Teva had long-standing relationships with these competitors, including several of the corporate

Defendants, which affected nearly every overlapping drug they sold. As just one example,

Defendant Patel of Teva exchanged seven (7) text messages and had two (2) long phone calls

with Defendant Aprahamian of Taro on June 3 and 4, 2014. After a lengthy twenty-five (25)

minute call with Aprahamian on the morning of June 4, Patel sent an internal e-mail to K.G., a




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Teva senior marketing executive, stating "[w]e should probably discuss how we want to handle

all Taro increase items. Taro is a high quality competitor – I think we need to be responsible

where we have adequate market share."

       142.    Adherence to the rules regarding "fair share" is critical in order to maintain high

prices. Indeed, that is the primary purpose of the agreement. If even one competitor does not

participate (and, thus behave in accordance with) the larger understanding, it can lead to

unwanted competition and lower prices. In the relatively few instances where a competitor

prioritizes gaining market share over the larger understanding of maintaining "fair share," that

competitor is viewed as "irresponsible," and is spoken to by other competitors. For example, in

March 2015, Defendant Upsher-Smith learned that Defendant Sandoz had submitted a bid on a

product not identified in the Amended Complaint at one of Upsher-Smith's GPO customers.

B.P., a senior account manager at Upsher-Smith, forwarded that information internally stating "I

can't believe they have chosen to compete against us since we had this business. How does this

help us? We play fair and they don't?"

       143.    "Fair share," "playing nice in the sandbox," and similar terminology have become

part of the industry lexicon, and thus part of the larger understanding between Defendants.

Generic drug manufacturers actively and routinely monitor their fair share and that of their

competitors, as well as discuss customer allocation amongst each other within the context of

agreements on specific drugs, as set forth more fully below. For example, in July 2013, L.J., a

senior marketing executive at Sandoz, sent an internal e-mail identifying 47 products where

Sandoz did not have "fair share" of the market. After some back-and-forth internal joking

among Sandoz executives about the idea that Sandoz might actually attempt to compete for

business in those markets by driving prices down, Defendant Kellum responded by emphasizing




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the truly industry-wide nature of the agreement:




       144.    Indeed, the concept of "fair share" is so well ingrained in the generic

pharmaceutical industry that even customers are aware of, and at times facilitate, collusion

among generic manufacturers. For example, in June 2013, Defendant Dr. Reddy's was entering

the market on a product not identified in the Amended Complaint where Defendant Par had

previously been exclusive. K.N., a senior account executive at Dr. Reddy's, sent an internal e-

mail reporting that "[a GPO customer] has indicated that Par will walk away, so we have put

together a proposal based on that information."

       145.    Similarly, in September 2014, a large wholesale customer reached out to several

large generic manufacturers, including Defendant Teva, asking them to submit a "Priority

Wishlist of items to gain increased volume in the market." The customer reported to Teva that

"7 of the global suppliers have created and submitted wishlists and that [the customer] will be

reviewing next week and taking a look at how they can move things around. He said they are

hoping to be able to horse trade without having to do ROFR [right of first refusal]."

       146.    Further, in January 2015, Defendant Teva was in discussions with a large retail

customer about the possibility of becoming its supplier for Moexipril HCL HCTZ Tablets. The

customer stated "Yes, I would like a OTB [One Time Buy]. Can you provide pricing? And yes,

we should discuss an ongoing offer as well. I think you are way under your 'fair share' on this

one if I remember correctly."



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         147.     Customers at times also facilitate price increases, asking competitors to

"rationalize" a market by raising prices. For example, in November 2013, S.G., a senior account

executive at Sandoz, sent an internal e-mail stating "[a large wholesale customer] is indicating

that Glenmark and Caraco had taken a price increase on [a drug not identified in the Amended

Complaint] in June. [The customer] is asking if Sandoz will be rationalizing the market. . . .

Please advise on next steps. Our [lower] pricing is disrupting the market."

         148.     The "fair share" agreement is not limited to any one market; these principles

constantly inform and guide the market actions that generic drug manufacturers decide to take

(or not take) both within and across product markets. For example, in November 2013,

Defendant Dr. Reddy's won the "B" slot 2 business at a large wholesale customer on a product not

identified in the Amended Complaint. Dr. Reddy's had previously won the "A" slot business at

that customer because Defendant Mylan had "walked away" from the business. J.A., a senior

account executive at Dr. Reddy's, sent an internal e-mail stating "My concern here is that

[Mylan] will retaliate somewhere else. I'm unsure of the $ volume, but this would pull

somewhere around 4% share from Mylan, and I don't think they would take that lying down."

         149.     Similarly, in October 2013, CW-1, a senior pricing executive at Sandoz, sent an

internal e-mail, including to Defendant Kellum, stating that Sandoz had decided not to bid on

two drugs (Haloperidol and Trifluoperazine HCL – discussed more fully below in Section

IV.C.4.a.ii) at a large retail customer. CW-1 explained his reasoning as follows: "We have been

running up against Mylan a lot lately (Nadolol/Benaz/Hctz), and fear blowback if we take any

more products at this moment. Trying to be responsible in the sandbox." Similarly, in June

2014, Sandoz chose not to bid at a customer on the drug Benazepril HCTZ (discussed more fully

2
  Some large customers contract with multiple suppliers – referring to them as primary ("A slot") or secondary ("B
slot") suppliers – so that in the event of a supply disruption for a particular drug, there is a secondary source of
supply.


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below in Section IV.C.4.a.ii) out of concern that Defendant Mylan would retaliate. As CW-1

explained, "I do not want to pursue, I believe this is due to a Mylan increase. We have a lot of

products crossing with Mylan right now, I do not want to ruffle any feathers." As discussed

more fully below in Section IV.C.4.a, these decisions were made by Sandoz executives as a

direct result of communications between the competitors, and in the context of an ongoing

understanding between Defendants Sandoz and Mylan to fix prices and avoid competition on a

number of different drugs, including Haloperidol, Trifluoperazine HCL, Nadolol and Benazepril

HCTZ, among others.

       150.    A similar scenario occurred in August 2015, when Defendant Taro declined to bid

on Etodolac Extended Release (ER) Tablets at a large supermarket chain where Defendant Zydus

was the incumbent. Taro voiced concerns internally that Zydus might retaliate and take share

from them on another product, Warfarin Sodium Tablets. As C.L., an analyst at Taro, reasoned

in an internal e-mail, Zydus "could hit us on Warfarin. Not worth a fight in the sandbox over

300 annual units for Etodolac." As discussed more fully below, both Etodolac ER and Warfarin

were drugs where Taro had previously agreed with its competitors, including Teva and Zydus, to

fix prices and allocate customers in 2014. Taro's focus on playing nice in the sandbox was

merely an extension of those already-existing agreements.

       151.    As these examples make clear, the interdependence among generic manufacturers

transcends product markets as these companies make decisions not only based on what impact

their actions will have in a given product market, but also on how those actions will impact other

product markets where the competitors overlap, and any future markets where they might

eventually compete.

       152.    In fact, as explained in more detail below, certain Defendants had long-standing

agreements with some of their competitors to limit competition on any products on which the

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companies overlapped. For instance, shortly after Defendant Patel was hired by Teva in 2013,

she reached out to CW-1 and asked how Sandoz handled price increases. Patel explained that

she had been hired by Teva to identify products where Teva could increase prices. CW-1 told

Patel that Sandoz would follow any Teva price increases and that Sandoz would not poach

Teva's customers after Teva increased price. CW-1 reiterated his conversation to Defendant

Kellum, who understood and approved.

       153.    Indeed, generic manufacturers often communicated about, and colluded on,

multiple drugs at any given time. As just one example, in July 2013, Defendant Teva increased

pricing on a list of 21 different products. There was a great deal of internal pressure from

management at Sandoz – including from Defendant Kellum and CW-1 – to obtain a copy of the

Teva price increase list. As a result, CW-2 (then a Sandoz employee) reached out to his former

colleague, Defendant Rekenthaler, the Vice President of Sales at Teva, to obtain a copy of the

full Teva price increase list. Defendant Rekenthaler forwarded the list to his own personal e-

mail address before then forwarding it to CW-2's personal e-mail address. Upon receiving the

list, CW-2 read it to his supervisor – CW-1 – over the phone. Notably, the Teva list included a

number of products that Defendant Sandoz did not even sell.

       154.    It was not uncommon for generic manufacturers to communicate with each other

about products that they did not sell. In another example, Defendants Teva, Wockhardt, and

Mylan collusively raised pricing on Enalapril in July 2013 (discussed more fully below). After a

lengthy conversation with Defendant Patel in the midst of the price increases, Defendant

Aprahamian of Taro (not in the market for Enalapril at that time) sent an internal e-mail,




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including to M.P., a senior Taro executive, stating "[t]here has been some significant changes in

the market landscape with this product and I'd like to get product back in Taro label (and fast)."

And Taro did move fast. By December 2013, Aprahamian spoke again with Defendant Patel,

M.A., an account manager at Defendant Mylan, and M.C., a senior sales and marketing

executive at Defendant Wockhardt. Taro then re-entered the Enalapril market and matched

competitor pricing.

         155.   In another example, on January 1, 2013 – the day before a substantial Mylan price

increase on a number of items – Defendant Green of Teva spoke five (5) times with Defendant

Nesta of Mylan. The next day, Defendant Green spoke with Defendant Kellum of Sandoz.

Defendant Kellum then sent an internal e-mail to the Sandoz team stating "[j]ust heard from a

customer that – Teva and Mylan . . . have raised price on Nadolol to our levels and Mylan took a

significant price increase on Levothyroxine. Let's please be cautious on both these products."

Despite that fact that Teva did not sell Levothyroxine, Green still conveyed to Sandoz that Mylan

raised price on that product.

         156.   Unlike their branded counterparts, generic drugs are commodities and generic

manufacturers are constantly making decisions to enter new markets and leave existing markets.

Often these decisions are made, at least in part, based on who the competitors are and how strong

the relationship is between the two companies. As one example, in July 2013, Defendant Sandoz

was looking to implement a "Taro Strategy" that involved temporarily delisting ten products that

they overlapped on with Defendant Taro. This strategy would allow Taro to raise price on these

products while Sandoz was out of the market, and then Sandoz could re-enter later at the higher

price.




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       157.     This interdependence between generic manufacturers is further demonstrated by

the countless examples of companies sharing sensitive information with competitors as a matter

of course. The Plaintiff States have gathered evidence going back more than a decade of generic

companies routinely communicating and sharing information with each other about bids and

pricing strategy. This includes forwarding bid packages received from a customer (e.g., a

Request for Proposal or "RFP") to a competitor, either on their own initiative, or at the request of

a competitor.

       158.     Defendants and other generic drug manufacturers also share information among

themselves regarding the terms of their contracts with customers, including pricing terms, price

protection and rebates. Defendants use this information to negotiate prices or terms that are

more favorable to them, often to the ultimate detriment of payors and consumers. For instance,

in December 2013, Defendant Teva was negotiating new price increase language in its customer

contracts, and wanted some comfort that its competitors had similar language. On December 23,

2013, Defendant Rekenthaler spoke with Defendant Nesta of Mylan three times, including a

thirteen (13) minute call. Immediately after hanging up the phone with Nesta after the third call,

Rekenthaler sent the following e-mail:




       159.     Defendants were well aware that what they were doing was illegal and took steps

to cover up evidence of the overarching conspiracy. For example, in May 2014, a large customer




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of Taro’s received a bid on a product not identified in the Amended Complaint and gave Taro an

opportunity to bid to retain the business. A.L., a senior contracting executive at Taro, sent an

internal e-mail stating "FS ok, will not protect." E.G., a senior managed care executive at Taro,

responded "explain FS, (Fair Share)?" Defendant Aprahamian replied:




Similarly, handwritten notes from an internal Sandoz business review presentation from May

2017 – after the States' investigation was well underway – read: "Avoid Fair Share terminology

on slides – underdeveloped or overdeveloped is better."

        160.    To avoid creating a potentially incriminating paper trail, Defendant Kellum of

Sandoz routinely admonished colleagues for putting information that was too blatant in e-mails,

understanding that it could lead to significant legal exposure for both the company and the

individuals involved.

        161.    It bears noting that the examples referenced in this section, and in the sections that

follow, include only illustrative examples of the types of conduct described. Indeed, to date,

many of the Defendants have made no document productions in connection with the Plaintiff

States’ investigation, including Defendants Amneal, Apotex, Breckenridge, Glenmark, Lupin,

and Zydus, and several other Defendants have made only limited productions focused on

particular drugs or custodians, including Actavis, Mylan, Par, and Wockhardt. Even Teva, the

central figure in this Complaint, has to date only produced documents from two custodians to the

Plaintiff States.

                6.      Generic Drug Price Spikes Since 2013

        162.    Against this industry backdrop, the prices for a large number of generic

pharmaceutical drugs skyrocketed throughout at least 2013 and 2014. According to one report,


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"[t]he prices of more than 1,200 generic medications increased an average of 448 percent

between July 2013 and July 2014." A separate analysis conducted by Defendant Sandoz showed

that during the calendar years 2013 and 2014, there were 1,487 "large price increases" (increases

of the WAC price greater than 100%), of which 12% (178) were increased by greater than

1,000%.

        163.     These increases in 2013 and 2014 were staggering compared to prior years. The

following table (which contains information about WAC pricing changes through October 2014

only) demonstrates the dramatic surge in the number of large drug price increases per year in

2013 and 2014:




        164.     A January 2014 survey of 1,000 members of the National Community

Pharmacists Association ("NCPA") found that more than 75% of the pharmacists surveyed

reported higher prices on more than 25 generic drugs, with the prices spiking by 600% to 2,000%

in some cases.

        165.     More than $500 million of Medicaid drug reimbursement during the twelve

months ending on June 30, 2014 was for generic drugs whose prices had increased by over

100%.

        C.       The Illegal Schemes

                 1.     The Overarching Conspiracy In Operation: Customer And Market
                        Allocation Agreements To Maintain Market Share And Avoid Price
                        Erosion



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       166.    When entering a generic drug market, Teva and the other Defendants routinely

and systematically sought out their competitors in an effort to reach agreement to allocate market

share, maintain high prices and/or avoid competing on price. These agreements had the effect of

artificially maintaining high prices for a large number of generic drugs and creating an

appearance of competition where in fact little to none existed.

       167.    Some illustrative examples of these agreements are set forth below, organized by

company relationship and describing specific examples relating to specific drugs over time.

                      a.       Teva/Mylan

                             i.       Fenofibrate

       168.    Fenofibrate—also known by brand names such as Tricor—is a medication used to

treat cholesterol conditions by lowering “bad” cholesterol and fats (such as LDL and

triglycerides) and raising “good” cholesterol (HDL) in the blood.

       169.    As of the end of 2012, Teva and Lupin were the only major suppliers of generic

Fenofibrate 48mg and 145mg tablets, with Teva having approximately 65% market share and

Lupin having approximately 35% market share.

       170.    On February 27, 2013, K.G., a senior marketing executive at Teva, e-mailed

multiple Teva colleagues asking them to provide “any noise you may be hearing in the market

relative to additional competition on Fenofibrate 48mg and 145mg.” Specifically, K.G. was

seeking “Competitive Intelligence” on Mylan’s potential entry to the market. In order to get this

information, Defendant Green called Mylan’s Vice President of National Accounts, Defendant

Jim Nesta. Over the course of that day, Green and Nesta spoke at least four (4) different times.

That same day, Green reported back to K.G. and other Teva colleagues what he had learned:

Mylan planned to launch Fenofibrate 48mg and 145mg sometime around November 2013.




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       173.    In one striking example of the coordination between the three companies,

Defendant Nesta called Defendant Green at 2:42pm on May 7 and they spoke for more than

eleven (11) minutes. Immediately after hanging up the phone – at 2:54pm – Nesta called

Defendant Berthold and spoke for nearly three (3) minutes.

       174.    On May 10, 2013, K.G. received the Teva sales and profitability information he

requested. After having the information for barely a half hour, and before there was even a

formal price challenge by Mylan at any of Teva’s customers, K.G. concluded that “it is best to

concede Econdisc [to Mylan] and try to maintain the balance of our customers . . . .” By

conceding Econdisc to Mylan, Teva would walk away from its single biggest customer (in terms

of gross profit) for the 48mg tablets and the third largest out of six customers (in terms of gross

profit) for the 145mg tablets. Defendant Patel, who had been at Teva for only two weeks at that

point, said she “want[ed] to understand the logic you [K.G.] use for determining this.” The

logic, of course, was to allocate a customer of sufficient size to Mylan so that Mylan would be

comfortable with its “fair share” and not need to compete on price to acquire market share.

       175.    Teva executives immediately reached out to executives at Mylan and Lupin

through a series of phone calls. These calls include at least those listed below. On these calls,

executives of Teva, Mylan, and Lupin confirmed the market allocation scheme.

      Date      Call Type   Target Name           Direction   Contact Name            Duration
      5/10/2013 Voice       Nesta, Jim (Mylan)    Outgoing    Green, Kevin (Teva)         0:00:28
      5/10/2013 Voice       Nesta, Jim (Mylan)    Incoming    Green, Kevin (Teva)         0:10:46
      5/10/2013 Voice       Nesta, Jim (Mylan)    Incoming    Green, Kevin (Teva)         0:02:19
      5/10/2013 Voice       Nesta, Jim (Mylan)    Outgoing    Patel, Nisha (Teva)         0:05:25
      5/10/2013 Voice       Patel, Nisha (Teva)   Outgoing    Berthold, David (Lupin)     0:00:17
      5/10/2013 Voice       Patel, Nisha (Teva)   Incoming    Berthold, David (Lupin)     0:07:26
      5/10/2013 Voice       Patel, Nisha (Teva)   Incoming    Berthold, David (Lupin)     0:17:28

       176.    Teva made good on its agreement to concede Econdisc to Mylan. On May 15,

2013, Econdisc informed Teva that a new market entrant had submitted a competitive offer for



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Fenofibrate 48mg and 145mg tablets and asked Teva for a counteroffer to retain Econdisc’s

business. Less than an hour after receiving the notice of the price challenge, Defendant Green

recommended conceding Econdisc based on “prior conversations.” K.G. later agreed: “this is

the customer we should concede on Fenofibrate.”

       177.    Following Teva’s internal confirmation of the market allocation scheme, Teva

executives spoke with executives at Mylan and Lupin numerous times. These calls include at

least those listed below. On these calls, executives of Teva, Mylan, and Lupin confirmed that

Teva was sticking to the market allocation scheme by conceding Econdisc to Mylan.

      Date      Call Type   Target Name               Direction   Contact Name            Duration
      5/16/2013  Voice      Patel, Nisha (Teva)       Outgoing    Berthold, David (Lupin)     0:00:36
      5/16/2013  Voice      Patel, Nisha (Teva)       Incoming    Berthold, David (Lupin)     0:02:07
      5/16/2013  Voice      Patel, Nisha (Teva)       Incoming    Berthold, David (Lupin)     0:00:07
      5/16/2013  Voice      Patel, Nisha (Teva)       Incoming    Berthold, David (Lupin)     0:03:12
      5/16/2013  Voice      Patel, Nisha (Teva)       Incoming    Berthold, David (Lupin)     0:00:04
      5/16/2013  Voice      Patel, Nisha (Teva)       Outgoing    Berthold, David (Lupin)     0:05:29
      5/16/2013  Voice      Patel, Nisha (Teva)       Outgoing    Berthold, David (Lupin)     0:00:34
      5/17/2013  Voice      Berthold, David (Lupin)   Outgoing    Nesta, Jim (Mylan)          0:02:21
      5/17/2013  Voice      Berthold, David (Lupin)   Incoming    Green, Kevin (Teva)         0:10:06
      5/17/2013  Voice      Nesta, Jim (Mylan)        Outgoing    Green, Kevin (Teva)         0:00:04
      5/17/2013  Voice      Nesta, Jim (Mylan)        Incoming    Green, Kevin (Teva)         0:11:50
      5/17/2013  Voice      Nesta, Jim (Mylan)        Outgoing    Green, Kevin (Teva)         0:02:23
      5/17/2013  Voice      Patel, Nisha (Teva)       Outgoing    Berthold, David (Lupin)     0:00:09
      5/17/2013  Voice      Patel, Nisha (Teva)       Incoming    Berthold, David (Lupin)     0:00:21
      5/17/2013  Voice      Patel, Nisha (Teva)       Outgoing    Berthold, David (Lupin)     0:11:12
      5/17/2013  Voice      Nesta, Jim (Mylan)        Incoming    Green, Kevin (Teva)         0:04:25
      5/17/2013  Voice      Nesta, Jim (Mylan)        Outgoing    Green, Kevin (Teva)         0:00:05
      5/17/2013   Text      Nesta, Jim (Mylan)        Outgoing    Green, Kevin (Teva)         0:00:00
      5/17/2013  Voice      Nesta, Jim (Mylan)        Incoming    Green, Kevin (Teva)         0:16:02

                    ii.        Clonidine-TTS Patch

       178.    Clonidine-TTS Patch—also known by the brand name Catapres-TTS —is a

medication in the form of a transdermal patch that is used to treat high blood pressure.

       179.    As of September 2011, Mylan and Teva were at rough parity in the market for

generic Clonidine-TTS, with Mylan having approximately 48.4% market share and Teva having


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approximately 44.4% market share. At the end of 2011 and beginning of 2012, however, Teva

began to take more than its “fair share.”

       180.    In November 2011, Teva took over Mylan’s business for Clonidine-TTS at

Walgreens after Walgreens solicited Teva to provide a bid. Then, in late January 2012, Cardinal

Health solicited a bid from Teva for a one-time-buy to cover an alleged short-term “supply

disruption” that Mylan was experiencing. A few days after Teva submitted its offer to Cardinal

for the one-time-buy, Cardinal asked Teva to become Cardinal’s primary supplier for Clonidine-

TTS. Believing that Cardinal’s request was prompted by Mylan having supply issues, Teva

accepted and took over the primary position at Cardinal for Clonidine-TTS.

       181.    On February 10, 2012, the move of Cardinal’s business to Teva prompted K.G. of

Teva to order his colleagues to get intelligence on the extent of Mylan’s alleged supply issues.

That same day, Defendant Rekenthaler called B.P., a senior national accounts executive at

Mylan, to obtain the information and they spoke for six (6) minutes. Later that day, Rekenthaler

reported back to his Teva colleagues that, contrary to Teva’s assumptions, “Mylan is back in

supply” and cautioned that Teva should “tread carefully.” Rekenthaler was concerned that

Mylan might retaliate against Teva for taking more than its “fair share” without consulting with

Mylan. With the awards from Walgreens and Cardinal, Teva was projected to have between

65%-70% market share for Clonidine-TTS.

       182.    To gain back some market share, Mylan challenged Teva’s Clonidine-TTS

business at McKesson. To de-escalate the situation, Teva “conceded the McKesson business to

Mylan.” Then, in April 2012, Mylan aggressively challenged Teva’s Clonidine-TTS business at

CVS to gain back market share and further signal its displeasure with Teva for taking the

Cardinal business. Internally, Teva lamented that Mylan was “trashing the price in pretty much a




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two-player market.” Ultimately, Teva “conceded [the CVS business] due to price.”

       183.    Teva heard Mylan’s retaliatory message loud and clear. On May 4, 2012, just a

few days after losing the CVS Clonidine-TTS business to Mylan, Teva was approached by

Cardinal about a different drug, Doxazosin. At the time, Mylan was the primary supplier for

Doxazosin at Cardinal. Cardinal representatives told Teva that Mylan was on backorder for one

of the four Doxazosin dosage strengths until the end of June 2012, but Cardinal wanted to move

the entire Doxazosin line to Teva. Rather than take this business, K.G. cautioned his colleagues

that Teva “will need to be cautious after what happened with Clonidine. I would rather cover

them on a short-term basis where they have an issue and revisit if it becomes a more prolonged

and extensive event.”

       184.    On July 18, 2012, E.G., a senior Teva product manager, circulated an internal e-

mail to Teva’s national account managers that the “[m]arket rumor is Mylan may be having

Clonidine Patch supply issues.” Teva learned of this “rumor” directly from Mylan over the

course of at least two calls between Defendants Green and Nesta on July 17 and the morning of

July 18, 2012. Those calls lasted three (3) minutes and five (5) minutes, respectively.

       185.    On the morning of September 28, 2012, Defendants Nesta and Green spoke by

phone at least twice, once for four (4) minutes and once for fourteen (14) minutes. On those

calls, Nesta informed Green of Mylan’s impending temporary exit from the Clonidine-TTS

market. As expected, later in the day on September 28, 2012, Teva began getting solicitations

from Mylan customers, such as Wal-Mart and CVS, seeking a bid from Teva for Clonidine-TTS

because Mylan had just issued a temporary discontinuation notice.

       186.    Mylan’s exit from the Clonidine-TTS market presented an opportunity to raise

prices and collusively reallocate the market at the inflated prices when Mylan fully reentered the




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market. For example, in April 2012, before Mylan had challenged Teva’s Clonidine-TTS

business at CVS, Teva’s direct invoice price to CVS for the .1mg, .2mg, and .3mg Clonidine-

TTS was $22.13, $37.81, and $54.41, respectively. Mylan’s retaliation against Teva drove the

prices for CVS down to below $10.49, $18.17, and $26.51 for those dosages, respectively.

Because of Mylan’s exit from the market, however, when Teva took back the CVS business in

October 2012, Teva was able to charge CVS a direct invoice price of $33.28, $56.08, and

$80.76, respectively.

       187.    Mylan and Teva maintained regular contact as former Mylan customers came to

Teva because of Mylan’s supply issues with Clonidine-TTS. For example, Teva submitted bids

to CVS and Wal-Mart—which were ultimately accepted by those companies—on October 4,

2012 and October 5, 2012, respectively. In the days leading up to those bids, Teva and Mylan

representatives had at least the following phone calls:

       Date      Call Type Target Name               Direction   Contact Name          Duration
        10/1/2012 Voice Rekenthaler, David (Teva)    Outgoing    B.P. (Mylan)            0:01:00
        10/1/2012 Voice Nesta, Jim (Mylan)           Incoming    Green, Kevin (Teva)     0:00:10
        10/1/2012 Voice Nesta, Jim (Mylan)           Outgoing    Green, Kevin (Teva)     0:00:04
        10/1/2012 Voice Nesta, Jim (Mylan)           Incoming    Green, Kevin (Teva)     0:00:06
        10/1/2012 Voice Nesta, Jim (Mylan)           Outgoing    Green, Kevin (Teva)     0:05:00
        10/4/2012 Voice Green, Kevin (Teva)          Incoming    Nesta, Jim (Mylan)      0:11:00

       188.    Teva and Mylan representatives continued to keep in contact going forward so

that if Mylan reentered the Clonidine-TTS market, Mylan could regain market share without

eroding price through competitive bidding. For example, on October 10, 2012, Defendants

Green and Nesta spoke for ten (10) minutes. That same day, E.G. of Teva sent an e-mail to Teva

national account managers and other senior representatives reiterating that Teva representatives

should “advise of any update to this market intelligence.”




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       189.    In or about February 2013, Mylan relaunched Clonidine-TTS and began seeking

market share. In early March 2013 Mylan sought to secure the Clonidine-TTS business at

Econdisc. Rather than competitively bid for the business, Teva’s internal documents state that

they chose to “concede” Econdisc back to Mylan. By April 2013 Teva also “gave up Rite Aid”

and “concede[d]” McKesson to Mylan.

       190.    In a stark admission of Teva’s willingness to help Mylan regain market share

without competition, Defendant Rekenthaler acknowledged in an internal e-mail dated February

28, 2013 that Teva was “trying to concede the Clonidine business at CVS” to Mylan. Because

Teva had been able to increase the price at CVS following Mylan’s exit, Mylan gave a bid to

CVS that was higher than Mylan’s “previous price prior to their supply problems.” For its part,

Teva was “not going to make any effort in the form of price concessions to retain the CVS

business” if CVS brought Mylan’s price challenge to Teva’s attention. CVS pushed Mylan to

lower its bid in light of its prior prices but, confident that its brinkmanship would work because

of Teva’s cooperation, Mylan would not do so. Ultimately, CVS declined Mylan’s bid because

of Mylan’s refusal to lower its bid in light of its prior pricing. Nonetheless, because Mylan’s bid

to CVS was not competitive—but rather an effort to allocate the market without eroding price—

Teva was able to maintain artificially higher prices at CVS.

       191.    To carry out their scheme to allocate the Clonidine-TTS market without eroding

price, representatives of Teva and Mylan remained in regular contact. In February and March

2013 alone, Teva and Mylan representatives called each other at least 33 different times and

spoke for nearly 2 hours and 45 minutes.

       192.    By April 2013, Teva had “conceded all customers [it] plan[ned] on conceding.”

Having successfully allocated the market, however, Mylan and Teva were now conspiring to




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raise prices on Clonidine-TTS. On April 8, 2013, J.L., a marketing manager at Teva, reported

internally to his Teva colleagues, including Defendant Rekenthaler, that Mylan had agreed to

raise prices:




[TUS000381907.] Defendant Green knew that Mylan would follow a price increase on

Clonidine-TTS because earlier that day, Green had two phone calls with Defendant Nesta

(Mylan), with one lasting one (1) minute and the other lasting eight (8) minutes. In a follow up

call the following day between Defendants Green and Nesta lasting eleven (11) minutes, Mylan

and Teva reconfirmed their agreement that Mylan would follow a Teva price increase on

Clonidine-TTS.

                    iii.      Tolterodine Extended Release

        193.    Tolterodine Extended Release (“Tolterodine ER”)—also known by the brand

name Detrol LA—is a medication used for the treatment of an overactive bladder.

        194.    Pfizer is the branded drug manufacturer for Detrol LA. To resolve patent

infringement claims against Teva by Pfizer related to Detrol LA, Teva and Pfizer entered into a



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settlement agreement under which Teva would distribute an authorized generic of Tolterodine

ER. To resolve similar claims, Mylan entered into its own settlement agreement with Pfizer,

which allowed Mylan to launch its generic version Tolterodine ER. On October 31, 2013,

Mylan’s ANDA for Tolterodine ER was approved. Under their respective settlement agreements

with Pfizer, this triggering event allowed Teva and Mylan to launch their respective generics on

January 2, 2014.

       195.    Teva planned to launch on January 2, 2014. During the first half of December

2013, Teva was under the impression—based on conversations with potential customers—that

Mylan was not in a position to launch until 30 to 60 days after Teva launched. Nonetheless,

Teva was considering how to allocate the market with Mylan when it did eventually launch. On

December 3, 2013, J.K., a marketing executive at Teva, sent an e-mail to Defendant Rekenthaler,

K.G., and several other Teva colleagues stating “we prepared for 50-60 share… I am looking

into the numbers as far as what this means.” To prepare offers and figure out the allocation of

customers that would bring Teva its desired 50% to 60% market share, Teva executives were

instructed to gather usage from potential customers.

       196.    Through the first half of December 2013, as Teva was soliciting usage amounts

from potential customers, customers were asking Teva to send in pricing offers before the

launch. Teva resisted sending out those offers and instead did not plan to do so until the January

2, 2014 launch date. Teva’s delay in putting together pricing for potential customers was part of

a plan to drive up the amount it could charge for Tolterodine ER. Specifically, Teva expected

that on January 1, 2014, Pfizer would raise the price of branded Detrol LA. This would allow

Teva to peg its price to the now inflated price of the branded drug and thereby command a higher

price for Tolterodine ER on the January 2, 2014 generic launch date.




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          197.   At the end of the day on Friday December 20, 2013, T.C. of Teva learned from

D.H. at Cardinal that Mylan intended to launch its Tolterodine ER on January 2, 2014. D.H.

further provided T.C. with Mylan’s pricing for two dosages, and conveyed that Mylan is

“looking for a 40% market share,” and that Teva “can figure the rest out.”

          198.   Figure it out they did. T.C. informed her Teva colleagues of Mylan's plans. K.G.

of Teva then worked over the weekend to turn this information into initial pricing for all of

Teva's potential customers and then shared it internally. In a telling admission that Teva had no

intention to bid competitively for all accounts, K.G. noted that the next step was “to pick who

should receive” bids. The goal in “pick[ing] who should receive” bids was to ensure that both

Mylan and Teva received their previously stated market share goals: Teva wanted “50-60 [%]

share” while Mylan was only “looking for a 40% market share.”

          199.   On Monday, December 23, 2013, Rekenthaler, Patel, K.G., T.C., and several

others at Teva had a telephone conference scheduled from 8:00am to 9:00am to discuss the

Tolterodine ER launch strategy. Just minutes before the meeting was to start, Rekenthaler tried

calling Defendant Nesta at Mylan. Nesta returned Rekenthaler’s call at 8:15am, which was

during Teva’s scheduled Tolterodine ER phone conference. Rekenthaler nonetheless answered

Nesta’s call on his cell phone and the pair spoke for 1 minute, 26 seconds. Immediately after

Teva’s scheduled Tolterodine ER phone conference, Rekenthaler tried calling Nesta two more

times. At 10:22am, Nesta returned Rekenthaler’s calls and the pair spoke for an additional 12

minutes, 2 seconds. During these calls, Defendants Rekenthaler and Nesta exchanged the details

about their offers to various customers, including the specific contractual language used in their

offers.

          200.   For example, at 10:33am—while Rekenthaler was still on the phone with Nesta,

K.G. sent an e-mail to Rekenthaler and others asking about the appropriate contractual language

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to use in offers about the potential for price increases. Minutes after Rekenthaler finished his

call with Nesta, he replied with the exact language, in quotes, that Mylan was using:




Most importantly though, during these calls between Defendants Nesta and Rekenthaler, Teva

and Mylan reached an agreement to allocate the Tolterodine ER market on launch day so that

Teva and Mylan could reach their target share without eroding pricing.

       201.    At 12:12pm on December 23, 2013, K.G. circulated a revised version of Teva’s

pricing plan for the Tolterodine ER launch. This new version incorporated Teva and Mylan’s

plan to allocate the market, including the submission of cover bids and abstention from bidding.

Notably, the revised pricing plan included the following chart identifying the major customers

(and their associated market share percentage) that Teva would receive to get close to its desired

60% market share while Mylan would get its desired 40% share:




[TUS000654798.]

       202.    In exchange for Mylan either submitting cover bids or abstaining from bidding on

these customers, Teva reciprocated by submitting cover bids and/or refusing to submit bids to

customers that Mylan targeted. This is demonstrated by the fact that Teva’s newly revised


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       203.       In addition to submitting inflated bids for Walgreens, Cigna, Humana, Optum RX

Prime Therapuetics, and Kaiser, Teva agreed to refrain from bidding for certain customers, such

as Publix, Ahold, Hannaford, and PVA Health.

       204.       The following day, on December 24, 2013, Defendants Rekenthaler and Nesta

had two more calls to confirm and refine Teva and Mylan’s market allocation agreement. Those

calls lasted for nine (9) minutes and eight (8) minutes, respectively.

                      iv.       Capecitabine

       205.       Capecitabine, also known by the brand name Xeloda, is an anti-cancer

chemotherapy drug used to treat a variety of cancers, including breast and colon cancer.

       206.       To resolve patent litigation, the brand manufacturer, Roche Pharmaceuticals,

entered into settlement agreements with various generic manufacturers—including Teva and

Mylan—that would allow those generic manufacturers to sell generic Capecitabine after a certain

period of time.

       207.       As early as January 2014, both Teva and Mylan were making plans for their

eventual launch of Capecitabine. Part of this planning included the sharing of information so

that they could allocate the market between them. For example, in a January 31, 2014 e-mail,

J.P., a national accounts executive at Teva, informed K.G., Defendant Rekenthaler, and others at

Teva that Mylan was courting a specific customer, Armada Health Care, and that “Mylan

estimated Armada’s share on [Capecitabine] at 37%.” Teva incorporated this data it received



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from Mylan into its own launch plan for Capecitabine.

       208.    On February 26, 2014, Defendant Nesta of Mylan called Defendant Rekenthaler

of Teva and the two spoke for sixteen (16) minutes. Nesta informed Rekenthaler that Mylan

would not be able to launch on time with Teva. Rekenthaler immediately reported this news

internally at Teva.

       209.    In early March 2014, Teva launched as the exclusive generic Capecitabine

manufacturer. Teva remained the exclusive generic Capecitabine manufacturer until Mylan

entered in August 2014.

       210.    On August 4, 2014, Defendants Nesta and Rekenthaler spoke by phone three

times. On these calls, Nesta informed Rekenthaler that Mylan would soon enter the Capecitabine

market and the pair discussed how to allocate the market.

       211.    For example, at 12:46pm that day, Nesta called Rekenthaler and they spoke for a

little more than five (5) minutes. Immediately after hanging up the phone, Rekenthaler sent the

following e-mail:




Defendant Cavanaugh responded that she would be in the office the next day and wanted to

discuss it with Rekenthaler in person.

       212.    Less than an hour later, Rekenthaler sent another e-mail, just to Defendant Patel,

asking her to run a customer report and indicating that Mylan will “be looking at ABC,




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McKesson, and Econdisc as well as a couple small guys, probably aiming at 35% share.” Mylan

did seek the business for each of these three companies and Teva conceded each of them,

pursuant to the agreement Rekenthaler had reached with Nesta.

       213.    On August 7, 2014, McKesson informed Teva that it received a bid for

Capecitabine and gave Teva the opportunity to bid to retain the business. Defendant Patel then

sent an e-mail to K.G., Defendant Rekenthaler, and C.B. at Teva to ask if they had “[t]houghts in

regards to [loss of exclusivity].” C.B., a senior operations executive at Teva, replied that Teva

did "have a plan,” but C.B. did not want to put the plan in writing. Instead C.B. told Patel she

“wi[ll] call” to discuss it. K.G., separately, questioned whether the competitive bid was coming

from Mylan, and asked Defendant Rekenthaler whether he had any additional information.

Defendant Rekenthaler also did not want to put that "additional information" in writing, so he

responded: "I'll catch up with you today."

       214.    The “plan” was the market allocation scheme previously agreed to by Defendants

Nesta and Rekenthaler on behalf of Mylan and Teva. The same day that Mylan put a bid in to

McKesson – August 7, 2014 – Defendants Nesta and Rekenthaler spoke by phone for nearly

thirteen (13) minutes. On that call, Defendants Rekenthaler and Nesta discussed Mylan’s bid to

McKesson and reconfirmed their market allocation scheme.

       215.    This market allocation “plan” was highlighted in other e-mails as well. On

August 10, 2014, C.B. e-mailed Defendant Rekenthaler, Defendant Patel, and K.G. about the

plan. C.B. stated that C.B.'s “notes are showing that are (sic) plan is to concede McKesson,

Econdisc, Rite-Aid, and Cardinal,” but that C.B. wanted to confirm. Defendant Rekenthaler

corrected C.B., stating that Mylan is “going after McKesson, ABC (only) and Econdisc,” but that

Teva “ha[s] not heard from Econdisc yet.” Rekenthaler knew Mylan was targeting Econdisc,




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even though Econdisc had not contacted Teva, because he and Defendant Nesta had previously

discussed it.

       216.     The next morning, at 8:30am on August 11, 2014, Defendant Rekenthaler alerted

others at Teva that Mylan had received formal approval to market Capecitabine and that he was

"[c]hecking on shipping status." Five minutes later, Rekenthaler received a call from Defendant

Nesta. After exchanging voicemails, the two spoke at 8:52am. The call lasted nearly six (6)

minutes. Shortly after hanging up the phone, at approximately 9:02am, Rekenthaler e-mailed

K.G., Defendant Patel and others at Teva to confirm that Mylan’s “primary targets are ABC,

McKesson and Econdisc.” He added that Teva “may hear from some other smaller guys as well”

and that he “do[es]n’t expect price to be aggressive.”

       217.     In accordance with their market allocation scheme, Mylan targeted and Teva

conceded the Capecitabine business at ABC, Econdisc, and McKesson/Rite-Aid.

       218.     Teva also conceded some of the “smaller guys” as well, pursuant to the

agreement. On August 14, 2014, for example, a smaller customer – Cigna – informed Teva that

it received a bid for Capecitabine. On August 18, 2014, Rekenthaler called Nesta to discuss the

market allocation scheme and Mylan’s bid to Cigna. The pair talked for thirteen (13) minutes.

The next day, K.G. circulated an internal e-mail confirming that Teva “will be conceding this

business” at Cigna.

                b.     Teva/Sandoz

                      i.    Portia and Jolessa

       219.     Ethinyl estradiol and levonorgestrel, when used in combination, is an oral

contraceptive used to prevent pregnancy. During the relevant time period, both Teva and Sandoz

marketed ethinyl estradiol and levonorgestrel under multiple names – including both Portia and




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Jolessa.

       220.    In or around May 2012, Teva had much higher market share than Sandoz for both

Portia and Jolessa. Teva’s market share for Portia was 37% compared to Sandoz’s 17%, while

Teva’s market share for Jolessa was 43% compared to Sandoz’s 11%.

       221.    On May 11, 2012, Walmart contacted Teva with a right of first refusal and

explained that another supplier had made an offer for the sale of four drugs, including Portia and

Jolessa. T.C., a senior sales executive at Teva, responded, “We really need to know who is

challenging. Sandoz??? Glenmark???” The customer responded that it was Sandoz. T.C. had

initially been very reluctant to let Sandoz have the business, candidly remarking to the customer

that, “[w]e are not going to let Walmart go to Sandoz [because] we have conceded a number of

accounts to Sandoz that were not as strategic to Teva.”

       222.    After sending out a competitive offer for the sale of three drugs, including Portia

and Jolessa, to the customer on May 16, 2012 and an even more competitive offer on May 18 –

Teva abruptly backtracked on May 23, 2012 and removed Portia and Jolessa from the offer. The

night before this change in plans, on May 22, Defendant Green of Teva spoke on the phone with

CW-2, then at Sandoz, for five (5) minutes, and agreed to withdraw the offer for Portia and

Jolessa. The decision to concede the Walmart business to Sandoz led to a more equal share split

between the companies for both Portia and Jolessa. Teva discussed the decision internally and

explained that the reason for the “change in plans” was that Teva was "going to concede this

business to Sandoz . . ..”

       223.    Sandoz continued to coordinate with Teva to achieve its "fair share" of the

markets for both Portia and Jolessa. On July 2, 2013, another key customer contacted Teva

stating it had received bids on Portia and Jolessa and in order for Teva to retain the business,




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Teva would need to submit its “best bids.” On July 9, 2013, CW-1 of Sandoz called Defendant

Patel and left a voicemail. Shortly thereafter, they connected for a sixteen (16) minute call. On

July 10, Teva learned that the challenger was Sandoz. At 12:16pm, Defendant Rekenthaler

forwarded an e-mail to Defendant Patel and posed the question, “Who’s over at Sandoz now?”

Patel did not respond by e-mail, but due to the close proximity of their offices she likely related

her conversation with CW-1 directly to Defendant Rekenthaler.

       224.    Defendant Rekenthaler then called CW-2 at Sandoz at 1:26pm that same day and

they spoke for two (2) minutes. CW-2 called Rekenthaler back a few minutes later and they

spoke for nine (9) minutes. CW-2 and Rekenthaler would speak once more later that day, at

4:48pm, for seven (7) minutes. Later that same evening, Teva submitted a cover bid to the

customer for Portia and Jolessa, which the customer described as “not aggressive enough” for

their primary supply. Teva submitted an intentionally inflated bid for the two drugs in order to

ensure that Sandoz obtained the primary award with the customer.

                     ii.       Temozolomide

       225.    Temozolomide, also known by the brand name Temodar, is used to treat

glioblastoma multiforme and refractory anaplastic astrocytoma, both cancers of the brain.

       226.    The patent on Temodar was set to expire in early 2014, but both Teva and Sandoz

had independently obtained the right to launch in August 2013 – six months prior to the patent

expiration. Leading up to the launch of the generic, Teva coordinated with Sandoz to divide up

the market.

       227.    On July 18, 2013, a large retail pharmacy customer ("The Pharmacy") submitted

an RFP to Sandoz for Temozolomide. Playing by the rules of the road, Sandoz waited to see

what Teva was going to do before submitting their own bid. That same day, CW-1 received a




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telephone call from Defendant Patel. Patel sought information on Sandoz's current customers

and discussed options to allocate customers for Temozolomide. Nothing was agreed to on that

call.

        228.   On July 22, 2013, P.G., a senior Sandoz executive, instructed his team to find out

Teva’s plans with regard to The Pharmacy: “Please find out if Teva is submitting an offer to

them.” The next morning, S.G., a national accounts executive at Sandoz, spoke with The

Pharmacy and asked The Pharmacy to find out Teva’s plans. S.G. summarized his call with The

Pharmacy to his team: “I just spoke to [The Pharmacy] regarding Temozolomide. [The

Pharmacy] has not yet received an offer from Teva on the product. At this time, [The Pharmacy]

is reaching out to Teva to understand their supply and launch status. [The Pharmacy] will be

circling back and I will share the feedback we receive with everyone on this email trail.”

        229.   At the same time, CW-1 was reaching out to Teva directly to get more

information. CW-1 called Defendant Patel at approximately 1:45pm on July 23, 2013. After

exchanging voicemails, they spoke for over fourteen (14) minutes that same afternoon.

        230.   Also on the afternoon of July 23, The Pharmacy replied to Sandoz and cryptically

delivered Teva’s message regarding its plans for Temozolomide:




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       231.    By using The Pharmacy as its intermediary, Teva was able to communicate to

Sandoz (a) when it was prepared to launch Temozolomide, (b) that it was not planning to

compete aggressively or pursue more than its fair share, (c) that it had sufficient stock of

Temozolomide to sustain around a 50% market share, and (d) an inquiry regarding Sandoz’s

plans for Temozolomide. Sandoz understood the implications of the communication, and

understood that “Teva is seeking a ~45-50% share.” One Sandoz executive responded internally

and exclaimed that this was “[g]reat news . . . !”

       232.    On July 30, 2013, another customer, CVS Caremark, contacted Teva asking for an

offer on Temozolomide. T.C., a senior sales executive at Teva, discussed the matter internally

and asked her boss, Defendant Rekenthaler, “[i]s the strategy to target CVS[?]” Rekenthaler

responded by alluding to the deal that had already been struck with Sandoz: “We’ll send offers

out to everyone. My instincts tell me Sandoz will end up with them as we’ll probably be more

focused on [The Pharmacy] on this one. Again, we’ll send them out an offer same time as

everyone else and respond from there.” Rekenthaler most likely got his information from

Defendant Patel. Just one day earlier, on July 29, 2013, Patel had called CW-1 at Sandoz and

spoke for nine (9) minutes, where the two discussed how to carve up the market for the drug.

       233.    Teva and Sandoz were also coordinating through other channels. After receiving

the RFP from The Pharmacy, S.G. of Sandoz coordinated with T.S., a senior account executive

at Teva, on a seven (7) minute call on July 29, 2013 followed by an eleven (11) minute call on

July 31, 2013. After those calls, S.G. suggested in an internal e-mail on July 31 that Sandoz cede

the business and instead submit a cover bid: “[The Pharmacy] has received an offer from Teva

on Temozolomide. They are asking for an offer from Sandoz. Even if we decide not to take this

business, I would recommend that we submit an offer.”




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       234.   Similarly, on July 29, 2013, Defendant Green spoke to CW-2 of Sandoz two (2)

times. The two spoke again on July 31, 2013 for six (6) minutes. During those calls, Green told

CW-2 about Teva's launch plans and that Teva wanted the The Pharmacy's business. The next

day, August 1, 2013, D.P., another Sandoz executive, e-mailed Defendant Kellum, conveying the

message from Green:




       235.   Teva and Sandoz communicated their future plans with each other for other

accounts in addition to The Pharmacy and CVS. On July 31, 2013, D.P. of Sandoz e-mailed an

update on Temozolomide to his coworker, stating: “Teva has sent offers to ABC and [The

Pharmacy] and is planning to send to Econdisc tomorrow[.]”

       236.   Going forward, Sandoz and Teva continued to coordinate with respect to

Temozolomide. On August 12, 2013, the same day as Teva's launch, CW-2 met in person with

Defendant Rekenthaler at the Grand Lux Café in Las Vegas during the NACDS Total Store Expo

conference. There, Rekenthaler discussed, among other things, Temozolomide and informed

CW-2 that Teva had officially launched and shipped all formulations of the drug.

       237.   Although Teva initially obtained the CVS account in August 2013 due to

Sandoz’s inability to supply the 250mg strength of Temozolomide, the companies had agreed



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that the account would revert back to Sandoz once Sandoz could supply that dosage strength. In

an internal e-mail dated August 16, 2013, a Teva employee confirmed the plan: “This is perfect

I spoke to [a CVS representative] and as soon as Sandoz is available to launch the 250mg we kill

the contract.”

       238.      CW-1 spoke to Defendant Patel both before and after Sandoz sent out any offers

regarding Temozolomide in an effort to develop and ensure the appropriate fair share balance

between the two competitors.

                        iii.   Tobramycin

       239.      Tobramycin, also known by the brand name Tobi, is an eye drop used to treat

bacterial infections.

       240.      Beginning in October 2013, prior to the first generic launch of Tobramycin (for

which Teva would have 180-day generic exclusivity), Sandoz began making plans for its entry

after Teva’s exclusivity period. These plans included going after Sandoz’s “fair share,” but

depended on Teva being “rational.” A.S., a Sandoz executive responsible for product launches,

wrote in an internal e-mail in October 2013: “[w]e will aim to go for our fair share of the market,

and exact goals will depend on how Teva goes into the market on day 1, and how rational they

behave on day 181.”

       241.      As expected, Teva was "rational" when it came time to give up share to Sandoz.

Nearing Teva’s loss of exclusivity and Sandoz’s entry, on July 1, 2014, Teva and Sandoz began

sharing information and coordinating to divide up the market for Tobramycin. Defendant Patel

exchanged seven (7) calls with CW-1 on July 1, during which they discussed Sandoz’s launch

plans and how to divide up the market for Tobramycin. Defendant Patel conveyed some of this

information in an internal Teva e-mail the same day, writing, “[A]s a heads up, I heard that




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Sandoz plans to ship Tobi [Tobraymycin] prior to Akorn. Hearing they are ready to ship once

they secure business, and we have been challenged.” The next day, Teva made the decision to

concede two different accounts for Tobramycin to Sandoz.

       242.    On July 7, 2014, Patel and CW-1 spoke five more times, including one call lasting

eleven (11) minutes. On these calls, CW-1 and Patel discussed how to divide up the market for

Tobramycin, including specific accounts that each would maintain or concede to the other. Patel

then memorialized the agreement in an e-mail two days later. The result: Teva would take

Walgreens, McKesson, Econdisc, ABC, and Omnicare; while Sandoz would take CVS, Cigna,

Prime Therapeutics, Kinney Drugs, and OptumRx. Teva also planned to concede the Cardinal

business to Sandoz.

       243.    Patel told CW-1 specifically that Teva would not even submit a bid to CVS. This

was significant because Tobramycin was a very expensive product, and Sandoz was able to

acquire the CVS business by offering only a nominal reduction to the extremely high Teva price.

       244.    According to plan, Teva conceded the CVS business to Sandoz after CVS

contacted Teva and requested that Teva submit a lower price to retain the business. Defendant

Rekenthaler wrote in an internal e-mail, “I notified CVS that we would be conceding their

business. [T.C.], never a pleasant call so I figured I’d simply handle it myself.” Teva also went

through with its plan to concede Cardinal to Sandoz.

       245.    CW-1, in turn, told Defendant Patel that Sandoz would not pursue business from

ABC and Walgreens. CW-1 spoke with Defendant Kellum about his conversations with

Defendant Patel and the agreement to stay away from Walgreens and ABC, and Kellum agreed

with the plan. Pursuant to that agreement, Sandoz made no effort to contact those two large

customers when it entered the market.




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       246.    CW-1 and Patel also discussed Sandoz’s target market share. CW-1 informed

Patel that Sandoz was seeking a 50% share, but Patel thought that was “unrealistic due to

Akorn’s expected entry.” After discussing Sandoz's share goal with Defendant Rekenthaler,

Patel went back to CW-1 and informed him “that a 25% share was reasonable.” Sandoz

appeared to comply with that, as Patel observed that Sandoz “appear[s] to be taking a responsible

approach.”

       247.    On July 9, 2014, one of the above allocated customers, Kinney Drugs, approached

Teva asking for a lower price on Tobramycin. A Teva analyst stated in an internal e-mail, “[w]e

are strategically going to decline to bid on this request per Nisha.” A Teva national accounts

director was confused by this decision and responded, “Really? Do you have a little more detail?

It is such a small qty.” The analyst responded and said, “[w]e were given direction from Nisha

not to pursue this opportunity. My understanding of this is there is a new market entrant,

(Sandoz) and we are trying to keep our current customers instead of picking up new business.”

Defendant Patel’s direction had come after she had called CW-1 at Sandoz twice on July 9, 2014

and left him a voicemail. CW-1 then returned her call the same day and the two spoke for four

(4) minutes.

                    iv.       Dexmethylphenidate HCL Extended Release

       248.    Dexmethylphenidate HCL Extended Release (“Dexmeth ER”) is a generic version

of the drug Focalin, and it is used to treat attention deficit hyperactivity disorder (ADHD).

       249.    As Sandoz was preparing to enter the market on the 40mg strength of Dexmeth

ER in February 2014, Defendant Patel of Teva spoke frequently with CW-1 at Sandoz about how

to divide the market so that Sandoz could obtain its fair share without significantly eroding the

price. On February 10, 2014, for example, CW-1 began internal preparations to pursue the Rite




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Aid account for Dexmeth ER 40mg. Later that night, CW-1 called Patel and the two spoke for

more than thirteen (13) minutes. On February 18, Patel left a voicemail for CW-1. That same

day, Teva conceded the Rite Aid account to Sandoz. Patel and CW-1 then spoke again by phone

on February 20, 2014.

       250.    Similarly, on February 12, 2014, Sandoz submitted a bid to ABC for the 40mg

strength of Dexmeth ER. After Patel spoke with CW-1 on February 10 and again on February

12, 2014, Teva agreed to let Sandoz have the business. In an e-mail to her team on February 12,

Patel summarized the understanding that Teva had reached with Sandoz:




One of the Teva national account managers on the e-mail responded by confirming that the

approach “makes total sense.”

       251.    On February 14, 2014, Teva also refused to lower its price for Dexmeth ER when

approached by a GPO customer, Anda, even though Sandoz's price was not significantly lower

than Teva's – essentially conceding the business to Sandoz.

       252.    Further, on February 20, 2014, another large retail customer approached Teva

indicating that because a new competitor had launched for Dexmeth ER, the customer was

entitled to certain price protection terms (i.e., a lower purchase price for the drug). Patel spoke

to CW-1 the same day for almost twenty-one (21) minutes. The next day, February 21, Patel

responded internally about the customer's request, with additional inside information from



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Sandoz, stating: "[t]he competitor (Sandoz) has not yet shipped. The new price will become

effective on and the price protection should be calculated on the date that Sandoz ships. The

expected date is 2/28/14."

       253.    Also on February 21, 2014, Patel sent a calendar invite to Rekenthaler and other

team members for a meeting on February 24 where one of the topics to be discussed was "Post

Launch Strategy" for “Dexmethylphenidate 40mg: Sandoz (AG) entering market.” Not

surprisingly, she called CW-1 a few days later, on February 27, to further coordinate about

Dexmeth ER.

       254.    Throughout this time period, Sandoz abided by fair share principles and its

ongoing understanding with Teva. In February 2014, Sandoz's target market share for varying

strengths of Dexmeth ER varied by how many manufacturers were in the market.

       255.    Teva and Sandoz were not alone in allocating customers for certain formulations

of Dexmeth ER. The agreement was also carried out by other manufacturers allowing Sandoz to

take share from them. In February 2014, for example, as Sandoz was seeking share on the 15mg

dosage strength of Dexmeth ER, Par “gave up the business to keep the market share even.” As

Sandoz was entering the market, Defendant Rekenthaler of Teva was speaking to M.B., a senior

national account executive at Par, right around the same times that Patel had been speaking to

CW-1 – including two calls on February 10 (18 and 3 minutes), two (2) calls on February 19 (2

and 22 minutes), and calls on February 24 and 25, 2014 – in order to effectuate the scheme.

       256.    The market allocation scheme between Teva and Sandoz on Dexmeth ER

continued through at least mid-2015. On May 6, 2015, for example, Teva declined to submit a

bid to Walgreens for Dexmeth ER 5mg on the basis that “there is equal share in the market

between competitors.” Similarly, on June 30, 2015, Sandoz declined to put in a bid to Managed




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Health Care Associates, a large GPO, on Dexmeth ER 20mg, on the basis that Sandoz already

had 57% market share – greater than its sole competitor on this dosage strength, Teva. When a

Sandoz national account representative communicated this decision to the customer, he lied and

explained that the decision not to bid was based on limited supply.

               c.      Teva/Lupin

                     i.       Lamivudine/Zidovudine (generic Combivir)

        257.   Lamivudine/Zidovudine, also known by the brand name Combivir, is a

combination of medications used in the treatment of human immunodeficiency virus (HIV)

infection. This combination of drugs is often prescribed to decrease the chances that an HIV-

positive patient will develop acquired immunodeficiency syndrome (AIDS) or other related

illnesses.

        258.   Teva launched its generic Combivir product in December 2011.

        259.   In mid-May 2012, two competitors – Lupin and Aurobindo – received FDA

approval for generic Combivir and were preparing to enter the market.

        260.   Even before those two companies obtained FDA approval, Teva was

communicating with both about how to share the market with the new entrants. Defendant

Rekenthaler was speaking to R.C., a senior-most executive at Aurobindo, while Defendant Green

was speaking to Defendant Berthold of Lupin and Defendant Grauso of Aurobindo.

        261.   For example, on April 24, 2012, T.C. of Teva asked her co-workers whether they

had heard about any new entrants to the market for generic Combivir. Defendant Rekenthaler

responded immediately that Aurobindo was entering. When T.C. questioned that information

based on her understanding of how quickly the FDA typically approved new product

applications, Rekenthaler assured her that the information was coming from a reputable source:




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That "good friend" was Aurobindo's R.C., who had previously worked with both T.C. and

Rekenthaler while at Teva. Rekenthaler was reluctant to identify R.C. in writing as it would

evidence conspiratorial communications between the two competitors. To confirm this

information, Defendant Green also called and spoke to Defendant Grauso of Aurobindo that

same day for twelve (12) minutes and Defendant Berthold of Lupin for four (4) minutes.

       262.    After speaking with Berthold, Defendant Green responded separately to T.C.,

providing specific information regarding Lupin’s entry plans, including commercially sensitive

intelligence about Lupin’s anticipated bid at a large wholesaler. Green and Berthold then spoke

again the next day, April 25, 2012, for seven (7) minutes.

       263.    In early May, with the Lupin and Aurobindo launches just days away,

communications among all three competitors accelerated noticeably. Over the four-day period

from May 7 to May 10, for example, the three companies spoke at least 32 times, as set forth in

the table below:




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and Aurobindo anticipate approval and launch.” Importantly, he went on to list the specific

accounts that Teva had negotiated to retain in order to hold on to a 40% market share in generic

Combivir. K.G. also identified the specific accounts that Teva would concede to its competitors

Aurobindo and Lupin.

       266.    Even before the negotiations with Aurobindo and Lupin were finalized, K.G.

made it clear to the sales team that Teva would be cooperating with its competitors to provide

them with their fair share of the generic Combivir market. On May 9, 2012, when a major

customer was pressing Teva for a bid, K.G. instructed T.C. that Teva did not plan to keep that

customer. When T.C. asked if she should provide any bid at all, K.G. directed her to provide a

sham bid, saying:




       267.    Three days later, when preparing the bid for that customer, T.C. pushed back on

K.G.'s directive on price, asking: “Can we send something that at least looks like we are

trying?” But K.G. refused, responding that they could not go any lower or else Teva might risk

actually winning the business. He concluded: “We really need to concede this business with the

accounts we have kept.”

       268.    In a separate e-mail exchange with T.C. on that same day, May 11, 2012, K.G.

told T.C. that another of her major customers was not on the list for Teva to retain with respect to

generic Combivir. He reminded her of the goal of the overarching conspiracy, stating that Teva



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should concede that customer ". . . in order to preserve market pricing as much as possible."

K.G. pointed out that such a move would give Teva its fair share as the first entrant: "40-45%

market share in a three player market." T.C. then informed that customer that Teva would not

compete for its business because "we need to concede some share."

       269.    Lupin was able to enter the market for generic Combivir and obtain more than a

30% market share without significantly eroding the price due to the understanding with Teva and

Aurobindo that each was entitled to its fair share of the market.

                     ii.      Irbesartan

       270.    Irbesartan is a drug used in the treatment of hypertension. It prevents the

narrowing of blood vessels, thus lowering the patient’s blood pressure. Irbesartan is also known

by the brand name Avapro®.

       271.    Teva received approval to manufacture generic Irbesartan in March 2012.

       272.    On March 6, 2012, Teva’s K.G. polled the Teva sales team seeking information

about competitors that were also making offers to supply Irbesartan.

       273.    At 11:27am, J.P., an account manager at Teva responded: "Lupin is promising

offers today." Less than twenty minutes later, Defendant Green placed a call to Defendant

Berthold at Lupin. They talked for seventeen (17) minutes. Shortly after hanging up the phone,

Green e-mailed his colleagues with the information he obtained:




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       274.    That same day, Defendant Rekenthaler informed the group that he still had not

received "a call from any other manufacturer on Irbesartan." He received an immediate response

from a senior commercial operations executive at Teva, expressing his displeasure:




       275.    At 10:54am the next day, Green called Berthold again. They spoke for nearly

seven (7) minutes. At 12:20pm, K.G. of Teva shared with the sales team the competitively

sensitive information Defendant Green had obtained. Included were the details Berthold had

shared with Green about which competitors were launching/not launching the drug, and the

identity of the customers that received offers. K.G. stated that Teva was in a position to take up

to a 40% market share when it launched Irbesartan on March 30, 2012.

                    iii.      Drospirenone and ethinyl estradiol (Ocella)

       276.    Drospirenone and ethinyl estradiol, commonly known by the brand name

Ocella®, is a pair of drugs used in combination as an oral contraceptive. This drug is also

marketed under the brand names Yaz®, Yasmin® and Gianvi®.

       277.    Barr Pharmaceuticals received approval to market generic Ocella in 2008, and

Teva continued to market the drug after the acquisition of Barr in 2011 under the name Gianvi®.

       278.    In late 2012, Lupin received approval to market a generic Ocella product.

       279.    By April 2013, Lupin was making plans for a summer 2013 entry into the market

and contacted Teva to initiate negotiations on how the competitors would allocate fair share

between themselves. On April 24, 2013, Defendant Berthold of Lupin called Defendant Green at



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 Teva. The two spoke for over three (3) minutes. Berthold called Green two more times the

 following day.

        280.      The negotiations intensified the following week among Teva, Lupin, and a third

 competitor – Actavis. In preparation, on April 29, 2013, K.G. of Teva asked a colleague for

 current market share figures along with a list of Teva’s generic Ocella customers. The colleague

 responded with a customer list, estimating Teva’s current share of the market at 70-75%.

        281.      The next day, April 30, A.B., a senior sales and marketing executive at Actavis,

 and Defendant Rekenthaler of Teva spoke twice by phone. That same day, Defendant Patel of

 Teva also called A.B. On May 1, Patel sent A.B. four (4) text messages.

        282.      The competitors’ communications continued into early May. On May 6,

 Defendants Patel and Berthold spoke twice by phone; the second call lasting twenty-two (22)

 minutes. Defendants Green and Berthold also spoke that same day. On May 7, Defendants Patel

 and Berthold had yet another call, this one lasting over ten (10) minutes. Patel also placed a call

 to Defendant Rogerson at Actavis, which lasted thirty-nine seconds.

        283.      Faced with the news it had received from a major customer on May 8 – that

 Actavis had bid for that customer’s business for generic Ocella – Teva doubled down on its

 efforts to reach a deal with its competitors that would give each its fair share. Patel called

 Defendant Rogerson on May 8, and they spoke for nineteen (19) minutes. On May 9, Green

 spoke with Berthold twice, for one (1) and twelve (12) minutes, respectively.

        284.      The following day, Teva’s L.R. complied with Defendant Rekenthaler’s request

 for an analysis of the business Teva would lose by conceding its two major customers for this

 drug to Actavis and/or Lupin. Armed with that analysis, Patel spoke to Berthold three times that

 afternoon – with one call lasting over seventeen (17) minutes. Patel also called Defendant




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 Rogerson at Actavis and the two spoke for more than five (5) minutes.

        285.    On May 14, 2013, K.G. of Teva recommended to Rekenthaler that Teva concede

 the business to Actavis. Rekenthaler replied simply: “Agreed.”

        286.    On July 10, 2013, Defendant Green spoke to Defendant Berthold twice (for more

 than eight (8) minutes and more than two (2) minutes). After the first of those calls, Green

 requested specific information from a colleague to help him continue to negotiate with Lupin:




 Later that day, Green called and spoke to Patel for more than seven (7) minutes, conveying what

 he had learned from Berthold. During that call, the two decided that Patel would call Berthold

 back and confirm the agreement between Teva and Lupin. Patel called Berthold shortly after and

 the two spoke for more than four (4) minutes. They spoke again first thing the next morning, for

 nearly one (1) minute.

        287.    The next day, Patel e-mailed Green, saying: "BTW, Ocella. Check!" Green,

 confused by the e-mail, responded: "Huh... you are calling....correct?" Patel confirmed that she

 had indeed called her counterpart at Lupin: "Yes. I was saying it's all done."

        288.    Discussions between Teva and Lupin continued on July 17, 2013 with a call

 between Defendants Green and Berthold that lasted twenty (20) minutes.




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        289.    On July 29, 2013, Defendant Green announced to his colleagues: “Lupin has

 entered and we need to evaluate.”

        290.    The lines of communication between competitors Teva and Lupin remained open

 and active over the next few months as they worked on the details of which company would take

 which generic Ocella accounts. On September 5, 2013, for example, Defendant Rekenthaler

 conveyed to a colleague the importance of retaining a particular customer’s account, along with

 his understanding of Green’s discussions with Berthold about Lupin's desired market share.

 Green spoke to Berthold by phone twice the following day to confirm the understanding between

 the two companies.

        291.    On September 9, 2013, K.G. of Teva sent an internal e-mail to his colleagues

 conveying his thoughts about Lupin’s bid for a portion of another customer’s generic Ocella

 business. He informed them that because Teva had secured two other significant customers, “we

 will likely need to give up some of our formulary position to this new market entrant.”

        292.    In mid-October 2013, as Teva and Lupin finalized the allocation of accounts

 between them, K.G. sent a word of caution to a co-worker, reminding her of the parameters of

 the furtive arrangement. He told her to be careful before conceding large customers on a “bucket

 basis” rather than drug-by-drug in order to “make sure we are not giving up volume on products

 where we do not have our fair share.”

                      iv.   Norethindrone/ethinyl estradiol (Balziva®)

        293.    Norethindrone/ethinyl estradiol, also known by the brand name Ovcon®35, is a

 combination of medications used as an oral contraceptive. Teva markets its generic version of

 this combination medication under the name Balziva®.

        294.    On January 23, 2014, a customer informed Teva that a new market entrant was

 seeking a share of its business. Teva employees surmised that the entrant was Lupin, as it had

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 recently obtained approval to begin marketing its generic of Ovcon®35.

        295.    Teva employees discussed internally how to make room for this new player in the

 market, with one expressing concern that “[w]e would lose our current market lead if we were to

 concede this business.”

        296.    The discussions about how to share the market with the recent entrant were not

 limited to internal communications, however. On January 24, 2014, Defendant Patel spoke to

 Defendant Berthold at Lupin twice by phone.

        297.    Five days later, on January 29, Patel informed Defendant Rekenthaler of her

 recommendation based on her communications with Defendant Berthold, to take a cooperative

 stance towards this competitor, saying: “Kevin and I are in agreement that we should concede

 part of the business to be responsible in the market.”

        298.    On February 4, Patel received the profitability analysis she requested in order to

 determine how much of the customer’s business to hand over to Lupin. That same day, she

 spoke to Berthold two more times to further coordinate Lupin's seamless entry into the market.

                d.        Teva/Greenstone

                         i.     Oxaprozin Tablets

        299.    Oxaprozin, also known by the brand name Daypro, is a nonsteroidal anti-

 inflammatory drug (NSAID). It is used to treat rheumatoid arthritis, osteoarthritis, and juvenile

 rheumatoid arthritis.

        300.    Greenstone entered the market for Oxaprozin 600mg Tablets on March 27, 2013.

 It entered with the exact same WAC pricing as Teva. In the days and weeks leading up to

 Greenstone's entry into the market, Defendant Green of Teva and Defendant Hatosy, an account

 executive at Greenstone, were in frequent communication by phone and text to coordinate the




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 During those conversations, Greenstone agreed to withdraw the offer to Walmart and honor the

 agreement with Teva.

         306.    At 1:22pm that day, after several of the communications outlined above, Walmart

 sent an e-mail to T.C. at Teva confirming that Greenstone had in fact withdrawn its offer: "FYI

 – I just received word from Greenstone that they have met their market share and the proposal

 has expired. Please see what you can do with pricing." T.C. forwarded the e-mail to Defendant

 Green, with a one-word response making it clear that Teva would not be reducing its price for

 Oxaprozin: "FUNNY."

         307.    Pursuant to the agreement between Greenstone and Teva, there was very little

 price erosion as a result of Greenstone's entry. A couple of months later, as Defendant Dr.

 Reddy's was preparing to enter the market for Oxaprozin (discussed more fully below), a Dr.

 Reddy's representative commented positively that "[p]ricing [is] still high" on Oxaprozin. That

 same representative had also talked to wholesaler Cardinal about the drug, and conveyed that

 "Cardinal switched to Greenstone. Teva was 'fine' with it!"

                       ii.       Tolterodine Tartrate

         308.    Tolterodine Tartrate, also known by the brand name Detrol, is in the

 antispasmodics class of medications. It is used to treat overactive bladder by improving the

 ability to control urination.

         309.    Greenstone entered the market for Tolterodine Tartrate 1mg and 2mg Tablets

 ("Tolterodine") on January 23, 2014 with the exact same WAC prices as Teva for all

 formulations. In the days leading up to Greenstone's entry, Defendants Hatosy and Nailor of

 Greenstone were speaking frequently to Defendants Patel and Rekenthaler of Teva to coordinate

 Greenstone's entry into the market. Those calls and text messages include at least those set forth




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 The next day, Defendant Patel and Defendant Hatosy of Greenstone tried to reach each other

 several times, and were ultimately able to speak once, for more than two (2) minutes.

        312.    On Monday, February 3, 2014, Defendant Patel instructed a colleague at Teva to

 concede the business at CVS by providing a small price reduction that she knew would not be

 sufficient to retain the business. T.C. of Teva, who had the customer relationship with CVS,

 challenged the decision to concede the business. Defendant Rekenthaler responded – again not

 wanting to put the details into writing:




 The next day, Defendant Patel called Defendant Hatosy at Greenstone and the two spoke for

 nearly sixteen (16) minutes.

        313.    After some internal discussions at Teva regarding the CVS business, Teva

 confirmed its decision to concede CVS to Greenstone. CVS represented more than 20% of

 Teva's business on Tolterodine.

                     iii.       Piroxicam

        314.    Piroxicam, also known by the brand name Feldene, is a nonsteroidal anti-




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 inflammatory drug (NSAID). Piroxicam is used to treat rheumatoid arthritis,

 osteoarthritis, and juvenile rheumatoid arthritis.

        315.    On March 3, 2014, Greenstone received FDA approval to market Piroxicam

 Capsules. It entered the market with the exact same WAC pricing as Teva for both the 10mg and

 20mg capsules.

        316.    Greenstone immediately began seeking potential customers. At 10:07am on

 March 5, 2014, J.L. of Teva sent an e-mail to Defendant Patel informing her that Greenstone had

 just received Piroxicam approval and was challenging Teva on several accounts. J.L. asked

 Patel: "Do we have any strategy in place for Piroxicam?"

        317.    Before responding to that e-mail, Defendant Patel sought to negotiate strategy

 with Greenstone. Patel called Defendant Hatosy at Greenstone at 10:55am and they spoke

 briefly. Shortly after that call, Patel also called Defendant Hatosy's boss, Defendant Nailor. At

 2:14pm that afternoon, Defendants Patel and Nailor spoke briefly.

        Immediately after hanging up with Defendant Nailor, Patel responded to J.L.'s e-mail:




        318.    Teva immediately began preparing a strategy to deal with Greenstone’s entry into

 the Piroxicam market. On March 6, 2014, Defendant Patel requested a customer profitability

 and share analysis. During these negotiations with competitors regarding market entry, it was

 typical for Teva employees to request a "customer profitability and share analysis" (as Patel did



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          322.   Teva and Greenstone continued to coordinate their allocation over the coming

 days and weeks. On March 17, 2014, Defendant Patel called Defendant Hatosy and they spoke

 briefly. Hatosy called Patel back at 11:35pm that same day and they spoke for fifteen (15)

 minutes. Immediately after speaking to Patel, Defendant Hatosy called Defendant Nailor and

 they spoke for ten (10) minutes. Teva retained the CVS account but conceded other customers

 (representing less market share) to Greenstone through March and April.

          323.   For example, on March 25, 2014 Teva learned of a challenge from Greenstone at

 Anda, a wholesaler distributor. Following an analysis of its market share, Teva determined that

 it still had more than its fair share of the market. Pursuant to the understanding among generic

 manufacturers alleged above, Teva determined that it would be prudent to concede the Anda

 business to Greenstone on Piroxicam, in order to alleviate any future challenges from

 Greenstone. Defendant Patel agreed with the decision to concede on April 1, 2014.

                     iv.       Cabergoline

          324.   Cabergoline, also known by the brand name Dostinex, is used to treat medical

 problems that occur when too much of the hormone prolactin is produced. It can be used to treat

 certain menstrual problems, fertility problems in men and women, and tumors of the pituitary

 gland.

          325.   In December 2014, as Greenstone was preparing to enter the market for

 Cabergoline, F.H., a senior executive responsible for generic products at a large joint venture

 between a retail pharmacy ("The Pharmacy") and a large wholesaler ("The Wholesaler") to pool

 the companies' drug purchasing globally, approached T.C. of Teva on Greenstone's behalf. In a

 December 9, 2014 e-mail, F.H. directly sought to facilitate a customer allocation between

 Greenstone and Teva:




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               I need to talk to you about Cabergoline. Greenstone is now
               shipping and they are targeting [The Wholesaler] and 2 small
               grocery chains. [The Wholesaler] owes Greenstone a favor and
               would be ok if you walked away from their business. Greenstone
               has promised to play nice in the sandbox. Let me know if you are
               available to discuss.

 The Wholesaler represented about 13% of Teva's total business for Cabergoline, and about

 $861,000 in annual net sales.

        326.   T.C. of Teva did not respond immediately, asking for a little extra time "to figure

 something out on our side." F.H. responded: "Of course. I will let G[reen]stone know not to do

 anything crazy."

        327.   The next day, after some internal conversation at Teva, T.C. agreed to the

 proposed allocation: "Tell Greenstone we are playing nice in the sandbox and we will let them

 have [The Wholesaler]."

        328.    Pursuant to this agreement, Greenstone was able to acquire The Wholesaler as a

 customer for Cabergoline without any fear that Teva would compete to retain the business. In

 exchange, Greenstone agreed to "play nice in the sandbox" – i.e., not compete with Teva for

 other customers and drive prices down in the market.

                e.      Teva/Actavis

                      i.         Amphetamine/Dextroamphetamine Extended Release

        329.    Amphetamine/Dextroamphetamine Extended Release, also known by the brand

 name Adderall XR®, is a medication used in the treatment of attention deficit hyperactivity

 disorder (ADHD). The drug is comprised of a combination of dextroamphetamine salts and

 levoamphetamine salts and is sometimes referred to as “Mixed Amphetamine Salts” or “MAS.”

        330.    Teva began marketing generic Amphetamine/Dextroamphetamine Extended

 Release ("MAS-XR"), after the expiration of brand manufacturer Shire’s patent on Adderall



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 XR®.

        331.    On April 9, 2012, a large customer contacted Teva to request a price reduction

 because a new competitor had expressed an interest in “all or some” of its MAS-XR business. A

 senior Teva sales director, T.C., insisted on knowing the identity of the competitor before

 deciding what Teva’s response would be. The customer responded that the competitor was

 Actavis, and that Actavis was expecting approval soon to enter the market for that drug.

        332.    Teva deferred its decision on pricing until Actavis was in a position to ship the

 product.

        333.    Actavis obtained FDA approval to manufacture various formulations of MAS-XR

 on June 22, 2012. At 9:58pm that same evening, Defendant Rekenthaler instructed Teva

 employees to find out Actavis’s plans regarding its newly-approved generic, including shipping

 details and inventory levels. At 8:32am the next morning, Teva employee T.S. responded that

 she had spoken to M.P., a senior Actavis sales and marketing executive, and conveyed to

 Rekenthaler the details of their conversation:




 The customer that had sought a price reduction from Teva in April 2012 was not among those

 named by Actavis as its targets.

        334.    Upon learning which customers Actavis wanted, T.C. warned colleagues that this

 allocation of market share could be tricky. She cautioned that if Teva decided to concede a

 particular wholesaler to Actavis, it needed to be “mindful” that the wholesaler also did product



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 warehousing for a different customer whose business Actavis was not soliciting.

        335.    One year later, Teva’s customer renewed its request for a price reduction on

 MAS-XR, citing Actavis’s desire to gain a share of the customer’s business for the drug. On

 May 7, 2013, T.C. informed the customer that Teva would agree to revise its price in order to

 retain 100% of the customer’s business. T.C. made it clear that Teva had already conceded an

 appropriate amount of business to its competitor. She stated: “ . . . we have plenty of supply and

 want to keep you [sic] full business [sic] we have already let other customers go to activis [sic]

 go to help the market dynamites [sic].”

                      ii.      Amphetamine/Dextroamphetamine Immediate Release

        336.    Amphetamine/Dextroamphetamine Immediate Release, also known by the brand

 name Adderall IR®, is a medication used in the treatment of attention deficit hyperactivity

 disorder (ADHD). The drug is an immediate release formulation comprised of a combination of

 dextroamphetamine salts and levoamphetamine salts and is sometimes referred to as “Mixed

 Amphetamine Salts” or “MAS-IR.”

        337.    In March 2014, Aurobindo was making plans to enter the market with its MAS-IR

 product. On March 18, 2014, Teva’s J.P. shared with her colleagues that Aurobindo’s market

 share target for the impending launch was 10%. Teva’s senior marketing operations executive,

 K.G., indicated that Teva was aware that both Aurobindo and Actavis were launching.

        338.    A flurry of telephone communications between Teva and these two competitors

 took place on the days surrounding the foregoing e-mail. The day before, on March 17, 2014,

 Defendant Patel had spoken to Actavis’s Director of Pricing, Defendant Rick Rogerson, three (3)

 times. Defendants Rekenthaler and Falkin of Actavis also spoke once on that day. On March

 18, 2014, the day of the e-mail, Rekenthaler and R.C., a senior-most executive at Aurobindo, had




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 a thirty (30) minute telephone conversation. Rekenthaler and Falkin spoke again seven (7) times

 on March 20, 2014.

        339.    On April 16, 2014, Teva received word from a customer that a new competitor in

 the market had offered a lower price than Teva's current price for MAS-IR. Defendant Patel

 informed K.G. that the challenge was coming from Actavis, and recommended that Teva

 concede that customer’s account. At 1:43pm, she communicated to another colleague that the

 decision had been made to concede. Apparently closing the loop, she called Defendant Rogerson

 at Actavis at 1:55pm. They spoke for just over four (4) minutes.

                      iii.     Dextroamphetamine Sulfate Extended Release

        340.    Dextroamphetamine Sulfate Extended Release, also known by the brand name

 Dexedrine® and sometimes referred to as “Dex Sulfate XR,” is a medication used to stimulate

 the central nervous system in the treatment of hyperactivity and impulse control.

        341.    On June 19, 2014, as Actavis was entering the market for Dex Sulfate XR,

 Defendant Patel reviewed a profitability analysis for that drug and asked Defendant Rekenthaler

 what share of the market Actavis was targeting. Rekenthaler responded: “20-25%.” Rekenthaler

 knew Actavis's market share goals because he and Defendant Falkin of Actavis had spoken twice

 by phone that morning – once for more than eleven (11) minutes and again for more than nine

 (9) minutes.

        342.    Five days later on June 24, 2014, Teva employee S.B. confirmed to her colleagues

 in an e-mail that Actavis had entered the market for Dex Sulfate XR. She remarked that Teva had

 a 72.2% share of this “multi-player market” and thus recommended giving up a large customer to

 Actavis and reducing Teva's market share to 58.3% – in accordance with the industry

 understanding to allocate the market, and Teva's ongoing agreement with Actavis. Later internal




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 e-mails confirmed Teva’s decision to concede that customer to Actavis because “Actavis is

 entering the market and seeking share.”

                     iv.       Clonidine-TTS

        343.    Clonidine-TTS Patch—also known by the brand name Catapres-TTS —is a

 medication in the form of a transdermal patch that is used to treat high blood pressure.

        344.    Teva began marketing Clonidine-TTS in 2010 after the expiration of brand

 manufacturer Boehringer Ingelheim’s patent on Catapres-TTS®.

        345.    On May 6, 2014, Actavis was granted approval to market Clonidine-TTS. Teva

 and Actavis immediately commenced an extensive negotiation over price and market share.

 Defendants Rekenthaler and Falkin spoke by phone three times that day for fifteen (15) minutes,

 one (1) minute, and three (3) minutes, respectively.

        346.    The next day, Rekenthaler announced to his colleagues that Actavis was entering

 the market. K.G. of Teva responded by requesting that Defendant Patel come up with a

 recommendation as to which customers Teva should concede to Actavis. At the same time, Teva

 employees bemoaned Actavis’s “ridiculous” low pricing for a new entrant, saying that price “is

 already eroded here.”

        347.    On May 8, 2014, Teva personnel accelerated their efforts to convince Actavis to

 revise its pricing and market share plans for Clonidine-TTS to more acceptable levels with an

 even more intensive flurry of phone calls. On that day, Rekenthaler spoke to Falkin three more

 times (5-, 10-, and 8-minute calls). Patel spoke to Defendant Rogerson at Actavis four times, the

 last call coming at 9:54am. At 10:02am, she informed her colleagues of the results of the

 negotiations, instructing them: “Please concede Ahold and HEB.”




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         348.    The following day, May 9, 2014, Defendant Patel learned from yet another

 customer of a “competitive price challenge” on this drug. Suspecting the source of the challenge

 was Actavis, Patel called Rogerson three times. Following those conversations, Patel informed

 her colleagues that Actavis wanted 25% of the market. She also stated that Actavis would likely

 want 10%-15% of that share from Teva. During those conversations, she also likely conveyed

 her displeasure to Rogerson about how low Actavis's pricing was, because not long after those

 phone calls, she conveyed to her supervisor, K.G., that "I just found out that Actavis rescinded

 their offer." Shortly after that, Patel also learned that Actavis had "resent all of their offer letters

 at pricing that is higher than our [Teva's] current."

         349.    Rekenthaler described to his colleagues the agreement he was willing to strike

 with Actavis over market share, saying: “I’m okay with adjusting 15% but we’re not going to

 play any games with them. They take the 15% and I don’t want to hear about this product

 again.” Teva’s senior sales executive, T.C., cautioned him on the importance of maintaining a

 cooperative stance towards this competitor, saying: “now, now Mr. Rekenthaler play nice in the

 sand box …. If history repeats itself activist [sic] is going to be responsible in the market….”

         350.    The market share give-and-take between Teva and Actavis continued over the

 coming weeks, with Teva conceding accounts to the new entrant in order to allow Actavis to

 achieve its fair share of the market for Clonidine-TTS. On May 14, 2014, for example,

 Defendant Patel told colleagues that Teva must be “responsible” and concede a particular

 wholesaler’s account to Actavis. On May 17, 2014, Teva conceded a large retailer account to

 Actavis. On May 20, 2014, Patel again declined to bid at another customer due to the new

 entrant Actavis, stating: "We are trying to be responsible with share and price."

         351.    When L.R., Teva’s analytics manager, recommended giving up yet another

 Clonidine-TTS account to Actavis on May 23, 2014, after several conversations between

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 Defendants Patel and Rogerson the prior day, K.G. of Teva reluctantly approved, saying:

 “[o]kay to concede, but we are getting to the point where we will not be able to concede further.”

                      v.       Budesonide Inhalation

        352.    Budesonide Inhalation, also known by the brand name Pulmicort Respules®, is an

 anti-inflammatory steroid, administered through inhalers or similar devices, used to prevent

 asthma attacks.

        353.    Teva obtained approval to market Budesonide Inhalation in November 2008.

 Prior to February 2015, Teva controlled virtually the entire market for generic Budesonide

 Inhalation, with other competitors having less than 1% market share.

        354.    On February 13, 2015, Defendant Rekenthaler informed other Teva employees of

 Actavis’s plans to enter the market, saying: “[i]t appears that Actavis is intending on shipping”

 Budesonide Inhalation. Rekenthaler and Defendant Falkin of Actavis had spoken by phone three

 days earlier on February 10, 2015.

        355.    On February 16, 2015, Defendants Rekenthaler and Falkin had another lengthy

 telephone conversation lasting twenty-three (23) minutes. The following morning, Teva’s T.C.

 confirmed to her colleagues that Teva had conceded the Budesonide Inhalation accounts of two

 major customers to Actavis. She explained that Actavis’s sense of urgency to obtain the

 accounts was due to concerns about getting its product into market before it faced legal action

 from the brand manufacturer. Thus, she explained, she was working with the customers on an

 “exit strategy” to get Teva’s product out of the supply channel, so as to streamline Actavis's

 entry into the market.

                     vi.       Celecoxib

        356.    Celecoxib, also known by the brand name Celebrex®, is a nonsteroidal anti-




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 inflammatory medication used in the treatment of pain and inflammation associated with

 arthritis, juvenile rheumatoid arthritis, and other disorders.

        357.    Teva received approval to market generic Celecoxib in May 2014.

        358.    On November 20, 2014, as Teva was preparing to launch its generic Celecoxib

 capsules, a customer informed Teva that Actavis was vying for some of the customer’s

 Celecoxib business. The customer indicated that Actavis was preparing for a launch of its own

 and had advocated its position by pointing out that it was just trying to “get their share” in light

 of the fact that Teva had already secured over 30% of the market.

        359.    Defendant Rekenthaler took a cooperative – rather than competitive – stance upon

 hearing that news, saying: “That’s all pretty accurate and hard to argue with.”

        360.    By December 1, 2014, however, the issue of where Actavis would obtain its

 desired market share remained undecided. Another customer, a large retail pharmacy chain

 ("The Pharmacy"), became actively involved in trying to broker an agreement between Teva and

 Actavis on how much share each company would take upon launch. Actavis reportedly sought

 25% of The Pharmacy's Celecoxib business. A representative of The Pharmacy told Teva’s T.C.

 that “he would not move this unless we are all on the same page" and that he did not have an

 issue with sending Actavis "a message.”

        361.    Rekenthaler’s response was consistent with the “fair share” understanding, saying

 “I don’t want to give up anything . . . . We’re at 32% and I think that’s reasonable.”

        362.    In the days leading up to Teva’s December 10, 2014 launch, Teva executives had

 numerous telephone conversations with their counterparts at Actavis. Defendant Rekenthaler

 had a six (6) minute call with Defendant Falkin at Actavis on November 25. The two spoke

 twice more on December 3 – once for two (2) minutes and another time for one (1) minute.




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 Defendant Patel spoke to A.B., a senior sales and marketing executive at Actavis, for over eight

 (8) minutes on December 5, and for over sixteen (16) minutes on December 8. Defendants

 Rekenthaler and Falkin resumed their communications the day before the Teva launch –

 December 9 – with a one (1) minute phone call. On the day of the launch – December 10 –

 Rekenthaler and Falkin spoke three times with calls of one (1) minute, nine (9) minutes, and

 three (3) minutes in duration.

                f.      Teva/Par

                      i.          Omega-3-Acid Ethyl Esters

        363.    Omega-3-Acid Ethyl Esters, also known by the brand name Lovaza, is a lipid-

 regulating agent used to lower levels of triglycerides.

        364.    Teva launched Omega-3-Acid Ethyl Esters on April 8, 2014. During this time

 period, manufacturers of the drug were all experiencing various supply problems, affecting how

 much market share each would be able to take on.

        365.    On the morning of June 26, 2014, Defendant Patel e-mailed C.B., a senior

 operations executive at Teva, to inform C.B. that Par had recently received FDA approval for

 Omega-3-Acid Ethyl Esters. C.B. responded by asking if Par had started shipping that product.

 Patel replied at 10:24am that she had not heard anything yet, but promised to “snoop around.”

        366.    Patel had indeed already started "snooping around." At 9:46am, she had sent a

 message to T.P., a senior-most executive at Par, through the website LinkedIn, stating:




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 T.P. did not respond through LinkedIn, but texted Patel on her cell phone later that day, initiating

 a flurry of ten (10) text messages between them in the late afternoon and early evening of June

 26. That night, Patel followed up with C.B., informing her that the only thing Patel knew at that

 point was that Par was limited on supply, but that she was “working on getting more . . ..”

        367.    The next morning, T.P. called Patel and they spoke for nearly thirty (30) minutes.

 That was the first and only voice call ever between the two according to the phone records. That

 same morning, Patel informed C.B. that she now had “some more color” on Par’s launch of

 Omega-3-Acid Ethyl Esters and would “fill you in when we speak.” Patel also communicated

 this information to Defendant Rekenthaler. At 11:27am that same morning, Rekenthaler sent an

 e-mail to T.C., a Teva sales executive, with a veiled – but clear – understanding about Par's

 bidding and pricing plans:

                You’re aware PAR receive [sic] an approval. I would imagine that
                CVS is going to receive a one time buy offer from PAR. I’m also
                assuming the price would be above ours so there should not be a
                price request (which we would not review anyway). My point in
                the email is to ensure that you are aware of all of this . . . .




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        368.    Par launched Omega-3-Acid Ethyl Esters Capsules the following Monday, June

 30, 2014.

        369.    After the discussions between Patel and T.P. at Par, Teva proceeded to concede

 business to Par to ensure Par's smooth entry into the market. As of July 11, 2014, Teva’s share

 of the market for new generic prescriptions had dropped 15.9 points to 84.1% and its share of the

 total generic market (new prescriptions and refills) had dropped 16.3 points to 83.7%.

        370.    As new competitors entered the market, Teva coordinated with them to avoid

 competition and keep prices high. For example, in an internal e-mail on October 2, 2014, Teva's

 K.G. stated that "[w]e heard that Apotex may be launching with limited supply and at a high

 price." Defendant Rekenthaler had obtained this information through phone calls with J.H., a

 senior sales executive at Apotex, on September 25 and 27, 2014 – and then conveyed the

 information internally at Teva.

        371.    Because of supply limitations, Par was not able to meaningfully enter the market

 until late November 2014. On November 10, 2014, Patel and T.P. exchanged five (5) text

 messages. On December 1, 2014, Teva was notified by a customer that it had received a price

 challenge on Omega-3-Acid Ethyl Esters. T.C. at Teva speculated that the challenge was from

 Apotex, but Rekenthaler knew better, stating "I'm confident it's Par." Rekenthaler informed

 T.C. that Teva would not reduce its price to retain the business – thus conceding the business to

 Par.

        372.    By mid-February 2015, Teva had conceded several large customers to Par to

 smooth Par's entry into the market and maintain high pricing. During this time, Defendant

 Rekenthaler was speaking frequently with M.B., a senior national account executive at Par, to

 coordinate.




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        373.    By April 2015, Apotex had officially entered the market, and consistent with the

 "fair share" understanding, Teva’s market share continued to drop. By April 25, Teva’s share of

 the market for new generic prescriptions for Omega-3-Acid Ethyl Esters had dropped to 68.3%

 and its share of the total generic market (new prescriptions and refills) had dropped to 66.8%.

 Defendant Rekenthaler was speaking frequently with J.H. at Apotex to coordinate during the

 time period of Apotex's entry in the market.

                        ii.     Entecavir

        374.    Entecavir, also known by the brand name Baraclude, is a medication used to treat

 chronic Hepatitis B.

        375.    As Teva was preparing to enter the market for Entecavir in August 2014, T.C., a

 senior sales and business relations executive at Teva, informed an executive at WBAD that Teva

 was planning on launching Entecavir “shortly” depending on when the FDA approved the drug.

 T.C. further noted: “We may or may not be alone on the market at launch. Sandoz has a

 settlement and we do not know their terms. Apotex has recently filed a PIV [Paragraph IV

 certification] but we invalidated the patent. We are hearing PAR has the [authorized generic]

 and is stating they will launch after we launch, but there is still a good chance we may be alone

 in the market for a short time.”

        376.    On August 28, 2014, Defendant Rekenthaler informed Teva sales employees that

 Teva had received approval on Entecavir and would circulate offers later that day or the next

 day. Rekenthaler noted: “[w]e are looking for at least a 60 share. Known competition is Par with

 an [authorized generic].” Defendant Rekenthaler also noted that Teva would be pricing as if they

 were "exclusive" in the market, and expressed concern that customers might react negatively to

 the launch of this drug “because of our recent price increase [on other drugs].”




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        377.    The same day, August 28, 2014, Rekenthaler had three phone calls with M.B., a

 senior national account executive at Par. The two spoke two (2) more times the next day, August

 29, 2014.

        378.    On August 29, a Teva sales employee reported that a customer had informed her

 that Par was launching Entecavir at a lower price point than Teva. The employee inquired

 whether Teva might consider reducing its price as well. Defendant Rekenthaler, after speaking

 with M.B. at Par several times on August 28 and 29, replied that Teva would remain firm on the

 price and noted that he was “doubtful PAR will be much lower.” Despite Teva’s refusal to lower

 its price, that customer signed an agreement with Teva to purchase Entecavir.

        379.    Also on August 29, Rekenthaler e-mailed T.C. asking if she had received any

 feedback from CVS on Entecavir. T.C. replied that she had not, and followed up later saying

 that ABC had indicated that it would sign Teva’s offer letter. Defendant Rekenthaler replied:

 “Great, that helps. We may end up conceding our friends up north [CVS] if they make too much

 fuss.” T.C. dismissed that concern: “I think they will work with us really…We need them they

 need us so we just have to make it work.”

        380.    Teva and Par both launched their respective Entecavir products on September 4,

 2014. Within days of its launch, Teva had captured 80% of the market for new generic

 prescriptions and 90.9% of the total generic market (new prescriptions and refills).

        381.    Within a few weeks, however, Teva’s share of the market was much more in line

 with "fair share" principles – 52.6% for new generic prescriptions, and 47% of the total generic

 market (new prescriptions and refills).

        382.    On October 9, 2014, another customer, who had already received a discount on

 Entecavir, asked for an additional discount to “help close the gap with current market prices.”




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 Teva declined to do so, citing that the “pricing is competitive and in line with the market.”

 Rekenthaler had spoken to M.B. at Par twice on October 2, 2014.

        383.    The two-player market for Entecavir remained stable over time. By January 2,

 2015, Teva’s share of the market for new generic prescriptions was 52.2%, and its share of the

 total generic market (new prescriptions and refills) was 46.7%.

                     iii.      Budesonide DR Capsules

        384.    Budesonide DR Capsules, also known by the brand name Entocort EC, is a

 steroid used to treat Crohn’s disease and ulcerative colitis when taken orally.

        385.    Teva was preparing to enter the market for Budesonide DR in or about March

 2014. At that time, it was a 2-player market: Par had 70% market share and Mylan had the

 remaining 30%.

        386.    Shortly before Teva received approval to market Budesonide DR, Par decided to

 increase the price of the drug. On April 1, 2014, M.B., a senior national account executive at

 Par, called Defendant Rekenthaler at Teva. The two executives spoke for twenty-six (26)

 minutes. The next day, April 2, 2014 — which happened to be the same day that Teva received

 FDA approval to market Budesonide DR — Par increased its price for Budesonide DR by over

 15%.

        387.    That same day, Teva sales employees were advised to find out which customers

 were doing business with Par and which were with Mylan, so that Teva would have a better

 sense of how to obtain its fair share: “it would be helpful to gather information regarding who is

 with mylan and who is with par…they are the two players in the mkt…as well as usage.”

        388.    Par and Mylan were also communicating at this time. On April 3, 2014 – the day

 after the Par price increase – K.O., a senior account executive at Par, spoke to M.A., a senior




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 account manager at Mylan, for fifteen (15) minutes.

        389.    On April 4, 2014, Defendant Rekenthaler informed some members of Teva’s

 sales force that, although the company had received approval to market and manufacture

 Budesonide DR, Teva was not prepared to launch the product and he did not yet know when it

 would do so. Nonetheless, Rekenthaler spoke to both Defendant Nesta, the Vice President of

 Sales at Mylan, and M.B., a similarly high-level executive at Par, that same day.

        390.    Although Teva did not launch Budesonide DR until approximately June 2016,

 company executives clearly attempted to coordinate pricing and market share with its

 competitors in anticipation of its product launch date.

                g.      Teva/Taro

                      i.       Enalapril Maleate

        391.    Enalapril Maleate ("Enalapril"), also known by the brand name Vasotec®, is a

 drug used in the treatment of high blood pressure and congestive heart failure.

        392.    In 2009, Taro discontinued its sales of Enalapril under its own label and

 effectively exited the market. It continued supplying Enalapril thereafter only to certain

 government purchasers under the “TPLI” label.

        393.    By mid-2013, the Enalapril market was shared by three players: Mylan with

 60.3%, Wockhardt with 27.5%, and Teva with 10.7%. As discussed more fully below in Section

 IV.C.2.h, those three companies coordinated a significant anticompetitive price increase for

 Enalapril in July 2013.

        394.    Shortly before the Teva and Wockhardt price increases, on or about July 12, 2013,

 Defendant Aprahamian, the Vice President of Sales and Marketing at Taro, was considering

 whether to renew or adjust Taro's price on Enalapril for its national contract (for government




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 purchasers), which was slated to expire in September 2013.

        395.    In the midst of that coordinated price increase, however, Aprahamian was

 communicating with both Defendant Patel of Teva as well as M.C., a senior sales and marketing

 executive at Wockhardt, about Enalapril. As a result of those conversations, Taro's plans

 changed.

        396.    On July 17, 2013 – the same day that Teva was taking steps to implement the

 price increase – Defendant Patel called Defendant Aprahamian and left a message. He returned

 the call and the two spoke for almost fourteen (14) minutes. Then, on July 19, 2013 – the day

 that both Teva and Wockhardt's price increases for Enalapril became effective – Defendant

 Aprahamian called M.C. at Wockhardt on his office phone and left a message. He then

 immediately called M.C.'s cell phone, which M.C. answered. They spoke for nearly eleven (11)

 minutes.

        397.    On the morning of July 19, Aprahamian sent an internal e-mail to Taro colleagues

 signaling a change in plans:




 Aprahamian followed up with another e-mail shortly after, adding that Taro "[w]ould only look

 for 10-15% MS [market share] but with recent market changes and units on this product, it

 would be incremental."




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         398.    In the coming months, both Teva and Taro engaged in intensive analyses of how

 the market should look after Taro’s re-launch so that each competitor would have its desired, or

 “fair,” share of the market.

         399.    On July 31, 2013, for example, Defendant Patel provided her analysis of the drugs

 Teva should bid on in response to a request for bids from a major customer, which was largely

 based on whether Teva had reached its “fair share” targets. Enalapril was one of the drugs

 where, according to Defendant Patel, Teva was "seeking share," so she authorized the

 submission of a bid. Prior to sending that e-mail, Patel had spoken to Defendant Aprahamian on

 July 30 (11 minute call) and July 31, 2013 (4 minute call). Based on the agreement between the

 two companies, and in accordance with the industry's "fair share" code of conduct, Taro

 understood that it would not take significant share from Teva upon its launch because Teva had a

 relatively low market share compared to others in the market.

         400.    Meanwhile, as he worked on pricing for Taro’s upcoming re-launch, Aprahamian

 emphasized to his colleagues that Taro’s final prices would be set largely based on “continued

 market intelligence to secure share . . ..”

         401.    In early December 2013, Taro was fully ready to re-enter the Enalapril market.

 On December 3, 2013, Aprahamian consulted twice by phone with Mylan's senior account

 executive, M.A., during conversations of two (2) and eleven (11) minutes.

         402.    On December 4, 2013, one customer that had recently switched from Wockhardt

 to Teva expressed an interest in moving its primary business to Taro for the 2.5mg, 5mg, 10mg,

 and 20mg strengths. At 4:30pm that afternoon, Defendant Aprahamian instructed a colleague to

 prepare a price proposal for that customer for all four products.




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        403.    Before sending the proposal to the customer, however, Defendant Aprahamian

 sought the input of his competitor, Teva. On December 5, 2013, he and Defendant Patel spoke

 by phone for nearly five (5) minutes.

        404.    Taro’s fact sheet for the Enalapril re-launch generated on the day of

 Aprahamian’s call with Teva showed a “[t]arget market share goal” of 15%, with pricing

 identical to Teva’s and nearly identical to Wockhardt’s and Mylan’s.

        405.    Taro began submitting offers on Enalapril the following day, December 6, 2013.

 But even with the bidding process underway, Defendant Aprahamian made certain to

 communicate with Mylan's M.A. during a brief phone conversation that afternoon. This

 particular communication was important since Mylan was the market share leader and Taro was

 targeting more of Mylan's customers than those of other competitors.

        406.    Over the next ten days, the discussions between Taro and Mylan continued over

 how to allocate the Enalapril market. Defendant Aprahamian and M.A. talked for ten (10)

 minutes on December 11, and for seven (7) minutes on December 12.

        407.    Thereafter, and with the likely consent of Mylan, Defendant Aprahamian reported

 on an internal Sales and Marketing call on December 16, 2013, that Taro’s prior target Enalapril

 market share goal of 15% had been raised to 20%.

        408.    Taro continued to gain share from both Mylan and Wockhardt, and to coordinate

 with both. For example, in late December, Taro submitted a competitive offer to Morris &

 Dickson, a Wockhardt customer. This caused M.C. of Wockhardt to call Defendant Aprahamian

 on December 31, 2013, to discuss the situation. During the call, M.C. agreed that so long as

 Wockhardt was able to retain McKesson as a customer, it would concede Morris & Dickson to

 Taro. In an e-mail on January 2, 2014, S.K. of Wockhardt conveyed the details to his colleagues:




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        409.    By May 2014 the market was stable, and market share for Enalapril was

 reasonably distributed among the companies. As Teva was considering whether to bid on

 specific drugs for an RFP sent out by a large wholesaler customer, Defendant Patel provided the

 following caution with regard to Enalapril: "no bid due to potential market/customer disruption,

 aka strategic reasons." The same day she sent that e-mail – May 14, 2014 – Patel spoke to

 Defendant Aprahamian for more than four (4) minutes, and exchanged eight (8) text messages

 with him.

        410.    By June 2014, Taro had obtained 25% market share for Enalapril in a 4-player

 market. Mylan and Teva each had approximately 28% market share.

                     ii.       Nortriptyline Hydrochloride

        411.    Nortriptyline Hydrochloride ("Nortriptyline"), also known by the brand name

 Pamelor, is a drug used to treat depression.

        412.    While Taro was approved in May 2000 to market generic Nortriptyline, it

 subsequently withdrew from the market. As of early 2013, the market was shared by only two

 players – Teva with a 55% share, and Actavis with the remaining 45%.

        413.    By February 2013, Taro personnel had come to believe that they should reclaim a

 portion of this market, one opining that “…Nortriptyline capsules should be seriously considered

 for re-launch as soon as possible.”




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        414.    In early November, Taro was formulating re-launch plans, including a “Target

 Market share goal” for Nortriptyline of 25% that would leave Teva with 42.45% and Actavis

 with 31.02%.

        415.    On November 6, 2013, Defendant Aprahamian pressed his team to “…get some

 offers on Nortrip[tyline] out . . ..” He emphasized the need to find out who currently supplied

 two particular large customers so that Taro could “determine our course (Cardinal or MCK)”.

        416.    Two days later, on November 8, Aprahamian received confirmation that

 McKesson was a Teva customer.

        417.    Several days of conversations ensued among the affected competitors in an effort

 to sort out how Teva and Actavis would make room for Taro in this market. For example,

 Defendant Rekenthaler of Teva and Defendant Falkin of Actavis spoke twice by phone on

 November 10, 2013.

        418.    Then, on November 12, 2013, Taro’s Aprahamian called Defendant Patel at Teva.

 Their conversation lasted almost eleven (11) minutes. That same day, Defendant Aprahamian

 announced to his colleagues that Taro would not be pursuing Teva’s business with McKesson,

 saying simply: “Will pass on MCK on Nortrip.” Accordingly, he instructed a subordinate to put

 together an offer for Cardinal instead.

        419.    The discussions of how to accommodate Taro into the Nortriptyline market were

 far from over, however. Defendants Falkin of Actavis and Rekenthaler of Teva spoke on

 November 14, 15 and 18. Falkin also exchanged two text messages with Defendant Maureen

 Cavanaugh of Teva on November 17, and one on November 18, 2014.

        420.    Immediately following this series of discussions, Aprahamian began delivering a

 new message to his team: Taro had enough offers out on Teva customers – it needed to take the




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 rest of its share from Actavis. On November 19, 2013 when a colleague presented an

 opportunity to gain business from Teva customer HD Smith, Aprahamian flatly rejected the idea,

 saying: “Looking for Actavis.. [sic] We have outstanding Teva offers out .. [sic]”.

        421.     The next day, November 20, 2013, another Taro employee succeeded in finding

 an Actavis customer that Taro might pursue. Armed with this new information, Defendant

 Aprahamian wasted no time in seeking Actavis’s permission, placing a call to M.D., a senior

 national account executive at Actavis, less than four hours later. They ultimately spoke on

 November 22, 2013 for more than eleven (11) minutes.

        422.     Meanwhile, Teva employees finalized plans to cede Cardinal to Taro as discussed

 in the negotiations with Actavis and Taro. On November 21, 2013, Teva informed its customer

 that “[w]e are going to concede the business with Cardinal.”

        423.     The competitors continued consulting with each other over the coming months on

 Nortriptyline. On December 6, 2013, for example, Defendant Aprahamian called M.D. at

 Actavis and the two spoke for over thirteen (13) minutes. On December 10, 2013, a Taro

 colleague informed Aprahamian that a large customer, HEB, was with Actavis for all but one of

 the Nortriptyline SKUs, and that HEB was interested in moving the business to Taro.

        424.     Having already cleared the move with Actavis during his December 6 call with

 M.D., Aprahamian put the wheels in motion the next day for Taro to make an offer to HEB.

        425.     Defendant Aprahamian also continued to coordinate with Teva. He called

 Defendant Patel on January 28, 2014, but she did not pick up. The dialogue continued on

 February 4, 2014 when Patel called Aprahamian back. The two talked for nearly twenty-four

 (24) minutes.




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 Patel was revising that list of price increase candidates (and the same day she spoke to Defendant

 Aprahamian for more than five (5) minutes), she removed Nortriptyline from contention in order

 to accommodate Taro's entry. The spreadsheet that she sent to a colleague on that date expressly

 took into account the negotiations over Taro’s entry that had occurred over the past few weeks.

 With respect to a possible Nortriptyline price increase, it stated: “Delay – Taro (new) seeking

 share.” As discussed more fully below, Teva subsequently raised the price of Nortriptyline on

 January 28, 2015 – in coordination with both Taro and Actavis.

                h.      Teva/Zydus

        429.    Defendant Green left Teva in November 2013 and moved to Zydus where he took

 a position as an Associate Vice President of National Accounts. Once at Zydus, Green

 capitalized on the relationships he had forged with his former Teva colleagues to collude with

 Teva (and other competitors) on several Teva/Zydus overlap drugs.

        430.    In the spring/early summer of 2014 in particular, Zydus was entering four

 different product markets that overlapped with Teva. During that time period, Defendant Green

 was in frequent contact with Defendants Patel and Rekenthaler, and others, to discuss pricing and

 the allocation of customers to his new employer, Zydus. Indeed, given the close timing of entry

 on these four products, Green, Patel, and Rekenthaler were often discussing multiple products at

 any given time.

                      i.       Fenofibrate

        431.    Fenofibrate, also known by brand names such as Tricor, is a medication used to

 treat cholesterol conditions by lowering “bad” cholesterol and fats (such as LDL and

 triglycerides) and raising “good” cholesterol (HDL) in the blood.

        432.    As discussed in detail in Section IV.C.1.a.i above, Defendant Teva colluded with

 Defendants Mylan and Lupin to allocate the Fenofibrate market upon Mylan's entry in May

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 2013. To effectuate that agreement, Defendant Green was in frequent contact with Defendant

 Nesta of Mylan and Defendant Berthold of Lupin.

          433.   In February 2014, Zydus was preparing to launch into the Fenofibrate market.

 Defendant Green, now at Zydus, colluded with Defendants Patel, Rekenthaler, Nesta, and

 Berthold to share pricing information and allocate market share to his new employer, Zydus.

          434.   On February 21, 2014, Teva’s Patel sent a calendar invite to Rekenthaler and to

 her supervisor, K.G., Senior Director, Marketing Operations, for a meeting to discuss "Post

 Launch Strategy (Multiple Products)" on February 24, 2014. One discussion item was Zydus's

 anticipated entry into the Fenofibrate market. Notably, Defendant Zydus did not enter the

 Fenofibrate market until a few weeks later on March 7, 2014.

          435.   In the days leading up to the meeting, between February 19 and February 24,

 Patel and Green spoke by phone at least 17 times – including two calls on February 20 lasting

 twenty-seven (27) minutes and nearly nine (9) minutes, respectively; one call on February 21

 lasting twenty-five (25) minutes; and a call on February 24 lasting nearly eight (8) minutes.

          436.   On or about March 7, 2014, Defendant Zydus entered the Fenofibrate market at

 WAC pricing that matched Defendants Teva, Mylan, and Lupin. In the days leading up to the

 launch, Defendants from all four competitors were in regular contact with each other to discuss

 pricing and allocating market share to Zydus. Indeed, between March 3 and March 7, these

 competitors exchanged at least 26 calls with each other. These calls are detailed in the table

 below:




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        439.     For example, on Friday March 21, 2014, J.P., a Director of National Accounts at

 Teva, sent an internal e-mail to certain Teva employees, including Defendants Patel and

 Rekenthaler, notifying them that Zydus had submitted an unsolicited bid to a Teva customer,

 OptiSource. Patel responded that Teva was "Challenged at Humana as well."

        440.     That morning, Patel sent a calendar invite to Rekenthaler and to K.G. scheduling a

 meeting to discuss "Open Challenges-Retain/Concede Plan." One item on the agenda was

 "Fenofibrate (Zydus at Opti and Humana-propose to concede)."

        441.     The following Monday – March 24, 2014 – Patel sent internal e-mails directing

 that Teva "concede" OptiSource and Humana to Zydus. Patel further stated that Teva provided a

 "courtesy reduction" to a third customer, NC Mutual, but stated that Teva should "concede if

 additional reduction is requested." That same day, Patel called Green and they spoke for more

 than fourteen (14) minutes. She also spoke with Defendant Berthold of Lupin for nearly twelve

 (12) minutes.

        442.     In the meantime, Zydus bid at another Teva customer, Ahold. On March 25,

 2014, Patel e-mailed Rekenthaler stating "Need to discuss. NC pending, and new request for

 Ahold. We may not be aligned." Patel then sent an internal e-mail directing that Teva "concede"

 the Ahold business. Later that day, Patel called Green. He returned the call and they spoke for

 nearly eight (8) minutes. Patel also called Defendant Berthold of Lupin and they spoke for five

 (5) minutes.

        443.     On May 13, 2014, Zydus bid on Fenofibrate at Walgreens, which was also Teva's

 customer. The next day, on May 14, 2014, Patel forwarded the bid to her supervisor, K.G., and

 explained "if we concede, we will still be majority share, but only by a few share points. On the

 other hand, if Zydus is seeking share, they're challenging the right supplier, but the size of the




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 customer is large. What are you[r] thoughts on asking them to divide the volume 25% Zydus

 and 75% Teva? This way, we've matched, retained majority and will hopefully have satisfied

 Zydus, and minimize them going elsewhere."

        444.      K.G. agreed with the approach and on May 15, 2014, Patel sent an internal e-mail

 directing that Teva reduce its price to Walgreens, but explained that "we will retain 75% of the

 award. The remainder will go to Zydus. Hopefully, this will satisfy their share targets." Patel

 emphasized that we "need to be responsible so that Zydus doesn't keep challenging Teva in the

 market." Later that day, Green called Patel and they spoke for twenty (20) minutes.

        445.      On June 2, 2014, Green called Patel and they spoke for nearly six (6) minutes. He

 also called Rekenthaler, and they spoke for two (2) minutes. Two days later, on June 4, 2014,

 Zydus submitted an unsolicited bid for Fenofibrate at Anda, a Teva customer.

        446.      On June 10, 2014, T.S., Senior Analyst, Strategic Support at Teva e-mailed J.P.,

 Director of National Accounts, stating "We are going to concede this business to Zydus per

 upper management." T.S. forwarded the e-mail to K.G., copying Defendants Patel and

 Rekenthaler, asking to "revisit the decision to concede ANDA" because "[w]e need to send

 Zydus a message to cease going after all of our business." Rekenthaler responded, "At Anda I

 would suggest you try to keep our product on their formulary in a secondary position and we'll

 continue to get sales. . . . Zydus has little market share on Fenofibrate that I can tell and they'll

 continue to chip away at us until they get what they are looking for." A few hours later, J.P.

 responded that Anda would maintain Teva on secondary and award the primary position to

 Zydus. Anda was fully aware that Teva was conceding Anda's business to Zydus because it was

 a new entrant.




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        447.    The next day, on June 11, 2014, Defendant Green called Defendant Rekenthaler

 and they spoke for eight (8) minutes. Later that day, Patel called Green. He returned the call and

 they spoke for nearly fifteen (15) minutes.

                      ii.       Paricalcitol

        448.    Paricalcitol, also known by the brand name Zemplar, is used to treat and prevent

 high levels of parathyroid hormone in patients with long-term kidney disease.

        449.    Defendant Teva entered the market on Paricalcitol on September 30, 2013. As

 the first generic to enter the market, it was entitled to 180 days of exclusivity.

        450.    In March 2014, with the end of the exclusivity period approaching, Teva began

 planning which customers it would need to concede. Teva had advance knowledge that

 Defendant Zydus and another generic manufacturer not named as a Defendant in this case

 planned to enter the market on day 181, which was March 29, 2014.

        451.    In the month leading up to the Zydus launch, Defendants Patel and Rekenthaler

 spoke with Defendant Green and discussed, among other things, which Paricalcitol customers

 Teva would retain and which customers it would allocate to the new market entrant.

        452.    On February 28, 2014, T.S., a Director of National Accounts at Teva, sent an

 internal e-mail to certain Teva employees, including Defendants Patel and Rekenthaler, advising

 that ABC was requesting bids on two Zydus overlap drugs – Paricalcitol and Niacin ER. After

 receiving that e-mail, Rekenthaler called Green. The call lasted less than one (1) minute (likely a

 voicemail). The next business day, on March 3, 2014, Rekenthaler called Green again and they

 spoke for twenty (20) minutes. Later that afternoon, Patel also called Green. The two

 exchanged four calls that day, including one that lasted nearly twenty (20) minutes. On March 4,

 Patel called Green again and left a voicemail.




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        453.    On March 12, 2014, T.S. e-mailed Defendants Patel and Rekenthaler stating that

 Zydus had bid on Paricalcitol at ABC. That same day, Patel sent an internal e-mail asking for a

 loss of exclusivity report for Paricalcitol, listing out Teva's customers and the percentage of

 Teva's business they represented. This was typically done by Teva employees before calling a

competitor to discuss how to divvy up customers in a market.

        454.    On March 13, 2014, Patel directed that Teva retain ABC and match the Zydus

 pricing. The next day, on March 14, 2014, Patel called Green. A few minutes later, Green

 returned the call and they spoke for nineteen (19) minutes. Rekenthaler then called Patel and

 they spoke for eleven (11) minutes.

        455.    During the morning of March 17, 2014, Defendants Patel and Green had two

 more phone calls, lasting nearly six (6) minutes and just over five (5) minutes. During those

 calls they were discussing how to divvy up the market for several products where Zydus was

 entering the market. A half an hour after the second call, Patel e-mailed her supervisor, K.G.,

 identifying "LOE Targets to Keep" for several products on which Teva overlapped with

 Defendant Zydus – including Paricalcitol. With respect to Paricalcitol, Patel recommended that

 Teva "Keep Walgreens, ABC, One Stop, WalMart, Rite Aid, Omnicare." Later that same day,

 Patel called Green again and they spoke for more than eleven (11) minutes.

        456.    Over the next several weeks, Defendant Teva would "strategically" concede

 several customers to the new entrant Zydus.

        457.    For example, on March 27, 2014, Green called Patel. Defendant Patel returned

 the call and they spoke for nearly nine (9) minutes. The next day, on March 28, 2014,

 OptiSource, one of Teva's GPO customers, notified J.P., a Director of National Accounts at

 Teva, that it had received a competing offer from Zydus for its Paricalcitol business. J.P.




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 forwarded the OptiSource e-mail to Patel. Within minutes, Patel responded "[w]e should

 concede."

        458.    That same day, Defendant Teva was notified by another customer, Publix, that

 Zydus had submitted a proposal for its Paricalcitol business. On April 1, 2014, Defendant Teva

 conceded the customer to Zydus and noted in Delphi that the reason for the concession was

 "Strategic New Market Entrant."

        459.    Also on April 1, 2014, Defendant Zydus bid for the Parcalcitol business at NC

 Mutual, another Teva customer. That same day, Patel called Green and left a 22-second

 voicemail. The next day, on April 2, 2014, Patel tried Green twice more and they connected on

 the second call and spoke for nearly ten (10) minutes. Later that evening L.R., an Associate

 Manager, Customer Marketing at Teva, sent an internal e-mail to T.S., the Teva Director of

 National Accounts assigned to NC Mutual, copying Patel, asking: "May we please have an

 extension for this request until tomorrow?" Patel responded, "I apologize for the delay! We

 should concede."

        460.    On April 15, 2014, Walmart received a competitive bid for its Paricalcitol

 business and provided Teva with the opportunity to retain. Two days later, on April 17, 2014,

 K.G. responded that he thought it might be Zydus. Patel replied, "We have conceded a

 reasonable amount of business (as planned) to Zydus. I would be surprised if they were going

 after a customer this big after they've picked up business recently." Later that day, Green called

 Patel. She returned his call and they spoke for nearly twelve (12) minutes. Later that day, after

 her discussion with Defendant Green, Patel sent an internal e-mail stating "After further review, I

 believe this is [a company not identified as a Defendant in this case]." On April 22, 2014, Patel

 sent an internal e-mail regarding Walmart directing, “Need to retain. Please send an offer.




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 stating: "A customer is reporting that Zydus is soliciting usage for Niacin with an anticipated

 launch of June 24." After receiving the e-mail, Rekenthaler called Green. The call lasted two

 (2) minutes. Green returned the call a few minutes later and they spoke for twenty-eight (28)

 minutes. Later that day, Patel called Green and they spoke for nearly twenty-one (21) minutes.

        470.    On June 2, 2014, J.P., a Director of National Accounts at Teva, sent an internal e-

 mail stating "I received a ROFR from McKesson due to Zydus entering the market. They

 apparently did not secure ABC. They are launching 6/28, but are sending offers early due to Sun

 entering as well." Patel replied, "Please be sure to consult with [K.G.] on this one. Thanks."

 Later that morning, Green called Rekenthaler. The call lasted two (2) minutes. Green then

 called Patel and they spoke for nearly six (6) minutes.

        471.    On June 5, 2014, J.P. sent an internal e-mail regarding "McKesson Niacin" stating

 "Per Dave [Rekenthaler], Maureen [Cavanaugh] has agreed to concede this item." J.P. also

 entered the loss in Teva's internal database – Delphi – and noted that the reason for the

 concession was "Strategic New Market Entrant."

        472.    On June 28, 2014, Zydus formally launched Niacin ER and published WAC

 pricing that matched the per-unit cost for both Teva and Lupin.

                     iv.        Etodolac Extended Release

        473.    Etodolac Extended Release ("Etodolac ER") is a nonsteroidal anti-inflammatory

 drug that is used to treat symptoms of juvenile arthritis, rheumatoid arthritis, and osteoarthritis.

        474.    Prior to Zydus' entry into the Etodolac ER market, Defendant Teva and Defendant

 Taro were the only generic suppliers of the product. As described in detail in Section

 IV.C.2.i.(iii) below, Defendants Teva and Taro – through Defendants Patel and Aprahamian –

 colluded to significantly raise the price of Etodolac ER in August 2013.




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 eight (28) minutes. That same day, K.R. of Zydus and Defendant Cavanaugh of Teva exchanged

 four (4) text messages.

        478.    The next day, on May 22, 2014, T.S., Senior Analyst, Strategic Support at Teva,

 sent an internal e-mail to certain Teva employees, including Defendant Patel, stating: "I have

 proposed we concede Anda as they are a small percent of market share and we will have to give

 up some share with a new market entrant. Anda is looking for a response today." Patel

 responded: "agree with concede."

        479.    Similarly, on June 27, 2014, Econdisc, a Teva GPO customer, notified Teva that it

 had received a competitive offer for its Etodolac ER business. Later that day, Patel spoke with

 Defendant Aprahamian at Taro for fourteen (14) minutes.

        480.    On July 2, 2014, Patel called Green and left a four-second voicemail. The next

 day, on July 3, 2014, Patel sent an internal e-mail advising that "We will concede." Later that

 day, Teva told Econdisc that it was unable to lower its pricing to retain the business.

        481.    When Patel's supervisor, K.G., learned that Teva had lost the Econdisc business,

 he sent an internal e-mail asking "Did we choose not to match this?" Patel responded, "Yes.

 New market entrant – Zydus." K.G. replied, "Okay good. Thank you."

                i.      Teva/Glenmark

                      i.       Moexipril Hydrochloride Tablets

        482.    Moexipril Hydrochloride (“Moexipril”), also known by the brand name Univasc,

 is part of a class of drugs called angiotensin-converting enzyme (ACE) inhibitors. It is used to

 treat high blood pressure by reducing the tightening of blood vessels, allowing blood to flow

 more readily and the heart to pump more efficiently. Glenmark entered the market for the 7.5mg

 and 15mg tablets of Moexipril on December 31, 2010.




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        483.    As discussed more fully below in Section IV.C.2.f.i., Glenmark and Teva

 coordinated with each other to raise pricing on two different formulations of Moexipril between

 May and July, 2013. When Defendant Patel colluded with CW-5, a senior-most executive at

 Glenmark, to raise prices on Moexipril, one of the fundamental tenets of that agreement was that

 they would not try to poach each other's customers after the increase and the competitors would

 each maintain their "fair share."

        484.    On August 5, 2013, Teva learned that it had been underbid by Glenmark at one of

 its largest wholesaler customers, ABC. Upon hearing this news, Defendant Rekenthaler, the

 Vice President of Sales at Teva, forwarded an e-mail discussing the Glenmark challenge to

 Defendant Patel, expressing his confusion over why Glenmark would be challenging Teva's

 business:




 Defendant Rekenthaler forwarded the e-mail only to Defendant Patel because he was aware that

 she had been the person at Teva who had been colluding with Glenmark.

        485.    Five (5) minutes after receiving the e-mail from Defendant Rekenthaler,

 Defendant Patel responded:




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 The call that Defendant Patel had made earlier that day was to Defendant CW-5, a senior

 executive at Glenmark, to find out why Glenmark sought to underbid Teva at ABC.

        486.    Defendant Patel spoke to CW-5 three times that day. The following day – August

 6, 2013 – Defendant Jim Brown, the Vice President of Sales at Glenmark, called Defendant Patel

 at 9:45am but did not reach her. Patel returned Brown's call at 10:08am and the two spoke for

 approximately thirteen (13) minutes. Later that day, at 1:11pm, the two spoke again for

 approximately fifteen (15) minutes. During these calls, Defendant Patel reminded Brown and

 CW-5 of their prior agreement not to poach each other's customers after a price increase.

        487.    As a result of these communications, Glenmark decided to withdraw its offer to

 ABC and honor the agreement it had reached with Teva not to compete on Moexipril. Later that

 same day – August 6, 2013 – T.S. of Teva informed colleagues that "[t]oday is a new day and

 today…. ABC has now informed me that they will NOT be moving the Moexipril business to

 Glenmark.”

                     ii.       Desogestrel/Ethinyl Estradiol Tablets (Kariva)

        488.    Desogestrel/Ethinyl Estradiol (“Kariva”) is a combination pill containing two

 hormones: progestin and estrogen. This medication is an oral contraceptive. Defendant

 Glenmark markets this drug under the name Viorele, while Defendant Teva markets the drug

 under the name Kariva. These drugs are also known by the brand name, Mircette. Glenmark




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 along with a number of Teva's competitors. The PCMA described its Annual Meeting as "the . .

 . ideal venue for senior executives from PBMs, specialty pharmacy, payer organizations and

 pharmaceutical manufacturers to network, conduct business and learn about the most current

 strategic issues impacting the industry."

          494.   Shortly after returning from that meeting, during the morning of October 15,

 2014, Defendant Patel informed colleagues at Teva that Glenmark would be taking a price

 increase on Gabapentin, and suggested that this would be a great opportunity to pick up some

 market share. The Glenmark increase had not yet been made public, and would not be effective

 until November 13, 2014. Nonetheless, Patel informed her colleagues in an e-mail that same day

 that there would be a WAC increase by Glenmark effective November 13, and that she had

 already been able to obtain certain contract price points that Glenmark would be charging to

 distributors. At around the time she sent the e-mail, Defendant Patel exchanged two (2) text

 messages with Defendant Brown of Glenmark.

          495.   Having relatively little market share for Gabapentin, Teva discussed whether it

 should use the Glenmark price increase as an opportunity to pick up some market share. Over

 the next several weeks, Teva did pick up "a bit of share" to be more in line with fair share

 principles, but cautioned internally that it did not "want to disrupt Glenmark's business too

 much."

                 j.     Teva/Lannett

                       i.       Baclofen

          496.   Baclofen, also known by the brand names Gablofen and Lioresal, is a muscle




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 relaxant used to treat muscle spasms caused by certain conditions such as multiple sclerosis and

 spinal cord injury or disease. It is generally regarded as the first choice of physicians for the

 treatment of muscle spasms in patients with multiple sclerosis.

        497.    In June 2014, Defendant Lannett was preparing to re-enter the market for

 Baclofen, but was faced with limited supply. In an internal e-mail sent to his sales staff, K.S., a

 senior sales executive at Lannett, stated: "Baclofen launch in four weeks, need market

 intelligence. We can only take a 10% market share." At that time, Teva had a large market

 share in relation to the existing competitors in the market.

        498.    Defendant Sullivan, a Director of National Accounts at Lannett and a recipient of

 the e-mail, promptly communicated with Defendant Patel (Teva was a competitor for Baclofen)

 using Facebook Messenger. On June 12, 2014, Sullivan messaged Patel, stating:




 The message was sent at 11:16am. At 11:30am, Defendant Patel called Defendant Sullivan and

 they spoke for seven (7) minutes. This was the first phone conversation between Sullivan and

 Patel since Patel had joined Teva in April 2013. During the conversation, Defendant Sullivan

 informed Defendant Patel that Lannett would be entering the market for Baclofen shortly. In a

 follow-up message through Facebook Messenger later that afternoon, Sullivan confirmed:




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        499.    True to her word, Defendant Sullivan called Defendant Patel on July 1, 2014 and

 left a voicemail. Patel promptly returned the call, and the two spoke for almost seven (7)

 minutes.

        500.    On July 11, 2014, as Teva was evaluating future forecasting and whether to try

 and take on additional Baclofen business with a large wholesaler, Patel stated to a Teva

 colleague: "[n]ot sure if it helps your review, but there is another entrant coming to market

 (Lannett). I'm not sure about their share targets, but I know it's probably soon." That same day,

 Patel sent a text message to Sullivan asking "Around?" Sullivan immediately called Patel and

 left a voicemail. Patel called Sullivan back promptly, and they spoke for more than three (3)

 minutes. After speaking, Patel sent another text message to Sullivan, stating: "Thank you!!"

 Sullivan responded: "No prob!"

        501.    Shortly thereafter, on July 22, 2014, Teva was approached by a customer stating

 "[w]e were contacted by another mfg that is going to be launching Baclofen in the coming

 weeks." The customer asked whether Teva wanted to exercise its right of first refusal (i.e., offer

 a lower price to maintain the account). Even though the new manufacturer's price was only

 slightly below Teva's price, Teva declined to bid. Defendant Patel specifically agreed with the

 decision to concede, stating "I believe this is Lannett." Teva's internal tracking database noted

 that the customer had been conceded to a "Strategic New Market Entrant."

        502.    Teva had significantly increased its price for Baclofen in April 2014 (following an

 Upsher-Smith price increase), and was able to maintain those prices even after Lannett entered



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 the market a few months later. In fact, when Lannett entered the market it came in at the exact

 same WAC price as Teva.

                k.     Teva/Amneal

                      i.       Norethindrone Acetate

        503.    Norethindrone Acetate, also known by the brand name Primolut-Nor among

 others, is a female hormone used to treat endometriosis, uterine bleeding caused by abnormal

 hormone levels, and secondary amenorrhea.

        504.    On September 9, 2014, a customer approached Teva asking if Teva would lower

 its pricing on certain drugs, including Norethindrone Acetate. One of Teva's competitors for

 Norethindrone Acetate was Defendant Amneal. The same day, Defendant Patel received phone

 calls from two different Amneal employees – S.R.(2), a senior sales executive (call lasting more

 than three (3) minutes), and S.R.(1), a senior sales and finance executive (almost twenty-five

 (25) minutes). These were the first calls Defendant Patel had with either S.R.(1) or S.R.(2) since

 she joined Teva in April 2013. That same day, S.R.(1) also spoke several times with Defendant

 Jim Brown, Vice President of Sales at Glenmark – the only other competitor in the market for

 Norethindrone Acetate.

        505.    After speaking with the two Amneal executives, Teva refused to significantly

 reduce its price to the customer; instead providing only a nominal reduction so as not to disrupt

 the market. At that time, market share was almost evenly split between the three competitors.

 When discussing it later, Defendant Patel acknowledged internally that Teva had "bid high" at

 the customer based on its understanding "that it would be an increase candidate for Amneal.

 They increased shortly after." By bidding high and not taking the business from Amneal, in

 anticipation of a future price increase, Teva reinforced the fair share understanding among the




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 competitors in the market.

                l.      Teva/Dr. Reddy's

                       i.      Oxaprozin

        506.    Oxaprozin, also known by the brand name Daypro, is a non-steroidal anti-

 inflammatory drug (NSAID) indicated for the treatment of signs and symptoms of osteoarthritis

 and rheumatoid arthritis.

        507.    In early 2013, Dr. Reddy’s began having internal discussions about re-launching

 Oxaprozin in June of that year. In March 2013 – when Teva was still the sole generic in the

 market – the plan was to target one large chain and one large wholesaler in order to obtain at

 least 30% market share. Two months later, in May 2013, Dr. Reddy’s adjusted its market share

 expectations down to 20% after Greenstone and Sandoz both re-launched Oxaprozin.

        508.    On June 13, 2013, members of the Dr. Reddy’s sales force met for an “Oxaprozin

 Launch Targets Discussion” to “discuss launch targets based on the market intelligence gained

 by the sales team."

        509.    Dr. Reddy’s re-launched Oxaprozin on June 27, 2013 with the same WAC price

 as Teva. At the time, Teva had 60% market share. Dr. Reddy’s almost immediately got the

 Oxaprozin business at two customers, Keysource and Premier. Dr. Reddy's also challenged for

 Teva's business at McKesson, but Teva reduced its price to retain that significant customer.

        510.    Eager to obtain a large customer, Dr. Reddy’s turned its sights to Walgreens. At a

 July 1, 2013 sales and marketing meeting, there was an internal discussion among Dr. Reddy’s

 employees about “asking to see if Teva would walk away from the business” at Walgreens.

 Within a week, Dr. Reddy’s employees had learned that Teva would defend the Walgreens

 business and recognized that they would have to “bid aggressively” to obtain that customer.




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        511.    Dr. Reddy's did bid aggressively at Walgreens. On or around July 14, 2013,

 Walgreens informed Defendant Green, then a National Account Director at Teva, that Dr.

 Reddy’s had made an unsolicited bid for the Oxaprozin business, at a price of roughly half of

 Teva’s current price. Per Defendant Green, Walgreens did not “want to move but obviously

 want[s] the price.”

        512.    While the Dr. Reddy's offer to Walgreens was still pending – on July 23, 2013 –

 J.A. of Dr. Reddy's called Defendant Green. That phone call – the only one ever between the

 two individuals that is identified in the phone records – lasted for nearly five (5) minutes.

        513.    Two days later, Defendant Green noted that "[i]f we give D[r. Reddy's] this

 business, they may be satisfied. I will see if I can find this out." Green also warned, however,

 that if Teva decided to defend and keep Walgreens’ business, Dr. Reddy’s will “just go

 elsewhere” – meaning Dr. Reddy’s would continue to offer unsolicited bids to Teva customers

 and drive prices down.

        514.    While deciding whether to match the Dr. Reddy's offer at Walgreens or concede

 the business to Dr. Reddy's, Teva engaged in internal discussions about strategy. On July 29,

 2013, K.G. at Teva suggested the possibility of keeping the Walgreens business, but conceding

 Teva's next largest customer for Oxaprozin – Econdisc – to Dr. Reddy's. Eager to avoid any

 further price erosion from the Dr. Reddy's entry, Defendant Rekenthaler immediately asked

 Defendant Patel to “look at our business on Oxaprozin in order to accommodate Dr. Reddy’s

 entry.” Rekenthaler's goal was to identify customers other than Walgreens that Teva could

 concede to Dr. Reddy's in order to satisfy its market share goals.

        515.    At 12:33pm that day, Defendant Patel asked a colleague to "run the customer

 volume and profitability analysis for Oxaprozin." It was typical at Teva to run this type of report




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 before negotiating market share with a competitor. At 2:20pm, that colleague provided the

 information to Defendant Patel, copying Defendant Rekenthaler and K.G. With this information

 in hand, less than an hour later Defendant Rekenthaler placed a call to T.W., a Senior Director of

 National Accounts at Dr. Reddy's. The call lasted two (2) minutes, and was their only telephone

 conversation in 2013.

        516.    After having this conversation with T.W., Teva decided to maintain the

 Walgreens business, but concede the Econdisc business to Dr. Reddy's. Teva conceded the

 Econdisc business on August 7, 2013. Defendant Green listed "Strategic Market Conditions" in

 Teva's Delphi database as the reason for conceding the business to Dr. Reddy's.

        517.    By September 10, 2013, Dr. Reddy’s had achieved its goal of obtaining 20%

 share of the Oxaprozin market. At that time, its customers included Econdisc, Keysource, and

 Premier.

                     ii.       Paricalcitol

        518.    Paricalcitol, also known by the brand name Zemplar, is used to treat and prevent

 high levels of parathyroid hormone in patients with long-term kidney disease.

        519.    Teva entered the market for Paricalcitol on September 30, 2013 as the first-to-file

 generic, and had 180 days of generic exclusivity.

        520.    Following its period of exclusivity, Teva’s “goal was to concede business on day

 181” but “to retain CVS, Walgreens and ABC. All others are not an automatic concede, but we

 expect to concede.” As discussed more fully above in Section IV.C.1.h.ii, during March and

 April 2014, Teva coordinated with and conceded several customers to Zydus, as Zydus was

 entering the market for Paricalcitol. By mid-April 2014, Teva “ha[d] conceded the share [it]

 planned for” to Zydus.




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        521.     By May 2014, Dr. Reddy’s started preparing to enter the Paricalcitol market. On

 May 1, 2014, T.W. of Dr. Reddy's spoke with Defendant Rekenthaler of Teva for nearly eleven

 (11) minutes.

        522.     At a May 20 sales and marketing team meeting, the Dr. Reddy’s sales force was

 instructed to find out which customers were currently purchasing Paricalcitol from which

 manufacturers, and their prices. Dr. Reddy’s was targeting a 20% market share. At the time,

 Teva’s share was 73%.

        523.     On June 10, 2014 – as Dr. Reddy's was starting to approach certain customers –

 including a large retail pharmacy customer ("The Pharmacy") – Defendant Patel spoke with

 V.B., the Vice President of Sales for North American Generics at Dr. Reddy's, several times. At

 8:50am, Patel called V.B. and left a voicemail. V.B. returned the call at 9:18am, and the two

 spoke for more than ten (10) minutes. Later that day, at 2:46pm, Dr. Reddy’s provided The

 Pharmacy with a market share report for Paricalcitol indicating that Teva was the market leader

 at 60% share. A representative of The Pharmacy responded that it “[l]ooks like Teva is the right

 target.” Shortly after this e-mail exchange, at 3:21pm, V.B. called Defendant Patel again and the

 two spoke for nearly nine (9) minutes.

        524.     By June 19, 2014, Dr. Reddy’s had made offers to Omnicare, Cardinal, ABC, and

 The Pharmacy. The internal plan was that if The Pharmacy declined, then Dr. Reddy’s would

 make an offer to CVS. That same day, Teva agreed to concede its Paricalcitol business at

 Omnicare, dropping its market share by 3%.

        525.     Teva also strategically conceded what remained of its Cardinal business (it had

 previously conceded some of that business to Zydus). After receiving Dr. Reddy’s bid, Cardinal

 approached Teva and asked whether Teva would bid to retain the four mcg portion of the




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 business. Defendant Patel recommended to her boss, K.G., that Teva concede the business: “We

 have ~70 share and it is ideal to concede here because of the incomplete family.” K.G. agreed.

 Defendant Patel then instructed S.B., a customer analyst at Teva, to concede “due to [T]eva’s

 high share.” S.B. subsequently e-mailed T.C., Teva’s Senior Director of Sales & Trade

 Relations: “Due to the fact that we have high share and already conceded on the other strengths,

 we are going to concede on this strength as well.” T.C. relayed this statement, word-for-word, to

 Cardinal.

        526.    Dr. Reddy's also submitted a bid to ABC, which was one of the customers that

 Teva had targeted to keep after losing exclusivity. ABC notified Teva of Dr. Reddy’s

 competitive bid for Paricalcitol on June 26, 2014. In internal e-mails discussing this price

 challenge, Teva employees noted that Dr. Reddy’s was “aggressively seeking market share” and

 potentially eroding the price of the drug. When asked for his thoughts on this, Defendant

 Rekenthaler remarked:




 Despite the pricing challenge, Teva retained the ABC Paricalcitol business. As ABC explained

 to Dr. Reddy’s, “Teva wanted to keep the business and has given us a competitive price.”

        527.    Dr. Reddy’s formally launched Paricalcitol on June 24, 2014. On or around that

 date, it sent offers to, inter alia, Winn-Dixie, Giant Eagle, and Schnucks. On June 26, 2014,

 Teva’s K.G. told Defendant Patel that he was “willing to concede 10-15% share total on

 Paricalcitol” to Dr. Reddy’s.


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        528.       Winn-Dixie informed Teva that it had received a competing offer for Paricalcitol

 from Dr. Reddy’s. Defendant Patel recommended that Teva concede the business. Teva did,

 and Winn-Dixie informed Dr. Reddy’s that it had won its Paricalcitol business on July 9, 2014.

        529.       Giant Eagle informed Teva that it had received a competing offer on Paricalcitol

 on July 10, 2014. That same day, V.B. of Dr. Reddy's called Defendant Patel and the two spoke

 for more than twelve (12) minutes. Shortly after getting off the phone with V.B., Patel

 responded to a question from a colleague regarding an RFP to another supermarket chain. One

 of the potential bid items was Paricalcitrol. Patel directed her colleague to "bid a little high on

 Paricalcitol. We should not be aggressive since we are in the process of conceding share due to

 additional entrants." Her colleague responded: "I will bid higher" on Paricalcitol.

        530.       The next day, Teva conceded the Giant Eagle business to Dr. Reddy's. S.B., a

 Teva Strategic Customer Analyst, wrote in an internal e-mail, “Due to DRL recent launch and

 pressure to give up share, we are going to concede.” Giant Eagle accepted Dr. Reddy’s proposal

 the next day.

        531.       After receiving an offer from Dr. Reddy’s, Schnucks also asked Teva for reduced

 pricing in order to retain the business. Teva decided internally to concede Paricalcitol at

 Schnucks “[d]ue to new entrants and having to give up some share.” In order to create the

 appearance of competition with this customer, Teva engaged in what Defendant Patel referred to

 as “fluff pricing,” by which it offered Schnucks an inflated price (cover bid) for Paricalcitol to

 ensure that Teva did not win the business. Indeed, Schnucks was “so insulted” by Teva’s price

 that it moved to Dr. Reddy’s the same day it received Teva’s offer. When Defendant Patel

 learned of this, she remarked to a Teva salesperson (who she had been discussing "fluff pricing"

 with recently):




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 Schnucks accepted Dr. Reddy’s Paricalcitol proposal on June 30, 2014.

        532.    On July 16, 2014, McKesson informed Teva that it had received a competing bid

 for Paricalcitol, and that Teva would need to submit its best bid in order to retain the business.

 Teva initially decided to concede the One Stop portion of McKesson’s business only, while

 retaining the RiteAid portion. Defendant Patel wrote internally to her team that “[t]his decision

 is based on the number of competitors, DRL’s potential share target and our current/conceded

 share. (Dr. Reddy’s should be done with challenging our business on this product.)” Patel

 further added that Teva had been “looking to give up One Stop to be responsible with share” and

 that “[t]he responsible thing to do is concede some share to DRL but not all.”

        533.    On July 18, 2014 – a Friday – Defendant Patel called V.B. at Dr. Reddy's at

 4:20pm and left a message. V.B. returned the call on Monday morning, and the two spoke for

 more than four (4) minutes. They spoke again the next morning, July 22, 2014, for more than six

 (6) minutes. During these calls, Defendant Patel and V.B. agreed that Dr. Reddy's would stop

 competing for additional market share (and driving price down further) if Teva conceded all of

 its McKesson business (One Stop and Rite Aid) to Dr. Reddy's. Indeed, Dr. Reddy’s confirmed

 to McKesson (that same day) that it “would be done after this” – meaning it would not compete

 for additional business because it had attained its fair share. McKesson passed this information

 along to Teva on July 22.




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         534.   The next day, July 23, 2014, Teva decided to concede its entire McKesson

 business – both RiteAid and One Stop – to Dr. Reddy’s. In making this decision, Defendant

 Patel noted: “NOW, DRL should be done.” In its Delphi database, Teva noted that the

 McKesson Paricalcitol business had been conceded to a "Strategic New Market Entrant." After

 the fact, former customer McKesson informed Teva that Dr. Reddy’s had been “so aggressive

 because [Teva was] not giving up share.”

         535.   By early August 2014, Dr. Reddy’s had attained 15-16% of the total Paricalcitol

 market, which it decided – pursuant to its understanding with Teva – it would “maintain for

 now.”

                2.     Taking The Overarching Conspiracy To A New Level: Price Fixing
                       (2012-2015)

         536.   As evident from the many examples above, by 2012 the overarching "fair share"

 conspiracy was well established in the industry, including among the Defendants. Generic

 manufacturers replaced competition with coordination in order to maintain their fair share of a

 given generic drug market and avoid price erosion. The structure and inner workings of the

 agreement were well understood and adopted throughout the industry.

         537.   Around this time, however, manufacturers began to focus more on price increases

 than they had in the past. They were no longer satisfied to simply maintain stable prices – there

 was a concerted effort by many in the industry to significantly raise prices. Manufacturers

 started communicating with each other about those increases with greater and greater frequency.

         538.   A troubling pattern began to emerge. Starting sometime in 2012 or even earlier,

 and continuing for several years, competitors would systematically communicate with each other

 as they were identifying opportunities and planning new price increases, and then again shortly

 before or at the time of each increase. The purpose of these communications was not only to



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 used to treat high blood pressure, reducing the risk of stroke and heart attack. It can also be used

 to treat chest pain (angina).

        544.     In 2012 and 2013, Teva's only competitors for Nadolol were Mylan and Sandoz.

 All three companies experienced supply problems of some sort during that time period, but they

 were in continuous communication to coordinate pricing and market allocation in order to

 maintain market stability. Nadolol was a high volume drug and one of the most profitable drugs

 where Teva, Mylan and Sandoz overlapped, so it was very important that they maintain their

 coordination.

        545.     Teva's relationships with Mylan and Sandoz are discussed more fully below, but

 by 2012 an anticompetitive understanding among those companies was firmly entrenched.

        546.     Teva raised its price on Nadolol on July 31, 2012. In the days leading up to that

 increase – following a pattern that would become routine and systematic over the following years

 – Defendant Kevin Green, at the time in the sales department at Teva, was in frequent

 communication with executives at both Sandoz and Mylan. Green spoke to CW-2 from Sandoz

 twice on July 29, 2012, and again on the day of the price increase, July 31, 2012. Similarly,

 Defendant Green was communicating with Defendant Nesta of Mylan often in the days leading

 up to the increase, including five (5) calls on the day of the price increase.

        547.     Sandoz followed with its own increase on August 27, 2012. The increases were

 staggering – varying from 736% to 798% depending on the formulation. The day before the

 Sandoz increase, Defendant Armando Kellum, then the Senior Director of Pricing and Contracts

 at Sandoz, called Defendant Green. They had also spoken once earlier in the month, shortly after

 the Teva increase. CW-2 also called Green twice on August 21, 2012 – the same day that

 Sandoz requested approval from its Pricing Committee to raise the Nadolol price. The day after




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 the Sandoz increase, Defendant Green – acting as the conduit of information between Sandoz

 and Mylan – called Nesta of Mylan twice, with one call lasting fourteen (14) minutes.

        548.    Mylan, which returned to the market after a brief supply disruption, followed the

 Teva and Sandoz increases on January 4, 2013. In what had become a routine component of the

 scheme, the day before the Mylan increase Nesta spoke to Green four (4) times. The next day,

 Defendant Green conveyed the information he had learned from Defendant Nesta directly to his

 counterpart at Sandoz. On January 4, 2013 – the day of the Mylan increase – Defendant Green

 called Defendant Kellum twice in the morning, including a six (6) minute call at 9:43am.

 Shortly after hanging up with Green, Kellum reported internally on what he had learned – but

 concealing the true source of the information – a convention that was frequently employed by

 many Sandoz executives to avoid documentation of their covert communications with

 competitors:




 Being "cautious" on those products meant that Sandoz did not want to steal business away from

 its competitors by offering a lower price and taking their market share.

        549.    Defendant Kellum's phone records demonstrate that he did not speak with any

 customers during the morning of January 4, 2013. At 11:50am the same morning, Defendant

 Green also called CW-2 at Sandoz and they spoke for fifteen (15) minutes.



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        550.    Significantly, Defendant Green was not speaking with his Sandoz contacts solely

 about Nadolol, the common drug between Teva and Sandoz, but was also conveying information

 to Sandoz about a Mylan price increase on another drug that Teva did not even sell –

 Levothyroxine. Such conversations further demonstrate the broad, longstanding agreement

 among each of these competitors to share market intelligence in order to facilitate the scheme.

        551.    To put the Nadolol price increases into context, the Connecticut Attorney

 General's Office received a complaint from a Connecticut resident who has been prescribed

 Nadolol for approximately the last 15 years. In or about 2004, that individual paid between $10

 and $20 in out-of-pocket costs for a 90-day supply of Nadolol. Today, that same 90-day supply

 of Nadolol would cost the complainant more than $500.

        552.    As discussed more fully below, Teva continued to conspire with Mylan and

 Sandoz about Nadolol and many other drugs throughout 2013 and into the future.

                             ii.       Labetalol

        553.    Labetalol, also known by brand names such as Normodyne and Trandate, is a

 medication used to treat high blood pressure. Labetalol, like Nadolol, is in a class of drugs called

 beta blockers, and it works by relaxing blood vessels and slowing heart rate to improve blood

 flow and decrease blood pressure.

        554.    After Teva increased its pricing on Labetalol on July 31, 2012, it continued to

 coordinate with its competitors to maintain that supra-competitive pricing for that drug. For

 example, In October 2012, Teva learned that Sandoz was "no longer having supply issues" but

 that "Watson is on allocation" (i.e., did not have enough supply to meet all of its demand).    In

 an internal e-mail sent on October 16, 2012, J.L., a senior analyst at Teva, questioned whether

 Teva should consider lowering "strategic customer pricing" in order to retain its market share.




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        555.    That same day, Defendant Green spoke to CW-2 of Sandoz two (2) times. After

 those calls with CW-2, Green responded to the analyst's question:




 T.C. of Teva agreed: "We need to stay the TEVA course."

        556.    Defendant Rekenthaler was not satisfied, however. In order to confirm that

 Watson was also still committed to maintain high pricing on Labetalol, Defendant Rekenthaler

 called and spoke to A.S., a senior sales executive at Watson, four (4) times on October 18, 2012.

                             iii.       Nitrofurantoin MAC Capsules

        557.    Nitrofurantoin Macrocrystal, also known by the brand name Macrodantin, is a

 medication used to treat certain urinary tract infections.

        558.    Teva's July 31, 2012 price increase on Nitrofurantoin Macrocrystal was between

 90-95% depending on the dosage and formulation. After that increase, Teva continued to

 coordinate with Mylan and Alvogen to maintain those high prices.

        559.    For example, on October 10, 2012, a distributor customer approached Teva

 requesting a lower price for Nitrofurantoin MAC because it was having difficulty competing

 with the prices being charged by the distributor's competitors (i.e., other distributors). At 9:49am

 on October 10, 2012, K.G. of Teva sent an internal e-mail to the Teva sales team, including

 Defendants Green and Rekenthaler, among others, saying:




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 Immediately after receiving that e-mail, Defendant Green reached out to both Defendant Nesta at

 Mylan and B.H., his counterpart at Alvogen. At 10:01am, Green called Nesta and the two spoke

 for ten (10) minutes. After hanging up – at 10:11am – Green called B.H. at Alvogen for the first

 of three (3) calls that day, including one call lasting fourteen (14) minutes. To close the loop,

 Defendant Nesta also separately spoke to B.H. two times that same day, including a call lasting

 almost ten (10) minutes. Teva did not lower its price.

                        b.      Increasing Prices Before A New Competitor Enters The
                                Market: Budesonide Inhalation Suspension (February – April
                                2013)

        560.    Budesonide Inhalation Suspension, also known by the brand name Pulmicort

 Respules, is a medication used to control and prevent symptoms caused by asthma. It belongs to

 a class of drugs called corticosteroids, and works directly in the lungs to make breathing easier

 by reducing the irritation and swelling of the airways.

        561.    As of February 2013, Teva was the only company in the market for generic

 Budesonide Inhalation Suspension. Teva knew, however, that a potential legal action

 challenging the validity of the patent on the brand drug could allow additional competition into

 the generic market shortly. So before any additional competition could enter the market,

 effective February 8, 2013, Teva raised the WAC price for its Budesonide Inhalation Suspension

 by 9%. Although a very modest increase in percentage terms, the 9% price increase added $51

 million to Teva's annual revenues.

        562.    On April 1, 2013, Actavis won a legal challenge in federal district court against

 the brand manufacturer declaring the patent for the brand drug, Pulmicort Respules, invalid.

 Actavis immediately began planning to launch the product "at risk," which is when a generic

 manufacturer puts the product on the market before all appeals in the patent lawsuit are formally

 resolved and there is still a risk that the new generic entrant might ultimately be found to violate

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 the patent. That same day, Defendant David Rekenthaler of Teva called his counterpart at

 Actavis, A.B. – a senior sales and marketing executive – and they spoke for two (2) minutes.

 This was the first-ever phone call between them based on the phone records produced.

        563.    The next day, April 2, 2013, Defendant Rekenthaler spoke to A.B two (2) more

 times, including one call lasting eight (8) minutes. Actavis then immediately began shipping the

 product. Instead of competing to obtain market share as a new entrant, however, Actavis entered

 the market with the exact same WAC price as Teva. Indeed, when Teva inquired of a customer

 that same day to confirm Actavis's pricing, Teva was informed by the customer that Actavis's

 pricing was "in line with [Teva's] current wholesale pricing."

        564.    At some point thereafter, further legal action from the brand manufacturer

 prevented Actavis from permanently entering the market, but in the interim Teva was able to

 continue to charge the agreed-upon prices. In addition, once Actavis entered the market in 2015,

 Teva immediately conceded customers to Actavis in accordance with the fair share agreement –

 after calls between Rekenthaler and Defendant Falkin, by then a Vice President at Actavis. See

 Section IV.C.1.e.v., supra..

                        c.      Early 2013: Teva's Generics Business Struggles

        565.    Despite Teva's initial attempts to increase its revenues through price increases in

 2012 and early 2013, its generic business was struggling as of early 2013. Throughout the first




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 quarter of 2013, Teva realized it needed to do something drastic to increase profitability. On

 May 2, 2013, Teva publicly announced disappointing first quarter 2013 results. Among other

 things: (1) net income was down 26% compared to the prior year; (2) total net sales were down

 4%; and (3) generic sales declined by 7%.

         566.   By this time, Teva had already started to consider new options to increase its

 profitability, including more product price increases. Over the next several years, Teva

 embarked on an aggressive plan to conspire with its competitors to increase and sustain price on

 many generic drugs – completely turning around the company's fortunes.

                        d.      April 2013: Teva Hires Defendant Nisha Patel

         567.   In April 2013, Teva took a major step toward implementing more significant price

 increases by hiring Defendant Nisha Patel as its Director of Strategic Customer Marketing. In

 that position, her job responsibilities included, among other things: (1) serving as the interface

 between the marketing (pricing) department and the sales force teams to develop customer

 programs; (2) establishing pricing strategies for new product launches and in-line product

 opportunities; and (3) overseeing the customer bid process and product pricing administration at

 Teva.

         568.   Most importantly, she was responsible for – in her own words – "product

 selection, price increase implementation, and other price optimization activities for a product

 portfolio of over 1,000 products." In that role, Patel had 9-10 direct reports in the pricing

 department at Teva. One of Patel's primary job goals was to effectuate price increases. This was

 a significant factor in her performance evaluations and bonus calculations and, as discussed more

 fully below, Patel was rewarded handsomely by Teva for doing it.




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        569.    Prior to joining Teva, Defendant Patel had worked for eight years at a large drug

 wholesaler, ABC, working her way up to Director of Global Generic Sourcing. During her time

 at ABC, Patel had routine interaction with representatives from every major generic drug

 manufacturer, and developed and maintained relationships with many of the most important sales

 and marketing executives at Teva's competitors.

        570.    Teva hired Defendant Patel specifically to identify potential generic drugs for

 which Teva could raise prices, and then utilize her relationships to effectuate those price

 increases.

        571.    Even before Defendant Patel started at Teva, she was communicating with

 potential future competitors about the move, and about her new role. For example, on April 2,

 2013 – nearly three weeks before Defendant Patel started at Teva – Defendant Ara Aprahamian,

 the Vice President of Sales and Marketing at Defendant Taro, sent an e-mail to the Chief

 Operating Officer ("COO") at Taro stating: "Nisha Going To Teva – Hush Hush for now…."

 The COO responded by saying "[m]aybe the industry will be better for it. Teva can only

 improve." Teva had, up to that point, acquired a reputation in the industry for being slow to

 follow price increases, and the Taro COO viewed Defendant Patel as someone who would

 change that mindset at Teva. Defendant Patel had also worked with Defendant Aprahamian

 several years earlier at ABC.

        572.    Patel's last day at ABC was April 11, 2013 and she started at Teva on April 22,

 2013. Patel began communicating with competitors, by phone and text, the day after she

 left ABC, before she even started at Teva. For example:




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 be required for price increases to be successful – and quality competitors were those who were

 more willing to coordinate.

          575.   As she was creating the list, Defendant Patel was talking to competitors to

 determine their willingness to increase prices and, therefore, where they should be ranked on the

 scale. For example, in one of her first conversations with CW-1 after Patel joined Teva, Patel

 told CW-1 that she had been hired by Teva to identify drugs where Teva could increase its

 prices. She asked CW-1 how Sandoz handled price increases. CW-1 told Patel that Sandoz

 would follow Teva's price increases and, importantly, would not poach Teva's customers after

 Teva increased. Not surprisingly, Sandoz was one of Teva's highest "quality" competitors. Patel

 and Teva based many price increase (and market allocation) decisions on this understanding with

 Sandoz over the next several years.

          576.   It is important to note that Defendant Patel had several different ways of

 communicating with competitors. Throughout this Amended Complaint, you will see references

 to various phone calls and text messages that she was exchanging with competitors. But she also

 communicated with competitors in various other ways, including but not limited to instant

 messaging through social media platforms such as LinkedIn and Facebook; encrypted messaging

 through platforms like WhatsApp; and in-person communications. Although the Plaintiff States

 have been able to obtain some of these communications, many of them have been destroyed by

 Patel.

          577.   Through her communications with her competitors, Defendant Patel learned more

 about their planned price increases and entered into agreements for Teva to follow them. On

 May 2, 2013, Patel spoke to her contacts at Glenmark, Actavis and Sandoz several times:




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 The lowest ranked competitors were:




        579.    Defendant Patel created a formula, which heavily weighted those numerical

 ratings assigned to each competitor based on their "quality," combined with a numerical score

 based on the number of competitors in the market and certain other factors including whether

 Teva would be leading or following the price increase. According to her formula, the best

 possible candidate for a price increase (aside from a drug where Teva was exclusive) would be a

 drug where there was only one other competitor in the market, which would be leading an

 increase, and where the competitor was the highest "quality." Conversely, a Teva price increase

 in drug market with several "low quality" competitors would not be a good candidate due to the

 potential that low quality competitors might not follow Teva's price increase and instead use the

 opportunity to steal Teva's market share.

        580.    Notably, the companies with the highest rankings at this time were companies

 with whom Patel and other executives within Teva had significant relationships. Some of the

 notable relationships are discussed in more detail below.

                             i.        The "High Quality" Competitor Relationships

        581.    The highest quality competitors in Defendant Patel's rankings were competitors

 where Teva had agreements to lead and follow each others' price increases. The agreements and

 understandings regarding price increases were what made each of those competitors a high

 quality competitor. As part of their understandings, those competitors also agreed that they

 would not seek to compete for market share after a Teva price increase.




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                                       a)     Mylan (+3)

        582.    Mylan was Teva's highest-ranked competitor by "quality." The relationship

 between these two competitors was longstanding, and deeply engrained. It survived changes in

 personnel over time, and pre-dated Defendant Patel's creation of the quality competitor rankings.

        583.    Defendant Kevin Green, who was employed by Teva beginning in 2006 through

 late October 2013, first began communicating with Defendant Jim Nesta of Mylan by telephone

 on February 21, 2012. From that time until the time that Defendant Green left Teva, Defendants

 Green and Nesta were in almost constant communication, speaking by phone at least 392 times,

 and exchanging at least twelve (12) text messages – including at or around every significant

 price increase taken by either company. This amounts to an average of nearly one call or text

 message every business day during this period.

        584.    Shortly after Defendant Patel started her employment at Teva, she called

 Defendant Nesta on May 10, 2013 and the two spoke for over five (5) minutes. Because

 Defendant Green had already established a relationship with Mylan, Patel did not need to speak

 directly with Defendant Nesta very often. Typically, Patel would e-mail Green and ask him to

 obtain market intelligence about certain Mylan drugs; Green would then speak to Nesta – often

 about a long list of drugs – and report his findings back to Patel. Several examples of these

 communications are outlined more fully in various sections below.

        585.    When Defendant Green left Teva to join Zydus in late October 2013, the

 institutional relationship and understanding between Teva and Mylan remained strong.

 Defendant Rekenthaler promptly took over the role of communicating with Defendant Nesta.

 Starting in December 2013, through the time that Defendant Rekenthaler left Teva in April,

 2015, Rekenthaler spoke to Nesta 100 times. Prior to Defendant Green leaving Teva in late-




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 October 2013, Defendants Rekenthaler and Nesta had only spoken by phone once, more than a

 year earlier in 2012.

        586.    The relationship between Teva and Mylan even pre-dated the relationship

 between Defendants Green and Nesta. For example, between January 1, 2010 and October 26,

 2011, R.C., a senior executive at Teva, communicated with R.P., a senior executive counterpart

 at Mylan, by phone or text at least 135 times. The pace of communications between the two

 companies slowed dramatically in November 2011 after R.C. left Teva and before Green began

 communicating with Nesta – but continued nevertheless as needed during that time through

 communications between Defendant Rekenthaler and R.P. at Mylan.

                                      b)      Watson/Actavis (+3)

        587.    Actavis was Teva's next highest quality competitor by ranking. Defendant Patel

 had strong relationships with several executives at Actavis, including Defendant Rogerson, the

 Executive Director of Pricing and Business Analytics, and A.B., a senior sales executive at

 Actavis. Defendant Rekenthaler also communicated frequently with A.S., a senior sales

 executive at Watson – a relationship that pre-dated Defendant Patel joining Teva.

        588.    Defendant Patel contacted A.B. shortly after she started her employment at Teva,

 as she was creating the quality competitor rankings. She called him on April 30, 2013, and the

 two exchanged several text messages the next day, May 1, 2013. But as detailed herein,

 Defendant Patel communicated on a more frequent basis with Defendant Rogerson, her

 counterpart in the pricing department at Actavis. From May 2, 2013 through November 9, 2015,

 Patel spoke and/or texted with Rogerson 157 times, including calls at or around every significant

 price increase taken by the respective companies.




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          589.   In August 2013, Defendant Marc Falkin joined Actavis and the relationship

 between Teva and Actavis grew stronger through his communications with Defendant

 Rekenthaler. From August 7, 2013 through the date that Rekenthaler left Teva in April, 2015,

 Rekenthaler and Falkin communicated by phone or text at least 433 times.

          590.   Defendant Maureen Cavanaugh also had a very strong relationship with

 Defendant Falkin. The two communicated with great frequency. From August 7, 2013 through

 the end of May 2016, Defendants Cavanaugh and Falkin spoke or texted with each other 410

 times.

                                       c)     Sandoz (+3)

          591.   Sandoz was also considered a top-quality competitor by Teva. Defendant Patel

 had a very strong relationship with CW-1 at Sandoz.

          592.   Beginning on April 12, 2013 – the day after Defendant Patel's last day at ABC –

 until August 2016, Defendant Patel and CW-1 spoke 185 times by phone, including at or around

 every significant price increase taken by either company. As detailed above, in one of her initial

 calls with CW-1 after she joined Teva, Defendant Patel asked CW-1 how Sandoz handled price

 increases. Defendant Patel explained that she had been hired at Teva to identify products where

 Teva could increase prices. CW-1 reassured Defendant Patel that Sandoz would follow any

 Teva price increases on overlapping drugs, and that Sandoz would not poach Teva's customers

 after Teva increased price.

          593.   Defendants Green and Rekenthaler of Teva also both had a very strong

 relationship with CW-2, who was – at that time – a senior Sandoz executive. These relationships

 pre-dated Defendant Patel joining Teva.




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                                      d)      Glenmark (+3)

        594.    Glenmark was one of Teva's highest-ranked competitors primarily because

 Defendant Patel had very significant relationships with several different individuals at Glenmark,

 including CW-5, Defendant Brown and J.C., a sales and marketing executive at Glenmark.

        595.    As stated above, Defendant Patel began communicating with CW-5 even before

 she began her employment at Teva. Patel was also communicating frequently with both CW-5

 and J.C. during the time she created the quality competitor rankings, and agreed to follow several

 Glenmark price increases, in May 2013.

        596.    Defendant Patel and CW-5 communicated by phone with great frequency –

 including at or around the time of every significant price increase affecting the two companies –

 until CW-5 left Glenmark in March 2014, at which point their communication ceased for nearly

 six (6) months. After CW-5 left Glenmark, Defendant Patel began communicating with

 Defendant Brown with much greater frequency to obtain competitively sensitive information

 from Glenmark. Defendants Patel and Brown had never spoken by phone before Patel started at

 Teva, according to the phone records produced.

                                      e)      Taro (+3)

        597.    Taro was highly rated because of Patel's longstanding relationship with the Vice

 President of Sales at Taro, Defendant Ara Aprahamian. Defendant Patel had known Defendant

 Aprahamian for many years, dating back to when Defendant Patel had started her professional

 career as an intern at ABC.

        598.    Even though she knew Defendant Aprahamian well, they rarely ever spoke or

 texted by phone until Defendant Patel started at Teva. From April 22, 2013 through March

 2016, however, Defendants Patel and Aprahamian spoke or texted at least 100 times, including




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 calls or text messages at or around the time of every significant price increase affecting the

 companies during those years.

                                       f)      Lupin (+2)

        599.    Although initially not the highest ranked competitor, Lupin was assigned a high

 rating because of Defendant Patel's strong relationship with Defendant David Berthold, the Vice

 President of Sales at Lupin. The relationship between Teva and Lupin, however, pre-dated

 Defendant Patel. Prior to Patel starting at Teva, Defendant Green and others at Teva conspired

 directly with Berthold. Several of those examples are discussed above in Section IV.C.1.c.

 Between January 2012 and October 2013, Defendants Berthold and Green, for example,

 communicated by phone 125 times.

        600.    From May 6, 2013 through April 8, 2014, Defendants Patel and Berthold

 communicated by phone 76 times, including at or around the time of every significant drug price

 increase where the two companies overlapped.

        601.    Demonstrating the strength of the relationship between the two companies, the

 price increase coordination continued between Defendants Teva and Lupin even when Defendant

 Green had left Teva and when Defendant Patel was out on maternity leave. For example, as

 discussed more fully below in Section IV.C.2.l.1, in October 2013 Lupin was preparing to

 increase its pricing on the drug Cephalexin Oral Suspension. Without Defendants Green or Patel

 to communicate with, Defendant Berthold instead communicated with Defendant Rekenthaler

 and T.S. of Teva in order to coordinate the price increase.

                        f.      May 24, 2013: The First List of Increase Candidates

        602.    Defendant Patel completed and sent her first formal list of recommended price

 increases to her supervisor, K.G., on May 24, 2013. She sent the list via e-mail, with an attached




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 spreadsheet entitled "Immediate PI File." The attached list included twelve (12) different drugs

 where Defendant Patel recommended that Teva follow a "high quality" competitor's price

 increase as soon as possible. The spreadsheet also revealed competitively sensitive information

 about future pricing and bidding practices of several of Teva's high quality competitors –

 information that Defendant Patel could have only learned through her discussions with those

 competitors. The relevant columns from that spreadsheet are set forth below:




        603.    For every one of the relevant drugs on the list, Defendant Patel or another

 executive at Teva spoke frequently with Teva's competitors in the days and weeks leading up to

 May 24, 2013. During these communications, Teva and its competitors agreed to fix prices and

 avoid competing with each other in the markets for the identified drugs. For some of these drugs

 – including the four different formulations of Fluocinonide – Defendant Patel knew before she

 even began her employment at Teva that she would be identifying those drugs as price increase

 candidates because of communications she had already had with Defendant Aprahamian of Taro.

        604.    The following graphic summarizes some of the calls related to each of the

 respective competitors leading up to May 24, 2013:




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        605.    The "Immediate PI File," including the competitively sensitive information

 Defendant Patel had obtained from competitors, was sent by Patel's supervisor K.G. to

 Defendant Maureen Cavanaugh – at that time the Senior Vice President of Sales and Marketing

 at Teva – on May 27, 2013. Defendant Cavanaugh adopted and approved Defendant Patel's

 price increase recommendations on May 28, 2013.

        606.    The Teva price increases for the drugs identified in Defendant Patel's May 24,

 2013 "Immediate PI File" went into effect on July 3, 2013. Defendant Patel went to great

 lengths to coordinate these price increases with competitors prior to sending the list to K.G. on

 May 24, 2013. Some illustrative examples of that coordination are set forth below.

                              i.       Glenmark

        607.    A number of the drugs identified in the “Immediate PI File” were targeted

 because of a recent Glenmark price increase on May 16, 2013. As soon as Defendant Patel

 started at Teva, she began to identify price increase candidates through her conversations with



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 various sales and marketing executives at Glenmark, including:

            •   CW-5: 4 calls on 5/2/13 (5:02; 0:06; 7:18 and 11:39), 2 calls on 5/3/13 (1:53 and
                0:06); 1 text message on 5/3/13;

            •   J.C.: 3 calls on 5/6/13 (6:45; 20:44; 8:39); 2 calls on 5/7/13 (7:59 and 1:03);

 For example, early in the morning on May 2, 2013, Defendant Patel informed a colleague that

 she expected to have some new drugs to add to the price increase list imminently:




 Less than fifteen minutes later, Defendant Patel received a call from CW-5 of Glenmark and the

 two spoke for just over five (5) minutes. Shortly after that call, at 7:44am, Defendant Patel sent

 a follow-up e-mail where she identified six different "high priority" Glenmark drugs to add to the

 price increase list, including: Adapalene Gel; Nabumetone; Pravastatin; Ranitidine; Moexipril;

 and Moexipril HCTZ. Glenmark had not yet increased price on any of those drugs, nor had it

 sent any notices to customers indicating that it would be doing so (and would not send such

 notices until May 15, 2013).

        608.    As the Glenmark price increases were approaching, Defendant Patel took steps to

 make sure that Teva did not undermine its competitor's action. During the morning on May 15,

 2013, in anticipation of the Glenmark price increases that had not yet been implemented or made

 public, Defendant Patel instructed her Teva colleagues to alert her of any requests by customers

 for pricing relating to eight different Glenmark drugs:




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 In accordance with the fair share understanding outlined above, Defendant Patel wanted to be

 careful to avoid obtaining any market share from Glenmark after the price increases.

        609.    Following the normal pattern, Defendant Patel also spoke to CW-5 of Glenmark

 for nearly six (6) minutes the next day, May 16, 2013 – the day of the Glenmark price increases.

 Effective that day, Glenmark increased price on the following drugs where there was an overlap

 with Teva: Adapalene Gel; Nabumetone; Fluconazole Tablets; Ranitidine; Moexipril; Moexipril

 HCTZ; Pravastatin; and Ondansetron. Patel also spoke to CW-5 and J.C. at Glenmark multiple

 times on May 17, 2013.

        610.    After the implementation of the Glenmark price increases on May 16, 2013, and

 before Teva had the opportunity to follow those increases, Teva was approached by several

 customers looking for a lower price. Teva refused to bid on most of these solicitations in order



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 to maintain market stability. When it did provide a customer with a bid, Teva intentionally bid

 high so that it would not win the business. As Defendant Patel stated to a Teva colleague when a

 large wholesaler approached Teva about bidding on several Glenmark increase drugs: "IF we

 bid, we need to bid high, or we will disturb the market."

        611     .Defendant Patel did not immediately include all of the Glenmark price increase

 drugs on Teva's price increase list, however, because certain drugs involved competitors that

 were not of the highest "quality." For these drugs, a little more work (and communication) was

 required before Patel would feel comfortable moving forward with a price increase.

        612.    For example, the market for Fluconazole Tablets included Defendant Greenstone

 as a competitor (albeit with relatively low market share) in addition to Teva and Glenmark. As

 of Friday May 17, 2013, Defendant Patel had not yet decided whether Teva should follow the

 Glenmark price increase on Fluconazole, fearing that Greenstone might not be a responsible

 competitor. In an internal e-mail that day, Patel indicated to colleagues – including her

 supervisor, K.G. – that she was "[g]athering some revised intel" about Fluconazole in order to

 determine next steps. The following Monday, May 20, Patel called Defendant Hatosy, a national

 account manager at Greenstone but was unable to connect. Patel was ultimately not able to

 communicate with Hatosy by phone until May 28, 2013 when the two had a twenty-one (21)

 minute call. The next day after speaking to Defendant Hatosy – May 29, 2013 – Defendant Patel

 promptly added Fluconazole to the Teva price increase list.

        613.    As discussed more fully below, Teva followed the Glenmark price increase for

 Fluconazole Tablets on July 3, 2013. That same day, Defendant Patel spoke to Defendant

 Hatosy for nearly sixteen (16) minutes; she also spoke to CW-5 at Glenmark for almost five (5)

 minutes. The Teva price increases were a staggering 875% - 1,570%, depending on the dosage




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 strength. Greenstone then followed with an increase of its own on August 16, 2013. Defendant

 Patel coordinated those increases with both Glenmark and Greenstone.

        614.    Another example of a drug that required even more effort and coordination among

 several competitors before it could be included on the Teva price increase list was Pravastatin,

 which is discussed more fully below in the Section relating to Teva's August 9, 2013 price

 increases.

                             ii.       Sandoz

        615.    In her May 24 "Immediate PI File," Defendant Patel included competitively

 sensitive information about the drug Nabumetone, indicating that she was confident following

 Glenmark's increase because Sandoz was "bidding high" on that drug. In other words, Sandoz

 would provide cover bids that were too high to be successful, so that Sandoz would not take its

 competitors' market share even if it did not take its own price increase. Defendant Patel had

 spoken to CW-1 for nearly twenty-five (25) minutes on May 15, 2013, and again for more than

 eighteen (18) minutes on May 20, 2013, during which time she learned this information.

        616.    At the same time, Sandoz was internally discussing its "bidding high" strategy for

 Nabumetone. Two days before Defendant Patel sent the "Immediate PI File" to her supervisor, a

 Sandoz pricing analyst sent the following e-mail to Defendant Kellum and CW-1 confirming the

 strategy:




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        617.    Patel continued to coordinate with CW-1 and other competitors about increasing

 prices for drugs on the list even after she sent it to K.G. on May 24, 2013. For example, at

 8:15am on May 30, 2013, Defendant Patel spoke to CW-5 at Glenmark for nearly twelve (12)

 minutes. Immediately after hanging up the phone, Patel called CW-1 at Sandoz to discuss

 Glenmark's increase on the drug Ranitidine and Teva's plans to follow that increase (Sandoz was

 also in the market for Ranitidine). She left CW-1 a voicemail, and he called her back promptly.

 Patel and CW-1 then had several substantive telephone calls over the next half hour.

        618.    After these conversations with Defendant Patel, at 10:02am, CW-1 sent an e-mail

 to Defendant Kellum indicating that he believed there would be price increases in the pipeline

 with respect to Ranitidine, and suggesting a potentially substantial increase in Sandoz's price:




        619.    The communication between Defendant Patel and CW-1 about competitively

 sensitive information was constant and unrelenting during this period. For example, in June

 2013 Teva was "attempting to understand how [its] pricing for Isoniazid compares to the rest of

 the market." On June 11, 2013, L.R., a Teva marketing representative, asked Defendant Patel

 whether she was "aware of any competitive market intel for this family?" According to the

 marketing representative, Sandoz was also in the market for Isoniazid and had "drastically


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        622.    As discussed more fully below, Teva ultimately increased price on Isoniazid on

 January 28, 2015 – in coordination with Sandoz. Defendant Patel spoke to CW-1 for more than

 sixteen (16) minutes shortly before the increase, on January 22, 2015.

                            iii.      Taro

        623.    Defendant Patel noted in her May 24, 2013 "Immediate PI File" that for the drug

 Adapalene Gel, she was confident in following the Glenmark price increase because there were

 also "[r]umors of a Taro increase" on that drug. In addition to Teva and Glenmark, Taro was the

 only other competitor in the market for Adapalene Gel at that time. Defendant Patel had heard

 the "rumors" about a Taro increase directly from Defendant Ara Aprahamian, the Vice President

 of Sales and Marketing at Taro. During a nearly eleven (11) minute phone conversation between

 the two on May 22, 2013, the competitors agreed to follow the Glenmark increase. This was the

 first call between Defendants Patel and Aprahamian since Patel joined Teva.

        624.    Shortly after the phone call with Defendant Patel, Defendant Aprahamian made

 an internal request for a report with specific information about Adapalene Gel in order to

 evaluate a potential Taro increase on the drug, including volume and pricing. Defendant

 Aprahamian indicated that the reason for his request was that the "[r]umor mill has some price

 changes in the market."




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        625.    The next day, May 23, 2013, Defendant Aprahamian directed a Taro employee to

 implement a price increase on Adapalene Gel:




 Exactly one week after the call between Defendants Patel and Aprahamian, on May 29, 2013,

 Taro increased its price on Adapalene Gel. As discussed below, Teva followed with its own

 price increase on July 3, 2013, which was coordinated with both Glenmark and Taro.

                       g.      July 3, 2013 Price Increases

        626.    Teva implemented its first formal set of price increases using Patel's high-quality

 competitor formula on July 3, 2013, relating to twenty-one (21) different generic drugs. Many of

 the drugs slated for price increases were from the May 24, 2013 "Immediate PI File," but several

 others had been added in the interim. Patel scheduled a conference call for the day before the

 price increases to discuss those increases with members of Teva's sales and pricing departments:




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 Following the now-established pattern, Defendants Patel and/or Green spoke to every important

 competitor in the days and weeks leading up to the July 3, 2013 Teva price increase to coordinate

 the increases and reiterate the understanding already in place with those competitors.

        627.    The following graphic details some of the calls between Teva representatives and

 Teva's competitors in the days and weeks leading up to the July 3, 2013 price increase; color

 coded to show the calls with specific competitors relating to each drug:




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 The only drugs that Defendants Patel or Green did not coordinate with Teva's competitors (those

 not highlighted in the graphic above) were drugs where Teva was exclusive – i.e., had no

 competitors.

        628.     Defendant Patel – and other executives at Teva – went to great efforts to

 coordinate these price increases with competitors prior to July 3, 2013. Some illustrative

 examples of generic drugs that were added to the list after May 24, 2013 are set forth in more

 detail below.

                              i.       Upsher-Smith

        629.     On June 13, 2013, as Defendant Patel was in the process of finalizing the Teva

 price increase list, she learned that Defendant Upsher-Smith had increased its listed WAC prices

 for the drug Oxybutynin Chloride Tablets.




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        630.    Oxybutynin Chloride, also known by the brand name Ditropan XL, is a

 medication used to treat certain bladder and urinary conditions. Belonging to a class of drugs

 called antispasmodics, Oxybutynin Chloride relaxes the muscles in the bladder to help decrease

 problems of urgency and frequent urination.

        631.    On June 13, 2013, K.G. of Teva sent an e-mail to several Teva employees,

 including Defendant Patel, asking them to "share any competitive intelligence you may have or

 receive" regarding Oxybutynin Chloride. At that time, Teva had been considering whether to

 delete the drug from its inventory, due to low supply and profitability. One factor that could

 potentially change that calculus for Teva was the ability to implement a significant price

 increase. On June 14, 2013, while considering whether to change Teva's plan to delete the drug,

 a Teva employee asked Defendant Patel whether she could "provide an estimate of the pricing

 we might secure business at?"

        632.    On June 15, 2013, Defendant Patel exchanged six (6) text messages with B.L., a

 senior national account executive at Upsher-Smith.

        633.    Defendant Patel deemed Upsher-Smith a highly-ranked competitor (+2) in large

 part because of her relationship and understanding with B.L. In the week before she began her

 employment at Teva (after leaving her previous employment), Defendant Patel and B.L.

 exchanged several text messages. During her first week on the job, as she was beginning to

 identify price increase candidates and high quality competitors, Patel spoke to B.L. on April 29,

 2013 for nearly twenty (20) minutes. During these initial communications, the two competitors

 reached an understanding that Teva and Upsher-Smith would follow each other's price increases.

 This understanding resulted in Upsher-Smith receiving a +2 "quality competitor" ranking from

 Defendant Patel.




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        634.    On June 19, 2013, Teva learned that the other competitor in the market for

 Oxybutynin Chloride, a company not identified as a Defendant in this Complaint, also increased

 its price for that drug. As a result, a national account executive at Teva sent an e-mail to

 Defendant Patel stating "Did you know about the Oxybutynin? We have small share, but huge

 increase there!" Patel responded: "Yes, heard late last week. The train is moving so fast, I'm

 worried we won't get on!" That same day, Patel instructed a colleague to add Oxybutynin

 Chloride to the Teva price increase list and began taking steps to implement the increase.

        635.    On July 3, 2013, Teva implemented a price increase ranging between 1,100 –

 1,500% on Oxybutynin Chloride, depending on the dosage strength. Like the other drugs on the

 list, Teva would not have increased its price without first obtaining agreement from competitors

 that they would not compete with Teva or steal market share after the increase.

                              ii.      Mylan

        636.    Immediately after she began at Teva, Defendant Patel began to investigate Mylan

 drugs as a potential source for coordinated price increases. For example, on May 6, 2013, as she

 was creating the list of "Immediate PI" candidates, Defendant Patel sent Defendant Green an e-

 mail with an attached spreadsheet titled "Price Increase Candidate Competitive Landscape."

 Defendant Patel asked Defendant Green to "gather as much market intelligence as possible" for

 certain, specific items that she had highlighted in blue, including nine (9) Mylan drugs:

 Tolmetin Sodium Capsules; Doxazosin Mesylate Tablets; Methotrexate Tablets; Diltiazem HCL

 Tablets; Flurbiprofen Tablets; Nadolol Tablets; Amiloride HCL/HCTZ Tablets; Cimetidine

 Tablets; and Estradiol Tablets.

        637.    The next day, May 7, 2013, Defendant Green spoke to Defendant Nesta at Mylan

 three times, including one call lasting more than eleven (11) minutes. Defendant Green also




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 of Defendant Patel's colleagues sent her a suggestion with the following list of potential drugs to

 add to the price increase list:

                              Product                         Competitors (Mkt Share)
            Disopyramide Phosphate Capsules              Actavis (61%)
            Ketorolac Tablets                            Mylan (32%)
            Ketoprofen Capsules                          Mylan (63%)
            Hydorxyzine Pamoate Capsules                 Sandoz (39%); Actavis (9%)
            Nystatin Tablets                             Heritage (35%); Mutual (32%)

 In response, Defendant Patel's supervisor, K.G. of Teva, commented that "Ketoprofen would

 have a high likelihood of success." Patel also responded favorably with regard to some of the

 drugs, alluding to the fact that she had inside information about at least Ketoprofen:




 At that time, Nystatin was not considered a strong candidate for a price increase because of the

 quality of the competitors in the market. As discussed more fully below, those dynamics would

 later change after Defendant Patel struck up a collusive relationship with a high-level executive

 at Heritage.

         642.    Not surprisingly given the "rumors," Mylan raised its price for both Ketorolac and

 Ketoprofen (the two Mylan drugs on the list above) six days later, on July 2, 2013. Teva then

 quickly followed with its own price increase for both drugs (and others) on August 9, 2013. As

 discussed more fully below, those price increases were closely coordinated and agreed to by

 Teva and Mylan.

         643.    At the end of the flurry of phone communications between Teva and Mylan

 described above – on June 28, 2013 – Defendant Green and Defendant Nesta had a four (4)


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 minute call starting at 10:59am. Within minutes after that call, Defendant Patel sent the

 following e-mail internally at Teva:




 Defendant Patel obtained this information directly from Defendant Green, but got one significant

 point wrong (which confirms that she had advance notice of the Mylan increase). In actuality,

 Mylan did not announce the price increases until the following Monday, July 1, 2013 – with an

 effective date of July 2, 2013.

        644.    "Rumors" was a term consistently used by Defendant Patel in e-mails to

 camouflage the fact that she and her co-conspirators within Teva were communicating with

 competitors about future price increases. She used the term when discussing Taro in the May 24,

 2013 "Immediate PI" spreadsheet, after speaking with Defendant Aprahamian and before Taro

 raised its price on Adapalene Gel. She used it again on June 26, 2013 – after Defendants Green

 and Nesta spoke several times in advance of Mylan's price increase on Ketoprofen.

        645.    Similarly, on July 2, 2013 – the day before Teva's price increases (including for

 the drug Methotrexate) went into effect, a colleague asked Defendant Patel how Teva's

 competitors' pricing compared with regard to Methotrexate. Defendant Patel responded that



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 Mylan's pricing was a little low on that drug, "but we are hearing rumors of them taking another

 increase," so Teva felt comfortable increasing the price of that drug on July 3, 2013. These

 "rumors" – which were based on the direct communications between Defendants Green and

 Nesta noted above – again turned out to be accurate: Mylan increased its price of Methotrexate,

 pursuant to its agreement with Teva, on November 15, 2013.

                              iii.      Sandoz

           646.   After the large Teva and Mylan price increases on July 2 and 3, 2013, Sandoz

 sought to obtain a "comprehensive list of items" increased so that it would "not respond to

 something adversely" by inappropriately competing for market share on any of those drugs.

 Sandoz executives had previously conveyed to their counterparts at both Mylan and Teva that

 Sandoz would follow their price increases and not steal their customers after an increase.

 Obtaining the comprehensive list of price increase drugs was an effort by Sandoz to ensure it was

 aware of every increase taken by both competitors so it could live up to its end of the bargain.

           647.   On July 9, 2013, CW-1 stated in an internal Sandoz e-mail that he would "call

 around to the [Sandoz directors of national accounts] to try and gather a comprehensive list of

 items."

           648.   Pursuant to that direction, on July 15, 2013 CW-2 of Sandoz called Defendant

 Rekenthaler at Teva and left a message. Defendant Rekenthaler called CW-2 back immediately

 and the two had a three (3) minute conversation during which CW-2 asked Rekenthaler to

 provide him with a full, comprehensive list of all the Teva price increase drugs – not just those

 drugs where Teva overlapped with Sandoz. Defendant Rekenthaler complied. Understanding

 that it was improper to share competitively sensitive pricing information with a competitor, and

 in an effort to conceal such conduct, Defendant Rekenthaler first sent the Teva price increase list




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 from his Teva work e-mail account to a personal e-mail account, and then forwarded the list

 from his personal e-mail account to CW-2's personal e-mail account:




 CW-2 later called CW-1 and conveyed the information orally to CW-1, who transcribed the

 information into a spreadsheet.

        649.    One of the drugs that both Teva and Mylan increased the price of in early July

 2013 was Nadolol. Sandoz was the only other competitor in that market. Shortly after the Teva

 increase, CW-1 sent Defendant Patel a congratulatory message regarding the increase.

                       h.      July 19, 2013 Price Increase (Enalapril Maleate)

        650.    Immediately after the July 3, 2013 price increases, Patel began preparing for what

 she called "Round 2" – another large set of Teva price increases. In the interim, however, Teva

 was presented with an opportunity to coordinate a price increase with competitors on a single

 drug – Enalapril Maleate Tablets.


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        651.    Enalapril Maleate ("Enalapril"), also known by the brand name Vasotec, is a drug

 belonging to the class called ACE inhibitors, and is used to treat high blood pressure.

        652.    Mylan previously increased its price for Enalapril effective July 2, 2013. At that

 time, there were only three manufacturers in the market: Mylan, Teva and Wockhardt. Enalapril

 was on the list of drugs slated for a price increase that Teva had received from Mylan in June

 2013, before those price increases were put into effect (as discussed above in Section IV.C.2.h).

        653.    Shortly after the Mylan price increase, on July 10, 2013, Teva received a request

 from a customer for a lower price on Enalapril. Interestingly, the customer indicated that the

 request was due to Wockhardt having supply problems, not because of the Mylan increase. K.G.

 of Teva confirmed that Enalapril "was on the Mylan increase communicated last week. They

 took a ~75% increase to WAC."

        654.    The comment from the customer sparked some confusion at Teva, which Teva

 quickly sought to clarify. That same day, Defendants Green and Nesta had two phone calls,

 including one lasting almost sixteen (16) minutes. The next day, July 11, 2013, Defendants

 Green and Nesta spoke two more times. During these conversations, Nesta explained to Green

 that Wockhardt had agreed to follow the Mylan price increase on Enalapril. This information

 sparked the following e-mail exchange between Defendants Green and Patel (starting from the

 bottom):




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 As it turned out, there must have been a miscommunication between Defendants Green and

 Nesta because although Wockhardt did in fact plan to follow Mylan's price increase, it had not

 yet had the opportunity to do so as of July 11, 2013.

        655.    On Friday, July 12, 2013, J.P., a national account executive at Teva, asked

 Defendant Patel whether Teva was "planning on increasing [its price for Enalapril]?" Defendant

 Patel responded: "I hope to increase, but we're gathering all the facts before making a

 determination." J.P. then inquired whether Teva would make an offer to the customer, and

 Defendant Patel responded: "Not sure yet. Need some time. We're exploring the possibility of

 an increase just on this item . . . in the near future. Maybe next week."

        656.    That same day, Defendants Patel and Green each started "exploring the

 possibility" and "gathering the facts" by reaching out to Teva's two competitors for Enalapril.

 Defendant Patel called Defendant Nesta of Mylan directly and they spoke three times, including




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 calls lasting six (6) and five (5) minutes. Defendant Patel likely called Defendant Nesta directly

 in this instance because Defendant Green was attending the PBA Health 4 Conference at the

 Sheraton Overland Park, Overland Park, Kansas, where he was participating in a golf outing.

 Upon information and belief, K.K. – a senior national account executive at Wockhardt – attended

 the same conference, and likely spoke directly to Defendant Green either at the golf outing

 during the day or the trade show at night, because at 12:40am that evening (now the morning of

 July 13, 2013) K.K. created a contact on his cell phone with Defendant Green's cell phone

 number in it.

          657.   On Sunday, July 14, 2013, after Defendant Green returned home from the

 conference, Defendants Green and Patel spoke three times, including one call lasting twenty-one

 (21) minutes. During these calls, Defendant Green conveyed to Defendant Patel what he had

 learned from K.K.: that Wockhardt planned to follow the Mylan price increase.

          658.   First thing the next morning, on Monday, July 15, 2013, Defendant Patel sent an

 e-mail to a Teva executive stating "new developments…heard that Wockhardt is taking an

 increase today or tomorrow." At the same time, Wockhardt began planning to raise the price of

 Enalapril and sought to confirm specific price points for the increase. Internally, Wockhardt

 employees understood that K.K. would try to obtain price points from a competitor. That

 morning, K.K. of Wockhardt called Defendant Green for a one (1) minute call; shortly thereafter,

 Defendant Green returned the call and they spoke for two (2) more minutes. At 9:57am that

 morning, K.K. reported internally the specific price ranges that he had obtained from Defendant

 Green.




 4
   PBA Health is a pharmacy services organization that serves independent community pharmacies with group
 purchasing and other services.


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        659.    Armed with this competitively sensitive information, and the understanding that

 Wockhardt intended to follow the Mylan increase, Teva began to plan its own price increase. On

 Tuesday, July 16, 2013, Defendant Patel sent the following internal e-mail to her supervisor

 K.G., again using the term "rumors" to obfuscate the true source of her information:




 That same day, Defendant Nesta called Defendant Patel and left a voice mail.

        660.    Defendant Patel's July 16, 2013 e-mail referred to above was forwarded to

 Defendant Cavanaugh, who promptly approved the price increase. That same day, July 16,

 2013, Defendant Patel then scheduled a "Price Increase Discussion" with members of Teva's

 sales and pricing teams, and sent the following agenda:




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        661.   Teva and Wockhardt simultaneously implemented price increases on July 19,

 2013. Although the timing of the price increase was coordinated among the competitors,

 Defendant Patel nevertheless described the simultaneous increase as a coincidence in an internal

 e-mail that same day:




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        662.    Within a few days after the increases, a customer complained to K.K. at

 Wockhardt, asking: "What is going on in the market that justifies your price increases?" K.K.'s

 response to the customer was direct: "Mylan took up first we are just following." Similarly, in

 early August a different customer asked Wockhardt to reconsider its increase, suggesting that

 Wockhardt's competitors were offering a lower price point. Knowing this to be untrue, K.K.

 replied again "we followed Mylan and Teva for the increase."

                        i.      August 9, 2013 Price Increases ("Round 2")

        663.    On August 9, 2013, Teva raised prices on twelve (12) different drugs. These

 increases were again coordinated with a number of Teva's competitors, including Defendants

 Mylan, Sandoz, Taro, Lupin, Glenmark, Zydus and Apotex.

        664.    Defendant Patel began planning for the increase shortly after the July 3 increases

 were implemented. On July 11, 2013, Defendant Patel sent a preliminary draft list of price

 increase candidates to a colleague for what she referred to as "Round 2." For the drugs on the

 preliminary list, Defendant Patel stated that "this does not guarantee that [they] will end up

 getting an increase, but at the very least, it will be put through the review process."

        665.    The list included a number of drugs involving the following competitors,

 primarily: Actavis, Aurobindo, Glenmark, Heritage, Lupin, Mylan and Sandoz. In the days



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        668.    By August 7, 2013, Defendant Patel had finalized the list. That day she sent an e-

 mail to her supervisor, K.G., with a "Price Increase Overview" spreadsheet which she had

 prepared for Defendant Maureen Cavanaugh, summarizing the increases. As shown below, the

 spreadsheet included competitively sensitive information about certain competitors' plans

 regarding future price increases that Defendants Patel and/or Green could have only learned from

 directly colluding with those competitors:




        669.    K.G. immediately recognized that having such explicit evidence of a competitor's

 price increase plans in writing would be problematic for Teva. In response to the e-mail, K.G.

 politely asked Defendant Patel to remove some of the incriminating information:




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 In accordance with the executive's request, Patel deleted the information.

        670.    Following the now common and systematic pattern, Defendants Patel and Green

 coordinated the increases with every important competitor in the days and weeks leading up to

 the increase. The following graphic details some of the calls with competitors in the days and

 weeks leading up to the increases:




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 As it turned out, Mylan was also in the process of implementing its own price increases on

 August 9, 2013 on several drugs (including several sold by Teva), and it is likely that Defendant

 Nesta reached out to Defendant Patel to coordinate those increases.

                                      i.               Mylan

        673.        Teva and Mylan were coordinating price increases consistently during this period,

 including the time leading up to the August 9, 2013 increases. During each step in the process,

 Teva and Mylan executives kept their co-conspirators apprised of their decisions. The

 communications were typically initiated by Defendant Patel, who asked Defendant Green to

 communicate with Defendant Nesta of Mylan and obtain what she referred to as "intel" on many

 different drugs. But at times, Defendant Patel communicated directly with Defendant Nesta.

        674.        For example, on July 22, 2013, Defendant Patel sent Defendant Green an e-mail

 with an attached spreadsheet of "Round 2" increase items. She indicated that she was "seeking

 intel" for a group of drugs in the attached spreadsheet with a highlighted yellow "x" and included

 in a column titled "Follow Mylan/Other:"


                                                                                                                  Follow
                    Product Family                                    Initial Comments               PM Related   Mylan/Other
           Amiloride                 Mylan increase; Teva only has HCTZ                                           x
           Diclofenac Tab            Mylan increase; On historical PI list                           x            x
           Doxazosin Mesylate Tabs   Mylan increase; On historical PI list                                        x
           Enalapril Tab             Mylan increase; On historical PI list--COMPLETED                             x
           Ketoprofen                Follow Mylan; Deletion candidate; PM related                    x            x
           Ketorolac                 Follow Mylan; Deletion candidate; PM related                    x            x
           Metoprolol                Mylan increase (Teva does not have 25mg but small sku)                       x
           Nystatin                  Heritage involved follow Mutual deletion candidate PM related   x            x
           Pravastatin               Carried over from round 1                                                    x
           Sotalol                   Mylan increase; On historical PI list                                        x
           Tolmetin Tab              Mylan increase; Teva has 94 share; On historical PI list                     x
           Verapamil (Isoptin SR)    Mylan increase (lost Kroger and OneStop--to who?)                            x



 A large majority were Mylan drugs.

        675.        The next day – July 23, 2013 – at 4:30pm, Defendants Green and Nesta spoke for

 more than six (6) minutes. Immediately after hanging up the phone, Defendant Green called




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 Defendant Patel to convey the intel he had obtained from Mylan. The call lasted more than three

 (3) minutes.

        676.    On July 29, 2013, Defendant Green at Teva was approached by a large retail

 pharmacy asking for bids on several of the drugs that Mylan had increased prices on in early

 July. Defendant Green's first step was to request market share information for those drugs so

 that Teva could make a decision on how to respond to the customer's inquiry based on the

 generally accepted understanding regarding fair share:




        677.    The next day, July 30, 2013, Defendant Patel sent Defendant Green the "latest"

 price increase file as an attachment, saying that she "[f]igured it would help since I've changed a

 few things on you." Defendant Patel asked Defendant Green to obtain additional "market intel"

 for a group of seven Mylan drugs, some of which varied slightly from the prior spreadsheet.

        678.    Following the same consistent pattern, Defendants Green and Nesta spoke six (6)

 times over the next two days. After hanging up from the last call between the two on August 1,

 2013, Defendant Green called Defendant Patel and conveyed the results of his conversations.




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 responsibly and follow a price increase. At that time, Defendant Patel did not view Zydus as a

 quality competitor. Defendant Patel stated: "I have asked to get Zydus' ability to supply on this.

 If it's not so great, I would like to add back to the increase list." Patel later indicated that "[t]he

 only threat was Zydus. Just waiting to hear on their ability to supply."

         692.    Defendant Green was responsible for coordinating with Zydus. As seen in the

 table above, on May 15, 2013, Defendant Green spoke with three Zydus employees, including a

 call with K.R. of Zydus lasting sixteen (16) minutes. The next day, on May 16, Green spoke

 with M.K. for 4 minutes. Later that day, K.R. called M.K. and the two Zydus executives spoke

 for more than seventeen (17) minutes. Defendant Green also spoke to Defendants Rekenthaler

 and Patel the same day, conveying what he had learned from his communications with the Zydus

 executives.

         693.    Also on May 16, Defendant Patel's supervisor, K.G., sent an internal e-mail to

 several colleagues, including Defendants Patel and Rekenthaler, stating "I think we need to

 understand additional competitor ability to take on additional share and pricing actions. The

 volume is huge for us. It would be nice to try to increase our price, but we do not really want to

 lose a lot of share on this product." In response, Defendant Rekenthaler indicated that he was

 now comfortable with the price increase, but he did not want to put his reasoning in writing:




         694.    The next day – May 17, 2013 – Defendant Patel continued to coordinate the price

 increase with executives at both Glenmark and Lupin. For example, at 12:08pm, Defendant


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 Pravastatin price increase with Zydus:




        703.    Pursuant to that agreement, shortly after Teva's increase – on August 28, 2013 –

 Lupin raised its price to follow competitors Glenmark, Apotex, Zydus and Teva.

        704.    The extra work required to implement the Pravastatin price increase was well

 worth it to Teva. On August 8, 2013 – the day before the Teva increase – Patel sent her

 supervisor K.G. an estimate of the "net upside" to Teva as a result of certain price increases. She

 estimated that, for Pravastatin alone, the "net upside after credits" to Teva was $674,670,548 per

 quarter.

                             iii.      Etodolac and Etodolac ER

        705.    Etodolac, also known by the brand name Lodine, is a medication known as a non-

 steroidal anti-inflammatory drug (NSAID). It is used to reduce pain, swelling and joint stiffness

 from arthritis. It works by blocking the body's production of certain natural substances that

 cause inflammation. An extended release version of Etodolac – Etodolac ER –also known by the

 brand name Lodine XL, is also available.

        706.    As of July 13, 2013, Teva sold both Etodolac and Etodolac ER. Teva's

 competitors for the standard version of Etodolac were Taro and Sandoz. For Etodolac ER, Teva

 had only one competitor – Taro.

        707.    When Defendant Patel first began planning for "Round 2" of Teva's price

 increases, Etodolac and Etodolac ER were not slated for increases. For example, when she

 circulated a long list of potential "Round 2" increases on July 11, 2013 (that would later be cut

 down substantially) – neither of those drugs was on the list.



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        708.    Around that time, Sandoz began identifying a list of drugs where it believed it

 could increase price by the end of July. Etodolac was on the list, primarily because Sandoz

 would be able to implement a substantial increase without incurring significant price protection

 penalties from its customers.

        709.    On July 16, 2013, CW-3, then a senior executive at Sandoz, reached out to

 Defendant Aprahamian at Taro and they spoke for sixteen (16) minutes. Defendant Aprahamian

 called CW-3 back the next day and the two spoke again for eight (8) minutes. After hanging up

 the phone with CW-3, Defendant Aprahamian immediately called Defendant Patel. They

 exchanged voicemails until they were able to connect later in the day for nearly fourteen (14)

 minutes. On July 18, 2013, Defendant Patel called CW-1 at Sandoz and the two spoke for more

 than ten (10) minutes.

        710.    During this flurry of phone calls, Defendants Sandoz, Taro and Teva agreed to

 raise prices for both Etodolac and Etodolac ER.

        711.    On July 22, 2013 – before any price increases took effect or were made public –

 Defendant Patel added both Etodolac and Etodolac ER to her price increase spreadsheet for the

 first time, with the following notations:

      Etodolac                        Sandoz* (All strong competitors)
      Etodolac ER                     Could follow IR (Shared with Taro)

 Based on her conversations with CW-1 and Defendant Aprahamian, Defendant Patel understood

 that Sandoz planned to increase its price on Etodolac, and that Taro would follow suit and raise

 its price for Etodolac ER. During those conversations, Teva agreed to follow both price

 increases.

        712.    That same day, Sandoz sent out a calendar notice to certain sales and pricing

 employees for a conference call scheduled for July 23, 2013 to discuss planned price increases,



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 including for Etodolac. Prior to the conference call on July 23, CW-1 called Defendant Patel at

 Teva. After exchanging voice mails, the two were able to connect for more than fourteen (14)

 minutes that day. During that call, CW-1 confirmed the details of the Sandoz price increase on

 Etodolac. Similarly, CW-3 of Sandoz called Defendant Aprahamian at Taro that same day and

 the two spoke for more than three (3) minutes.

        713.    The Sandoz price increase for Etodolac became effective on July 26, 2013. That

 same day, Taro received a request from a customer for a one-time buy on Etodolac 400mg

 Tablets. After learning of the request, Aprahamian responded swiftly internally: "Not so fast.

 Why the request? Market just changed on this and not apt to undercut."

        714.    When Taro received another request on July 30 from a large wholesale customer

 for a bid due to the Sandoz price increase, Aprahamian's internal response was equally short:




        715.    Also on July 26, Defendant Patel sent an e-mail to others at Teva – including her

 supervisor K.G., Defendant Rekenthaler and others – informing them of the Sandoz increase on

 Etodolac IR (immediate release). She instructed them to "[p]lease watch ordering activity for

 both, IR and ER. The intent is that we will follow in the near future, but a date has not been

 determined."

        716.    Defendant Patel continued to coordinate with both Sandoz and Taro regarding the

 Etodolac and Etodolac ER price increases (among other things). Between July 29 and August 2,


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        719.    When Defendant Patel sent the "Price Increase Overview" spreadsheet to her

 supervisor K.G. on August 7, 2013, summarizing Teva's upcoming August 9 price increases, she

 again made it clear that the reason Teva was increasing its prices for Etodolac and Etodolac ER

 was because Teva senior executives knew that Taro would be raising its prices on both drugs

 "this week." K.G. quickly instructed Defendant Patel to delete those entries, but never instructed

 her to stop communicating with the company's competitors, including Taro.

        720.    Teva and Taro raised prices for Etodolac and Etodolac ER simultaneously, with

 the price increases effective on August 9, 2013. Both their AWP and their WAC prices were

 increased to the exact same price points. The increases were substantial. For Etodolac, Teva's

 average increase was 414%; for Etodolac ER, the average increase was 198%.

                                iv.         Impact of Price Increases

        721.    As she was preparing to implement Teva's August 9, 2013 price increases,

 Defendant Patel also calculated the quarterly increase in sales revenues resulting from the price

 increase taken by Teva on July 3, 2013. The analysis also included the financial impact of the

 recent Pravastatin increase. The results were staggering.

        722.    According to her analysis, the "Total Net Upside after Credits" as a result of the

 July 3 price increases, plus Pravastatin and one other drug, was a staggering $937,079,079

 (nearly $1 billion) per quarter to Teva, as shown below:

                                                                                               Total Net
             Price      Incremental                                 Credit      Total Net     Upside (CVS
           Increase     Sales Value   Total Credit   CVS Credit    Estimate    Upside after     credits
           Category      (Est ASPs)    Estimate       Estimate    (Less CVS)     Credits       deferred)
         Grand Total   $973,184,165 ($36,105,086) ($10,188,095) ($25,916,991) $937,079,079 $962,996,070
          IHI Total    $850,711,025 ($31,676,647) ($7,898,091) ($23,778,555) $819,034,379 $842,812,934
          ILI Total     $34,078,176 ($1,489,058) ($594,035)       ($895,023) $32,589,117 $33,484,141
          UR Total      $88,394,964 ($2,939,381) ($1,695,968) ($1,243,413) $85,455,583 $86,698,996




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        723.    Patel was rewarded handsomely by Teva for effectuating these price increases. In

 March 2014, less than a year after starting at Teva, Patel was rewarded with a $37,734 cash

 bonus, as well as an allocation of 9,500 Teva stock options.

                        j.      Price Increase Hiatus

        724.    Shortly after the August 9, 2013 price increase went into effect, Defendant Patel

 left the office for several months while on maternity leave.

        725.    This slowed down Teva's plans for its next round of price increases. During the

 time period while Patel was out on maternity leave, Teva did not implement or plan any

 additional price increases, instead waiting for Defendant Patel to return and continue her work.

 Defendant Patel began to return to the office on a part-time basis beginning in November 2013.

        726.    During this time period, Defendant Kevin Green left Teva to join Defendant

 Zydus as the Associate Vice President of National Accounts. His last day of employment at

 Teva was October 23, 2013. This prompted Defendant Rekenthaler to assume the role of

 communicating with specific competitors, including Mylan. Defendant Rekenthaler also

 identified and began communicating on a more frequent basis with co-conspirators at different

 companies to facilitate the price increase process for Teva.

        727.    As discussed more fully below, although Defendant Patel's absence slowed Teva

 in its plans for price increases on additional drugs, it did not stop certain competitors – in

 particular Lupin and Greenstone – from attempting to coordinate with Teva regarding their own

 price increases. In Defendant Patel's absence, they simply communicated through different

 channels. These communications were conveyed to Defendant Patel upon her return and she

 included the information in her efforts to identify new price increase candidates.




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        728.    As discussed more fully below, by early 2014 Defendant Patel had picked up right

 where she left off planning for the next round of Teva increases.

                        k.     March 7, 2014: Price Increases and Overarching Conspiracy
                               Converge (Niacin ER)

        729.    Niacin Extended Release (ER), also known by the brand name Niaspan Extended

 Release, is a medication used to treat high cholesterol.

        730.    On September 20, 2013, Teva entered the market for Niacin ER as the first-to-file

 generic manufacturer. As the first-to-file, Teva was awarded 180 days of exclusivity to sell the

 generic drug before other generic manufacturers could enter the market.

        731.    Teva's period of exclusivity for Niacin ER was scheduled to expire on March 20,

 2014. As that date approached, Teva began to plan for loss of its exclusivity. By at least as early

 as February, Teva learned that Defendant Lupin would be the only competitor entering the

 market on March 20.

        732.    The first thing Teva sought to do – knowing that a high-quality competitor would

 be the only new entrant – was to raise its price. On February 28, 2014, Defendant Maureen

 Cavanaugh instructed K.G. and others at Teva that "[w]e need to do the Niacin ER price increase

 before Lupin comes to market and sends offers out." K.G. immediately forwarded the e-mail to

 Defendant Patel with the instruction: "Please see comment on Niacin ER. Please make sure you

 include in your price increase." Later that day, Defendant Patel called Defendant Berthold at

 Lupin and the two spoke for nearly seven (7) minutes.

        733.    Within a week, Teva was ready to implement the price increase. On March 5,

 2014, Defendant Patel sent an e-mail to the Teva pricing group stating "[p]lease prepare for a

 price increase on Niacin ER, to be communicated [to customers] this Friday for an effective date




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 Defendant Patel responded:




          739.     The next day – March 25, 2014 – K.G. of Teva summarized the status of Teva's

 LOE Plan and the company's agreement with Lupin on Niacin ER: "With the four concessions

 (CVS, Cardinal, Optum and Humana), we would be giving up right around 40% share as Dave

 noted (I calculated 39%) . . . . We need to keep everybody else."

                            l.       April 4, 2014 Price Increases

          740.     On April 4, 2014, Teva raised prices on twenty-two (22) different generic drugs.

 Again, nearly all of these increases were coordinated with a number of Teva's high-quality

 competitors who by now were familiar co-conspirators, including Defendants Sandoz, Taro,

 Actavis, Mylan, Lupin and Greenstone. But for this price increase, Teva also began coordinating

 with some of what it regarded as "lesser-quality" competitors – such as Defendant Breckenridge,

 Heritage, 5 Versapharm, Inc. ("Versapharm") and Rising Pharmaceuticals, Inc. ("Rising") – as

 new sources for anticompetitive agreements. For this price increase, Teva also decided to lead

 many more price increases – which was riskier for Teva and required even greater coordination

 with competitors.



 5
   The collusive relationship and interactions between Teva and Heritage described in this sub-section –including
 anticompetitive agreements relating to the drugs Nystatin and Theophylline – are addressed in greater detail in the
 States’ Consolidated Amended Complaint dated June 15, 2018, MDL No. 2724, 2:17-cv-03768, Dkt No. 15 (E.D.
 Pa). Although Heritage is not named as a defendant in this Complaint, and the Plaintiff States do not seek relief
 relating to Nystatin or Theophylline herein, the collusive relationship between Heritage and Teva is part of a larger
 pattern of conduct involving Teva and provides further support for the allegations herein.


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        741.    Leading more price increases was part of a strategy that Defendant Patel

 memorialized in writing in January of 2014, documenting in many respects the successful

 strategy that she had implemented in 2013, focused on leveraging Teva's collusive relationships

 with high-quality competitors. This strategy was well known, understood and authorized by

 individuals at much higher levels at Teva, including Defendants Cavanaugh and Rekenthaler,

 and Patel's direct supervisor K.G. For example, on January 16, 2014, Patel sent a document to

 K.G. titled "2014 Pricing Strategy Brainstorm," where she outlined her plan for implementing

 price increases:




        742.    Defendant Patel began planning for the next round of Teva price increases in

 early January 2014, shortly after returning to full-time status from maternity leave. On January

 14, 2014, Patel sent K.G. a preliminary draft list of price "Increase Potentials Q1 2014." She

 stated: "Attached is my list of potential items. Note that they still need to go through the review

 process."

        743.    The initial list contained drugs sold by Actavis, Lupin and Greenstone, among

 others. Not surprisingly, Defendant Patel was communicating frequently with each of those

 competitors throughout December 2013 and into early January 2014.



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 Patel continued to refine the list over the next several weeks.

        746.    On March 17, 2014, Defendant Patel sent a near final version of the "PI

 Candidates" spreadsheet to K.G. with the statement: "Once you verify these are acceptable, we

 can finalize for the increase." In a practice that had now become routine at Teva, Defendants

 Patel and Rekenthaler both were communicating frequently with competitors – in this case Taro,

 Lupin, Actavis, Greenstone, Zydus, Heritage, and Rising – to coordinate the price increases in

 the week before Patel sent the price increase list to K.G. At least some of those communications

 are reflected in the table below:




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 2012. As discussed more fully below, Versapharm followed with its own price increase shortly

 after the Teva increase.

        747.    In the days leading up to the price increase, Defendant Rekenthaler asked

 Defendant Patel for a list of drugs and competitors associated with each of the increase items so

 that he could confirm that Teva had successfully coordinated increases with everyone. On April

 1, 2014, Defendant Patel responded by providing a list of only those drugs where Teva was

 leading the price increase – i.e., the drugs with the most risk if Teva did not secure an agreement

 beforehand with a competitor before raising its own price.

        748.    Satisfied that Defendants Patel and Rekenthaler had confirmed agreement with all

 the appropriate competitors, on April 4, 2014 Teva increased pricing on various dosage strengths

 of the following drugs:

                   Product Description                  Lead/Follow   Competitors

                   AZITHROMYCIN ORAL SUSPENSION         Follow        Greenstone
                   AZITHROMYCIN SUSPENSION              Follow        Greenstone
                   BUMETANIDE TABLETS                   Lead          Sandoz
                   CEPHALEXIN SUSPENSION                Follow        Lupin
                   CLARITHROMYCIN ER TABLETS            Follow        Actavis; Zydus
                   CYPROHEPTADINE HCL TABLETS 4MG 100   Follow        Breckenridge
                   DICLOXACILLIN SODIUM CAPSULES        Lead          Sandoz
                   DIFLUNISAL TABLETS                   Lead          Rising

                   ESTAZOLAM TABLETS                    Follow        Actavis
                   ETHOSUXIMIDE CAPSULES                Lead          Versapharm

                   ETHOSUXIMIDE ORAL SOLUTION           Lead          Versapharm
                   HYDROXYZINE PAMOATE CAPSULES         Lead          Sandoz; Actavis
                   KETOCONAZOLE CREAM 2%                Lead          Taro; Sandoz
                   KETOCONAZOLE TABLETS                 Lead          Taro; Mylan

                   MEDROXYPROGESTERONE TABLETS          Follow        Greenstone

                   MIMVEY (ESTRADIOL/NORETH) TAB        Follow        Breckenridge
                   NYSTATIN ORAL TABLETS                Lead          Heritage; Mutual
                   PENTOXIFYLLINE TABLETS               Lead          Apotex; Mylan

                   TAMOXIFEN CITRATE TABLETS            Follow        Actavis

                   THEOPHYLLINE ER TABLETS 100MG 100    Lead          Heritage




        749.    These price increases were all coordinated and agreed to between Teva and its

 competitors. As was now their standard procedure, Defendants Patel and/or Rekenthaler

 communicated directly with all of their key competitors in the days and weeks leading up to the

 increase. Many of those communications are set forth in the graphic below:



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        750.    Defendant Patel and others at Teva again went to great efforts to coordinate these

 price increases with competitors prior to April 4, 2014 – including during the time that

 Defendant Patel was out on maternity leave. Some illustrative examples of those efforts are set

 forth below.

                              i.       Lupin (Cephalexin Oral Suspension)

        751.    Throughout 2013, Defendant David Berthold of Lupin colluded with two different

 individuals at Teva: Defendants Patel and Green. As discussed above, at times Defendants Patel

 and Green would even coordinate with each other regarding who would communicate with

 Defendant Berthold, and take turns doing so.




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        752.    As of late October, 2013, however, neither of those options was available to

 Defendant Berthold. Defendant Patel was out of the office on maternity leave, and Defendant

 Green had left Teva to join Zydus as of October 23, 2013.

        753.    This did not deter Defendant Berthold; he merely went further down the Teva

 organizational chart to find a Teva executive to communicate with. The ongoing understanding

 between Teva and Lupin was institutional, not dependent upon a relationship between specific

 individuals. So in October 2013, when Lupin decided to raise price on Cephalexin Oral

 Suspension – a drug where Teva was the only other competitor in the market – Defendant

 Berthold already knew that Teva would follow the increase.

        754.    On October 14, 2013, Defendant Berthold called Defendant Rekenthaler at Teva.

 They ultimately spoke for sixteen (16) minutes that day. Communication was rare between those

 two executives. Prior to October 14, 2013, the last (and only) time they had spoken by phone

 was November 21, 2011 according to the phone records produced.

        755.    On October 31, 2013 – the day before Lupin was scheduled to increase its price

 on Cephalexin Oral Suspension – Defendant Berthold also called T.S., a national account

 executive at Teva, to notify Teva of the price increase. He called T.S. at 9:18am that morning

 and left a message. T.S. returned the call at 9:57am, and the two spoke for nearly five (5)

 minutes.

        756.    Within minutes after hanging up the phone with Defendant Berthold, T.S. notified

 others internally at Teva about the substantial increase Lupin was about to take:




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 The Lupin increase on Cephalexin Oral Suspension actually became effective the next day,

 November 1, 2013 – demonstrating that T.S. had advance knowledge of the increase. Shortly

 thereafter, T.S. followed up her own e-mail with specific price points that Lupin would be

 charging for Cephalexin.

        757.    K.G. of Teva responded later that day, asking: "Did Lupin increase the Caps as

 well?" Defendant Rekenthaler answered immediately, with information he had learned from

 Defendant Berthold in mid-October: "Lupin did not increase the caps, only the susp[ension]."

        758.    On November 22, 2013, a large customer requested a bid from Teva on

 Cephalexin due to the Lupin price increase. T.S. forwarded the e-mail from the customer to

 Defendant Rekenthaler and others with the suggestion that, because Teva already had the

 majority share, it should not bid for the business. K.G. agreed, and simultaneously forwarded the

 e-mail to Defendant Patel stating: "Nisha, let's add this to our list to discuss." Defendant Patel

 called Defendant Berthold the same day and left a message.

        759.    And discuss they did. When Patel drafted her initial list of possible price increase

 candidates and forwarded it to K.G. in January 2014, Cephalexin Oral Suspension was on the

 list. Defendant Patel coordinated the increase consistently with Defendant Berthold throughout

 the period.




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        760.    On April 4, 2014, Teva raised its WAC prices on Cephalexin Oral Suspension to

 match Lupin's prices exactly. The increases to the WAC price ranged from 90% - 185%,

 depending on the formulation.

                             ii.       Greenstone (Azithromycin Oral Suspension,
                                       Azithromycin Suspension, and Medroxyprogesterone
                                       Tablets)

        761.    In November 2013, Defendant Greenstone began planning to increase prices on

 several drugs, including some that overlapped with Teva: Azithromycin Oral Suspension,

 Azithromycin Suspension and Medroxyprogesterone Tablets. Defendant Patel and Defendant

 Hatosy, a national account executive at Greenstone, were communicating frequently during that

 time, including exchanging six (6) text messages on November 16, 2013 and a phone call on

 November 23, 2013. Because Greenstone was a high-quality competitor, and because the

 companies had successfully conspired to raise prices previously, it was understood between the

 two that if Greenstone raised prices Teva would follow and would not seek to poach

 Greenstone's customers after the increase.

        762.    Defendant Pfizer was directly involved in the approval process for these price

 increases. On November 18, 2013 – only two days after Defendants Patel and Hatosy exchanged

 six (6) text messages – a senior pricing executive at Greenstone sent an e-mail to Greenstone's

 General Manager seeking approval to implement the price increases. The General Manager

 approved of the price increases the next day, but indicated that he had sent a message to a senior

 Pfizer executive for sign off, and wanted "to socialize this with him" and let him know that the

 price increases that Greenstone was seeking to take were consistent with the other price increases

 currently happening with great frequency in the U.S. generic industry. Part of that socialization

 process included explaining the strategy behind the price increases. Pfizer approved the price




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 K.G. agreed with Patel's recommendation. Later that day, J.L. of Teva sent the following notice

 to several Teva colleagues:




 That same day, Teva declined to bid on Azithromycin at multiple customers.

        766.   Over the next several months – during the period of time before Teva followed

 Greenstone's price increases – Teva continued to refuse to bid (and avoid taking Greenstone's



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 market share) when requested by customers, for both Azithromycin formulations and

 Medroxyprogesterone Tablets. For example, on January 27, 2014, Teva was approached by a

 large wholesaler asking for bids on both Azithromycin Suspension and Medroxyprogesterone

 due to a "Change in Market Dynamics." After speaking with Defendant Hatosy of Greenstone

 for more than five (5) minutes that same day, Defendant Patel agreed with the recommendation

 not to provide a bid to that customer.

        767.    Similarly, on March 17, 2014 – which was the same day that Defendant Patel sent

 a nearly final price increase list to K.G. – Teva was approached by another wholesaler requesting

 a lower price for Azithromycin Oral Suspension. A national account executive at Teva asked

 Defendant Patel: "Can we provide any better pricing than Greenstone? . . . I know we have

 picked up our target share." Defendant Patel had spoken with Defendant Hatosy of Greenstone

 twice earlier that day, including one call lasting more than fifteen (15) minutes. Patel's response

 to the national account executive was: "Let's talk tomorrow."

        768.    Consistent with the understanding between the two companies, Teva followed

 Greenstone's price increases for Azithromycin Oral Suspension, Azithromycin Suspension and

 Medroxyprogesterone Tablets on April 4, 2014. Defendant Patel spoke twice with Defendant

 Hatosy from Greenstone that same day.

                            iii.          Actavis (Clarithromycin ER Tablets, Tamoxifen Citrate
                                          and Estazolam)

        769.    Teva and Actavis were coordinating about several drugs increased by Teva on

 April 4, 2014. One of them was Clarithromycin ER Tablets. As of December 2013, Teva,

 Actavis and Zydus were the only three generic manufacturers actively selling Clarithromycin

 ER.




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        770.    On December 30, 2013, however, Cardinal approached Teva looking for a bid on

 Clarithromycin ER because Zydus was exiting the market. Teva informed Cardinal that it would

 not have adequate supply to be able to take on this additional market share until April 2014, but

 if Cardinal could wait until then for Teva to supply, Teva would make an offer. Cardinal agreed.

        771.    The Cardinal bid request was forwarded to Defendant Patel on the morning of

 January 2, 2014. At 9:37am that morning, L.R., a customer marketing manager at Teva,

 suggested providing an offer to Cardinal at "10% under market intel pricing for [the]

 Watson/Actavis product." L.R. also stated: "[i]f Cardinal is willing to wait until April, I suspect

 that Actavis isn't interested in picking up a lot of additional share."

        772.    Immediately after receiving that e-mail, at 9:40am, Defendant Patel called

 Defendant Rogerson at Actavis and the two spoke for more than seventeen (17) minutes. Shortly

 after hanging up the phone with Defendant Rogerson, at 10:12am, Defendant Patel responded to

 the e-mail, saying: "I think we have an opportunity to go higher. Let's aim for around $148 net

 and request feedback."

        773.    On January 9, 2014, Teva learned that Cardinal had accepted Teva's bid at the

 higher price. At 9:19am that morning, Defendant Patel called Defendant Rogerson at Actavis

 and they spoke for more than six (6) minutes. Shortly after that call, at 9:45am, Patel sent an e-

 mail internally at Teva stating: "It looks like Cardinal accepted our bid at the higher price. We

 may have an opportunity to take some increases."

        774.    When Defendant Patel sent her supervisor the initial list of "Increase Potentials

 Q1 2014" on January 14, 2014, Clarithromycin ER was on the list.

        775.    Similarly, in March, 2014, Actavis implemented its own price increase on several

 other drugs, including some that overlapped with Teva. Consistent with the ongoing




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 understanding between these high-quality competitors, Actavis understood that Teva would

 follow the increases or, at a minimum, would not poach Actavis customers after the increase.

        776.    Following a now very familiar pattern, at 9:54am on March 14, 2014 Defendant

 Rogerson called Defendant Patel and left a message. Patel called Rogerson back at 10:31am,

 and the two spoke for more than twelve (12) minutes. Within minutes after hanging up with

 Rogerson, Patel informed others at Teva about the Actavis increase:




 In actuality, these increases would not become effective until April 15, 2014, again

 demonstrating that Teva knew in advance of its competitors' price increase plans.

        777.    Within half an hour of sending that e-mail, Defendant Patel instructed colleagues

 to add the Actavis drugs to the Teva price increase list. She added: "We intend to follow where

 we can."

        778.    Less than two hours later, at 12:37pm, Defendant Patel called Defendant

 Rogerson again. They spoke for more than five (5) minutes. Shortly after hanging up the phone,

 at 12:51pm, Patel wrote another e-mail to certain colleagues at Teva, stating: "Actavis took an




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 increase. We will follow. We need to review price per my alert list. Let's wait to see what intel

 we can get and discuss Monday."

        779.    First thing the next business day – which was the following Monday, March 17,

 2014 – Defendant Patel forwarded the "PI Candidates" list to K.G. at Teva. The list included

 both Tamoxifen Citrate and Estazolam. Later that morning, Defendant Patel called Defendant

 Rogerson. After quickly exchanging voicemails, they spoke for more than nineteen (19)

 minutes. Defendants Rekenthaler of Teva and Falkin of Actavis also exchanged four (4) text

 messages that day, and had one call lasting more than six (6) minutes.

        780.    Teva followed the Actavis price increases on Tamoxifen Citrate and Estazolam

 less than three weeks later, on April 4, 2014. Defendants Patel and Rogerson spoke twice by

 phone that day. Defendants Rekenthaler and Falkin also spoke by phone that day. Because Teva

 was able to follow the price increase so quickly, Teva's increase became effective even before

 the Actavis price increase for those drugs.

        781.    After the price increases became effective, Teva took consistent steps not to

 disrupt the market or steal market share from Actavis. For example, on May 14, Defendant Patel

 declined to bid at ABC on both Tamoxifen Citrate and Estazolam, stating: "unable to bid

 (strategic reasons, for internal purposes)." When Defendant Patel and her other conspirators at

 Teva used the term "strategic" in this context, it was code for the fact that there was an

 understanding in place with a competitor.

        782.    Similarly, on May 21, 2014, Teva received a request from a large customer for a

 bid on Tamoxifen Citrate. As of that date, Teva had 58.4% of the market, and Actavis had

 40.7%. A Teva analyst forwarded the request to Defendant Patel and others, recommending

 (pursuant to the fair share understanding in the industry) that Teva not bid "as we are first in a




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 two-player market with good share already." Defendant Patel responded: "Agree. We should

 decline to bid."

                              iv.      Multiple Manufacturers (Ketoconazole Cream and
                                       Tablets)

         783.   Defendant Patel identified Ketoconazole Cream and Ketoconazole Tablets as

 price increase candidates sometime in February 2014. They were not listed on her original

 "Increase Potentials" list that she sent to K.G. on January 14, 2014, but they were on the list of

 "PI Candidates" that she sent to a colleague on February 26, 2014, with the following notes about

 each:

         Ketoconazole Cream              Shared with Taro and Sandoz
         Ketoconazole Tab                Shared with Taro, Myl and Apo

         784.   Taro was a common competitor on both drugs, but there were different sets of

 competitors for each formulation. For Ketoconazole Cream, Teva's competitors were Taro and

 Sandoz. For Ketoconazole Tablets, Teva's competitors were Taro, Mylan and Apotex.

         785.   Teva led the price increases for both drugs, but made sure to coordinate with all of

 its competitors before (and as it was) doing so. On April 4, 2014 – the day of the increases –

 Patel spoke separately with both Defendant Aprahamian of Taro and CW-1 of Sandoz. During

 each call, she let them know that Teva was increasing the price of Ketoconazole. The same day,

 Defendant Rekenthaler spoke to Defendant Nesta of Mylan; he had previously communicated

 with J.H., a senior sales executive at Apotex, on March 20 and 25, 2014.

         786.   On Ketoconazole Cream, co-conspirators at Taro and Sandoz were also

 communicating directly with each other. On April 4, 2014, for example, Defendant Aprahamian

 spoke to CW-3 at Sandoz for nineteen (19) minutes. They discussed the Teva increase and the

 fact that Taro would follow. CW-3 then sent an e-mail internally at Sandoz, alerting colleagues

 of the price increase and conveying information about Taro's price increase plans:


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 CW-1 at Sandoz immediately told his colleagues not to bid on any new opportunities for the

 drugs, and instead put the products on "strict allocation" until Sandoz determined how to

 proceed.

        787.    That same day, Defendant Aprahamian sent a similar e-mail internally to his

 colleagues at Taro.

        788.    The following Monday, April 7, 2014, Taro received a request from a customer –

 the Minnesota Multistate Contracting Alliance for Pharmacy ("MMCAP"), a group purchasing

 organization acting on behalf of a number of the Plaintiff States – seeking a competitive bid on

 Ketoconazole Tablets due to the Teva price increase. After reviewing the request, a Taro sales

 executive sent an internal e-mail stating: "we are not going to bid this product. . . . Taro has 27%

 share in a 4-player market." In a follow-up e-mail, E.G., a Director of Corporate Accounts at

 Taro, confirmed that Taro would decline to bid, but indicated that Taro would need to lie about

 the reason: "Yes, we are declining, but we need to advise its [sic.] due to supply."

        789.    Four days after the Teva increase, on April 8, 2014, Defendant Aprahamian called

 Defendant Patel and the two spoke for more than nineteen (19) minutes. Later that same day, he

 initiated a price increase for all of Taro's customers on both the Ketoconazole Cream and the

 Tablets. Defendant Aprahamian directed that the notice letters be sent to customers on April 16,

 2014, with an effective date of April 17, 2014.

        790.    Although Sandoz immediately understood that it would follow these price

 increases, it was not able to implement them until October. The delay was due to the fact that


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 Sandoz had contracts with certain customers that contained price protection terms which would

 impose substantial penalties on Sandoz if it increased its prices at that time – and those penalties

 would have caused Sandoz to miss certain financial targets during the months after April 2014.

 At Sandoz, senior management held monthly budget meetings where they analyzed whether it

 made financial sense to implement a particular price increase. In this case, the ramifications of

 the price protection terms did not make sense for Sandoz to follow until October 2014.

        791.    In the months after the Teva and Taro increases, Teva held up its end of the

 agreement not to poach its competitors' customers. For example, on May 14, 2014, Teva was

 approached by Cardinal requesting a bid due to the Taro increase. The e-mail from Cardinal was

 forwarded to Defendant Patel, who responded immediately:




 Shortly before sending the e-mail, Defendant Patel exchanged several text messages with

 Defendant Aprahamian at Taro. She would ultimately exchange eight (8) text messages and had

 one phone call lasting more than four (4) minutes with Aprahamian on that day.

        792.    Later that same day, Defendant Patel also directed that Teva decline to bid for

 Ketoconazole at ABC, citing the same logic: "unable to bid (strategic reasons, for internal

 purposes)."

        793.    Sandoz ultimately followed the Teva and Taro increases for Ketoconazole Cream

 on October 10, 2014. That same day, Defendant Patel and CW-1 at Sandoz spoke for more than

 three (3) minutes.


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          794.   The Teva increases on Ketoconazole were significant. For the cream, Teva, Taro

 and Sandoz all increased the WAC price by approximately 110%. For the tablets, Teva's WAC

 increases were approximately 250%, but its customer price increases were substantially larger –

 averaging 528%.

                              v.       New Relationships Emerge

          795.   By early 2014, the generic drug industry was in the midst of a price increase

 explosion. In an internal Teva presentation given shortly after the April 2014 price increases –

 titled "2014 US Pricing Strategy" – Teva reflected on the current state of the industry, noting that

 the "[c]ompetitive landscape is supportive of price increases." In commenting on the future

 implications for Teva's pricing strategy, the company stated: "Mature competitors participate in

 price appreciation; immature competitors are starting to follow."

          796.   Understanding that many more competitors were enthusiastic about conspiring to

 raise prices, Teva began to develop new and additional relationships with certain competitors

 when implementing its April 4, 2014 price increases. Some illustrative examples are set forth

 below.

                                       a)      Breckenridge

          797.   One of those new co-conspirators was Defendant Breckenridge. Defendant Patel

 already had a relationship with S.C., a senior sales executive at Breckenridge, and Defendant

 Rekenthaler had a relationship with D.N., another senior sales executive at Breckenridge, so

 Breckenridge was a prime candidate to coordinate pricing.

          798.   On November 14, 2013, Breckenridge increased its pricing on both

 Estradiol/Norethindrone Acetate Tablets ("Mimvey") and Cyproheptadine HCL




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 Tablets. 6 For Cyproheptadine, Breckenridge increased its WAC pricing by as high as 150%, and

 raised its customer contract pricing even higher – 400%. The increases to Mimvey were a more

 modest 20-27% for both the WAC and customer pricing. 7

           799.   In the weeks leading up to those increases – when Defendant Patel was still out on

 maternity leave – Defendant Rekenthaler had several phone calls with D.N. at Breckenridge to

 coordinate the price increases. The two spoke twice on October 14, 2013 and had a twenty-six

 (26) minute call on October 24, 2013. After those calls, they did not speak again until mid-

 January 2014, when Teva began preparing to implement its increase.

           800.   Over the next several months – during the period of time before Teva was able to

 follow the Breckenridge price increases – Teva followed the "fair share" understanding to the

 letter.

           801.   With respect to Cyproheptadine HCL, Teva had approximately 54% market share

 in a two-player market. For that drug, Teva consistently refused to bid or take on any additional

 market share after the Breckenridge increase. For example, on February 7, 2014, a customer

 gave Teva an opportunity to pick up new business on Cyproheptadine. When she learned the

 news, Defendant Patel called S.C. at Breckenridge. They ended up speaking twice that day – the

 first and only phone calls ever between them. After speaking to S.C., Defendant Patel sent the

 following e-mail regarding the customer's request:




 6
   Breckenridge had acquired the ANDA for Cyproheptadine HCL Tablets in September 2013 from another
 manufacturer, and immediately sought to raise the prices previously charged by the prior manufacturer as it began to
 sell the product under its own label.
 7
   As discussed above in Section IV.B.2.a, Defendants Teva and Breckenridge had previously coordinated with
 regard to a price increase on Mimvey on July 31, 2012.


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        802.    With regard to Mimvey, however, Teva only had 19% market share in a two-

 player market. For that drug, Teva sought to pick a few customers to level the playing field –

 before raising its own prices to follow Breckenridge.

        803.    On April 4, 2014, Teva followed the Breckenridge price increases with substantial

 increases of Mimvey (contract increases of as much as 393%) and Cyproheptadine HCL Tablets

 (contract increases of as much as 526%). In addition, Teva increased the WAC price on Mimvey

 (Estradiol/Norethindrone Acetate Tablets) by 26% and the WAC price on Cyproheptadine HCL

 Tablets by as much as 95% — to exactly match Breckenridge’s WAC price on both products.

                                       b)     Rising

        804.    Rising became a more appealing potential co-conspirator when CW-2, who had

 formerly been employed at Sandoz, left to join Rising in August 2013. Rekenthaler had known

 CW-2 for many years, going back to when they both worked together at Teva several years prior.

        805.    Of the drugs on the Teva April 4, 2014 price increase list, Rising was a

 competitor on Diflunisal. For that drug, Rising had 21% market share in a two-player market

 with Teva as of March 2014.

        806.    Defendant Rekenthaler spoke to CW-2 of Rising on December 5, 2013 for

 fourteen (14) minutes. When Defendant Patel sent her initial list of "Increase Potentials" to K.G.

 on January 14, 2014, Diflunisal was on the list, with Teva expecting to lead the increase.




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        807.       Teva and Rising continued to coordinate the increase over the next several

 months. For example, when Defendant Patel sent a nearly final list of "PI Candidates" to her

 supervisor K.G. on March 17, 2014, she included the following notation about Diflunisal:

      Diflunisal                                         Shared only with Rising

 That same day, Defendant Rekenthaler spoke with CW-2 twice. During those calls, CW-2

 informed Defendant Rekenthaler that Rising was having supply problems for Diflunisal and

 might be exiting the market at some point in the future. CW-2 confirmed that it would be a good

 opportunity for Teva to take a price increase.

        808.       Defendant Rekenthaler and CW-2 spoke once again on March 31, 2014, shortly

 before the Teva price increase for Diflunisal. On April 4, 2014, Teva increased is WAC pricing

 on Diflunisal by as much as 30%, and its contract pricing by as much as 182% for certain

 customers.

        809.       Rising ultimately exited the Diflunisal market for a short period of time starting in

 mid-July 2014. When Rising decided to exit the market, CW-2 called Defendant Rekenthaler to

 let him know. Four months later – when Rising's supply problems were cured – Rising re-

 entered the market for Diflunisal. Consistent with the fair share principles and industry code of

 conduct among generic drug manufacturers discussed more fully above, CW-2 and Defendant

 Rekenthaler spoke by phone on several occasions in advance of Rising's re-entry to identify

 specific customers that Rising would obtain and, most importantly, to retain the high pricing that

 Teva had established through its price increase on April 4, 2014. On December 3, 2014, Rising

 re-entered the market for Diflunisal Tablets. Its new pricing exactly matched Teva's WAC price

 increase from April 2014.




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                                        c)     Versapharm

        810.    On the April 4, 2014 Teva price increase list, Versapharm was a competitor on

 two different drugs: Ethosuximide Capsules and Ethosuximide Oral Solution.

        811.    When Defendant Patel began creating the price increase list, neither of these

 drugs was considered a candidate for an increase. For example, when Defendant Patel sent her

 initial "Increase Potentials" list to K.G. in mid-January 2014, neither drug was on the list.

        812.    Versapharm was not considered a high-quality competitor. When Defendant

 Patel created the quality competitor rankings in May 2013, Versapharm was given a -2 score in

 the rankings. That did not stop Defendant Rekenthaler, however, from calling J.J., a senior

 national account executive at Versapharm, and speaking for five (5) minutes on January 22,

 2014. When Defendant Patel sent the next "PI Candidate" list to a colleague on February 26,

 2014 – Ethosuximide Capsules and Oral Solution were both on the list, with the following

 notation:

     Ethosuxamide Liquid            Shared only with Versa; test quality of competitor
     Ethosuxamide Caps              Shared only with Versa; test quality of competitor; UNPROFITABLE

        813.    Defendant Rekenthaler called again and spoke with J.J. at Versapharm on March

 7, 2014. Teva then raised prices on both drugs on April 4, 2014. For Ethosuximide Capsules,

 Teva raised is WAC price by 87%, and its contract prices by up to 322%. For Ethosuximide

 Oral Solution, Teva raised its WAC price by 20% and its contract prices by up to 81%.

        814.    If Versapharm was being tested by Defendants Patel and Teva, it passed with

 flying colors. On April 9, 2014 – only five days after the Teva increase – Versapharm increased

 its pricing on both Ethosuximide Capsules and Oral Solution to a nearly identical price to Teva.

        815.    Following their agreement on those two drugs, and with no reason to speak

 further, Rekenthaler and J.J. of Versapharm never spoke by phone again.



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                             vi.        Impact

        816.    A few weeks after Teva's April 4, 2014 price increases went into effect,

 Defendant Patel calculated the impact to Teva's net sales as a result of the April 4 increase.

 Based on her analysis, she found that the April 4, 2014 price increases resulted in a net increase

 in sales to Teva of $214,214,338 per year.

                        m.      April 15, 2014 Price Increase (Baclofen)

        817.    Baclofen, also known by the brand names Gablofen and Lioresal, is a muscle

 relaxant used to treat muscle spasms caused by certain conditions such as multiple sclerosis and

 spinal cord injury or disease. It is generally regarded as the first choice by physicians for the

 treatment of muscle spasms in patients with multiple sclerosis.

        818.    Effective February 21, 2014, Defendant Upsher-Smith took a significant price

 increase on Baclofen, ranging from 350 - 420% to the WAC price, depending on the formulation.

 Prior to the increase, Baclofen was not a profitable drug for Upsher-Smith, and Upsher-Smith

 was considering whether to exit the market or significantly raise price. It chose the latter.

        819.    The primary competitors in the market for Baclofen at this time were Teva

 (62.4%), Qualitest (22.5%), and Upsher-Smith (6.8%).

        820.    Teva initially considered following the Upsher-Smith price increase quickly, as

 part of its April 4, 2014 price increases – but decided against it. The primary reason was that

 Qualitest was in the market, and Teva considered Qualitest a "low-quality" competitor. In other

 words, Qualitest would likely compete for market share if Teva increased its price.

        821.    Starting on April 10, 2014, however, Teva learned that Qualitest was having

 supply problems, and could exit the market for at least 3-4 months, if not permanently.

        822.    Upon learning that the only significant remaining competitor in the market would

 now be Upsher-Smith – a high-quality competitor – Teva immediately decided to follow the

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 price increase. Defendant Patel asked one of her direct reports to start working up price increase

 scenarios for Baclofen that same day.

        823.    Upsher-Smith was a highly-ranked competitor by Defendant Patel (+2) in large

 part because of Patel's relationship and understanding with B.L., a national account executive at

 Upsher-Smith. In the week before she started her employment at Teva (after leaving her

 previous employment), Defendant Patel and B.L. exchanged several text messages. During her

 first week on the job, as she was beginning to identify price increase candidates and high quality

 competitors, Defendant Patel spoke to B.L. on April 29, 2013 for nearly twenty (20) minutes.

 During these initial communications, Defendant Patel and B.L. reached an understanding that

 Teva and Upsher-Smith would follow each other's price increases, and not compete for each

 others customers after a price increase. Their agreement was further cemented in June and July

 2013, when the two competitors agreed to substantially raise the price of Oxybutynin Chloride.

        824.    There was no need for the two competitors to communicate directly in this

 situation because it was already understood between them that Teva would follow an Upsher-

 Smith price increase based on Defendant Patel's prior conversations with B.L., and based on the

 history of collusion between the two competitors.

        825.    Effective April 15, 2014, Teva raised its WAC and SWP pricing to match Upsher-

 Smith's pricing exactly. Teva increased its WAC pricing from 350% – 447%, depending on the

 dosage strength. Teva would not have increased its prices on Baclofen unless it had an

 understanding in place with Upsher-Smith.

        826.    Pursuant to the agreement between the companies, Teva did not seek to take any

 customers from Upsher-Smith during the time period after Upsher-Smith's increase and before

 Teva could follow. Even after Teva's increase, when Qualitest customers approached Teva for a




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 bid due to Qualitest's supply problems, Teva deferred to Upsher-Smith. As Defendant Patel told

 K.G. in a June 11, 2014 e-mail: "Dynamics have changed, but I think we need to see if Upsher

 wants to pick up share. We have an unreasonably high share." K.G. agreed: "I think this is the

 right thing to do. . . . we should just give them a high bid."

        827.    Upsher-Smith, on the other hand, was able to secure several new customers as a

 result of the Qualitest exit. In short order, Baclofen became a very profitable product for

 Upsher-Smith. On April 18, 2014 – only three days after the Teva price increase – J.M., a Senior

 Director of Sales and Marketing at Upsher-Smtih, made the following pronouncement:




        828.    Only two months later, Lannett would enter the market at the same WAC prices

 as Teva and Upsher-Smith. As discussed more fully above in Section IV.C.1.j., Teva and

 Lannett colluded so that Lannett could enter the market seamlessly without significantly eroding

 the high prices in the market.

                        n.        July 1, 2014 Price Increase (Fluocinonide)

        829.    Fluocinonide, also known by the brand name Lidex, is a topical corticosteroid

 used for the treatment of a variety of skin conditions, including eczema, dermatitis, psoriasis, and

 vitiligo. It is one of the most widely prescribed dermatological drugs in the United States.

        830.    There are several different formulations of Fluocinonide including, among others:

 Fluocinonide 0.05% cream, Fluocinonide 0.05% emollient-based cream, Fluocinonide 0.05% gel

 and Fluocinonide 0.05% ointment. As of June 2014, Teva, Taro and Sandoz were the only three

 manufacturers actively selling any of the four Fluocinonide formulations mentioned above. On


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        834.    On May 14, 2014, Defendants Patel and Aprahamian exchanged eight (8) text

 messages, and had one phone conversation lasting more than four (4) minutes.

        835.    Subsequent to the May 14 communications Defendant Patel directed a colleague

 to create a list of future price increase candidates, based on a set of instructions and data she had

 given him. On May 28, 2014, that colleague sent her a list titled "2014 Future Price Increase

 Candidate Analysis." The list included several drugs sold by Taro –including the four

 formulations of Fluocinonide (plus Carbamazepine and Clotrimazole) – with the notation

 "Follow/Urgent" listed as the reason for the increase, even though Taro had not yet increased its

 price on those drugs or notified its customers that it would be doing so. The relevant portions of

 that spreadsheet are set forth below:

                    Item Description                        Product Family                    BUCKET
                    CARBAMAZEPINE TABLETS 200MG 100         CARBAMAZEPINE TABLETS           Follow/Urgent

                    CARBAMAZEPINE TABLETS 200MG 1000        CARBAMAZEPINE TABLETS           Follow/Urgent

                    CLOTRIMAZOLE TOPICAL SOLUTION 1% 10ML   CLOTRIMAZOLE TOPICAL SOLUTION   Follow/Urgent

                    CLOTRIMAZOLE TOPICAL SOLUTION 1% 30ML   CLOTRIMAZOLE TOPICAL SOLUTION   Follow/Urgent

                    FLUOCINONIDE CREAM 0.05% 15GM           FLUOCINONIDE CREAM              Follow/Urgent

                    FLUOCINONIDE CREAM 0.05% 30GM           FLUOCINONIDE CREAM              Follow/Urgent

                    FLUOCINONIDE CREAM 0.05% 60GM           FLUOCINONIDE CREAM              Follow/Urgent

                    FLUOCINONIDE CREAM-E 0.05% 15GM         FLUOCINONIDE E CREAM            Follow/Urgent

                    FLUOCINONIDE CREAM-E 0.05% 30GM         FLUOCINONIDE E CREAM            Follow/Urgent

                    FLUOCINONIDE CREAM-E 0.05% 60GM         FLUOCINONIDE E CREAM            Follow/Urgent
                    FLUOCINONIDE GEL 0.05% 60GM             FLUOCINONIDE TOPICAL GEL        Follow/Urgent

                    FLUOCINONIDE OINTMENT 0.05% 15GM        FLUOCINONIDE OINTMENT           Follow/Urgent

                    FLUOCINONIDE OINTMENT 0.05% 30GM        FLUOCINONIDE OINTMENT           Follow/Urgent

                    FLUOCINONIDE OINTMENT 0.05% 60GM        FLUOCINONIDE OINTMENT           Follow/Urgent




        836.    On June 3, 2014 – the day the Taro increases on Fluocinonide became effective –

 CVS reached out to T.C., a senior sales executive at Teva, indicating that it had an "immediate

 opportunity" on Fluocinonide 0.05% Cream and Fluocinonide 0.05% Emollient Cream, but did

 not give a reason for providing that opportunity to Teva. The CVS representative offered to

 move a significant amount of business from Taro to Teva, stating: "Opportunity knocks." The

 e-mail was forwarded to Defendant Patel, who responded:




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 Of course Defendant Patel already knew the bid request was due to a price increase, because she

 had spoken to Defendant Aprahamian in May and included Fluocinonide on her list of price

 increases with a notation to "Follow/Urgent." But she still needed to determine the specific price

 points so that Teva could follow quickly.

          837.   T.C. stated that she had not heard about a price increase from anyone else, but

 indicated that she would "snoop around." Defendant Patel stated: "OK. Thanks. I'll do the

 same."

          838.   Defendant Patel immediately began snooping around by exchanging five (5) text

 messages with Defendant Aprahamian at Taro. Later that afternoon, she reported that she had

 "[c]onfirmed that Taro increased," but that she was "still working on intel." K.G. at Teva

 suggested that it might be a good opportunity to take some share from Taro – the market share

 leader on several of the Fluocinonide formulations. He asked Defendant Patel to provide

 "guidance" by the next day. Patel responded at 4:23pm, making it clear that she had been talking

 to Defendant Aprahamian not only about Fluocinonide, but other drugs as well:

                 I expect to provide guidance at some point in the morning. I'm
                 also hearing Warfarin, Carbamazepine as well. I'll be looking at
                 shares and intel tomorrow and will provide commentary. (Taro is a
                 high quality competitor. It's just a matter of who the others are.)

 Shortly after sending that e-mail Patel called Defendant Aprahamian and they spoke for nearly

 seven (7) minutes. As discussed more fully below, Taro had also increased its prices for


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 Warfarin and Carbamazepine on June 3. Teva followed those substantial Taro price increases

 with equally substantial increases of its own in August.

        839.    First thing the next morning – June 4, 2014 – Defendant Patel exchanged two (2)

 more text messages with Defendant Aprahamian, and then the two spoke on the phone for more

 than twenty-five (25) minutes. Within minutes after hanging up the phone with Defendant

 Aprahamian, Defendant Patel sent the following e-mail to K.G., making it clear that she had

 obtained additional "intel" that she did not want to put in writing:




        840.    That same day, Teva received a bid request from another large customer,

 Walmart. Shortly after that e-mail was forwarded to her, Defendant Patel responded by making

 it clear that Teva would play nice in the sandbox with Taro:




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 After further deliberation, Teva decided not to bid on any of the Walmart business at all.

        841.    On June 23, 2014, as Teva was planning to implement a price increase on

 Fluocinonide to follow the Taro increase, Defendant Patel forwarded a spreadsheet to a

 subordinate with "intel" she had obtained directly from Defendant Aprahamian. That

 spreadsheet contained specific Taro customer price points for the different formulations of

 Fluocinonide for each of the various classes of trade (i.e., wholesalers, chain drug stores, mail

 order and GPO). Prior to sending that "intel," Defendant Patel had spoken to Aprahamian on

 June 17 for fifteen (15) minutes, and June 19 for nearly fourteen (14) minutes. The contract

 price points obtained by Defendant Patel were not otherwise publicly available.

        842.    Sandoz was also a competitor on two formulations of Fluocinonide –

 Fluocinonide ointment and Fluocinonide gel – but was only actively marketing the gel. Not

 coincidentally, Defendant Aprahamian was having similar communications with his contact at

 Sandoz, CW-3, during this time period. At least some of those calls are set forth below:




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 coordinate the increases in advance. At least some of those communications are set forth in the

 graphic below:




        848.      The day before the increase became effective – August 27, 2014 – Defendant

 Patel spent most of her morning discussing the price increases with her contacts at Sandoz,

 Actavis, Taro, Zydus and Glenmark:




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         853.   A large number of the drugs on Teva's August 28, 2014 price increase list were

 selected because Teva was following a "high quality" competitor. The coordination between

 Teva and certain co-conspirators regarding those drugs is discussed more fully below.

                               i.      Mylan

         854.   Effective April 17, 2014, Mylan increased its WAC pricing on a number of

 different drugs, including several that overlapped with Teva. Mylan also increased its contract

 prices, but at least some of those price increases would not become effective until mid-May

 2014.

         855.   Pursuant to the established understanding between the two companies, Teva

 immediately decided that it would follow the Mylan increases. On April 21, 2014, T.S., a

 national account executive at Teva, forwarded to Defendant Patel two spreadsheets with WAC

 and AWP pricing information for the price increases taken by Mylan. The spreadsheets were

 created by Mylan personnel.

         856.   Defendant Patel, in turn, forwarded the e-mail to the Teva sales team and stated:

 "Our intention is to follow Mylan on this increase. Below, you will see the list of increase items

 where Teva overlaps with Mylan. Please share any pricing intelligence you are able to obtain.

 Thank you in advance!" The list that Defendant Patel referred to included the following

 products, several of which had been the subject of coordinated price increases in 2013 as well:

 Amiloride HCL/HCTZ Tablets; Cimetidine Tablets; Enalapril Maleate Tablets; Fluvastatin

 Sodium Capsules; Loperamide HCL Capsules; Prazosin HCL Capsules; and Sotalol

 Hydrochloride Tablets.

         857.   Within days, Teva began receiving requests from its customers for bids due to the

 Mylan price increases. On April 24, 2014, Defendant Patel began to formulate a "Mylan




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 Increase Strategy" in order to respond to those requests, but noted that Teva was "still awaiting

 intel" about the Mylan customer contract price points, which were not publicly available.

 Previously, Defendant Patel had relied on Defendant Kevin Green to obtain specific Mylan

 customer price points (referred to as "intel") through his communications with Defendant Nesta

 of Mylan, which she used to follow Mylan's pricing. The next day, in a follow-up e-mail about

 the Mylan strategy, Defendant Patel noted that one of her Mylan increase strategies would not

 have been appropriate for this situation, and concluded that: "Plus, we really need some intel"

 about the Mylan contract price points.

        858.    Defendant Patel continued to push for specific contract price points from Mylan.

 On April 28, 2014, Patel sent an e-mail to the Teva sales team, stating: "To date, we have no

 intel on Mylan's recent increases. I realize there is a lot of travel going on, but whatever you can

 gather and share would be greatly appreciated."

        859.    On May 9, 2014, Defendant Patel sent another e-mail:




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 Shortly after receiving that e-mail – at 11:15am that morning – Defendant Rekenthaler called

 Defendant Nesta at Mylan and left a message. Nesta returned the call at 11:23am, and the two

 spoke for nearly eight (8) minutes.

        860.    Separately, and before Defendant Rekenthaler was able to convey any

 information he had obtained, Defendant Patel forwarded a customer request from ABC (relating

 to the Mylan increase items) directly to T.S. at Teva, lamenting the absence of Defendant Green

 to obtain the Mylan intel:

                I am in a really tough spot on these. Please help! There are
                several requests open for offers, but I have ZERO intel. A little
                frustrating/discouraging, as we are bound to hear complaints on
                how long it took to close the Delphi request. Is there anything you
                are able to get to help when you are back? . . . At some point, I
                know I'll have to find another source of magic :))

        861.    The next day, T.S. sent Defendant Patel an e-mail with an attached spreadsheet

 listing the Mylan contract price points for all of the recent increases:




 The e-mail was unclear on where T.S. had obtained this "dirt," but the spreadsheet attached to

 her e-mail was created by a Mylan employee.

        862.    Defendants Rekenthaler and Nesta spoke again on May 20, 2014. Armed with

 this new source of "intel," Defendant Patel was more confident that Teva could follow the Mylan

 price increases exactly, without disrupting the market. That same day, as Defendant Patel began

 to create a new list of Teva price increase candidates, she instructed a colleague to include the


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 Mylan increase drugs – with specific price points – as its own separate tab in the spreadsheet,

 called "follow." Her colleague provided the list, as requested, on May 21.

        863.    On May 27, 2014, Defendants Rekenthaler and Nesta spoke twice, including one

 call lasting nearly four (4) minutes. By May 28, Teva had a much more comprehensive list of

 price increase items. On that list, seven of the Mylan items were prominently listed with a

 "Follow Urgent" notation listed next to each:

               Item Description                            BUCKET        Comments
               AMILORIDE HCL/HCTZ TABLETS 5/50MG 100     Follow/Urgent   Follow Mylan Increase
               AMILORIDE HCL/HCTZ TABLETS 5/50MG 1000    Follow/Urgent   Follow Mylan Increase
               CIMETIDINE TABLETS 300MG 100              Follow/Urgent   Follow Mylan Increase
               CIMETIDINE TABLETS 300MG 500              Follow/Urgent   Follow Mylan Increase
               CIMETIDINE TABLETS 400MG 100              Follow/Urgent   Follow Mylan Increase
               CIMETIDINE TABLETS 400MG 500              Follow/Urgent   Follow Mylan Increase
               CIMETIDINE TABLETS 800MG 100              Follow/Urgent   Follow Mylan Increase
               ENALAPRIL MALEATE TABLETS 2.5MG 100       Follow/Urgent   Follow Mylan Increase
               ENALAPRIL MALEATE TABLETS 2.5MG 1000      Follow/Urgent   Follow Mylan Increase
               ENALAPRIL MALEATE TABLETS 5MG 100         Follow/Urgent   Follow Mylan Increase
               ENALAPRIL MALEATE TABLETS 5MG 5000        Follow/Urgent   Follow Mylan Increase
               ENALAPRIL MALEATE TABLETS 10MG 100        Follow/Urgent   Follow Mylan Increase
               ENALAPRIL MALEATE TABLETS 10MG 1000       Follow/Urgent   Follow Mylan Increase
               ENALAPRIL MALEATE TABLETS 20MG 100        Follow/Urgent   Follow Mylan Increase
               ENALAPRIL MALEATE TABLETS 20MG 1000       Follow/Urgent   Follow Mylan Increase
               FLUVASTATIN SODIUM CAPSULES 20MG 30       Follow/Urgent   Follow Mylan Increase
               FLUVASTATIN SODIUM CAPSULES 20MG 100      Follow/Urgent   Follow Mylan Increase
               FLUVASTATIN SODIUM CAPSULES 40MG 30       Follow/Urgent   Follow Mylan Increase
               FLUVASTATIN SODIUM CAPSULES 40MG 100      Follow/Urgent   Follow Mylan Increase
               LOPERAMIDE HCL CAPSULES 2MG 100           Follow/Urgent   Follow Mylan Increase
               LOPERAMIDE HCL CAPSULES 2MG 500           Follow/Urgent   Follow Mylan Increase
               PRAZOSIN HCL CAPSULES 1MG 100             Follow/Urgent   Follow Mylan Increase
               PRAZOSIN HCL CAPSULES 1MG 1000            Follow/Urgent   Follow Mylan Increase
               PRAZOSIN HCL CAPSULES 2MG 100             Follow/Urgent   Follow Mylan Increase / Exceed Hypothetical BWAC
               PRAZOSIN HCL CAPSULES 2MG 1000            Follow/Urgent   Follow Mylan Increase / Exceed Hypothetical BWAC
               PRAZOSIN HCL CAPSULES 5MG 100             Follow/Urgent   Follow Mylan Increase
               PRAZOSIN HCL CAPSULES 5MG 250             Follow/Urgent   Follow Mylan Increase
               PRAZOSIN HCL CAPSULES 5MG 500             Follow/Urgent   Follow Mylan Increase
               SOTALOL HYDROCHLORIDE TABLETS 80MG 100    Follow/Urgent   Follow Mylan Increase
               SOTALOL HYDROCHLORIDE TABLETS 120MG 100   Follow/Urgent   Follow Mylan Increase
               SOTALOL HYDROCHLORIDE TABLETS 160MG 100   Follow/Urgent   Follow Mylan Increase
               SOTALOL HYDROCHLORIDE TABLETS 240MG 100   Follow/Urgent   Follow Mylan Increase



 Also on the list were three additional Mylan drugs for which Teva would be leading the price

 increase: Diclofenac Potassium Tablets; Flurbiprofen Tablets; and Prochlorperazine Tablets.

        864.    With the list firmly squared away at the end of May, Defendants Rekenthaler and

 Nesta had no need to speak again until August, when Teva was preparing to implement the price


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 Defendant Patel likely obtained this information from Defendant Aprahamian on May 14, 2014,

 when the two exchanged eight (8) text messages and spoke for more than four (4) minutes by

 phone.

          868.   On June 3, 2014 – the date of the Taro price increases on Fluocinonide,

 Carbamazepine, Clotrimazole, Warfarin and other drugs – Defendants Patel and Aprahamian

 exchanged five (5) text messages. After exchanging those text messages, Defendant Patel

 confirmed to her supervisor K.G. and another Teva representative that Taro had in fact raised its

 pricing on Fluocinonide. Defendant Patel then added: "I expect to provide guidance at some

 point in the morning. I'm also hearing Warfarin, Carbamazepine as well. I'll be looking at

 shares and intel tomorrow and will provide commentary. (Taro is a high-quality competitor. It's

 just a matter of who the others are.)" At 5:08pm that evening, Defendant Patel called Defendant

 Aprahamian and the two spoke for nearly seven (7) minutes.

          869.   First thing the next morning, Defendants Patel and Aprahamian exchanged two

 (2) text messages. Then, at 9:56am, the two spoke again for almost twenty-six (26) minutes.

 Shortly after hanging up the phone with Defendant Aprahamian, Defendant Patel sent an e-mail

 to K.G. making it clear that she had obtained additional "intel" regarding the Taro price increases

 that she did not want to put into writing, stating: "I have additional intel (I can discuss with you)

 that will be useful."

          870.   On June 12, 2014, Teva internally discussed future projections regarding

 Carbamazepine – including the fact that its API supplier might run out of supply sometime in

 2015. One of the options discussed was a price increase. K.G. – aware that Defendant Patel had

 been in discussions with Defendant Aprahamian and had "intel" regarding the Taro price

 increase on Carbamazepine (and other drugs) – stated: "Nisha [Patel] would be able to provide




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 noted above – Defendant Patel added Topiramate Sprinkle Capsules to Teva's price increase list,

 with a notation: "Follow/Urgent – Zydus." Two days before that – the same day that Defendant

 Green had extensive phone calls with both Defendants Rekenthaler and Patel – Rekenthaler also

 spoke twice with Defendant Falkin of Actavis, the only other competitor in the market for

 Topiramate Sprinkle Capsules.

        882.    Teva followed the Zydus price increase for Topiramate Sprinkle Capsules on

 August 28, 2014. As noted above, Teva coordinated that increase with both Zydus and Actavis

 in the days and weeks before it.

                            iv.       Competitors Follow Teva

        883.    For those drugs where Teva was leading the price increases on August 28, 2014,

 several of Teva's competitors followed in short order and those price increases were also

 coordinated.

        884.    For example, on October 10, 2014 Sandoz followed Teva's price increases on

 three drugs: (1) Amoxicillin/Potassium Clavulanate Chewable Tablets; (2) Diclofenac

 Potassium Tablets; and (3) Penicillin V Potassium Tablets. Following the normal pattern,

 Defendant Patel of Teva spoke to CW-1 of Sandoz on the day of the Sandoz price increases for

 more than three (3) minutes.

        885.    Then, on December 19, 2014, Actavis followed the Teva price increase on

 Desmopressin Acetate Tablets. Defendants Rekenthaler of Teva and Falkin of Actavis spoke

 frequently in the days and weeks leading up to the Actavis price increase, including calls on

 November 18, November 21 and November 25, 2014.

        886.    Indeed, even before Actavis followed the Teva price increase, Teva knew that

 Actavis planned to increase. For example, on October 15, 2014 – approximately six weeks




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 before Actavis raised its price – Teva received a request from a customer asking Teva to reduce

 its pricing on Desmopressin Acetate because it was no longer offering competitive prices.

 Defendant Patel's initial response to the customer was "[w]e believe the market is still settling on

 this product. Can you please review in a few days and advise of more current pricing

 intelligence?" In a subsequent internal discussion, Defendant Patel expressed how difficult it

 was to actually keep track of all of Teva's different collusive agreements, saying: "I can't quite

 recall if Actavis followed us or we followed them….but they definitely did not change their

 WACs recently."

        887.    Similarly, on March 4, 2015, Mylan followed the Teva and Sandoz price

 increases on Diclofenac Potassium Tablets. Defendant Rekenthaler coordinated that price

 increase with Defendant Nesta of Mylan during two phone calls on February 18 and one call on

 February 19, 2015.

                        p.     January 28, 2015 Price Increases

        888.    Shortly after the August 28, 2014 Teva price increases, Defendant Patel accepted

 a new position at Teva. She left her position in the pricing department to take on the role of

 Director of National Accounts at Teva. Her new position meant new responsibilities,

 necessitating more frequent travel to customer conferences and trade shows, giving her a greater

 opportunity to meet and collude face-to-face with competitors instead of over the telephone.

        889.    When Defendant Patel left the pricing department at Teva her position was not re-

 filled. K.G., Patel's former supervisor, assumed her role and became the executive responsible

 for identifying price increase candidates and implementing price increases.

        890.    On January 28, 2015, Teva raised prices on a number of different drugs. Teva's

 price increase spreadsheet – now maintained by K.G. at Teva – identified the following drugs,




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 among others, along with the price increase strategy and reasons for the increase:
   Product Description                 Price Increase Strategy Reason for Increase                                                             Competitors
   BETHANECHOL CHLORIDE TABLETS        Market Intel           Follow Competitor -Amneal                   Amneal (65%); Wockhardt (14.9%); Rising (1.7%)
   CIPROFLOXACIN TABLETS               193% Increase          Follow Competitor -DRL & Actavis            Actavis (37%); Dr. Reddy's (23.3); Westward (11.2%); Northstar (5.6%); Pack (5.2%)
   DILTIAZEM HCL TABLETS               90% Increase           Lead -Semi-Exclusive                        Mylan (41.8%)
   ESTRADIOL TABLETS                   90% Increase           Lead -Semi-Exclusive                        Actavis (12.3%); Mylan (3.1%)
   FLUOXETINE HCL TABLETS              612% Increase          Mylan (New Market Entrant) (6/23/2014)      Par (45.1%); Mylan (7.3%)
   GLIMEPIRIDE TABLETS                 300% Increase          Follow Competitor- DRL                      Dr. Reddy's (34%); Accord (17%); INT Labs (15.3%); Virtus (3.6%); BluePoint (2%)
   GRISEOFULVIN SUSPENSION             50% Increase           Follow Competitor- Actavis                  Actavis (47.2%); Qualitest (14.1%); Perrigo (3.9%)
   ISONIAZID TABLETS                   50% Increase           Lead -Limited Competition                   Sandoz (21.2%); Lannett (3.4%)
   KETOPROFEN CAPSULES                 90% Increase           Lead -Semi-Exclusive                       Mylan (42.2%)
   KETOROLAC TROMETHAMINE TABLETS      90% Increase           Lead -Semi-Exclusive (Mylan Supply Issues) Mylan (40%)
   NORTRIPTYLINE HCL CAPSULES          90% Increase           Lead- Cost of Goods Increased              Actavis (29.4%); Taro (4.8%)
   PROPRANOLOL HCL TABLETS             Market Intel           Follow Competitor - Actavis                 Heritage (28.5%); Actavis (21.2%); Qualitest (12.8%); Northstar (7.5%); Mylan (2.6%)




             891.            Consistent with their normal pattern, Defendants Patel and Rekenthaler

 communicated with a number of Teva's significant competitors about these drugs in the days and

 weeks leading up to January 28, 2015. The relevant phone communications between Teva and

 several of its competitors related to these drugs are set forth below:




             892.            Upon information and belief, Defendant Patel also spoke in-person with many of

 these competitors. For example, in her new role as a Director of National Accounts, Defendant

 Patel personally attended the following trade association events and customer conferences in the


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        906.      V.B. continued to communicate with Defendant Patel after the Dr. Reddy's price

 increases became effective, in the hope that Teva would quickly follow with its own price

 increases. The two exchanged four (4) text messages on August 25, 2014 – only three days

 before Teva's substantial price increase on August 28, 2014 (discussed above).

        907.      Despite Dr. Reddy's best efforts, Teva was unable to add Ciprofloxacin HCL or

 Glimepiride to its August 28 price increase. On the same day that Teva sent its price increase

 notices out to its customers, T.W., a senior account executive at Dr. Reddy's, obtained a

 complete list of Teva's price increases (including a number of drugs not sold by Dr. Reddy's).

 Although unclear how T.W. obtained this information, the subject line of the e-mail clearly

 identified the information as "Confidential Teva increases." In her message to several other Dr.

 Reddy's colleagues, T.W. stated:




 J.M., a senior marketing executive at Dr. Reddy's, replied: "Thanks for sending. This was

 shown in the pricing compendium today. I was a little disappointed. However, some of the price

 increase[s] were led by other companies more than a month ago. So I am still hopeful they may

 follow." Dr. Reddy's anticipated that Teva would follow its price increases based on the

 understanding that had been reached between V.B. and Defendant Patel during their various

 conversations.

        908.      In fact, Teva did follow the Dr. Reddy's price increases – on both Ciprofloxacin

 HCL and Glimepiride – during its next round of price increases on January 28, 2015. In the



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 interim, V.B. and Defendant Patel continued to communicate, exchanging four (4) text messages

 on October 10, 2014.

         909.   Actavis – the only other quality competitor in the market for Ciprofloxacin HCL –

 increased its pricing for that drug on December 19, 2014 to exactly match Dr. Reddy's WAC

 pricing. In the days leading up to the Actavis price increase, Defendant Rekenthaler of Teva

 spoke to Defendant Falkin of Actavis several times to coordinate the increase, including twice on

 December 17 (including one call lasting nearly nine (9) minutes) and once on December 18,

 2014.

         910.   When Teva did follow the Dr. Reddy's (and Actavis) price increases on

 Ciprofloxacin HCL and Glimepiride, on January 28, 2015, Teva raised its WAC pricing to match

 Dr. Reddy's WAC prices exactly. That same day, Dr. Reddy's was (again) able to obtain a full

 copy of Teva's price increase list. That list included many drugs that Dr. Reddy's did not market.

                             iii.       Griseofulvin

         911.   Griseofulvin Microsize Oral Suspension, also known by the brand name Grifulvin

 V, is a medication used to treat fungal infections of the skin, hair and nails that do not respond to

 creams or lotions. The medication works by stopping the growth of fungi.

         912.   On September 9, 2014, Actavis notified its customers of a price increase on

 Griseofulvin Microsize Oral Suspension. In the days leading up to September 9, 2014,

 Defendants Patel and Rekenthaler of Teva communicated with Defendants Falkin and Rogerson

 of Actavis to coordinate the increase. Some of those calls are detailed below:




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 conspirators that Teva could trust to adhere to the illegal agreements.

                                i.       Apotex

           917.   Apotex, for instance, was one of Teva’s two lowest-ranked competitors in May

 2013 with a ranking of -3. When Defendant Patel updated her Quality Competitor rankings in

 May 2014, however, Apotex was rated +2 – an increase in five points over that twelve-month

 period.

           918.   Apotex made this jump in Teva’s quality competitor rankings in large part due to

 Defendant Patel’s relationship with B.H., a sales executive at Apotex, and the successful

 coordination between Apotex and Teva in 2013 on Pravastatin and Doxazosin Mesylate,

 discussed above in Section IV.C.2.i.ii.

           919.   As noted above, Defendant Patel revised her May 2013 price increase list on May

 29, 2013 to add, inter alia, Pravastatin. The day before – May 28 – Apotex increased its price on

 Pravastatin by over 100%. Apotex’s new, higher prices for Pravastatin exactly matched

 Glenmark’s May 16, 2013 price increase.

           920.   In the days leading up to Defendant Patel's decision to add Pravastatin to her list

 of price increase candidates – and Apotex actually increasing its prices – Defendant Patel

 communicated frequently with B.H. at Apotex. Between May 20 and May 24, 2013, the two

 spoke five (5) times.

           921.   Teva ultimately raised its prices on Pravastatin – to follow Glenmark, Apotex and

 Zydus – on August 9, 2013. In the days leading up to the Teva price increase, Defendant Patel

 spoke to B.H. at Apotex three (3) times to coordinate.

           922.   At the same time that Teva raised its prices on Pravastatin in August 2013, it also

 increased its pricing on Doxazosin Mesylate. Teva's new, increased price (a 1,053% increase)




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 matched Apotex’s (and Mylan's) recent price increases. Apotex itself had increased the price of

 this drug on July 23, 2013. B.H. of Apotex and Defendant Patel of Teva had one conversation

 the week before Apotex took the increase, in addition to coordinating before Teva followed on

 August 9, 2013.

        923.    Apotex soared dramatically in the quality competitor rankings for one additional

 reason: in April 2013, Apotex hired J.H. as a senior executive. Defendant Rekenthaler of Teva

 and J.H. began communicating regularly after J.H. was hired by Apotex. There is no record that

 they had ever communicated by phone before that.

        924.    That relationship continued through 2014. On April 4, 2014, Teva increased the

 price on Pentoxifylline by as much as 69%. Despite the fact that Apotex was the market leader

 at that time, Teva chose to lead the price increase on Pentoxifylline. In the weeks leading up to

 Teva’s price increase, Defendant Rekenthaler of Teva engaged in numerous communications

 with J.H. at Apotex. The two spoke twice on March 7, 2014, for two (2) and three (3) minutes,

 respectively. They spoke again on March 20 for four (4) minutes, and again on March 25 for two

 (2) minutes. A week after Teva increased its price – on April 11, 2014 – they spoke again for

 five (5) minutes. During these calls, Defendant Rekenthaler gathered Apotex's pricing plans and

 conveyed them to Defendant Patel.

        925.    As a result of Defendant Patel and Defendant Rekenthaler’s successful

 coordination with Apotex executives, Defendant Patel dramatically increased Apotex’s quality

 competitor ranking in May 2014.

                             ii.       Zydus

        926.    Zydus – like Apotex – had been one of Teva’s two lowest-ranked competitors in

 May 2013 with a ranking of -3. But, when Defendant Patel updated her quality competitor




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 rankings in May 2014, Zydus was rated +2, an increase in five points over a twelve-month

 period. While Apotex’s increase in the ranking was due to Teva's successful collusion with

 Apotex on several price increases in 2013 and 2014, Zydus’s increase was more personnel-

 oriented: Defendant Kevin Green, who had himself conspired with a number of competitors

 while at Teva (at the direction of and in coordination with Defendants Patel and Rekenthaler at

 Teva, among others) moved from Teva to Zydus in November 2013. With Defendant Green

 firmly installed at Zydus, Defendant Patel was emboldened to more fully include Zydus in the

 conspiracy.

        927.    Defendant Patel’s confidence was well-founded. In the year after Defendant

 Green joined Zydus, the two companies successfully conspired to divide markets and allocate

 customers relating to Zydus's entry into the market for multiple drugs, including: Fenofibrate

 (February – March 2014), Paricalcitol (March – April 2014), Niacin (May – June 2014), and

 Etodolac ER (May – July 2014). These agreements are discussed more fully above in Section

 IV.C.1.h.

        928.    Teva and Zydus also agreed to increase prices on Topiramate Sprinkles and

 Warfarin Sodium tablets. Zydus increased the price for both of those drugs on June 13, 2014.

 Teva followed with an increase on both drugs on August 28, 2014. With respect to the

 Topiramate Sprinkles, Teva was explicit in its internal communications that its increase was to

 “follow competitor,” namely Zydus.

        929.    In the days leading up to both companies’ price increases, Defendants Green and

 Patel communicated frequently to coordinate the price increases. On June 19, 2014 – four days

 before Zydus increased its prices – Defendants Green and Patel spoke four (4) times. And on

 August 27, 2014 – the day before Teva raised its prices – Green and Patel spoke three (3) times.




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        930.    Defendant Green was also communicating frequently with Defendant Rekenthaler

 of Teva around the time of the price increases on Topiramate Sprinkles and Warfarin Sodium

 tablets. On June 11, 2014, the two men spoke for eight (8) minutes. On August 20, the two

 exchanged an additional pair of phone calls.

        931.    Defendants Patel and Rekenthaler did not communicate with Defendant Green in

 isolation. The two Teva executives made sure to keep each other apprised of their conversations

 with competitors, including Green. In early 2014, Defendants Patel and Rekenthaler both

 worked largely out of Teva’s home office. After either one of them engaged in a phone call with

 a competitor, he or she would be sure to provide an in-person debrief of the communication so as

 to avoid putting such information in writing.

        932.    Even before Defendant Green joined Zydus in November 2013, Teva had some

 success in coordinating price increases with Zydus. As discussed above, Defendant Patel

 decided to add Pravastatin to her price increase list only after determining that Zydus agreed to

 the increase. In the week leading up to Defendant Patel's decision to revise her price increase list

 to include Pravastatin, Defendant Green (still at Teva) spoke to K.R. and M.K., both senior

 executives at Zydus.

        933.    Just two weeks later, on June 14, 2013, Zydus increased its price on Pravastin by

 over 150%. Defendant Green similarly had numerous conversations with Zydus executives in

 the week prior to that company’s Pravastatin increase, as shown in the table below:




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 Complaint dated June 15, 2018, MDL No. 2724, 2:17-cv-03768 (E.D. Pa.), which is incorporated

 herein by reference.

                             iv.       Lupin

        938.    In Defendant Patel’s initial May 2013 quality competitor ranking list, Defendant

 Lupin was given a ranking of +2. When Defendant Patel updated her quality competitor

 rankings a year later, Lupin received the highest possible rating of +3.

        939.    Defendant Lupin was awarded the highest score in the quality competitor ranking

 in 2014 because Defendant Berthold of Lupin earned Defendant Patel's trust by consistently

 agreeing to her price increase plans. From May 2013 through April 2014, for example,

 Defendants Patel and Berthold spoke at least 76 times by phone. Defendant Green, while still at

 Teva, also had a very strong relationship with Defendant Berthold. As discussed above, at times

 Defendants Patel and Green would even coordinate with each other regarding which one of them

 should coordinate a price increase or customer allocation agreement with Defendant Berthold.

        940.    As discussed more fully above, in 2013 – after Defendant Patel joined Teva –

 Teva and Lupin conspired to fix and raise prices on at least the following four drugs: Cefdinir

 Oral Suspension, Cefdinir Capsules, Cefprozil Tablets and Pravastatin. Then in early 2014,

 executives at the two companies coordinated Lupin's entrance into the market for Balziva.

        941.    The relationship was so strong between Teva and Lupin that even when

 Defendant Green left Teva, and Defendant Patel was out of the office on maternity leave,

 Defendant Berthold still found other executives at Teva to communicate with regarding a price

 increase for the drug Cephalexin Oral Suspension. As discussed above, in October 2013

 Defendant Berthold called Defendant Rekenthaler and T.S., a national account executive at Teva,

 to coordinate Lupin's November 1, 2013 price increase for Cephalexin Oral Suspension. When




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 Defendant Patel returned from maternity leave and began planning the next round of Teva price

 increases, she continued these communications with Defendant Berthold until Teva followed

 Lupin's price increase on April 4, 2014.

         942.   Defendants Patel and Berthold also coordinated a price increase and market

 allocation scheme with regard to the drug Niacin ER, as Lupin was entering the market in March

 2014. Given the successful track record between the two competitor companies, Lupin

 warranted a +3 in the quality competitor rankings when Defendant Patel updated them in May

 2014.

                             v.        Par

         943.   In Defendant Patel’s initial May 2013 quality competitor ranking list, Defendant

 Par was given a ranking of +1. When Patel updated her quality competitor rankings a year later,

 Par improved to a ranking of +2.

         944.   Defendant Par rose in the rankings largely because of several strong relationships

 between executives at the two companies. For example, T.S., a national sales executive at Teva,

 had a strong relationship with R.K., a senior sales executive at Par. The two began

 communicating by telephone in September 2013. Between September 2013 and May 2014, the

 two spoke at least twenty-seven (27) times by phone.

         945.   Similarly, Defendant Rekenthaler at Teva had a very strong relationship with

 another senior executive at Par, M.B. Rekenthaler spoke with M.B. frequently throughout 2013

 and 2014. From the beginning of 2013 through May 2014, Defendant Rekenthaler spoke to

 M.B. at Par at least thirty-two (32) times by phone.

         946.   Defendant Patel was well aware of these strong relationships, and relied on the

 information that T.S. and Defendant Rekenthaler obtained from their communications with




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 senior Par executives in order to make pricing or bidding decisions for Teva's drugs. One such

 example occurred on Friday, February 7, 2014 when Teva received notice from a customer that it

 had received a competitive challenge from Par on the drug Labetalol HCL Tablets. Defendant

 Patel forwarded the e-mail to T.S. with three question marks: "???" T.S. responded

 immediately: "left message." The message that T.S. had left was for R.K. at Par, and the two

 executives spoke five (5) times that same day. After these calls with R.K., T.S. responded back

 to Defendant Patel saying "[l]et's speak on Monday. Just received call back with more

 information."

         947.    The following Monday, Defendant Patel also forwarded the original e-mail

 (discussing the competitive challenge from Par on Labetalol) to Defendant Rekenthaler, saying

 "[n]eed to make a decision quickly." One (1) minute after receiving that e-mail, Defendant

 Rekenthaler called M.B. at Par and the two spoke for eighteen (18) minutes. Shortly after

 hanging up the phone with M.B., Defendant Rekenthaler sent another e-mail to Defendant Patel,

 stating: "[h]old off on this until I get back with you." Defendant Rekenthaler spoke to M.B.

 again later that afternoon for three (3) minutes.

         948.    After these discussions between Teva and Par executives, Teva ultimately offered

 only a nominal price reduction to that customer – knowing that this would likely concede the

 business to Par.

         949.    As discussed more fully above, Teva continued to conspire with Defendant Par on

 various market allocation and price fixing schemes throughout the remainder of 2014 and into

 2015.

                             vi.        Greenstone

         950.    Greenstone was not a highly-ranked competitor when Defendant Patel first




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 created the quality competitor ranking list in May 2013. Defendant Patel had, at that time, given

 Greenstone a ranking of "0." However, when Defendant Patel updated her quality competitor

 rankings in May 2014, Greenstone improved to a +1 ranking.

        951.    One of the reasons for Greenstone's improvement in the rankings was Defendant

 Patel's developing relationship with Defendant Robin Hatosy, a national account executive at

 Greenstone. Defendants Patel and Hatosy were former co-workers at ABC, and had a

 longstanding relationship. From the time Defendant Patel started her employment at Teva in

 April 2013, through the time that she updated the quality competitor rankings in May 2014,

 Defendants Patel and Hatosy communicated by phone or text at least 66 times. Defendant Patel

 also spoke to Defendant Hatosy's supervisor, Defendant Jill Nailor of Greenstone, numerous

 times in early 2014 to coordinate Greenstone and Teva price increases and customer allocation

 agreements.

        952.    Defendant Patel and Defendant Hatosy of Greenstone spoke consistently at or

 around the time of every price increase effectuated by either company on drugs where they

 overlapped, including for example: July 3, 2013 – the day of Teva's price increase on

 Fluconazole; December 2, 2013 – the day that Greenstone sent notices to customers of its price

 increases on Azithromycin Suspension, Azithromycin Oral Suspension and

 Medroxyprogesterone; and April 4, 2014 – the day that Teva followed Greenstone's price

 increases on Azithromycin Suspension, Azithromycin Oral Suspension and

 Medroxyprogesterone.

        953.    Given the willingness of Greenstone's executives to coordinate price increases

 with Teva, Defendant Patel increased Greenstone's quality competitor ranking in May 2014.




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                            vii.       Amneal

        954.    In Defendant Patel’s initial May 2013 quality of competitor ranking list,

 Defendant Amneal was given a ranking of +1. When Defendant Patel updated her quality

 competitor rankings a year later, Amneal improved to a ranking of +2.

        955.    One of the reasons why Defendant Amneal rose in the rankings was because of

 several strong relationships between executives at the two companies. For example, Defendant

 Rekenthaler of Teva had a strong relationship with S.R.(2), a senior sales executive at Amneal.

 From May 2013 to May 2014, they spoke eight (8) times by phone, and attended many trade

 association meetings and customer conferences together as well. Rekenthaler and S.R.(2) were

 regular participants in an annual golf outing hosted by a packaging contractor in Kentucky,

 where – as discussed above – the generic drug manufacturer participants (competitors) played

 golf by day and gathered socially by night, referring to each other as "friends" and "fraternity

 brothers." (Defendants Green and Ostaficiuk were also participants.)

        956.    Similarly, Defendant Patel also developed strong relationships with two Amneal

 executives: S.R.(1), a senior sales and finance executive at Amneal, and S.R.(2). As discussed

 above, Defendant Patel and S.R.(1) coordinated price increases for the drugs Norethindrone

 Acetate (September 2014) and Bethanechol Chloride (January 2015).

        957.    Defendant Patel also spoke to S.R.(2) regarding Norethindrone Acetate in

 September 2014, and continued to communicate with S.R.(2) into at least 2015 – sometimes

 using alternative forms of communication. In addition to their cell phones, the two executives

 also used Facebook Messenger to coordinate anticompetitive conduct. In the message exchange

 below (relating to a drug not identified in this Complaint), S.R.(2) informs Defendant Patel that

 Amneal will concede one customer – Econdisc ("E") – so long as Amneal is able to retain




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 another large customer, Red Oak Sourcing ("RO"):




 On the day of this message exchange, Defendant Patel and S.R.(2) also spoke by phone for

 nearly five (5) minutes.

                            viii.      Rising

        958.    In Patel’s initial May 2013 quality competitor ranking list, Rising was given a

 ranking of +1. When Defendant Patel updated her quality competitor rankings a year later,

 Rising improved to a ranking of +2.

        959.    Rising improved in the quality competitor rankings because of the relationship

 between Defendant Rekenthaler and CW-2. In 2013, CW-2 left Sandoz to join Rising. At that

 time, Rising was already preparing to enter the market for a drug called Hydroxyzine Pamoate.

 Teva was one of the competitors already in that market. During several calls in early October

 2013, CW-2 coordinated with Defendants Green and Rekenthaler of Teva to acquire a large

 customer and facilitate Rising's entry into the Hydroxyzine Pamoate market.

        960.    Later, in March 2014, CW-2 sought to return the favor. At that time, Rising

 experienced supply problems for the drug Diflunisal Tablets – a two-player market involving

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 only Teva and Rising. In an effort to "play nice in the sandbox," and to further the ongoing

 understanding between the two competitors, CW-2 contacted Defendant Rekenthaler of Teva and

 informed him of Rising's supply problems and the fact that Rising may have to leave the market

 at some point in the future. The purpose for the call was to alert Defendant Rekenthaler that

 Teva would have the opportunity to take a price increase, as Rising would not be in a position to

 take on any additional market share.

        961.    On April 4, 2014, Teva increased the price on Diflunisal Tablets (by as much as

 182%), as well as Hydroxyzine Pamoate (by as much as 165%). In the weeks leading up to those

 price increases, Defendant Rekenthaler communicated several times with CW-2 at Rising to

 coordinate the increases. The two spoke by phone twice on March 17, 2014 and once on March

 31.

        962.    When Rising decided to leave the Diflunisal market in mid-July 2014, CW-2

 called Rekenthaler to let him know. Four months later – after Rising remedied its supply

 problems – Rising re-entered the market for Diflunisal. Consistent with the fair share

 understanding discussed above, and the rules of engagement that were generally followed in the

 industry, CW-2 and Defendant Rekenthaler communicated in advance of Rising's re-entry to

 identify specific customers that Rising would obtain and, most importantly, to ensure the

 retention of the high prices that Teva had established through its price increase in April 2014.

 On December 3, 2014, Rising re-entered the market for Diflunisal Tablets. Its new pricing

 matched Teva’s WAC price increase from April 2014.

        963.    Defendant Rekenthaler's successful efforts to coordinate price increases and

 customer allocation agreements with CW-2 of Rising led Defendant Patel to increase Rising's

 quality competitor ranking in May 2014.




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                             ix.       Breckenridge

        964.    In Defendant Patel’s initial May 2013 quality competitor ranking list, she gave

 Breckenridge a ranking of +1. When Defendant Patel updated her quality competitor rankings a

 year later, Breckenridge improved to a ranking of +2.

        965.    Breckenridge improved in the quality competitor rankings largely because of the

 strong relationship established between Defendants Patel and Rekenthaler and certain executives

 at Breckenridge, which led to several successful price increases.

        966.    For example, on November 14, 2013, Breckenridge increased the WAC pricing of

 both Mimvey and Cyproheptadine HCL Tablets. In the weeks leading up to those Breckenridge

 price increases, Defendant Rekenthaler communicated by phone several times with D.N., a sales

 executive at Breckenridge. The two spoke twice on October 14, 2013 and once on October 24,

 2013. The call on October 24 lasted twenty-six (26) minutes.

        967.    On April 4, 2014, Teva followed the Breckenridge price increases on Mimvey

 Tablets (increasing the WAC pricing by over 100%) and Cyproheptadine HCL Tablets

 (increasing the WAC pricing by over 90%), to match Breckenridge's WAC pricing on both

 products. Teva raised prices even higher on its customer contracts. Teva increased the contract

 pricing of Mimvey by as much as 393%, and the contract pricing of Cyproheptadine HCL

 Tablets by as much as 526%, depending on the dosage strength.

        968.    As Defendant Patel planned for Teva's April 4, 2014 price increases, both she and

 Defendant Rekenthaler continued to communicate with their counterparts at Breckenridge.

 Defendant Rekenthaler spoke to D.N. at Breckenridge on January 15, 2014 – the day after

 Defendant Patel sent her first list of "Increase Potentials Q1 2014" to K.G. – for nineteen (19)

 minutes. Similarly, Defendant Patel spoke with S.C. – a sales executive at Breckenridge – two




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 times on February 7, 2014, as she was determining whether Teva should provide a bid to a

 customer. After her discussions with S.C., Teva declined to bid for the business in order to avoid

 taking market share away from Breckenridge as a result of the price increases.

         969.   As a result of the successful coordination of these price increases between Teva

 and Breckenridge, Defendant Patel increased Breckenridge's quality competitor ranking in May

 2014.

                             x.        Glenmark

         970.   Not every Teva competitor saw its quality competitor ranking increase between

 2013 and 2014. Defendant Glenmark, for example, declined slightly in the rankings. In

 Defendant Patel’s initial May 2013 quality competitor ranking list, Glenmark was given a

 ranking of +3. When Defendant Patel updated her quality competitor rankings a year later,

 Glenmark was given a ranking of +2.

         971.   The reason that Defendant Glenmark declined in the rankings was because

 Defendant Patel lost her most valuable relationship at that company – CW-5. CW-5 left

 Glenmark in April 2014. In the eleven-month period between Defendant Patel joining Teva in

 late April 2013 and CW-5 leaving Glenmark in April 2014, the two competitors communicated

 by phone or text message 121 times. They also communicated frequently using an encrypted

 messaging application, WhatsApp. As discussed more fully above, starting in early May 2013

 Teva and Glenmark conspired to fix and raise prices on a number of drugs, including:

 Adapalene, Nabumetone, Fluconazole Tablets, Ranitidine, Moexipril, Moexpiril HCTZ and

 Pravastatin.

         972.   In addition to CW-5, Defendant Patel also had other contacts at Glenmark –

 which is why Glenmark did not fall dramatically in the quality competitor rankings when CW-5




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 left the company. For instance, Patel exchanged 44 phone calls or text messages with J.C., a

 sales and marketing executive at Glenmark, between May 2013 and July 2015. Similarly,

 Defendant Patel exchanged 36 calls with Defendant Jim Brown, the Vice President of Sales at

 Glenmark, between August 2013 and October 2014. As discussed more fully above, Defendant

 Patel continued to coordinate with J.C. and Defendant Brown throughout 2014 on several drugs,

 including Kariva and Gabapentin Tablets – demonstrating that Glenmark remained a quality

 competitor even after CW-5 left the company.

                4.      "Quality Competitors" Collude With Each Other As Well (Not Just
                        With Teva)

                        a.      One Example: The Sandoz/Mylan Relationship

        973.    In addition to conspiring with Teva, the "quality" competitors also colluded with

 each other on drugs that Teva did not market. Indeed, each of the quality competitors had their

 own set of relationships with their counterparts at competitor companies that they used to

 facilitate agreements regarding drugs where they overlapped. The relationship highlighted in

 this section is the relationship between executives at Defendants Sandoz and Mylan. However,

 to the extent that some of the drugs at issue involve additional competitor companies, those

 relationships are also discussed.

        974.    In September 2012, CW-4 was concerned about her job security at Sandoz and

 sought to network with executives at competing companies in the hope of obtaining new

 employment. CW-4 contacted Defendant Nesta because she was interested in potentially

 working at Mylan. CW-4 obtained Defendant Nesta's phone number from a mutual contact and

 called to introduce herself. During that phone call, Defendant Nesta immediately started talking

 about competitively-sensitive information. Although CW-4 was surprised that Defendant Nesta

 was being so blatant, she did not stop him.



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        975.    In the year that followed, between September 2012 and October 2013, CW-4 and

 Defendant Nesta developed an ongoing understanding that they would not poach each other's

 customers and would follow each other's price increases. Notably, CW-4 and Defendant Nesta

 were not friends and communicated almost exclusively by phone. Examples of their

 coordination with respect to specific drugs are discussed in more detail below.

                              i.       Market Allocation – Valsartan HCTZ

        976.    The first drug that CW-4 and Defendant Nesta coordinated about was Valsartan

 HCTZ. Valsartan HCTZ, also known by the brand name Diovan, is used to treat high blood

 pressure.

        977.    Diovan was a large volume drug that had sales in the United States of

 approximately $1.6 billion for the 12 months ending June 30, 2012.

        978.    Mylan was the first to file an abbreviated new drug application (ANDA) to

 market the generic version – Valsartan HCTZ – which, if approved, would give Mylan 180 days

 of generic exclusivity. Sandoz manufactured the authorized generic. This meant that Sandoz

 and Mylan would be the only two manufacturers of the generic version of the drug for six

 months.

        979.    Mylan and Sandoz launched Valsartan HCTZ on the same day – September 21,

 2012. In the days leading up to the launch, CW-4 and Defendant Nesta spoke at least twenty-one

 (21) times by phone during which they discussed, among other things, allocating market share

 for this product. These calls are detailed in the table below:




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 FDA approval to market generic Valsartan HCTZ. In an internal series of e-mails reacting to

 this news, a Sandoz employee remarked: “Fyi, good news, Mylan has 180 days as expected.”

 H.F., a senior-most executive of Sandoz Germany responded, “…sometimes a little help from

 our competition is welcome as well.” D.D., a senior-most executive of Sandoz North America,

 replied:




         984.    Defendant Kellum forwarded Mylan’s press release announcing the Valsartan

 launch to the Sandoz pricing and sales teams. S.G., a national account executive at Sandoz,

 replied “Hallelulah!!!!!!!!!!!!!!! (sic).”

         985.    On September 25, 2012 – only four days after the launch – ABC contacted

 Sandoz seeking a price reduction on Valsartan HCTZ. S.G. forwarded the request to CW-1 and

 Defendant Kellum stating "ABC has provided additional information regarding the market

 pricing on Valsartan HCTZ (specifically to McK [a Mylan customer]). Please review and advise

 if Sandoz will continue to let the market settle or move in a different direction. Defendant

 Kellum replied, “[n]o price change.”

         986.    On November 16, 2012, Sandoz executives met to discuss increasing sales for

 Valsartan HCTZ. R.T. sent an internal e-mail in advance of the meeting asking "Are there

 opportunities with non-Sandoz customers that we should evaluate?" After a colleague responded

 with a list of potential Mylan customers, Kellum responded, “I’m concerned we are going to

 disrupt the market. I understand the need for additional sales but we need to be thoughtful here.”

 R.T. then informed the Sandoz team “Do not approach new customers, with[out] me or Armando

 [Kellum]’s consent.”




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                             ii.       Price Increases – Summer 2013

        987.    As detailed in Section IV.C.2.g.iii above, after Mylan and Teva implemented

 significant price increases in early July 2013, Sandoz executives sought to obtain a

 "comprehensive list" of those Teva and Mylan price increases. Sandoz sought this information

 because it did not want to accidentally compete for market share on any of the Teva or Mylan

 drugs that overlapped with Sandoz.

        988.    To that end, on July 15, 2013, Sandoz executives held an internal meeting during

 which CW-1 instructed members of the Sandoz sales team, including CW-2 and CW-4, "to

 investigate [the] list of Mylan and Teva increase items."

        989.    That same day, as detailed above, CW-2 contacted his counterpart at Teva,

 Defendant Rekenthaler, and obtained the list of drugs that Teva increased on July 3, 2013, along

 with the percentage increases for each. Similarly, on July 16, 2013, CW-4 called her contact at

 Mylan, Defendant Nesta. The call lasted two-and-a-half (2.5) minutes. A half hour later,

 Defendant Nesta returned the call and they spoke for nearly nineteen (19) minutes.

        990.    During those two calls, CW-4 asked Defendant Nesta to identify the drugs Mylan

 had increased prices on so that Sandoz could follow with its own price increase. Defendant

 Nesta provided CW-4 with a list of drugs, highlighting that the Nadolol price increase would be

 large. Defendant Nesta also emphasized that Mylan did not appreciate having its prices

 challenged and that prices should be kept high. After the phone call ended, CW-4 sent the

 following e-mail to her superiors (the "July 2013 E-mail"):




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        991.    For at least one drug on the list – Haloperidol – Mylan had yet to raise price at the

 time of the July 2013 E-mail. Indeed, Mylan would not raise price on this product until August

 9, 2013. On that date, Mylan also raised the price on Levothyroxine – a drug on the list that was

 also increased by Mylan in January 2013 – and at least two other Sandoz overlap drugs not on

 the list – Trifluoperazine HCL and Benazepril HCTZ.

        992.    Over the next several months, and consistent with their understanding, Sandoz

 declined to bid and take business from Mylan customers (except in one instance where Mylan

 had more than its fair share) and raised prices to match Mylan on a number of products. Some

 examples of this conduct are detailed below.

                                       a)       Haloperidol and Trifluoperazine HCL

        993.    Haloperidol, also known by the brand name Haldol, and Trifluoperazine HCL,

 also known by the brand name Stelazine, are antipsychotic drugs that are used to treat disorders

 such as schizophrenia and Tourette syndrome.



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        994.    On August 6, 2013, Defendant Nesta of Mylan called CW-4 at Sandoz twice.

 Both calls were less than a minute long. Three days later, on August 9, 2013, Mylan

 implemented significant price increases on both Haloperidol and Trifluoperazine HCL. For

 Haloperidol, Mylan increased the WAC price by 250% on several formulations. For

 Trifluoperazine HCL, Mylan increased the WAC price by 80% on all formulations.

        995.    On August 19, 2013, S.G., a national account executive at Sandoz, sent an

 internal e-mail stating that Mylan increased its prices on Haloperidol and Trifluoperazine and

 that Sandoz needed to "rationalize the market."

        996.    On August 22, 2013, CW-2 e-mailed Defendant Kellum stating that CVS "wanted

 to know if we will be raising price on Haloperidol and Trifluoperazine. Mylan took substantial

 increases." Kellum forwarded the request to CW-1 and F.R., a pricing manager at Sandoz. F.R.

 responded, "I believe the answer is yes?? We bid at current price in RFP and did not go after this

 business. I would answer yes. Thoughts?" CW-1 replied that he would obtain the pricing data,

 "but I would imagine we will be fast followers."

        997.    On September 18, 2013, CW-1 e-mailed Defendant Kellum with his price

 increase analyses for Haloperidol and Trifluoperazine HCL. For Haloperidol, CW-1 indicated

 that Mylan had 72% market share, Sandoz had 15%, and Zydus had 10%. For Trifluoperazine

 HCL, CW-1 stated that "Mylan has 73% and we have 24%. This is a no brainer."

        998.    On September 25, 2013, Walgreens – a Mylan customer – e-mailed Sandoz

 asking for bids on Haloperidol and Trifluoperazine HCL. CW-1 sent an internal e-mail

 explaining that "Mylan took a price increase on this product. That's why he is asking. We are

 currently evaluating tak[ing] one ourselves."




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 increase, but advised that Sandoz wait to increase the price of Trifluoperazine HCL until January

 2014 because of price protection penalties that would be triggered if Sandoz increased in October

 2013. As O.K. explained, "I understand that both price increases have been taken by Mylan in

 August and we are the followers. We might be sending the wrong signal to Mylan by not

 following promptly however 1.6m top/bottom-line hit with no upside is too big to swallow."

        1002. Ultimately, Sandoz followed O.K.'s recommendation and increased its WAC

 pricing on Haloperidol to match Mylan's pricing on October 25, 2013, but waited to follow on

 Trifluoperazine HCL until January 31, 2014.

                                       b)      Benazepril HCTZ

        1003. Benazepril HCTZ, also known by the brand name Lotensin, is an angiotensin

 converting enzyme (ACE) inhibitor that is used to treat high blood pressure.

        1004. In July 2013, Sandoz finalized its plan to re-launch Benazepril HCTZ. However,

 because Sandoz executives knew that Mylan planned to increase price on this product, it chose to

 wait to re-enter the market until after Mylan increased its price so that Sandoz could enter at the

 higher price.

        1005. On July 12, 2013, a marketing executive at Sandoz sent an internal e-mail

 regarding "Benazepril Orders for Cardinal" stating: "[b]efore any release, we are expecting

 Mylan to raise their price." Similarly, during a Commercial Operations meeting on July 15,

 2013, it was confirmed that Sandoz was just waiting for confirmation of a Mylan price increase

 before re-entering the market.

        1006. The next day, on July 16, 2013, CW-4 spoke with Defendant Nesta and sent the

 July 2013 E-mail outlining the Mylan price increase drugs that Defendant Nesta had provided to

 her (discussed more fully above). That list did not include Benazepril HCTZ. CW-1 forwarded




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                                        c)      Levothyroxine

        1012. Levothyroxine is a synthetic form of the thyroid hormone thyroxine used to treat

 hypothyroidism, goiter, thyroid cancer, and cretinism.

        1013. Levothyroxine was the second most prescribed drug, measured by number of

 prescriptions, in the United States in the first quarter of 2010. Over 120 million prescriptions are

 written annually for Levothyroxine in the United States, treating 15% of the population over the

 age of 55.

        1014. Since approximately December 2010, Defendants Mylan, Sandoz, and Lannett

 have dominated the generic Levothyroxine market.

        1015. In the years 2013 and 2014, the three competitors coordinated to significantly

 raise the price of Levothyroxine. Defendant Nesta of Mylan spearheaded the discussions by

 speaking with K.S., a senior sales executive at Lannett, and with CW-4 of Sandoz. In addition to

 communicating directly with CW-4 on this drug, Defendant Nesta also communicated indirectly

 with Sandoz through a mutual contact at a competitor company – Defendant Green of Teva.

 Notably, Levothyroxine was not a drug that Teva sold.

        1016. As detailed above, Mylan increased prices on a number of drugs on January 4,

 2013, including Levothyroxine. The day before the Mylan increase, on January 3, 2013,

 Defendant Nesta of Mylan and Defendant Green of Teva spoke at least four times by phone. The

 next morning – the day of the Mylan price increases – Defendant Green spoke twice with

 Defendant Kellum, including a six (6) minute call at 9:34am.

        1017. Shortly after hanging up the phone with Defendant Green, Defendant Kellum sent

 an internal e-mail stating, among other things, that he "[j]ust heard from a customer that . . .

 Mylan took a significant price increase on Levothyroxine" and Defendant Kellum advised his




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 team to "please be cautious" on this product. As the phone records demonstrate, Defendant

 Kellum's source for the information was not "a customer," but rather Defendant Green of Teva.

        1018. That same morning, K.S. of Lannett called Defendant Nesta of Mylan. The phone

 call lasted 44 seconds. Then, on January 10, 2013, Defendant Nesta called K.S. back and they

 spoke for more than six (6) minutes. That same day, McKesson e-mailed Sandoz and requested

 a price reduction on Levothyroxine. Kellum responded internally, "This is a no. We just learned

 that Mylan look a large price increase."

        1019. The following Monday – January 14, 2013 – Lannett raised its pricing for

 Levothyroxine to match Mylan. Notably, after these phone calls, Defendant Nesta would not

 speak again with K.S. of Lannett until August 6, 2013 – three days before Mylan increased its

 prices for Levothyroxine a second time.

        1020. On July 16, 2013 – as detailed above – CW-4 spoke with Defendant Nesta and

 sent the July 2013 E-mail identifying the Mylan price increases. The price list included

 Levothyroxine and noted that Lannett had followed.

        1021. On August 6, 2013, Defendant Nesta called CW-4 two times. Both calls lasted

 less than a minute. A few minutes after the second call, Defendant Nesta called K.S. at Lannett.

 The call lasted 24 seconds (likely a voicemail). Three days later, on August 9, 2013, Mylan

 increased WAC pricing on Levothyroxine for a second time.

        1022. On August 10, 2013, S.G., a national account executive at Sandoz, sent an

 internal e-mail that stated: "Mylan took a 300% price increase on Levothyroxine!!! Based on

 my intelligence (we will need to confirm), please lock down inventory (strict allocation per AK)

 and no new product offers until we can clarify the situation." CW-4 replied to S.G.'s e-mail

 stating, "This is correct based on my info as well."




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         1023. Pursuant to their ongoing understanding, Lannett followed quickly and matched

 Mylan's WAC pricing on August 14, 2013.

         1024. On August 14, 2013, S.G. sent an e-mail to Defendant Kellum, copying CW-1,

 regarding "Levothyroxine Mylan" and asked "[w]e taking the pricing up?" CW-1 responded:

 "[w]orking on it." In response, S.G. replied: "Thx. I believe Lannett rationalized the market

 earlier this week." CW-1 answered "We just noticed that as well."

         1025. On September 5, 2013, Cigna – a Mylan customer – contacted Lannett and

 requested a bid on Levothyroxine. J.M., a national account manager at Lannett, forwarded the

 request to K.S. stating "due to Mylan's across the board price increases on a number of products,

 they are looking for new suppliers wherever there is crossover." J.M. explained that "[t]he

 volume isn't gigantic on the 1000s so it wouldn't attract much attention from Mylan if it went to

 us …." Nonetheless, on September 12, 2013, Lannett declined the opportunity and blamed

 supply issues stating "[a]s much as we'd love to take on the business, we are not in a position to

 do so at this time."

         1026. During a September 10, 2013 earnings call, Lannett's CEO, A.B., was asked for

 his reaction to Mylan's Levothyroxine price increase. A.B. responded, "You mean after I sent

 them a thank you note? I'm just kidding. . . . I'm always grateful to see responsible generic drug

 companies realize that our cost of doing business is going up as well. . . . So whenever people

 start acting responsibly and raise prices as opposed to the typical spiral down of generic drug

 prices, I'm grateful."

         1027. On September 13, 2013, Sandoz did indeed act "responsibly" and, consistent with

 the understanding it had with its competitors, raised WAC pricing to match Mylan and Lannett.

         1028. The three competitors – Defendants Mylan, Lannett, and Sandoz – did not stop

 there. They coordinated again to raise price on Levothyroxine in April/May 2014.

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 2013. The price increase was striking – more than a 3,440% increase to Taro's WAC pricing on

 certain formulations. 9

         1034. In the weeks leading up to the Taro price increase on Clomipramine HCL,

 Defendant Aprahamian of Taro spoke several times with both CW-3 at Sandoz and M.A., a

 national account manager at Mylan. In fact, on several occasions during this time period,

 Defendant Aprahamian hung up the phone with one competitor and immediately called the next.

 At the same time, CW-4 of Sandoz was also speaking with D.S., a senior sales and national

 account executive at Taro. During these conversations, Defendants Taro, Sandoz, and Mylan

 agreed to raise the price of Clomipramine HCL. Certain of these phone calls are detailed in the

 table below:




 9
   Defendant Taro also increased pricing on a number of other products on this date. These other products will be
 the subject of a subsequent Complaint.


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 Indeed, there are notations in CW-3's notebook that demonstrate that he began communicating

 with Defendant Aprahamian about Taro's May 1 increase as early as April 2, 2013.

        1036. As part of the agreement to raise prices and not poach each other's customers on

 Clomipramine HCL, Defendant Sandoz consistently refused to bid for Taro's customers after

 Taro raised its price. For example, on April 30, 2013, Publix e-mailed Sandoz stating that it had

 received a price increase letter from Taro regarding several Sandoz overlap products, including

 Clomipramine HCL, and asked whether Sandoz wanted to bid for the business. Defendant

 Kellum e-mailed CW-4 stating "I'm not inclined to do anything here as these may be

 opportunities for us. We can blame supply if these are in fact opps for us." CW-4 replied,

 "Agreed! Especially the opportunities for us part!"

        1037. Taro did agree to concede one customer to Sandoz so that the competitor could

 achieve its fair share of the market. On May 1, 2013, Rite Aid e-mailed Sandoz asking for a bid

 on Clomipramine HCL. Defendant Kellum responded: "I want to raise price and perhaps pick

 up share here if possible. [CW-4] try to keep Rite Aid warm and let them know we are

 evaluating but need to assess supply etc. . . ."

        1038. The next day, on May 2, 2013, Defendant Aprahamian of Taro called CW-3 at

 Sandoz and they spoke for five (5) minutes. CW-3 hung up the phone and then immediately

 called Defendant Kellum. The two spoke for eight (8) minutes. First thing the next morning –

 on May 3, 2013 – CW-3 called Defendant Aprahamian back and they spoke for another five (5)

 minutes. Within a half hour, CW-3 again contacted Defendant Kellum and spoke for two (2)

 minutes. Later that day, CW-4 of Sandoz e-mailed Kellum regarding an upcoming call with Rite

 Aid stating: "[w]hen we speak to the clomipramine – let's reiterate we need to keep it on the DL

 from taro as long as possible. . . . like we don't already know the cat's out of the bag."




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        1047. After this series of calls, during the morning of October 15, 2013, CW-4 of

 Sandoz called Defendant Kellum. The call lasted one minute. Approximately one half hour

 later, Defendant Kellum e-mailed McKesson and asked if Sandoz could submit a bid for

 Clomipramine HCL.

        1048. On October 23, 2013, Sandoz submitted a bid to McKesson and the customer

 responded that a reduction was needed to bring the pricing in line with their current supplier,

 Taro. CW-1 was surprised and forwarded the request to CW-4, copying Defendant Kellum,

 stating: "I thought we were taking Mckessons Clomipramine from Mylan? Per below it appears

 that they have Taro on the 90s." CW-4 responded, "Hey, I'm only as good as my intel . . . which

 should have been good."

        1049. In December 2013, Sandoz received an inquiry from a Bloomberg reporter who

 questioned the propriety of the large increases that Sandoz had taken in recent months on a

 whole host of drugs, including Clomipramine HCL and several other drugs at issue in this

 Complaint. After several conversations with antitrust counsel, Defendant Kellum prepared the

 following response to Bloomberg with regard to Clomipramine HCL:




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        1050. As is clear from the above allegations, Defendant Kellum's statement was a lie.

 In reality, Sandoz had raised its prices after coordinating the increases with Taro and Mylan in

 advance, and stayed true to its commitments to keep those prices high.

                                        e)      Tizanidine

        1051. Tizanidine, also known by the brand name Zanaflex, is used to treat muscle

 spasticity due to spinal cord injury or multiple sclerosis.

        1052. As of May 2013, Defendants Sandoz, Mylan, and Dr. Reddy's were in the market

 for Tizanidine. Dr. Reddy's led the increase on this product on May 13, 2013, increasing its

 WAC price and raising contract pricing tenfold. At that time, Dr. Reddy's was the market leader

 with 59% market share, while Mylan had 24%, and Sandoz had 17%.

        1053. Tizanidine was a drug that had been on the market for many years and whose

 price had eroded as many competitors entered and exited the market depending on the

 profitability of the drug. As Dr. Reddy's explained in an internal presentation, "Price needs to be

 adjusted to incentivize current manufacturers to stay in this product" and stated that Dr. Reddy's

 assumes "Mylan and Sandoz are responsible players, and they may not be able to pick up the

 large volumes we currently service."

        1054. Sandoz was thrilled when it learned that Dr. Reddy's had increased its price on

 Tizanidine. For example, on May 10, 2013, S.G., a national account executive at Sandoz, sent an

 internal e-mail stating that "Giant Eagle just let me know that Dr. Reddy just took a price

 increase on Tizanidine! Pricing on the 2 & 4mg 150ct went from $4.50 to $45.00. . . . We

 should secure confirmation but if this is true it would be very positive …." Defendant Kellum

 responded, "Wow! Thank you." Kellum then quickly sent out a directive to the team to

 "[p]lease put the product on strict allocation to forecast. Pricing Team – no new offers."




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 Omnicare, stating that “[a]lthough we are not in a back order situation we cannot assume

 additional usage at this time. If this were to change I will let you know.”

        1058. On June 14, 2013, Anda, a wholesale customer, e-mailed J.A. of Dr. Reddy’s

 asking “[d]id mylan follow your increase?” J.A. responded, “We’ve heard they did.” J.A. had

 learned of Mylan's intent to follow the price increase through his prior communications with

 Defendant Nesta. However, Mylan had not actually raised its price on Tizanidine at the time of

 the inquiry, and would not do so until July 2, 2013.

        1059. On June 26, 2013, Meijer, a supermarket chain customer, e-mailed Dr. Reddy’s

 requesting a bid for Tizanidine. J.A. forwarded the request to N.M., a marketing executive at Dr.

 Reddy’s, stating: “I’m assuming they got a price increase.” N.M. responded: “I think, given the

 market situation and us leading the price adjustment, I think, we should not go behind additional

 market share since it will erode the market even further.” J.A. replied, “[y]eah, I was just

 sending it as an FYI, no intention to bid.” A few weeks later, Meijer forwarded the same request

 to Sandoz. Sandoz’s response was similar: “[w]e cannot supply unfortunately.”

                        b.     Individual Defendant Relationships

        1060. The relationship between CW-4 and Defendant Nesta discussed in detail above is

 just one example of two competitors capitalizing on their relationship to fix prices and allocate

 markets on drugs that both companies manufactured. Each of the individual Defendants had

 their own relationships with contacts at competitor companies that they utilized to allocate

 markets and raise prices on overlap drugs. Many of these relationships are discussed throughout

 this Complaint.

        1061. The following sections profile each individual Defendant and their primary

 contacts at competitor Defendants, including cataloging the number of phone calls and/or text




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                                ii.   David Berthold

        1063. Defendant Berthold is the Vice President of Sales at Defendant Lupin and has

 held that position since June 2006. During his tenure at Lupin, Defendant Berthold has been the

 primary person at the company communicating with competitors. Indeed, Defendant Berthold

 has relationships with individuals at many of the corporate Defendants and is one of the most

 prolific communicators of all the individual Defendants. For example, between March 2011 and

 October 2018, Berthold exchanged at least 4,185 phone calls and text messages with his contacts

 at Defendants Aurobindo, Glenmark, Greenstone, Actavis, Wockhardt, Zydus, Teva,

 Breckenridge, Mylan, Sandoz, Dr. Reddy's, Amneal, and Lannett. These communications are

 detailed in the table below:




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 Defendant Apotex. During his time at Teva, Rekenthaler knew that his colleagues, including

 Defendants Green and Patel, were colluding with competitors. Indeed, Defendant Rekenthaler

 was also in frequent contact with competitors himself and had relationships with executives at

 nearly all the corporate Defendants. For example, between January 2011 and March 2015,

 Defendant Rekenthaler exchanged at least 1,043 phone calls and text messages with his contacts

 at Defendants Actavis, Mylan, Par, Aurobindo, Apotex, Zydus, Sandoz, Rising, Amneal,

 Breckenridge, Lupin, Dr. Reddy's, Glenmark, Greenstone, Taro, Lannett, and Wockhardt. These

 communications are detailed in the table below:




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 bid high so as not to punish the party that took the price increase. Often, the competitor would

 then follow with a comparable price increase of its own.

         1081. There are numerous examples throughout this Amended Complaint of

 competitors refusing to compete in the face of a price increase so as not to “punish” the leader or

 “steal” market share. As just one example, when Defendant Teva was approached by a large

 retail customer in May 2013 to bid on a drug for which Defendant Greenstone had increased

 prices, Defendant Green expressed caution stating, “not sure I want to steal it on an increase.”

 Teva later declined to bid on the business.

         1082. The concept of “fair share” and price increases went hand in hand. For example,

 as discussed above the ongoing understanding between Defendants Teva and Sandoz that they

 would follow each other’s price increases was predicated on the agreement that the follower

 would not poach the leader’s customers after the increase. The same was true for the

 understanding between Sandoz and Mylan. As discussed above, Defendant Nesta specifically

 cautioned CW-4 that Mylan did not appreciate having its prices challenged after an increase –

 i.e., Mylan did not want Sandoz to steal its business by underbidding its customers. Similarly,

 Defendant Aprahamian of Taro often spoke with CW-3 of Sandoz about coordinating price

 increases between the two companies. 10 Almost invariably, he would conclude the conversations

 with phrases like "don't take my fucking customers," "don't take my business" or "don't be

 stupid."

         1083. Further, because of this “fair share” understanding, it was not essential for the

 competitors to communicate with each other in advance of every price increase, although they

 often did so anyway. So long as the competitor knew before it was approached by customers

 10
    Although there are some examples of communications between Defendant Aprahamian and CW-3 discussed in
 this Complaint, as they relate to Teva drugs, many other collusive communications over a period of time, and the
 drugs they relate to, will be the subject of a subsequent complaint.


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 that the reason for the solicitation was due to a price increase by the incumbent supplier, the

 competitor knew not to compete for the business. Similarly, the competitor knew it would have

 the opportunity, which it often took, to follow the increase with a comparable price increase of

 its own.

                6.      "Quality Competitor" Rankings Relate To Price Increases, But Even
                        "Low Quality" Competitors Comply With The Overarching
                        Conspiracy

        1084. As a further demonstration that the fair share understanding was universally

 accepted and understood in the generic pharmaceutical industry, even companies that Defendant

 Patel and Teva referred to as "low quality competitors" – because they were not viewed as strong

 leaders or followers for price increases – consistently complied with the principles of "fair share"

 and "playing nice in the sandbox."

                        a.     Example: Camber Pharmaceuticals, Inc. (and its President,
                               Defendant Ostaficiuk).

        1085. When Defendant Patel first created the quality of competitor rankings in early

 May 2013, she gave Camber Pharmaceuticals a ranking of -2. When Defendant Patel revised

 those rankings one year later in May 2014, Camber's ranking did not change. It remained one of

 the lowest ranked of all of Teva's competitors.

        1086. Nonetheless, Camber adhered to the fair share understanding, and consistently

 applied those rules in dealing with its competitors.

        1087. This was evident when, in September 2014, Camber entered the market for two

 different drugs that overlapped with Teva.

        1088.    One of those drugs was Raloxifene Hydrochloride Tablets (“Raloxifene”), also

 known by the brand name Evista – a drug used in the treatment of osteoporosis in

 postmenopausal women.



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        1089. Teva had begun marketing Raloxifene in March of that year. Actavis had

 received approval to begin marketing Raloxifene in 2014 as well, but had not yet entered by

 September 2014.

        1090. The other drug was a generic form of Lamivudine/Zidovudine – a combination

 medication also known by the brand name Combivir. Generic Combivir is used in the treatment

 of human immunodeficiency virus (HIV). Camber had received approval to market a generic

 form of Combivir in February 2014, but as of September 2014 was still in the process of entering

 the market. Already in the market were competitors Teva, Aurobindo and Lupin. As discussed

 more fully above in Section IV.C.1.c.i., Defendants Teva, Lupin and Aurobindo agreed to divvy

 up the generic Combivir market in 2012 when Teva was losing exclusivity on that drug.

        1091. As the anticipated product launches for Raloxifene approached, the new entrants

 discussed an allocation strategy with Teva to ensure they each received their fair share of the

 market. On September 9, 2014, Defendant Rekenthaler had a twenty-six (26) minute phone call

 with A.B., a senior sales and marketing executive at Actavis. A short time later, a Teva

 executive told colleagues that she had “just heard Camber and Actavis expect to launch 9/24.”

        1092. Teva’s discussions with Actavis escalated over the coming week. On September

 10, Defendant Rekenthaler exchanged two calls with Defendant Falkin of Actavis lasting fifteen

 (15) minutes and one (1) minute, respectively. On September 11, the men talked for ten (10)

 more minutes. On September 16, Defendant Rekenthaler spoke by phone a total of six (6) times

 with different Actavis personnel, including one call with A.B. lasting thirty-four (34) minutes.

        1093. The following morning, in response to an inquiry regarding whether Teva

 intended to retain a major customer’s Raloxifene business, K.G. of Teva replied in the




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 affirmative. Defendant Rekenthaler then shared the information he had gathered through his

 communications with competitors: “I know Actavis will be late. Camber is talking but their

 [sic] being somewhat unclear as well. I’ll know more about them after my trip this week.” That

 same day, on September 17, 2014, Camber sent an offer for Raloxifene to a large Teva customer,

 Econdisc.

        1094. Defendant Rekenthaler and Defendant Kon Ostaficiuk, the President of Camber

 Pharmaceuticals, spent the next three days – September 17 through September 19 – playing golf

 during the day and socializing at night at an industry outing in Kentucky sponsored by a

 packaging vendor.

        1095. On September 21, 2014, Defendant Ostaficiuk called Defendant Rekenthaler and

 the two spoke for two (2) minutes. The next day, Rekenthaler initiated a series of four (4) phone

 calls with Defendant Ostaficiuk. The two spoke for a total of thirty (30) minutes that day.

 Notably, these are the first identified phone calls ever between the two competitors. As a result,

 Camber sent a revised offer to its potential customer that same afternoon, containing modified

 prices for Raloxifene.

        1096. On September 24, Defendant Patel discussed a Raloxifene allocation strategy with

 her Teva colleagues in light of Camber’s offer to the large Teva customer, Econdisc. She

 emphasized Camber’s expressed commitment to the overarching conspiracy among the

 competitors – and conveyed information she obtained from Defendant Rekenthaler during his

 conversations with Ostaficiuk – stating: “Camber indicated that they are targeting Econdisc and

 a small retailer … and then they would be ‘done.’”

        1097. As a part of this discussion, K.G. considered whether Teva should just concede

 Econdisc to Camber, and seek to recover that market share with another customer. At 9:07am




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 “Okay, we will concede additional smaller customer challenges (particularly distributors) since

 they are not going to target One Stop.” Defendants Rekenthaler and Ostaficiuk spoke again

 twice that day.

        1100. That evening, a Camber executive instructed a colleague to gather market

 intelligence on possible additional customers for Camber’s new Raloxifene product, but stressed

 that the company would not bid on any additional Teva accounts "until we know how we do with

 Econ[disc].”

        1101. On Friday September 26, 2014, Camber publicly announced that it was launching

 Raloxifene, the generic version of Evista. Defendant Rekenthaler called Defendant Ostaficiuk

 that day, for a short one (1) minute call.

        1102. From those telephone calls, Defendant Rekenthaler expressed to Defendant

 Ostaficiuk that Teva did not want Camber challenging for any more of its customers, on

 Raloxifene or generic Combivir. As a result of this communication, on Monday September 29,

 2014 Defendant Ostaficiuk sent the following e-mail to his colleagues at Camber:




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        1103. A.R., a senior sales executive at Camber, replied: "We have not made any offers

 to any Teva Raloxifene accounts since we received the Econ award. Both Sales and Contracts

 are aware, & requesting incumbent detail for all offers, if Teva, no offer." A.R. also added that

 “We are also not seeking any Lupin business on Lamo/Zidovudine [aka generic Combivir].”

 Defendant Ostaficiuk replied: "Thank you. We don't want to antagonize either of them and start

 a war…"

        1104. About a week later, on October 7, 2014, a large Teva customer informed a Teva

 sales representative that Camber had made an unsolicited bid for its Raloxifene business. J.P., a

 Director of National Accounts at Teva, sent an e-mail to certain employees at Teva, including

 Defendant Rekenthaler, notifying them of her conversation with the customer, and expressing

 surprise given the agreement Teva had previously reached with Camber: "I thought they were

 done after securing Econdisc?" Based on his prior conversations with Defendant Ostaficiuk,

 Defendant Rekenthaler doubted that Camber made an offer to another Teva customer, stating:

 "You're positive they sent them an offer?"

        1105. J.P. of Teva "relayed 'the message'" to the customer that "the market should be

 stable at this point" and Teva would be surprised if Camber had intended to make an offer to the

 customer. After further discussion with the customer, Teva staff learned that it was a

 misunderstanding. Camber never actually made the offer, but had instead complied with its

 agreement with Teva.

        1106. The fair share agreement continued to govern as usual until mid-December 2014,

 when Camber learned of supply problems at Teva on Raloxifene. A Camber employee described

 the prospect of Teva being on backorder for this drug as a “Game changer.” Expressing her

 understanding of the rules of the conspiracy, she pointed out: “Fair share only applies when




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 there is not supply constraints.” Defendant Ostaficiuk responded optimistically, but

 cautiously: “Good luck guys but go fishing and gather information before we commit . . ..”

                 7.     Teva Profitability Increases Dramatically As A Result Of Price
                        Increases.

        1107. As discussed more fully above, from July 3, 2013 through January 28, 2015, Teva

 conspired with its competitors to raise prices on at least 85 different drugs. The impact of these

 price increases on Teva's profitability was dramatic.

        1108. After these price increases – on July 30, 2015 – Teva reported strong results and

 raised its guidance for the full year 2015. Among other things: (1) net income was up 15%

 compared to the prior year; (2) operating income was up 16% compared to the prior year; and (3)

 cash flow from operations was up 41% compared to the prior year. Teva reported a gross profit

 margin of 62.8%, which was up from 58.1% the prior year. Teva's stock prices also soared. By

 July 2015, Teva's stock price was trading at an all-time high. These significant results were

 obtained largely as a result of the anticompetitive conduct detailed herein.

                 8.     Teva and Its Executives Knowingly Violated The Antitrust Laws

        1109. Teva was aware of the antitrust laws, and paid them lip service in its Corporate

 Code of Conduct. For example, Teva's Code of Conduct from the summer of 2013 states

 specifically:




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        1110. But high-level executives at Teva were aware that those laws were being violated

 systematically and egregiously, and never instructed Teva employees to stop or to rescind the

 agreements that Teva had reached with its competitors.

        1111. For example, when Defendant Patel started at Teva in late-April 2013, she

 immediately began ranking Teva's competitors by their "quality." "Quality" was nothing more

 than a euphemism for "good co-conspirator," and it was well known internally at Teva that Patel

 was identifying price increase candidates based on who Teva's competitors were for those drugs,

 and whether she or others at Teva had an understanding in place. Indeed, Patel already had a

 short list of price increase candidates in place on the day she started at Teva, which was based at

 least in part on conversations she had already been having with Teva's competitors before she

 started, including Defendant Ara Aprahamian at Taro.

        1112. As Defendant Patel was starting to create her ranking of quality competitors and

 identify candidates for price increases, she sent her very first iteration of the quality competitor




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 ranking to her supervisor, K.G. – a senior marketing executive at Teva – on May 1, 2013. That

 ranking included, within the category of "Strong Leader/Follower," the following competitors:

 Mylan, Actavis, Sandoz, Glenmark, Taro and Lupin. The preliminary list of price increase

 candidates also included the formula that Defendant Patel would use to identify price increase

 candidates using the quality of competitor scores.

        1113. With K.G.'s approval of her methodology for identifying price increase

 candidates, Defendant Patel continued communicating with competitors and agreeing to price

 increases. She also routinely provided K.G. with intelligence that she had received from her

 communications with competitors. For example, when Patel sent her very first formal "PI

 Candidates" spreadsheet to K.G. on May 24, 2013, she identified, for example, that the drug

 Nabumetone was a price increase candidate because, among other things, "Sandoz [was] also

 bidding high." For the drug Adapalene Gel, Patel noted that there were "[r]umors of a Taro

 increase" – even though Taro had not yet increased its prices for Adapalene Gel. Patel had

 obtained this competitively sensitive information directly from her communications with

 competitors.

        1114. K.G. immediately forwarded that information to Defendant Maureen Cavanaugh,

 the Senior Vice President of Sales at Teva, who approved of the price increases based on the

 reasoning that Defendant Patel provided for each drug. As discussed more fully above, Teva

 raised prices on those drugs (and others) on July 3, 2013.

        1115. Defendant Cavanaugh was well aware that Patel was communicating with

 competitors about price increases, and making recommendations based on those

 communications, because Patel told her so directly. For example, during a 2013 meeting of Teva

 sales and pricing personnel where Defendant Cavanaugh was present, Defendant Patel was




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 discussing her communications with certain competitors about price increases when Defendant

 Cavanaugh smiled, put her hands over her ears, and pretended that she could not hear what was

 being said. Not once, however, did Cavanaugh ever tell Defendant Patel or anyone else at Teva

 to stop conspiring with Teva's competitors or rescind the agreements that had been reached.

        1116. Patel continued to send intelligence that she had obtained from competitors to her

 supervisor, K.G. On August 7, 2013, Defendant Patel sent to K.G. a summary list of drugs slated

 for a price increase on August 9, 2013. In the "Reasons for Increase" column, Patel again

 included specific information that could only have come from her communications with

 competitors, including:

                        Product Category                            Reason for Increase
             ETODOLAC ER TABLETS              Follow Taro (likely to be this week with IR)
             ETODOLAC TABLETS                 Follow Sandoz; Taro likely to follow this week
             PRAVASTATIN TABLETS              Follow Glenmark, Zydus and Apotex. Lupin waiting on Teva.



 This time, K.G. – recognizing that it was inappropriate for Teva to have this information in

 writing – asked Defendant Patel to change those references above, to remove the offending

 language:




 As discussed more fully above, Teva increased prices on those three drugs two days later. Not

 once did K.G. ever tell Defendant Patel to stop communicating with competitors, or to rescind

 any of the agreements she had reached on behalf of Teva.

        1117. Defendant Patel also spoke regularly to both Defendant Rekenthaler and

 Defendant Green about each others' communications with competitors. Patel was aware that


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 both Rekenthaler and Green were communicating with competitors, sometimes at her direction.

 Defendants Green and Rekenthaler, in turn, were also both aware that Patel was communicating

 with competitors and implementing price increases based on those communications.

        1118. Defendant Rekenthaler – the Vice President of Sales at Teva – was aware that

 communicating with competitors about pricing and market allocation was illegal, and took steps

 to avoid any evidence of his wrongdoing. For example, as discussed more fully above, on July

 15, 2013 CW-2 of Sandoz called Defendant Rekenthaler at Teva and left a message.

 Rekenthaler called CW-2 back immediately and they had a three (3) minute conversation during

 which CW-2 asked Rekenthaler to provide him with a full, comprehensive list of all drugs that

 Teva had recently increased pricing on – not just those drugs where Teva overlapped with

 Sandoz. Rekenthaler complied. Understanding, however, that it was improper to share

 competitively sensitive pricing information with a competitor, and in an effort to conceal such

 conduct, Rekenthaler first sent the Teva price increase list from his work e-mail account to a

 personal e-mail account, then forwarded the list from his personal e-mail account to CW-2's

 personal e-mail account.

                9.      Price Increases Slow Dramatically After Government Investigations
                        Commence

        1119. As further evidence that the price increases discussed above were not the result of

 normal market factors, the massive price spikes that were occurring in the industry in 2013 and

 2014 slowed dramatically after the State of Connecticut commenced its antitrust investigation in

 July 2014. This was not a coincidence. Generic drug manufacturers in the industry – including

 the Defendants in this case – understood that they were under scrutiny and did not want to draw

 further attention to themselves.




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        1120. In January 2015, Sandoz conducted an analysis of the price increases in the

 generic drug industry in 2013 and 2014, with an early look toward 2015. In its report, Sandoz

 found that "[g]eneric drug price increases in 2013 and 2014 were very common." Specifically,

 the report stated: "For the years 2013 and 2014, there were 1,487 SKU 'large price increases'

 (WAC increase greater than 100%)[;] of this 12% (178 SKUs) were increased by more than

 1000%."

        1121. The report went on to state that "[t]he number and level of price increases

 declined noticeably in 4Q 2014." The following graphic, which was included in the Sandoz

 report, actually demonstrates that the number of price increases started to decline dramatically

 after the second quarter of 2014 – the same time that the Plaintiff States commenced their

 investigation:




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        1122. The massive price spikes in the industry may have declined, but the already-high

 prices for most of these drugs did not go down. To date, prices for many of these drugs remain

 at significantly inflated, anti-competitive levels.

        D.      Consciousness Of Guilt

        1123. The Defendants were aware that their conduct was illegal. They all made

 consistent efforts to avoid communicating with each other in writing, or to delete written

 electronic communications after they were made. There are numerous examples, discussed

 throughout this Amended Complaint, where Teva employees indicated that they could not talk

 by e-mail, but had additional information that they could only convey personally. This was part

 of a consistent effort by these individuals, as well as individuals at other corporate Defendants, to

 avoid putting incriminating information in writing, in order to evade detection.

        1124. For example, when Defendant Kevin Green wanted to speak with a particular

 competitor, he would routinely send a text message to that competitor, saying only "call me."

 Again, this was done to avoid putting any potentially incriminating communications in writing.

 Defendant Patel learned this technique from Defendant Green, shortly after starting at Teva, and

 adopted a similar strategy for communicating with competitors.

        1125. Defendant Armando Kellum of Sandoz was also aware that what he and others at

 Sandoz were doing was illegal. Kellum had received antitrust training, and knew that conspiring

 with competitors to fix or raise prices, or to allocate customers or markets, was a violation of the

 antitrust laws. Kellum would routinely admonish Sandoz employees for putting anything

 incriminating into e-mails, and voiced concern that the conduct they were engaging in – if

 discovered – could result in significant liability. As a result of Kellum's admonishments, Sandoz

 employees (including Kellum himself) routinely lied in e-mails about the sources of their




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 information to camouflage their conduct, claiming they learned the information from a customer

 instead of a competitor.

        1126. Similarly, Defendant Jill Nailor of Greenstone instructed her subordinates to

 avoid putting any sensitive market intelligence in writing.

                1.      Spoliation of Evidence

        1127. Many of the individual Defendants, and others employees of the various corporate

 Defendants, took active steps to delete their conspiratorial communications with competitors,

 and destroy evidence of their illegal behavior.

        1128. For example, Defendant Nisha Patel produced text messages – in response to the

 States' subpoena – going back as far as early 2014. Prior to producing those text messages,

 however, Patel had deleted all of her text communications with competitors from the same time

 period, including many text messages with individual Defendants Aprahamian, Brown,

 Cavanaugh, Grauso, Green, Nailor, Rekenthaler and Sullivan; and many other text messages

 with employees of corporate Defendants Dr. Reddy's, Glenmark (including CW-5), Greenstone

 (including Defendant Hatosy), Par, Sandoz, Upsher-Smith and Zydus.

        1129. Patel deleted these text messages after a conversation with Defendant Rekenthaler

 in early 2015, when Rekenthaler warned Patel to be careful about communicating with

 competitors. Rekenthaler was aware of the government investigations that had been

 commenced, and told Patel that the government was showing up on people's doorsteps.

 Sometime after that, Patel deleted her text messages with competitors.

        1130. Defendant Apotex also destroyed an entire custodial file for one of its key

 employees (B.H., a senior sales executive), after the States requested it through an investigatory

 subpoena in July 2017. As discussed above, B.H. was involved in coordinating two significant




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 price increases with Defendant Patel of Teva in 2013, which resulted in Apotex soaring in the

 quality competitor rankings. After the States' subpoena was issued, Defendant Apotex destroyed

 B.H.'s custodial file – and did not inform the States that it had done so for over a year.

                2.      Obstruction of Justice

        1131. Many of the Defendants have been coordinating consistently to obstruct the

 ongoing government investigations and to limit any potential response. This coordination goes

 back at least as far as October 2014, when Congress first started investigating price increases in

 the generic drug industry.

        1132. For example, in early October 2014, Heritage received a letter from

 Representative Cummings and Senator Sanders as part of their inquiry into generic drug pricing.

 Heritage's outside counsel immediately set out to coordinate a response with counsel for

 Defendants Teva and Mylan, to provide what he referred to as "polite f-u" letters to Congress:




        1133. The coordination did not stop there. When the federal government executed a

 search warrant against Defendant Patel at her home on June 21, 2017, she immediately called

 Defendant Rekenthaler (from another phone because her phone had been seized) even though

 Rekenthaler was no longer employed at Teva and was by that point the Vice President of Sales at

 Defendant Apotex. Rekenthaler then immediately called Defendant Cavanaugh and C.B.,

 another senior Teva executive. Rekenthaler spoke several times to Defendant Cavanaugh before


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 then calling his own attorney and speaking twice. Later that day, Patel called Rekenthaler two

 more times to coordinate her response to the government.

        1134. Other Defendants took similar action in response to events in the States'

 investigation. Several were speaking frequently at or around the time a subpoena was issued, or

 when the States were engaging in substantive discussions with their counsel. As just one

 example, on July 17, 2018 the States sent a subpoena to Defendant Grauso, through his counsel.

 That same day, Grauso spoke to Defendant Aprahamian for more than twelve (12) minutes. The

 States then set up a conference call with Defendant Grauso's counsel for July 25, 2018. The day

 before that call – July 24, 2018 – Defendant Aprahamian spoke to his lawyer, and then shortly

 thereafter called Defendant Grauso. The next day, shortly after a conversation between the

 States and counsel for Defendant Grauso, Defendants Aprahamian and Grauso spoke again, this

 time for nearly seven (7) minutes.

 V.     PURCHASES OF GENERIC PHARMACEUTICALS THROUGH MMCAP

        1135. During the relevant period, state, local, municipal, and other state and non-state

 governmental entities purchased and Defendant manufacturers sold generic pharmaceuticals

 through a process operationalized by the Minnesota Multistate Contracting Alliance for

 Pharmacy (“MMCAP”).

        1136. Every state can be and is a member of MMCAP. Subject to criteria established by

 MMCAP and the member state, state entities and non-state governmental entities such as

 counties, cities, towns, villages, public school districts, public authorities, and public benefit

 corporations, can use MMCAP’s process.

        1137. MMCAP enters into agreements with generic drug manufacturers and service

 providers that operationalize the process for purchasing, distributing, and paying for generic




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 pharmaceuticals by and for those state and non-state governmental entities.

        1138. MMCAP agreements and member state processes/agreements contain provisions

 that assign to the state claims the contracting party may possess under federal and state antitrust

 laws. Thus, the state stands in the shoes of the contracting party for purposes of alleging federal

 and state antitrust claims.

        1139. Plaintiff States asserting damage claims relating to purchases made through the

 MMCAP process here assume the rights of those contracting parties to assert claims arising out

 of Defendants’ activities alleged in this Amended Complaint, including the right to recover

 damages flowing from Defendants’ illegal conduct.

 VI.    TRADE AND COMMERCE

        1140. At all times relevant to this Amended Complaint, the activities of the Defendants

 in manufacturing, selling and distributing generic pharmaceutical drugs, including but not

 limited to those identified herein, among others, were in the regular, continuous and substantial

 flow of interstate trade and commerce and have had and continue to have a substantial effect

 upon interstate commerce. The Defendants' activities also had and continue to have a substantial

 effect upon the trade and commerce within each of the Plaintiff States.

 VII.   MARKET EFFECTS

        1141. The acts and practices of Defendants have had the purpose or effect, or the

 tendency or capacity, of unreasonably restraining competition and injuring competition by

 preventing competition for the numerous generic pharmaceutical drugs identified herein, and

 have directly resulted in an increase in consumer prices for those drugs.

        1142. By unreasonably and illegally restraining competition for the generic

 pharmaceutical drugs identified herein, Defendants have deprived the Plaintiff States and their




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 consumers of the benefits of competition that the federal and state antitrust laws, consumer

 protection laws and/or unfair competition statutes and related state laws are designed to promote,

 preserve and protect.

           1143. As a direct and proximate result of the unlawful conduct alleged above, Plaintiff

 States and consumers were not and are not able to purchase, or pay reimbursements for

 purchases of the various generic pharmaceutical drugs identified herein at prices determined by a

 market unhindered by the impact of Defendants' anticompetitive behavior. Instead, they have

 been and continue to be forced to pay artificially high prices. Consequently, they have suffered

 substantial injury in their business and property in that, inter alia, they have paid more and

 continue to pay more for the various generic pharmaceutical drugs identified herein than they

 would have paid in an otherwise competitive market.

           1144. As a direct and proximate cause of the unlawful conduct alleged above, the

 general economies of the Plaintiff States have sustained injury and the Plaintiff States are

 threatened with continuing injury to their business and property unless Defendants are enjoined

 from continuing their unlawful conduct.

           1145. Plaintiff States do not have an adequate remedy at law.

           1146. All conditions precedent necessary to the filing of this action have been fulfilled,

 waived or excused.

 VIII. CAUSES OF ACTION

   COUNT ONE (BY ALL PLAINTIFF STATES AGAINST DEFENDANT TEVA, AND
 AGAINST ALL OTHER CORPORATE DEFENDANTS UNDER JOINT AND SEVERAL
  LIABILITY) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS AND FIX
         PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF
                     SECTION 1 OF THE SHERMAN ACT

           1147. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

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        1148. Defendant Teva entered into agreements with various competitors to allocate and

 divide customers and markets for various generic drugs in accordance with the principles of fair

 share discussed above, and to fix and raise prices, and rig bids, for numerous generic drugs. The

 details regarding these anticompetitive agreements are discussed throughout this Complaint. The

 generic drugs subject to these market allocation and price-fixing agreements include at least the

 following:

        Adapalene Gel
        Amiloride HCL/HCTZ Tablets
        Amoxicillin/Clavulanate Chewable Tablets
        Amphetamine/Dextroamphetamine ER (aka Mixed Amphetamine Salts)
        Amphetamine/Dextroamphetamine IR
        Azithromycin Oral Suspension
        Azithromycin Suspension
        Baclofen Tablets
        Bethanechol Chloride Tablets
        Budesonide DR Capsules
        Budesonide Inhalation
        Bumetanide Tablets
        Buspirone Hydrochloride Tablets
        Cabergoline
        Capecitabine
        Carbamazepine Chewable Tablets
        Carbamazepine Tablets
        Cefdinir Capsules
        Cefdinir Oral Suspension
        Cefprozil Tablets
        Celecoxib
        Cephalexin Suspension
        Cimetidine Tablets
        Ciprofloxacin HCL Tablets
        Clarithromycin ER Tablets
        Clemastine Fumarate Tablets
        Clonidine TTS Patch
        Clotrimazole Topical Solution
        Cyproheptadine HCL Tablets
        Desmopressin Acetate Tablets
        Desogestrel/Ethinyl Estradiol Tablets (Kariva)
        Dexmethylphenidate HCL ER Capsules
        Dextroamphetamine Sulfate ER
        Diclofenac Potassium Tablets
        Dicloxacillin Sodium Capsules

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       Diflunisal Tablets
       Diltiazem HCL Tablets
       Disopyramide Phosphate Capsules
       Doxazosin Mesylate Tablets
       Drospirenone and ethinyl estradiol (Ocella)
       Enalapril Maleate Tablets
       Entecavir
       Epitol Tablets
       Estazolam Tablets
       Estradiol Tablets
       Ethinyl estradiol and levonorgestrel (Portia and Jolessa)
       Ethosuximide Capsules
       Ethosuximide Oral Solution
       Etodolac ER Tablets
       Etodolac Tablets
       Fenofibrate
       Fluconazole Tablets
       Fluocinonide Cream
       Fluocinonide Emollient Cream
       Fluocinonide Gel
       Fluocinonide Ointment
       Fluoxetine HCL Tablets
       Flurbiprofen Tablets
       Flutamide Capsules
       Fluvastatin Sodium Capsules
       Gabapentin Tablets
       Glimepiride Tablets
       Griseofulvin Suspension
       Hydroxyurea Capsules
       Hydroxyzine Pamoate Capsules
       Irbesartan
       Isoniazid
       Ketoconazole Cream
       Ketoconazole Tablets
       Ketoprofen Capsules
       Ketorolac Tromethamine Tablets
       Labetalol HCL Tablets
       Lamivudine/Zidovudine (generic Combivir)
       Loperamide HCL Capsules
       Medroxyprogesterone Tablets
       Methotrexate Tablets
       Mimvey (Estradiol/Norethindrone Acetate) Tablets
       Moexipril HCL Tablets
       Moexipril HCL/HCTZ Tablets
       Nabumetone Tablets
       Nadolol Tablets
       Niacin ER Tablets

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        Nitrofurantoin MAC Capsules
        Norethindrone/ethinyl estradiol (Balziva)
        Norethindrone Acetate
        Nortriptyline Hydrochloride Capsules
        Omega-3-Acid Ethyl Esters
        Oxaprozin Tablets
        Oxybutynin Chloride Tablets
        Paricalcitol
        Penicillin VK Tablets
        Pentoxifylline Tablets
        Piroxicam
        Pravastatin Sodium Tablets
        Prazosin HCL Capsules
        Prochlorperazine Tablets
        Propranolol HCL Tablets
        Raloxifene HCL Tablets
        Ranitidine HCL Tablets
        Tamoxifen Citrate Tablets
        Temozolomide
        Tobramycin
        Tolmetin Sodium Capsules
        Tolterodine ER
        Tolterodine Tartrate
        Topiramate Sprinkle Capsules
        Warfarin Sodium Tablets


        1149. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Teva and its competitors, including each of the Defendants herein. These agreements

 have eliminated any meaningful form of price competition in the market for numerous generic

 drugs, including those identified herein.

        1150. The conspiracies substantially affected and still affect interstate commerce.

        1151. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.




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           1152. As a direct and proximate result of these agreements, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Teva has enjoyed ill-gotten gains from the

 sales of these generic drugs.

           1153. These agreements were part of an overarching conspiracy among all of the

 corporate Defendants named in this Complaint to unreasonably restrain trade in the generic

 pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices for generic

 drugs, including those identified herein. As participants in the overarching conspiracy, the

 corporate Defendants are jointly and severally liable for any harm caused as a result of the

 conspiracy.

 COUNT TWO (BY ALL PLAINTIFF STATES AGAINST DEFENDANT MYLAN, AND
 AGAINST ALL OTHER CORPORATE DEFENDANTS UNDER JOINT AND SEVERAL
  LIABILITY) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS AND FIX
         PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF
                     SECTION 1 OF THE SHERMAN ACT

           1154. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1155. Defendant Mylan entered into agreements with Teva and various other

 competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the principles of fair share discussed above, and to fix and raise prices, and rig

 bids, for numerous generic drugs. The details regarding these anticompetitive agreements are

 discussed throughout this Complaint. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                             Amiloride HCL/HCTZ Tablets
                             Benazepril HCTZ
                             Budesonide DR Capsules

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                           Buspirone Hydrochloride Tablets
                           Capecitabine
                           Cimetidine Tablets
                           Clomipramine HCL
                           Clonidine TTS Patch
                           Diclofenac Potassium Tablets
                           Diltiazem HCL Tablets
                           Doxazosin Mesylate Tablets
                           Enalapril Maleate Tablets
                           Estradiol Tablets
                           Fenofibrate
                           Fluoxetine HCL Tablets
                           Flurbiprofen Tablets
                           Fluvastatin Sodium Capsules
                           Haloperidol
                           Ketoconazole Tablets
                           Ketoprofen Capsules
                           Ketorolac Tromethamine Tablets
                           Levothyroxine
                           Loperamide HCL Capsules
                           Methotrexate Tablets
                           Nadolol Tablets
                           Nitrofurantoin MAC Capsules
                           Pentoxifylline Tablets
                           Prazosin HCL Capsules
                           Prochlorperazine Tablets
                           Propranolol HCL Tablets
                           Tamoxifen Citrate Tablets
                           Tizanidine
                           Tolmetin Sodium Capsules
                           Tolterodine ER
                           Trifluoperazine HCL
                           Valsartan HCTZ

        1156. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Mylan and its competitors, including many of the corporate Defendants herein. These

 agreements have eliminated any meaningful form of price competition in the market for

 numerous generic drugs, including those identified herein.

        1157. The conspiracies substantially affected and still affect interstate commerce.


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           1158. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

           1159. As a direct and proximate result of these agreements, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Mylan has enjoyed ill-gotten gains from the

 sales of these generic drugs.

           1160. These agreements were part of an overarching conspiracy among all of the

 corporate Defendants named in this Complaint to unreasonably restrain trade in the generic

 pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices for generic

 drugs, including those identified herein. As participants in the overarching conspiracy, the

 corporate Defendants are jointly and severally liable for any harm caused as a result of the

 conspiracy.

  COUNT THREE (BY ALL PLAINTIFF STATES AGAINST DEFENDANT SANDOZ,
   AND AGAINST ALL OTHER CORPORATE DEFENDANTS UNDER JOINT AND
 SEVERAL LIABILITY) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS
     AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF
                    SECTION 1 OF THE SHERMAN ACT

           1161. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1162. Defendant Sandoz entered into agreements with Teva and various other

 competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the principles of fair share discussed above, and to fix and raise prices, and rig

 bids, for numerous generic drugs. The details regarding these anticompetitive agreements are




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 discussed throughout this Complaint. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                         Amoxicillin/Clavulanate Chewable Tablets
                         Benazepril HCTZ
                         Bumetanide Tablets
                         Cefdinir Capsules
                         Cefdinir Oral Suspension
                         Cefprozil Tablets
                         Clemastine Fumarate Tablets
                         Clomipramine HCL
                         Dexmethylphenidate HCL ER Capsules
                         Diclofenac Potassium Tablets
                         Dicloxacillin Sodium Capsules
                         Ethinyl estradiol and levonorgestrel (Portia and Jolessa)
                         Etodolac Tablets
                         Fluocinonide Emollient Cream
                         Fluocinonide Gel
                         Haloperidol
                         Isoniazid
                         Hydroxyzine Pamoate Capsules
                         Ketoconazole Cream
                         Labetalol HCL Tablets
                         Levothyroxine
                         Nabumetone Tablets
                         Nadolol Tablets
                         Penicillin VK Tablets
                         Prochlorperazine Tablets
                         Ranitidine HCL Tablets
                         Temozolomide
                         Tizanidine
                         Tobramycin
                         Trifluoperazine HCL
                         Valsartan HCTZ

        1163. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Sandoz and its competitors, including many of the corporate Defendants herein.

 These agreements have eliminated any meaningful form of price competition in the market for

 numerous generic drugs, including those identified herein.


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           1164. The conspiracies substantially affected and still affect interstate commerce.

           1165. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

           1166. As a direct and proximate result of these agreements, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Sandoz has enjoyed ill-gotten gains from the

 sales of these generic drugs.

           1167. These agreements were part of an overarching conspiracy among all of the

 corporate Defendants named in this Complaint to unreasonably restrain trade in the generic

 pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices for generic

 drugs, including those identified herein. As participants in the overarching conspiracy, the

 corporate Defendants are jointly and severally liable for any harm caused as a result of the

 conspiracy.

  COUNT FOUR (BY ALL PLAINTIFF STATES AGAINST DEFENDANT ACTAVIS,
   AND AGAINST ALL OTHER CORPORATE DEFENDANTS UNDER JOINT AND
 SEVERAL LIABILITY) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS
     AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF
                    SECTION 1 OF THE SHERMAN ACT

           1168. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1169. Defendant Actavis entered into agreements with Teva and various other

 competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the principles of fair share discussed above, and to fix and raise prices, and rig

 bids, for numerous generic drugs. The details regarding these anticompetitive agreements are

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 discussed throughout this Complaint. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

        Amphetamine/Dextroamphetamine ER (aka Mixed Amphetamine Salts)
        Amphetamine/Dextroamphetamine IR
        Budesonide Inhalation
        Buspirone Hydrochloride Tablets
        Celecoxib
        Ciprofloxacin HCL Tablets
        Clarithromycin ER Tablets
        Clonidine TTS Patch
        Desmopressin Acetate Tablets
        Dextroamphetamine Sulfate ER
        Disopyramide Phosphate Capsules
        Drospirenone and ethinyl estradiol (Ocella)
        Estazolam Tablets
        Estradiol Tablets
        Flutamide Capsules
        Griseofulvin Suspension
        Hydroxyzine Pamoate Capsules
        Nabumetone Tablets
        Nortriptyline Hydrochloride Capsules
        Propranolol HCL Tablets
        Tamoxifen Citrate Tablets
        Topiramate Sprinkle Capsules


        1170. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Actavis and its competitors, including many of the corporate Defendants herein.

 These agreements have eliminated any meaningful form of price competition in the market for

 numerous generic drugs, including those identified herein.

        1171. The conspiracies substantially affected and still affect interstate commerce.

        1172. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.




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           1173. As a direct and proximate result of these agreements, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Actavis has enjoyed ill-gotten gains from the

 sales of these generic drugs.

           1174. These agreements were part of an overarching conspiracy among all of the

 corporate Defendants named in this Complaint to unreasonably restrain trade in the generic

 pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices for generic

 drugs, including those identified herein. As participants in the overarching conspiracy, the

 corporate Defendants are jointly and severally liable for any harm caused as a result of the

 conspiracy.

  COUNT FIVE (BY ALL PLAINTIFF STATES AGAINST DEFENDANT TARO, AND
 AGAINST ALL OTHER CORPORATE DEFENDANTS UNDER JOINT AND SEVERAL
  LIABILITY) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS AND FIX
         PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF
                     SECTION 1 OF THE SHERMAN ACT

           1175. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1176. Defendant Taro entered into agreements with Teva and various other competitors

 to allocate and divide customers and markets for various generic drugs in accordance with the

 principles of fair share discussed above, and to fix and raise prices, and rig bids, for numerous

 generic drugs. The details regarding these anticompetitive agreements are discussed throughout

 this Complaint. The generic drugs subject to these market allocation and price-fixing agreements

 include at least the following:

                                 Adapalene Gel
                                 Carbamazepine Chewable Tablets
                                 Carbamazepine Tablets

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                                 Clomipramine HCL
                                 Clotrimazole Topical Solution
                                 Enalapril Maleate Tablets
                                 Epitol Tablets
                                 Etodolac ER Tablets
                                 Etodolac Tablets
                                 Fluocinonide Cream
                                 Fluocinonide Emollient Cream
                                 Fluocinonide Gel
                                 Fluocinonide Ointment
                                 Ketoconazole Cream
                                 Ketoconazole Tablets
                                 Nortriptyline Hydrochloride Capsules
                                 Warfarin Sodium Tablets

        1177. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Taro and its competitors, including many of the corporate Defendants herein. These

 agreements have eliminated any meaningful form of price competition in the market for

 numerous generic drugs, including those identified herein.

        1178. The conspiracies substantially affected and still affect interstate commerce.

        1179. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

        1180. As a direct and proximate result of these agreements, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Taro has enjoyed ill-gotten gains from the

 sales of these generic drugs.

        1181. These agreements were part of an overarching conspiracy among all of the

 corporate Defendants named in this Complaint to unreasonably restrain trade in the generic


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 pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices for generic

 drugs, including those identified herein. As participants in the overarching conspiracy, the

 corporate Defendants are jointly and severally liable for any harm caused as a result of the

 conspiracy.

  COUNT SIX (BY ALL PLAINTIFF STATES AGAINST DEFENDANT GLENMARK,
   AND AGAINST ALL OTHER CORPORATE DEFENDANTS UNDER JOINT AND
 SEVERAL LIABILITY) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS
     AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF
                    SECTION 1 OF THE SHERMAN ACT

           1182. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1183. Defendant Glenmark entered into agreements with Teva and various other

 competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the principles of fair share discussed above, and to fix and raise prices, and rig

 bids, for numerous generic drugs. The details regarding these anticompetitive agreements are

 discussed throughout this Complaint. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                            Adapalene Gel
                            Desogestrel/Ethinyl Estradiol Tablets (Kariva)
                            Fluconazole Tablets
                            Gabapentin Tablets
                            Moexipril HCL Tablets
                            Moexipril HCL/HCTZ Tablets
                            Nabumetone Tablets
                            Norethindrone Acetate
                            Pravastatin Sodium Tablets
                            Ranitidine HCL Tablets

           1184. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Glenmark and its competitors, including many of the corporate Defendants herein.


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 These agreements have eliminated any meaningful form of price competition in the market for

 numerous generic drugs, including those identified herein.

           1185. The conspiracies substantially affected and still affect interstate commerce.

           1186. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

           1187. As a direct and proximate result of these agreements, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Glenmark has enjoyed ill-gotten gains from

 the sales of these generic drugs.

           1188. These agreements were part of an overarching conspiracy among all of the

 corporate Defendants named in this Complaint to unreasonably restrain trade in the generic

 pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices for generic

 drugs, including those identified herein. As participants in the overarching conspiracy, the

 corporate Defendants are jointly and severally liable for any harm caused as a result of the

 conspiracy.

 COUNT SEVEN (BY ALL PLAINTIFF STATES AGAINST DEFENDANT LUPIN, AND
 AGAINST ALL OTHER CORPORATE DEFENDANTS UNDER JOINT AND SEVERAL
  LIABILITY) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS AND FIX
         PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF
                     SECTION 1 OF THE SHERMAN ACT

           1189. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1190. Defendant Lupin entered into agreements with Teva and various other

 competitors to allocate and divide customers and markets for various generic drugs in

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 accordance with the principles of fair share discussed above, and to fix and raise prices, and rig

 bids, for numerous generic drugs. The details regarding these anticompetitive agreements are

 discussed throughout this Complaint. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                            Cefdinir Capsules
                            Cefdinir Oral Suspension
                            Cefprozil Tablets
                            Cephalexin Suspension
                            Drospirenone and ethinyl estradiol (Ocella)
                            Fenofibrate
                            Irbesartan
                            Lamivudine/Zidovudine (generic Combivir)
                            Niacin ER Tablets
                            Norethindrone/ethinyl estradiol (Balziva)
                            Pravastatin Sodium Tablets

        1191. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Lupin and its competitors, including many of the corporate Defendants herein. These

 agreements have eliminated any meaningful form of price competition in the market for

 numerous generic drugs, including those identified herein.

        1192. The conspiracies substantially affected and still affect interstate commerce.

        1193. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

        1194. As a direct and proximate result of these agreements, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Lupin has enjoyed ill-gotten gains from the



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 sales of these generic drugs.

           1195. These agreements were part of an overarching conspiracy among all of the

 corporate Defendants named in this Complaint to unreasonably restrain trade in the generic

 pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices for generic

 drugs, including those identified herein. As participants in the overarching conspiracy, the

 corporate Defendants are jointly and severally liable for any harm caused as a result of the

 conspiracy.

  COUNT EIGHT (BY ALL PLAINTIFF STATES AGAINST DEFENDANT AMNEAL,
   AND AGAINST ALL OTHER CORPORATE DEFENDANTS UNDER JOINT AND
 SEVERAL LIABILITY) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS
     AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF
                    SECTION 1 OF THE SHERMAN ACT

           1196. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1197. Defendant Amneal entered into agreements with Teva and various other

 competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the principles of fair share discussed above, and to fix and raise prices, and rig

 bids, for certain generic drugs. The details regarding these anticompetitive agreements are

 discussed throughout this Complaint. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                                 Bethanechol Chloride Tablets
                                 Norethindrone Acetate
                                 Ranitidine HCL Tablets

           1198. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Amneal and its competitors, including many of the corporate Defendants herein.




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 These agreements have eliminated any meaningful form of price competition in the market for

 certain generic drugs, including those identified herein.

           1199. The conspiracies substantially affected and still affect interstate commerce.

           1200. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

           1201. As a direct and proximate result of these agreements, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for certain generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Amneal has enjoyed ill-gotten gains from the

 sales of these generic drugs.

           1202. These agreements were part of an overarching conspiracy among all of the

 corporate Defendants named in this Complaint to unreasonably restrain trade in the generic

 pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices for generic

 drugs, including those identified herein. As participants in the overarching conspiracy, the

 corporate Defendants are jointly and severally liable for any harm caused as a result of the

 conspiracy.

 COUNT NINE (BY ALL PLAINTIFF STATES AGAINST DEFENDANT APOTEX, AND
 AGAINST ALL OTHER CORPORATE DEFENDANTS UNDER JOINT AND SEVERAL
  LIABILITY) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS AND FIX
         PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF
                     SECTION 1 OF THE SHERMAN ACT

           1203. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1204. Defendant Apotex entered into agreements with Teva and various other

 competitors to allocate and divide customers and markets for various generic drugs in

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 accordance with the principles of fair share discussed above, and to fix and raise prices, and rig

 bids, for certain generic drugs. The details regarding these anticompetitive agreements are

 discussed throughout this Complaint. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                                 Carbamazepine Tablets
                                 Doxazosin Mesylate Tablets
                                 Epitol Tablets
                                 Pentoxifylline Tablets
                                 Pravastatin Sodium Tablets

        1205. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Apotex and its competitors, including many of the corporate Defendants herein.

 These agreements have eliminated any meaningful form of price competition in the market for

 certain generic drugs, including those identified herein.

        1206. The conspiracies substantially affected and still affect interstate commerce.

        1207. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

        1208. As a direct and proximate result of these agreements, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for certain generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Apotex has enjoyed ill-gotten gains from the

 sales of these generic drugs.

        1209. These agreements were part of an overarching conspiracy among all of the

 corporate Defendants named in this Complaint to unreasonably restrain trade in the generic




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 pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices for generic

 drugs, including those identified herein. As participants in the overarching conspiracy, the

 corporate Defendants are jointly and severally liable for any harm caused as a result of the

 conspiracy.

 COUNT TEN (BY ALL PLAINTIFF STATES AGAINST DEFENDANT AUROBINDO,
   AND AGAINST ALL OTHER CORPORATE DEFENDANTS UNDER JOINT AND
 SEVERAL LIABILITY) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS
     AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF
                    SECTION 1 OF THE SHERMAN ACT

           1210. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1211. Defendant Aurobindo entered into agreements with Teva and various other

 competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the principles of fair share discussed above, and to fix and raise prices, and rig

 bids, for certain generic drugs. The details regarding these anticompetitive agreements are

 discussed throughout this Complaint. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                              Amphetamine/Dextroamphetamine IR
                              Lamivudine/Zidovudine (generic Combivir)
                              Penicillin VK Tablets

           1212. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Aurobindo and its competitors, including many of the corporate Defendants herein.

 These agreements have eliminated any meaningful form of price competition in the market for

 certain generic drugs, including those identified herein.

           1213. The conspiracies substantially affected and still affect interstate commerce.




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           1214. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

           1215. As a direct and proximate result of these agreements, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for certain generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Aurobindo has enjoyed ill-gotten gains from

 the sales of these generic drugs.

           1216. These agreements were part of an overarching conspiracy among all of the

 corporate Defendants named in this Complaint to unreasonably restrain trade in the generic

 pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices for generic

 drugs, including those identified herein. As participants in the overarching conspiracy, the

 corporate Defendants are jointly and severally liable for any harm caused as a result of the

 conspiracy.

      COUNT ELEVEN (BY ALL PLAINTIFF STATES AGAINST DEFENDANT
    BRECKENRIDGE, AND AGAINST ALL OTHER CORPORATE DEFENDANTS
   UNDER JOINT AND SEVERAL LIABILITY) – HORIZONTAL CONSPIRACY TO
   ALLOCATE MARKETS AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN
             VIOLATION OF SECTION 1 OF THE SHERMAN ACT

           1217. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1218. Defendant Breckenridge entered into agreements with Teva and various other

 competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the principles of fair share discussed above, and to fix and raise prices, and rig

 bids, for certain generic drugs. The details regarding these anticompetitive agreements are




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 discussed throughout this Complaint. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                       Cyproheptadine HCL Tablets
                       Mimvey (Estradiol/Norethindrone Acetate) Tablets

        1219. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Breckenridge and its competitors, including many of the corporate Defendants herein.

 These agreements have eliminated any meaningful form of price competition in the market for

 certain generic drugs, including those identified herein.

        1220. The conspiracies substantially affected and still affect interstate commerce.

        1221. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

        1222. As a direct and proximate result of these agreements, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for certain generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Breckenridge has enjoyed ill-gotten gains

 from the sales of these generic drugs.

        1223. These agreements were part of an overarching conspiracy among all of the

 corporate Defendants named in this Complaint to unreasonably restrain trade in the generic

 pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices for generic

 drugs, including those identified herein. As participants in the overarching conspiracy, the

 corporate Defendants are jointly and severally liable for any harm caused as a result of the

 conspiracy.



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      COUNT TWELVE (BY ALL PLAINTIFF STATES AGAINST DEFENDANT
  DR. REDDY'S, AND AGAINST ALL OTHER CORPORATE DEFENDANTS UNDER
 JOINT AND SEVERAL LIABILITY) – HORIZONTAL CONSPIRACY TO ALLOCATE
  MARKETS AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION
                   OF SECTION 1 OF THE SHERMAN ACT

           1224. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1225. Defendant Dr. Reddy's entered into agreements with Teva and various other

 competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the principles of fair share discussed above, and to fix and raise prices, and rig

 bids, for certain generic drugs. The details regarding these anticompetitive agreements are

 discussed throughout this Complaint. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                                Ciprofloxacin HCL Tablets
                                Glimepiride Tablets
                                Oxaprozin Tablets
                                Paricalcitol
                                Tizanidine

           1226. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Dr. Reddy's and its competitors, including many of the corporate Defendants herein.

 These agreements have eliminated any meaningful form of price competition in the market for

 certain generic drugs, including those identified herein.

           1227. The conspiracies substantially affected and still affect interstate commerce.

           1228. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.




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           1229. As a direct and proximate result of these agreements, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for certain generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Dr. Reddy's has enjoyed ill-gotten gains from

 the sales of these generic drugs.

           1230. These agreements were part of an overarching conspiracy among all of the

 corporate Defendants named in this Complaint to unreasonably restrain trade in the generic

 pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices for generic

 drugs, including those identified herein. As participants in the overarching conspiracy, the

 corporate Defendants are jointly and severally liable for any harm caused as a result of the

 conspiracy.

 COUNT THIRTEEN (BY ALL PLAINTIFF STATES AGAINST DEFENDANTS PFIZER
   AND GREENSTONE, AND AGAINST ALL OTHER CORPORATE DEFENDANTS
   UNDER JOINT AND SEVERAL LIABILITY) – HORIZONTAL CONSPIRACY TO
    ALLOCATE MARKETS AND FIX PRICES FOR MULTIPLE GENERIC DRUGS
            IN VIOLATION OF SECTION 1 OF THE SHERMAN ACT

           1231. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1232. Defendant Pfizer, acting through its wholly-owned subsidiary and alter ego,

 Defendant Greenstone, entered into agreements with Teva and various other competitors to

 allocate and divide customers and markets for various generic drugs in accordance with the

 principles of fair share discussed above, and to fix and raise prices, and rig bids, for numerous

 generic drugs. The details regarding these anticompetitive agreements are discussed throughout

 this Complaint. The generic drugs subject to these market allocation and price-fixing agreements

 include at least the following:




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                              Azithromycin Oral Suspension
                              Azithromycin Suspension
                              Cabergoline
                              Fluconazole Tablets
                              Medroxyprogesterone Tablets
                              Oxaprozin Tablets
                              Penicillin VK Tablets
                              Piroxicam
                              Tolterodine Tartrate


        1233. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendants Pfizer and Greenstone and their competitors, including many of the corporate

 Defendants herein. These agreements have eliminated any meaningful form of price competition

 in the market for numerous generic drugs, including those identified herein.

        1234. The conspiracies substantially affected and still affect interstate commerce.

        1235. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

        1236. As a direct and proximate result of these agreements, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendants Pfizer and Greenstone have enjoyed ill-

 gotten gains from the sales of these generic drugs.

        1237. These agreements were part of an overarching conspiracy among all of the

 corporate Defendants named in this Complaint to unreasonably restrain trade in the generic

 pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices for generic

 drugs, including those identified herein. As participants in the overarching conspiracy, the


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 corporate Defendants are jointly and severally liable for any harm caused as a result of the

 conspiracy.

    COUNT FOURTEEN (BY ALL PLAINTIFF STATES AGAINST DEFENDANT
   LANNETT, AND AGAINST ALL OTHER CORPORATE DEFENDANTS UNDER
 JOINT AND SEVERAL LIABILITY) – HORIZONTAL CONSPIRACY TO ALLOCATE
  MARKETS AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION
                 OF SECTION 1 OF THE SHERMAN ACT

           1238. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1239. Defendant Lannett entered into agreements with Teva and various other

 competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the principles of fair share discussed above, and to fix and raise prices, and rig

 bids, for certain generic drugs. The details regarding these anticompetitive agreements are

 discussed throughout this Complaint. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                                Baclofen Tablets
                                Levothyroxine

           1240. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Lannett and its competitors, including many of the corporate Defendants herein.

 These agreements have eliminated any meaningful form of price competition in the market for

 certain generic drugs, including those identified herein.

           1241. The conspiracies substantially affected and still affect interstate commerce.

           1242. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.



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           1243. As a direct and proximate result of these agreements, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for certain generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Lannett has enjoyed ill-gotten gains from the

 sales of these generic drugs.

           1244. These agreements were part of an overarching conspiracy among all of the

 corporate Defendants named in this Complaint to unreasonably restrain trade in the generic

 pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices for generic

 drugs, including those identified herein. As participants in the overarching conspiracy, the

 corporate Defendants are jointly and severally liable for any harm caused as a result of the

 conspiracy.

 COUNT FIFTEEN (BY ALL PLAINTIFF STATES AGAINST DEFENDANT PAR, AND
 AGAINST ALL OTHER CORPORATE DEFENDANTS UNDER JOINT AND SEVERAL
  LIABILITY) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS AND FIX
         PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF
                     SECTION 1 OF THE SHERMAN ACT

           1245. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1246. Defendant Par entered into agreements with Teva and various other competitors

 to allocate and divide customers and markets for various generic drugs in accordance with the

 principles of fair share discussed above, and to fix and raise prices, and rig bids, for certain

 generic drugs. The details regarding these anticompetitive agreements are discussed throughout

 this Complaint. The generic drugs subject to these market allocation and price-fixing agreements

 include at least the following:

                                 Budesonide DR Capsules




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                              Entecavir
                              Fluoxetine HCL Tablets
                              Flutamide Capsules
                              Hydroxyurea Capsules
                              Labetalol HCL Tablets
                              Omega-3-Acid Ethyl Esters

        1247. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Par and its competitors, including many of the corporate Defendants herein. These

 agreements have eliminated any meaningful form of price competition in the market for certain

 generic drugs, including those identified herein.

        1248. The conspiracies substantially affected and still affect interstate commerce.

        1249. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

        1250. As a direct and proximate result of these agreements, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for certain generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Par has enjoyed ill-gotten gains from the sales

 of these generic drugs.

        1251. These agreements were part of an overarching conspiracy among all of the

 corporate Defendants named in this Complaint to unreasonably restrain trade in the generic

 pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices for generic

 drugs, including those identified herein. As participants in the overarching conspiracy, the

 corporate Defendants are jointly and severally liable for any harm caused as a result of the

 conspiracy.


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     COUNT SIXTEEN (BY ALL PLAINTIFF STATES AGAINST DEFENDANT
 UPSHER-SMITH, AND AGAINST ALL OTHER CORPORATE DEFENDANTS UNDER
 JOINT AND SEVERAL LIABILITY) – HORIZONTAL CONSPIRACY TO ALLOCATE
        MARKETS AND FIX PRICES FOR MULTIPLE GENERIC DRUGS
            IN VIOLATION OF SECTION 1 OF THE SHERMAN ACT

           1252. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1253. Defendant Upsher-Smith entered into agreements with Teva and various other

 competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the principles of fair share discussed above, and to fix and raise prices, and rig

 bids, for certain generic drugs. The details regarding these anticompetitive agreements are

 discussed throughout this Complaint. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                                Baclofen Tablets
                                Oxybutynin Chloride Tablets

           1254. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Upsher-Smith and its competitors, including many of the corporate Defendants

 herein. These agreements have eliminated any meaningful form of price competition in the

 market for certain generic drugs, including those identified herein.

           1255. The conspiracies substantially affected and still affect interstate commerce.

           1256. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

           1257. As a direct and proximate result of these agreements, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because



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 they have had to purchase or reimburse for certain generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Upsher-Smith has enjoyed ill-gotten gains

 from the sales of these generic drugs.

           1258. These agreements were part of an overarching conspiracy among all of the

 corporate Defendants named in this Complaint to unreasonably restrain trade in the generic

 pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices for generic

 drugs, including those identified herein. As participants in the overarching conspiracy, the

 corporate Defendants are jointly and severally liable for any harm caused as a result of the

 conspiracy.

    COUNT SEVENTEEN (BY ALL PLAINTIFF STATES AGAINST DEFENDANT
  WOCKHARDT, AND AGAINST ALL OTHER CORPORATE DEFENDANTS UNDER
 JOINT AND SEVERAL LIABILITY) – HORIZONTAL CONSPIRACY TO ALLOCATE
     MARKETS AND FIX PRICES FOR ENALAPRIL MALEATE TABLETS IN
             VIOLATION OF SECTION 1 OF THE SHERMAN ACT

           1259. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1260. Defendant Wockhardt entered into agreements with Teva and various other

 competitors to allocate and divide customers within the market for the generic drug Enalapril

 Maleate Tablets in accordance with the principles of fair share discussed above, and to fix and

 raise prices, and rig bids, for that drug on multiple occasions. The details regarding these

 anticompetitive agreements are discussed throughout this Complaint.

           1261. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Wockhardt and its competitors, including many of the corporate Defendants herein.

 These agreements have eliminated any meaningful form of price competition in the market for

 Enalapril Maleate Tablets.

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           1262. The conspiracies substantially affected and still affect interstate commerce.

           1263. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

           1264. As a direct and proximate result of these agreements, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for Enalapril Maleate Tablets at supra-competitive

 prices, and Defendant Wockhardt has enjoyed ill-gotten gains from the sales of that drug.

           1265. These agreements were part of an overarching conspiracy among all of the

 corporate Defendants named in this Complaint to unreasonably restrain trade in the generic

 pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices for generic

 drugs, including those identified herein. As participants in the overarching conspiracy, the

 corporate Defendants are jointly and severally liable for any harm caused as a result of the

 conspiracy.

 COUNT EIGHTEEN (BY ALL PLAINTIFF STATES AGAINST DEFENDANT ZYDUS,
   AND AGAINST ALL OTHER CORPORATE DEFENDANTS UNDER JOINT AND
 SEVERAL LIABILITY) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS
     AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF
                    SECTION 1 OF THE SHERMAN ACT

           1266. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1267. Defendant Zydus entered into agreements with Teva and various other

 competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the principles of fair share discussed above, and to fix and raise prices, and rig

 bids, for numerous generic drugs. The details regarding these anticompetitive agreements are

 discussed throughout this Complaint. The generic drugs subject to these market allocation and

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 price-fixing agreements include at least the following:

                                 Clarithromycin ER Tablets
                                 Etodolac ER Tablets
                                 Fenofibrate
                                 Niacin ER Tablets
                                 Paricalcitol
                                 Pravastatin Sodium Tablets
                                 Topiramate Sprinkle Capsules
                                 Warfarin Sodium Tablets

        1268. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Zydus and its competitors, including many of the corporate Defendants herein. These

 agreements have eliminated any meaningful form of price competition in the market for

 numerous generic drugs, including those identified herein.

        1269. The conspiracies substantially affected and still affect interstate commerce.

        1270. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

        1271. As a direct and proximate result of these agreements, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Zydus has enjoyed ill-gotten gains from the

 sales of these generic drugs.

        1272. These agreements were part of an overarching conspiracy among all of the

 corporate Defendants named in this Complaint to unreasonably restrain trade in the generic

 pharmaceutical industry, and to artificially fix, raise, stabilize and control the prices for generic

 drugs, including those identified herein. As participants in the overarching conspiracy, the


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 corporate Defendants are jointly and severally liable for any harm caused as a result of the

 conspiracy.

      COUNT NINETEEN (BY CERTAIN PLAINTIFF STATES 11 AGAINST DEFENDANT
      ARA APRAHAMIAN) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS
         AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF
                        SECTION 1 OF THE SHERMAN ACT

           1273. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1274. Beginning at least as early as 2013, Defendant Aprahamian took active steps to

 facilitate market allocation and price fixing agreements between Defendant Taro and its

 competitors involving numerous generic drugs, as discussed herein.

           1275. Defendant Aprahamian participated directly in these conspiracies by

 communicating with competitors about market entry, loss of exclusivity, price increases, supply

 disruptions, and other significant markets events affecting Defendant Taro and its competitors.

           1276. These communications resulted in agreements between Defendant Taro and

 various competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the fair share principles discussed above, and to fix and raise prices, and rig

 bids, for numerous generic drugs. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                                Adapalene Gel
                                Carbamazepine Chewable Tablets
                                Carbamazepine Tablets
                                Clomipramine HCL
                                Clotrimazole Topical Solution
                                Enalapril Maleate Tablets
                                Epitol Tablets
                                Etodolac ER Tablets
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   All Plaintiff States join in Counts Nineteen through Thirty-Four against the Individual
 Defendants except: District of Columbia, Florida, New Hampshire, New York, Tennessee, and
 Wisconsin.

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                              Etodolac Tablets
                              Fluocinonide Cream
                              Fluocinonide Emollient Cream
                              Fluocinonide Gel
                              Fluocinonide Ointment
                              Ketoconazole Cream
                              Ketoconazole Tablets
                              Nortriptyline Hydrochloride Capsules
                              Warfarin Sodium Tablets

        1277. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Taro and its competitors. These agreements have eliminated any meaningful form of

 price competition in the market for numerous generic drugs, including those identified herein.

        1278. The conspiracies substantially affected and still affect interstate commerce.

        1279. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

        1280. As a direct and proximate result of this ongoing conspiracy, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Aprahamian has personally enjoyed ill-gotten

 gains from the sales of these generic drugs.

        1281. As a participant in the agreements identified above, Defendant Aprahamian is

 jointly and severally liable for any harm caused as a result of those conspiracies.

    COUNT TWENTY (BY CERTAIN PLAINTIFF STATES AGAINST DEFENDANT
   DAVID BERTHOLD) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS
      AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF
                     SECTION 1 OF THE SHERMAN ACT




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           1282. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1283. Beginning at least as early as 2012, Defendant Berthold took active steps to

 facilitate market allocation and price fixing agreements between Defendant Lupin and its

 competitors involving numerous generic drugs, as discussed herein.

           1284. Defendant Berthold participated directly in these conspiracies by communicating

 with competitors about market entry, loss of exclusivity, price increases, supply disruptions, and

 other significant markets events affecting Defendant Lupin and its competitors.

           1285. These communications resulted in agreements between Defendant Lupin and

 various competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the fair share principles discussed above, and to fix and raise prices, and rig

 bids, for numerous generic drugs. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                             Cefdinir Capsules
                             Cefdinir Oral Suspension
                             Cefprozil Tablets
                             Cephalexin Suspension
                             Drospirenone and ethinyl estradiol (Ocella)
                             Fenofibrate
                             Irbesartan
                             Lamivudine/Zidovudine (generic Combivir)
                             Niacin ER Tablets
                             Norethindrone/ethinyl estradiol (Balziva)
                             Pravastatin Sodium Tablets

           1286. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Lupin and its competitors. These agreements have eliminated any meaningful form of

 price competition in the market for numerous generic drugs, including those identified herein.



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           1287. The conspiracies substantially affected and still affect interstate commerce.

           1288. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

           1289. As a direct and proximate result of this ongoing conspiracy, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Berthold has personally enjoyed ill-gotten

 gains from the sales of these generic drugs.

           1290. As a participant in the agreements identified above, Defendant Berthold is jointly

 and severally liable for any harm caused as a result of those conspiracies.

 COUNT TWENTY-ONE (BY CERTAIN PLAINTIFF STATES AGAINST DEFENDANT
 JAMES (JIM) BROWN) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS
    AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF
                   SECTION 1 OF THE SHERMAN ACT

           1291. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1292. Beginning at least as early as 2013, Defendant Brown took active steps to

 facilitate market allocation and price fixing agreements between Defendant Glenmark and its

 competitors involving numerous generic drugs, as discussed herein.

           1293. Defendant Brown participated directly or indirectly in these conspiracies by

 communicating with competitors, directing others at Glenmark to communicate with

 competitors, or tacitly approving of those communications by other Glenmark employees, about

 market entry, loss of exclusivity, price increases, supply disruptions, and other significant

 markets events affecting Defendant Glenmark and its competitors.



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           1294. These communications resulted in agreements between Defendant Glenmark and

 various competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the fair share principles discussed above, and to fix and raise prices, and rig

 bids, for numerous generic drugs. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                           Adapalene Gel
                           Desogestrel/Ethinyl Estradiol Tablets (Kariva)
                           Fluconazole Tablets
                           Gabapentin Tablets
                           Moexipril HCL Tablets
                           Moexipril HCL/HCTZ Tablets
                           Nabumetone Tablets
                           Norethindrone Acetate
                           Pravastatin Sodium Tablets
                           Ranitidine HCL Tablets

           1295. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Glenmark and its competitors. These agreements have eliminated any meaningful

 form of price competition in the market for numerous generic drugs, including those identified

 herein.

           1296. The conspiracies substantially affected and still affect interstate commerce.

           1297. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

           1298. As a direct and proximate result of this ongoing conspiracy, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified




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 herein, at supra-competitive prices, and Defendant Brown has personally enjoyed ill-gotten gains

 from the sales of these generic drugs.

           1299. As a participant in the agreements identified above, Defendant Brown is jointly

 and severally liable for any harm caused as a result of those conspiracies.

 COUNT TWENTY-TWO (BY CERTAIN PLAINTIFF STATES AGAINST DEFENDANT
    MAUREEN CAVANAUGH) – HORIZONTAL CONSPIRACY TO ALLOCATE
       MARKETS AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN
           VIOLATION OF SECTION 1 OF THE SHERMAN ACT

           1300. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1301. Beginning at least as early as 2012, Defendant Cavanaugh took active steps to

 facilitate market allocation and price fixing agreements between Defendant Teva and its

 competitors involving numerous generic drugs, as discussed herein.

           1302. Defendant Cavanaugh participated directly or indirectly in these conspiracies by

 communicating with competitors, directing others at Teva to communicate with competitors, or

 tacitly approving of those communications by other Teva employees, about market entry, loss of

 exclusivity, price increases, supply disruptions, and other significant markets events affecting

 Defendant Teva and its competitors.

           1303. These communications resulted in agreements between Defendant Teva and

 various competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the fair share principles discussed above, and to fix and raise prices, and rig

 bids, for numerous generic drugs. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

           Adapalene Gel
           Amiloride HCL/HCTZ Tablets
           Amoxicillin/Clavulanate Chewable Tablets



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       Amphetamine/Dextroamphetamine ER (aka Mixed Amphetamine Salts)
       Amphetamine/Dextroamphetamine IR
       Azithromycin Oral Suspension
       Azithromycin Suspension
       Baclofen Tablets
       Bethanechol Chloride Tablets
       Budesonide DR Capsules
       Budesonide Inhalation
       Bumetanide Tablets
       Buspirone Hydrochloride Tablets
       Cabergoline
       Capecitabine
       Carbamazepine Chewable Tablets
       Carbamazepine Tablets
       Cefdinir Capsules
       Cefdinir Oral Suspension
       Cefprozil Tablets
       Celecoxib
       Cephalexin Suspension
       Cimetidine Tablets
       Ciprofloxacin HCL Tablets
       Clarithromycin ER Tablets
       Clemastine Fumarate Tablets
       Clonidine TTS Patch
       Clotrimazole Topical Solution
       Cyproheptadine HCL Tablets
       Desmopressin Acetate Tablets
       Desogestrel/Ethinyl Estradiol Tablets (Kariva)
       Dexmethylphenidate HCL ER Capsules
       Dextroamphetamine Sulfate ER
       Diclofenac Potassium Tablets
       Dicloxacillin Sodium Capsules
       Diflunisal Tablets
       Diltiazem HCL Tablets
       Disopyramide Phosphate Capsules
       Doxazosin Mesylate Tablets
       Drospirenone and ethinyl estradiol (Ocella)
       Enalapril Maleate Tablets
       Entecavir
       Epitol Tablets
       Estazolam Tablets
       Estradiol Tablets
       Ethinyl estradiol and levonorgestrel (Portia and Jolessa)
       Ethosuximide Capsules
       Ethosuximide Oral Solution
       Etodolac ER Tablets
       Etodolac Tablets

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       Fenofibrate
       Fluconazole Tablets
       Fluocinonide Cream
       Fluocinonide Emollient Cream
       Fluocinonide Gel
       Fluocinonide Ointment
       Fluoxetine HCL Tablets
       Flurbiprofen Tablets
       Flutamide Capsules
       Fluvastatin Sodium Capsules
       Gabapentin Tablets
       Glimepiride Tablets
       Griseofulvin Suspension
       Hydroxyurea Capsules
       Hydroxyzine Pamoate Capsules
       Irbesartan
       Isoniazid
       Ketoconazole Cream
       Ketoconazole Tablets
       Ketoprofen Capsules
       Ketorolac Tromethamine Tablets
       Labetalol HCL Tablets
       Lamivudine/Zidovudine (generic Combivir)
       Loperamide HCL Capsules
       Medroxyprogesterone Tablets
       Methotrexate Tablets
       Mimvey (Estradiol/Norethindrone Acetate) Tablets
       Moexipril HCL Tablets
       Moexipril HCL/HCTZ Tablets
       Nabumetone Tablets
       Nadolol Tablets
       Niacin ER Tablets
       Nitrofurantoin MAC Capsules
       Norethindrone/ethinyl estradiol (Balziva)
       Norethindrone Acetate
       Nortriptyline Hydrochloride Capsules
       Omega-3-Acid Ethyl Esters
       Oxaprozin Tablets
       Oxybutynin Chloride Tablets
       Paricalcitol
       Penicillin VK Tablets
       Pentoxifylline Tablets
       Piroxicam
       Pravastatin Sodium Tablets
       Prazosin HCL Capsules
       Prochlorperazine Tablets
       Propranolol HCL Tablets

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        Raloxifene HCL Tablets
        Ranitidine HCL Tablets
        Tamoxifen Citrate Tablets
        Temozolomide
        Tobramycin
        Tolmetin Sodium Capsules
        Tolterodine ER
        Tolterodine Tartrate
        Topiramate Sprinkle Capsules
        Warfarin Sodium Tablets

        1304. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Teva and its competitors. These agreements have eliminated any meaningful form of

 price competition in the market for numerous generic drugs, including those identified herein.

        1305. The conspiracies substantially affected and still affect interstate commerce.

        1306. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

        1307. As a direct and proximate result of this ongoing conspiracy, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Cavanaugh has personally enjoyed ill-gotten

 gains from the sales of these generic drugs.

        1308. As a participant in the agreements identified above, Defendant Cavanaugh is

 jointly and severally liable for any harm caused as a result of those conspiracies.

      COUNT TWENTY-THREE (BY CERTAIN PLAINTIFF STATES AGAINST
    DEFENDANT MARC FALKIN) – HORIZONTAL CONSPIRACY TO ALLOCATE
        MARKETS AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN
             VIOLATION OF SECTION 1 OF THE SHERMAN ACT




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           1309. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1310. Beginning at least as early as 2013, Defendant Falkin took active steps to

 facilitate market allocation and price fixing agreements between Defendant Actavis and its

 competitors involving numerous generic drugs, as discussed herein.

           1311. Defendant Falkin participated directly or indirectly in these conspiracies by

 communicating with competitors, directing others at Actavis to communicate with competitors,

 or tacitly approving of those communications by other Actavis employees, about market entry,

 loss of exclusivity, price increases, supply disruptions, and other significant markets events

 affecting Defendant Actavis and its competitors.

           1312. These communications resulted in agreements between Defendant Actavis and

 various competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the fair share principles discussed above, and to fix and raise prices, and rig

 bids, for numerous generic drugs. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                    Amphetamine/Dextroamphetamine IR
                    Budesonide Inhalation
                    Buspirone Hydrochloride Tablets
                    Celecoxib
                    Ciprofloxacin HCL Tablets
                    Clarithromycin ER Tablets
                    Clonidine TTS Patch
                    Desmopressin Acetate Tablets
                    Dextroamphetamine Sulfate ER
                    Disopyramide Phosphate Capsules
                    Drospirenone and ethinyl estradiol (Ocella)
                    Estazolam Tablets
                    Estradiol Tablets
                    Flutamide Capsules
                    Griseofulvin Suspension
                    Hydroxyzine Pamoate Capsules


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                    Nortriptyline Hydrochloride Capsules
                    Propranolol HCL Tablets
                    Tamoxifen Citrate Tablets
                    Topiramate Sprinkle Capsules

           1313. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Actavis and its competitors. These agreements have eliminated any meaningful form

 of price competition in the market for numerous generic drugs, including those identified herein.

           1314. The conspiracies substantially affected and still affect interstate commerce.

           1315. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

           1316. As a direct and proximate result of this ongoing conspiracy, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Falkin has personally enjoyed ill-gotten gains

 from the sales of these generic drugs.

           1317. As a participant in the agreements identified above, Defendant Falkin is jointly

 and severally liable for any harm caused as a result of those conspiracies.

      COUNT TWENTY-FOUR (BY CERTAIN PLAINTIFF STATES AGAINST
     DEFENDANT JAMES (JIM) GRAUSO) – HORIZONTAL CONSPIRACY TO
   ALLOCATE MARKETS AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN
            VIOLATION OF SECTION 1 OF THE SHERMAN ACT

           1318. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1319. Beginning at least as early as 2012, Defendant Grauso took active steps to




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 facilitate market allocation and price fixing agreements between Defendants Aurobindo and/or

 Glenmark, and their competitors, involving certain generic drugs, as discussed herein.

        1320. Defendant Grauso participated directly or indirectly in these conspiracies by

 communicating with competitors, directing others at Aurobindo and/or Glenmark to

 communicate with competitors, or tacitly approving of those communications by other

 Aurobindo and/or Glenmark employees, about market entry, loss of exclusivity, price increases,

 supply disruptions, and other significant markets events affecting Defendants Aurobindo and/or

 Glenmark, and their competitors.

        1321. These communications resulted in agreements between Defendant Aurobindo

 and/or Glenmark and various competitors to allocate and divide customers and markets for

 various generic drugs in accordance with the fair share principles discussed above, and to fix and

 raise prices, and rig bids, for certain generic drugs. The generic drugs subject to these market

 allocation and price-fixing agreements include at least the following:

                        Desogestrel/Ethinyl Estradiol Tablets (Kariva)
                        Gabapentin Tablets
                        Lamivudine/Zidovudine (generic Combivir)

        1322. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendants Aurobindo and/or Glenmark and their competitors. These agreements have

 eliminated any meaningful form of price competition in the market for certain generic drugs,

 including those identified herein.

        1323. The conspiracies substantially affected and still affect interstate commerce.

        1324. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to




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 demonstrate the anticompetitive character of these agreements.

           1325. As a direct and proximate result of this ongoing conspiracy, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for certain generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Grauso has personally enjoyed ill-gotten

 gains from the sales of these generic drugs.

           1326. As a participant in the agreements identified above, Defendant Grauso is jointly

 and severally liable for any harm caused as a result of those conspiracies.

 COUNT TWENTY-FIVE (BY CERTAIN PLAINTIFF STATES AGAINST DEFENDANT
  KEVIN GREEN) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS AND
       FIX PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF
                    SECTION 1 OF THE SHERMAN ACT

           1327. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1328. Beginning at least as early as 2012, Defendant Green took active steps to facilitate

 market allocation and price fixing agreements between Defendants Teva and/or Zydus and their

 competitors involving numerous generic drugs, as discussed herein.

           1329. Defendant Green participated directly or indirectly in these conspiracies by

 communicating with competitors, directing others at Teva and/or Zydus to communicate with

 competitors, or tacitly approving of those communications by other Teva and/or Zydus

 employees, about market entry, loss of exclusivity, price increases, supply disruptions, and other

 significant markets events affecting Defendants Teva and/or Zydus and their competitors.

           1330. These communications resulted in agreements between Defendants Teva and/or

 Zydus and various competitors to allocate and divide customers and markets for various generic

 drugs in accordance with the fair share principles discussed above, and to fix and raise prices,



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 and rig bids, for numerous generic drugs. The generic drugs subject to these market allocation

 and price-fixing agreements include at least the following:

        Amiloride HCL/HCTZ Tablets
        Amphetamine/Dextroamphetamine ER (aka Mixed Amphetamine Salts)
        Buspirone Hydrochloride Tablets
        Cefdinir Capsules
        Cefdinir Oral Suspension
        Cefprozil Tablets
        Cimetidine Tablets
        Clarithromycin ER Tablets
        Clonidine TTS Patch
        Diclofenac Potassium Tablets
        Diltiazem HCL Tablets
        Doxazosin Mesylate Tablets
        Drospirenone and ethinyl estradiol (Ocella)
        Enalapril Maleate Tablets
        Estradiol Tablets
        Ethinyl estradiol and levonorgestrel (Portia and Jolessa)
        Etodolac ER Tablets
        Fenofibrate
        Fluconazole Tablets
        Irbesartan
        Ketoprofen Capsules
        Ketorolac Tromethamine Tablets
        Labetalol HCL Tablets
        Lamivudine/Zidovudine (generic Combivir)
        Levothyroxine
        Loperamide HCL Capsules
        Methotrexate Tablets
        Nadolol Tablets
        Niacin ER Tablets
        Nitrofurantoin MAC Capsules
        Oxaprozin Tablets
        Paricalcitol
        Pravastatin Sodium Tablets
        Prazosin HCL Capsules
        Tamoxifen Citrate Tablets
        Temozolomide
        Tolmetin Sodium Capsules
        Topiramate Sprinkle Capsules
        Warfarin Sodium Tablets

        1331. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

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 Defendants Teva and/or Zydus and their competitors. These agreements have eliminated any

 meaningful form of price competition in the market for numerous generic drugs, including those

 identified herein.

           1332. The conspiracies substantially affected and still affect interstate commerce.

           1333. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

           1334. As a direct and proximate result of this ongoing conspiracy, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Green has personally enjoyed ill-gotten gains

 from the sales of these generic drugs.

           1335. As a participant in the agreements identified above, Defendant Green is jointly

 and severally liable for any harm caused as a result of those conspiracies.

  COUNT TWENTY-SIX (BY CERTAIN PLAINTIFF STATES AGAINST DEFENDANT
  ROBIN HATOSY) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS AND
             FIX PRICES FOR MULTIPLE GENERIC DRUGS IN
            VIOLATION OF SECTION 1 OF THE SHERMAN ACT

           1336. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1337. Beginning at least as early as 2012, Defendant Hatosy took active steps to

 facilitate market allocation and price fixing agreements between Defendants Greenstone and

 Pfizer and their competitors involving numerous generic drugs, as discussed herein.

           1338. Defendant Hatosy participated directly or indirectly in these conspiracies by

 communicating with competitors, directing others at Greenstone and/or Pfizer to communicate



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 with competitors, or tacitly approving of those communications by other Greenstone and/or

 Pfizer employees, about market entry, loss of exclusivity, price increases, supply disruptions, and

 other significant markets events affecting Defendants Greenstone and Pfizer and their

 competitors.

        1339. These communications resulted in agreements between Defendants Greenstone

 and Pfizer and various competitors to allocate and divide customers and markets for various

 generic drugs in accordance with the fair share principles discussed above, and to fix and raise

 prices, and rig bids, for numerous generic drugs. The generic drugs subject to these market

 allocation and price-fixing agreements include at least the following:

                           Azithromycin Oral Suspension
                           Azithromycin Suspension
                           Cabergoline
                           Fluconazole Tablets
                           Medroxyprogesterone Tablets
                           Oxaprozin Tablets
                           Penicillin VK Tablets
                           Piroxicam
                           Tolterodine Tartrate

        1340. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendants Greenstone and Pfizer and their competitors. These agreements have eliminated any

 meaningful form of price competition in the market for numerous generic drugs, including those

 identified herein.

        1341. The conspiracies substantially affected and still affect interstate commerce.

        1342. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.



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           1343. As a direct and proximate result of this ongoing conspiracy, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Hatosy has personally enjoyed ill-gotten gains

 from the sales of these generic drugs.

           1344. As a participant in the agreements identified above, Defendant Hatosy is jointly

 and severally liable for any harm caused as a result of those conspiracies.

      COUNT TWENTY-SEVEN (BY CERTAIN PLAINTIFF STATES AGAINST
      DEFENDANT ARMANDO KELLUM) – HORIZONTAL CONSPIRACY TO
   ALLOCATE MARKETS AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN
             VIOLATION OF SECTION 1 OF THE SHERMAN ACT

           1345. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1346. Beginning at least as early as 2012, Defendant Kellum took active steps to

 facilitate market allocation and price fixing agreements between Defendant Sandoz and its

 competitors involving numerous generic drugs, as discussed herein.

           1347. Defendant Kellum participated directly or indirectly in these conspiracies by

 communicating with competitors, directing others at Sandoz to communicate with competitors,

 or tacitly approving of those communications by other Sandoz employees, about market entry,

 loss of exclusivity, price increases, supply disruptions, and other significant markets events

 affecting Defendant Sandoz and its competitors.

           1348. These communications resulted in agreements between Defendant Sandoz and

 various competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the fair share principles discussed above, and to fix and raise prices, and rig

 bids, for numerous generic drugs. The generic drugs subject to these market allocation and



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        price-fixing agreements include at least the following:

        Amoxicillin/Clavulanate Chewable Tablets
        Benazepril HCTZ
        Bumetanide Tablets
        Cefdinir Capsules
        Cefdinir Oral Suspension
        Cefprozil Tablets
        Clemastine Fumarate Tablets
        Clomipramine HCL
        Dexmethylphenidate HCL ER Capsules
        Diclofenac Potassium Tablets
        Dicloxacillin Sodium Capsules
        Ethinyl estradiol and levonorgestrel (Portia and Jolessa)
        Etodolac Tablets
        Fluocinonide Emollient Cream
        Fluocinonide Gel
        Haloperidol
        Hydroxyzine Pamoate Capsules
        Ketoconazole Cream
        Labetalol HCL Tablets
        Levothyroxine
        Nabumetone Tablets
        Nadolol Tablets
        Penicillin VK Tablets
        Prochlorperazine Tablets
        Temozolomide
        Tizanidine
        Tobramycin
        Trifluoperazine HCL
        Valsartan HCTZ

        1349. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Sandoz and its competitors. These agreements have eliminated any meaningful form

 of price competition in the market for numerous generic drugs, including those identified herein.

        1350. The conspiracies substantially affected and still affect interstate commerce.

        1351. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to




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 demonstrate the anticompetitive character of these agreements.

           1352. As a direct and proximate result of this ongoing conspiracy, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Kellum has personally enjoyed ill-gotten

 gains from the sales of these generic drugs.

           1353. As a participant in the agreements identified above, Defendant Kellum is jointly

 and severally liable for any harm caused as a result of those conspiracies.

       COUNT TWENTY-EIGHT (BY CERTAIN PLAINTIFF STATES AGAINST
     DEFENDANT JILL NAILOR) – HORIZONTAL CONSPIRACY TO ALLOCATE
        MARKETS AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN
              VIOLATION OF SECTION 1 OF THE SHERMAN ACT

           1354. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1355. Beginning at least as early as 2012, Defendant Nailor took active steps to

 facilitate market allocation and price fixing agreements between Defendants Greenstone and

 Pfizer and their competitors involving numerous generic drugs, as discussed herein.

           1356. Defendant Nailor participated directly or indirectly in these conspiracies by

 communicating with competitors, directing others at Greenstone and/or Pfizer to communicate

 with competitors, or tacitly approving of those communications by other Greenstone and/or

 Pfizer employees, about market entry, loss of exclusivity, price increases, supply disruptions, and

 other significant markets events affecting Defendants Greenstone and Pfizer and their

 competitors.

           1357. These communications resulted in agreements between Defendants Greenstone

 and Pfizer and various competitors to allocate and divide customers and markets for various



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 generic drugs in accordance with the fair share principles discussed above, and to fix and raise

 prices, and rig bids, for numerous generic drugs. The generic drugs subject to these market

 allocation and price-fixing agreements include at least the following:

                           Azithromycin Oral Suspension
                           Azithromycin Suspension
                           Cabergoline
                           Fluconazole Tablets
                           Medroxyprogesterone Tablets
                           Oxaprozin Tablets
                           Penicillin VK Tablets
                           Piroxicam
                           Tolterodine Tartrate

        1358. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendants Greenstone and Pfizer and their competitors. These agreements have eliminated any

 meaningful form of price competition in the market for numerous generic drugs, including those

 identified herein.

        1359. The conspiracies substantially affected and still affect interstate commerce.

        1360. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

        1361. As a direct and proximate result of this ongoing conspiracy, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Nailor has personally enjoyed ill-gotten gains

 from the sales of these generic drugs.

        1362. As a participant in the agreements identified above, Defendant Nailor is jointly



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 and severally liable for any harm caused as a result of those conspiracies.

 COUNT TWENTY-NINE (BY CERTAIN PLAINTIFF STATES AGAINST DEFENDANT
  JAMES NESTA) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS AND
 FIX PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF SECTION 1 OF
                          THE SHERMAN ACT

           1363. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1364. Beginning at least as early as 2012, Defendant Nesta took active steps to facilitate

 market allocation and price fixing agreements between Defendant Mylan and its competitors

 involving numerous generic drugs, as discussed herein.

           1365. Defendant Nesta participated directly in these conspiracies by communicating

 with competitors about market entry, loss of exclusivity, price increases, supply disruptions, and

 other significant markets events affecting Defendant Mylan and its competitors.

           1366. These communications resulted in agreements between Defendant Mylan and

 various competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the fair share principles discussed above, and to fix and raise prices, and rig

 bids, for numerous generic drugs. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                             Amiloride HCL/HCTZ Tablets
                             Benazepril HCTZ
                             Budesonide DR Capsules
                             Buspirone Hydrochloride Tablets
                             Capecitabine
                             Cimetidine Tablets
                             Clomipramine HCL
                             Clonidine TTS Patch
                             Diclofenac Potassium Tablets
                             Diltiazem HCL Tablets
                             Doxazosin Mesylate Tablets
                             Enalapril Maleate Tablets
                             Estradiol Tablets


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                           Fenofibrate
                           Fluoxetine HCL Tablets
                           Flurbiprofen Tablets
                           Fluvastatin Sodium Capsules
                           Haloperidol
                           Ketoconazole Tablets
                           Ketoprofen Capsules
                           Ketorolac Tromethamine Tablets
                           Levothyroxine
                           Loperamide HCL Capsules
                           Methotrexate Tablets
                           Nadolol Tablets
                           Nitrofurantoin MAC Capsules
                           Pentoxifylline Tablets
                           Prazosin HCL Capsules
                           Prochlorperazine Tablets
                           Propranolol HCL Tablets
                           Tamoxifen Citrate Tablets
                           Tizanidine
                           Tolmetin Sodium Capsules
                           Tolterodine ER
                           Trifluoperazine HCL
                           Valsartan HCTZ

        1367. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Mylan and its competitors. These agreements have eliminated any meaningful form

 of price competition in the market for numerous generic drugs, including those identified herein.

        1368. The conspiracies substantially affected and still affect interstate commerce.

        1369. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

        1370. As a direct and proximate result of this ongoing conspiracy, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified



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 herein, at supra-competitive prices, and Defendant Nesta has personally enjoyed ill-gotten gains

 from the sales of these generic drugs.

           1371. As a participant in the agreements identified above, Defendant Nesta is jointly

 and severally liable for any harm caused as a result of those conspiracies.

    COUNT THIRTY (BY CERTAIN PLAINTIFF STATES AGAINST DEFENDANT
    KONSTANTIN OSTAFICIUK) – HORIZONTAL CONSPIRACY TO ALLOCATE
        MARKETS AND FIX PRICES FOR MULTIPLE GENERIC DRUGS
           IN VIOLATION OF SECTION 1 OF THE SHERMAN ACT

           1372. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1373. Beginning at least as early as 2014, Defendant Ostaficiuk took active steps to

 facilitate market allocation and price fixing agreements between Camber Pharmaceuticals, Inc.

 and its competitors involving certain generic drugs, as discussed herein.

           1374. Defendant Ostaficiuk participated directly in these conspiracies by

 communicating with competitors about market entry, loss of exclusivity, price increases, supply

 disruptions, and other significant markets events affecting Defendant Mylan and its competitors.

           1375. These communications resulted in agreements between Camber Pharmaceuticals,

 Inc. and various competitors to allocate and divide customers and markets for various generic

 drugs in accordance with the fair share principles discussed above, and to fix and raise prices,

 and rig bids, for certain generic drugs. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                          Lamivudine/Zidovudine (generic Combivir)
                          Raloxifene HCL Tablets

           1376. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Camber Pharmaceuticals, Inc. and its competitors. These agreements have eliminated any

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 meaningful form of price competition in the market for certain generic drugs, including those

 identified herein.

           1377. The conspiracies substantially affected and still affect interstate commerce.

           1378. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

           1379. As a direct and proximate result of this ongoing conspiracy, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for certain generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Ostaficiuk has personally enjoyed ill-gotten

 gains from the sales of these generic drugs.

           1380. As a participant in the agreements identified above, Defendant Ostaficiuk is

 jointly and severally liable for any harm caused as a result of those conspiracies.

  COUNT THIRTY-ONE (BY CERTAIN PLAINTIFF STATES AGAINST DEFENDANT
   NISHA PATEL) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS AND
        FIX PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF
                     SECTION 1 OF THE SHERMAN ACT

           1381. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1382. Beginning at least as early as 2013, Defendant Patel took active steps to facilitate

 market allocation and price fixing agreements between Defendant Teva and its competitors

 involving numerous generic drugs, as discussed herein.

           1383. Defendant Patel participated directly or indirectly in these conspiracies by

 communicating with competitors, directing others at Teva to communicate with competitors, or

 tacitly approving of those communications by other Teva employees, about market entry, loss of



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 exclusivity, price increases, supply disruptions, and other significant markets events affecting

 Defendant Teva and its competitors.

        1384. These communications resulted in agreements between Defendant Teva and

 various competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the fair share principles discussed above, and to fix and raise prices, and rig

 bids, for numerous generic drugs. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                  Adapalene Gel
                  Amiloride HCL/HCTZ Tablets
                  Amoxicillin/Clavulanate Chewable Tablets
                  Amphetamine/Dextroamphetamine IR
                  Azithromycin Oral Suspension
                  Azithromycin Suspension
                  Baclofen Tablets
                  Bethanechol Chloride Tablets
                  Budesonide DR Capsules
                  Budesonide Inhalation
                  Bumetanide Tablets
                  Cabergoline
                  Capecitabine
                  Carbamazepine Chewable Tablets
                  Carbamazepine Tablets
                  Cefdinir Capsules
                  Cefdinir Oral Suspension
                  Cefprozil Tablets
                  Celecoxib
                  Cephalexin Suspension
                  Cimetidine Tablets
                  Ciprofloxacin HCL Tablets
                  Clarithromycin ER Tablets
                  Clemastine Fumarate Tablets
                  Clonidine TTS Patch
                  Clotrimazole Topical Solution
                  Cyproheptadine HCL Tablets
                  Desmopressin Acetate Tablets
                  Desogestrel/Ethinyl Estradiol Tablets (Kariva)
                  Dexmethylphenidate HCL ER Capsules
                  Dextroamphetamine Sulfate ER


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              Diclofenac Potassium Tablets
              Dicloxacillin Sodium Capsules
              Diflunisal Tablets
              Diltiazem HCL Tablets
              Disopyramide Phosphate Capsules
              Doxazosin Mesylate Tablets
              Drospirenone and ethinyl estradiol (Ocella)
              Enalapril Maleate Tablets
              Entecavir
              Epitol Tablets
              Estazolam Tablets
              Estradiol Tablets
              Ethosuximide Capsules
              Ethosuximide Oral Solution
              Etodolac ER Tablets
              Etodolac Tablets
              Fluconazole Tablets
              Fluocinonide Cream
              Fluocinonide Emollient Cream
              Fluocinonide Gel
              Fluocinonide Ointment
              Fluoxetine HCL Tablets
              Flurbiprofen Tablets
              Flutamide Capsules
              Fluvastatin Sodium Capsules
              Gabapentin Tablets
              Glimepiride Tablets
              Griseofulvin Suspension
              Hydroxyurea Capsules
              Hydroxyzine Pamoate Capsules
              Isoniazid
              Ketoconazole Cream
              Ketoconazole Tablets
              Ketoprofen Capsules
              Ketorolac Tromethamine Tablets
              Loperamide HCL Capsules
              Medroxyprogesterone Tablets
              Methotrexate Tablets
              Mimvey (Estradiol/Norethindrone Acetate) Tablets
              Moexipril HCL Tablets
              Moexipril HCL/HCTZ Tablets
              Nabumetone Tablets
              Nadolol Tablets
              Niacin ER Tablets
              Norethindrone/ethinyl estradiol (Balziva)


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                  Norethindrone Acetate
                  Nortriptyline Hydrochloride Capsules
                  Omega-3-Acid Ethyl Esters
                  Oxaprozin Tablets
                  Oxybutynin Chloride Tablets
                  Paricalcitol
                  Penicillin VK Tablets
                  Pentoxifylline Tablets
                  Piroxicam
                  Pravastatin Sodium Tablets
                  Prazosin HCL Capsules
                  Prochlorperazine Tablets
                  Propranolol HCL Tablets
                  Raloxifene HCL Tablets
                  Ranitidine HCL Tablets
                  Tamoxifen Citrate Tablets
                  Temozolomide
                  Tobramycin
                  Tolmetin Sodium Capsules
                  Tolterodine ER
                  Tolterodine Tartrate
                  Topiramate Sprinkle Capsules
                  Warfarin Sodium Tablets

        1385    These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Teva and its competitors. These agreements have eliminated any meaningful form of

 price competition in the market for numerous generic drugs, including those identified herein.

        1386. The conspiracies substantially affected and still affect interstate commerce.

        1387. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

        1388. As a direct and proximate result of this ongoing conspiracy, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified



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 herein, at supra-competitive prices, and Defendant Patel has personally enjoyed ill-gotten gains

 from the sales of these generic drugs.

           1389. As a participant in the agreements identified above, Defendant Patel is jointly and

 severally liable for any harm caused as a result of those conspiracies.

 COUNT THIRTY-TWO (BY CERTAIN PLAINTIFF STATES AGAINST DEFENDANT
    DAVID REKENTHALER) – HORIZONTAL CONSPIRACY TO ALLOCATE
      MARKETS AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN
            VIOLATION OF SECTION 1 OF THE SHERMAN ACT

           1390. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1391. Beginning at least as early as 2012, Defendant Rekenthaler took active steps to

 facilitate market allocation and price fixing agreements between Defendant Teva and its

 competitors involving numerous generic drugs, as discussed herein.

           1392. Defendant Rekenthaler participated directly or indirectly in these conspiracies by

 communicating with competitors, directing others at Teva to communicate with competitors, or

 tacitly approving of those communications by other Teva employees, about market entry, loss of

 exclusivity, price increases, supply disruptions, and other significant markets events affecting

 Defendant Teva and its competitors.

           1393   These communications resulted in agreements between Defendant Teva and

 various competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the fair share principles discussed above, and to fix and raise prices, and rig

 bids, for numerous generic drugs. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

           Adapalene Gel
           Amiloride HCL/HCTZ Tablets
           Amoxicillin/Clavulanate Chewable Tablets
           Amphetamine/Dextroamphetamine ER (aka Mixed Amphetamine Salts)

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       Amphetamine/Dextroamphetamine IR
       Azithromycin Oral Suspension
       Azithromycin Suspension
       Baclofen Tablets
       Bethanechol Chloride Tablets
       Budesonide DR Capsules
       Budesonide Inhalation
       Bumetanide Tablets
       Buspirone Hydrochloride Tablets
       Cabergoline
       Capecitabine
       Carbamazepine Chewable Tablets
       Carbamazepine Tablets
       Cefdinir Capsules
       Cefdinir Oral Suspension
       Cefprozil Tablets
       Celecoxib
       Cephalexin Suspension
       Cimetidine Tablets
       Ciprofloxacin HCL Tablets
       Clarithromycin ER Tablets
       Clemastine Fumarate Tablets
       Clonidine TTS Patch
       Clotrimazole Topical Solution
       Cyproheptadine HCL Tablets
       Desmopressin Acetate Tablets
       Desogestrel/Ethinyl Estradiol Tablets (Kariva)
       Dexmethylphenidate HCL ER Capsules
       Dextroamphetamine Sulfate ER
       Diclofenac Potassium Tablets
       Dicloxacillin Sodium Capsules
       Diflunisal Tablets
       Diltiazem HCL Tablets
       Disopyramide Phosphate Capsules
       Doxazosin Mesylate Tablets
       Drospirenone and ethinyl estradiol (Ocella)
       Enalapril Maleate Tablets
       Entecavir
       Epitol Tablets
       Estazolam Tablets
       Estradiol Tablets
       Ethinyl estradiol and levonorgestrel (Portia and Jolessa)
       Ethosuximide Capsules
       Ethosuximide Oral Solution
       Etodolac ER Tablets
       Etodolac Tablets
       Fenofibrate

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       Fluconazole Tablets
       Fluocinonide Cream
       Fluocinonide Emollient Cream
       Fluocinonide Gel
       Fluocinonide Ointment
       Fluoxetine HCL Tablets
       Flurbiprofen Tablets
       Flutamide Capsules
       Fluvastatin Sodium Capsules
       Gabapentin Tablets
       Glimepiride Tablets
       Griseofulvin Suspension
       Hydroxyurea Capsules
       Hydroxyzine Pamoate Capsules
       Irbesartan
       Isoniazid
       Ketoconazole Cream
       Ketoconazole Tablets
       Ketoprofen Capsules
       Ketorolac Tromethamine Tablets
       Labetalol HCL Tablets
       Lamivudine/Zidovudine (generic Combivir)
       Loperamide HCL Capsules
       Medroxyprogesterone Tablets
       Methotrexate Tablets
       Mimvey (Estradiol/Norethindrone Acetate) Tablets
       Moexipril HCL Tablets
       Moexipril HCL/HCTZ Tablets
       Nabumetone Tablets
       Nadolol Tablets
       Niacin ER Tablets
       Nitrofurantoin MAC Capsules
       Norethindrone/ethinyl estradiol (Balziva)
       Norethindrone Acetate
       Nortriptyline Hydrochloride Capsules
       Omega-3-Acid Ethyl Esters
       Oxaprozin Tablets
       Oxybutynin Chloride Tablets
       Paricalcitol
       Penicillin VK Tablets
       Pentoxifylline Tablets
       Piroxicam
       Pravastatin Sodium Tablets
       Prazosin HCL Capsules
       Prochlorperazine Tablets
       Propranolol HCL Tablets
       Raloxifene HCL Tablets

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        Ranitidine HCL Tablets
        Tamoxifen Citrate Tablets
        Temozolomide
        Tobramycin
        Tolmetin Sodium Capsules
        Tolterodine ER
        Tolterodine Tartrate
        Topiramate Sprinkle Capsules
        Warfarin Sodium Tablets

        1394    These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Teva and its competitors. These agreements have eliminated any meaningful form of

 price competition in the market for numerous generic drugs, including those identified herein.

        1395. The conspiracies substantially affected and still affect interstate commerce.

        1396. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

        1397. As a direct and proximate result of this ongoing conspiracy, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Rekenthaler has personally enjoyed ill-gotten

 gains from the sales of these generic drugs.

        1398. As a participant in the agreements identified above, Defendant Rekenthaler is

 jointly and severally liable for any harm caused as a result of those conspiracies.

     COUNT THIRTY-THREE (BY CERTAIN PLAINTIFF STATES AGAINST
  DEFENDANT RICHARD (RICK) ROGERSON) – HORIZONTAL CONSPIRACY TO
  ALLOCATE MARKETS AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN
            VIOLATION OF SECTION 1 OF THE SHERMAN ACT




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           1399. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.

           1400. Beginning at least as early as 2013, Defendant Rogerson took active steps to

 facilitate market allocation and price fixing agreements between Defendant Actavis and its

 competitors involving numerous generic drugs, as discussed herein.

           1401. Defendant Rogerson participated directly or indirectly in these conspiracies by

 communicating with competitors, directing others at Actavis to communicate with competitors,

 or tacitly approving of those communications by other Actavis employees, about market entry,

 loss of exclusivity, price increases, supply disruptions, and other significant markets events

 affecting Defendant Actavis and its competitors.

           1402. These communications resulted in agreements between Defendant Actavis and

 various competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the fair share principles discussed above, and to fix and raise prices, and rig

 bids, for numerous generic drugs. The generic drugs subject to these market allocation and

 price-fixing agreements include at least the following:

                    Amphetamine/Dextroamphetamine IR
                    Budesonide Inhalation
                    Buspirone Hydrochloride Tablets
                    Celecoxib
                    Ciprofloxacin HCL Tablets
                    Clarithromycin ER Tablets
                    Clonidine TTS Patch
                    Desmopressin Acetate Tablets
                    Dextroamphetamine Sulfate ER
                    Disopyramide Phosphate Capsules
                    Drospirenone and ethinyl estradiol (Ocella)
                    Estazolam Tablets
                    Estradiol Tablets
                    Flutamide Capsules
                    Griseofulvin Suspension
                    Hydroxyzine Pamoate Capsules


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                    Nabumetone Tablets
                    Nortriptyline Hydrochloride Capsules
                    Propranolol HCL Tablets
                    Tamoxifen Citrate Tablets
                    Topiramate Sprinkle Capsules

           1403. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Actavis and its competitors. These agreements have eliminated any meaningful form

 of price competition in the market for numerous generic drugs, including those identified herein.

           1404. The conspiracies substantially affected and still affect interstate commerce.

           1405. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.

           1406. As a direct and proximate result of this ongoing conspiracy, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for numerous generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Rogerson has personally enjoyed ill-gotten

 gains from the sales of these generic drugs.

           1407. As a participant in the agreements identified above, Defendant Rogerson is jointly

 and severally liable for any harm caused as a result of those conspiracies.

 COUNT THIRTY-FOUR (BY CERTAIN PLAINTIFF STATES AGAINST DEFENDANT
  TRACY SULLIVAN) – HORIZONTAL CONSPIRACY TO ALLOCATE MARKETS
 AND FIX PRICES FOR MULTIPLE GENERIC DRUGS IN VIOLATION OF SECTION
                       1 OF THE SHERMAN ACT

           1408. Plaintiff States repeat and re-allege every preceding allegation as if fully set forth

 herein.




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        1409    Beginning at least as early as 2013, Defendant Sullivan took active steps to

 facilitate market allocation and price fixing agreements between Defendant Lannett and its

 competitors involving certain generic drugs, as discussed herein.

        1410. Defendant Sullivan participated directly or indirectly in these conspiracies by

 communicating with competitors, directing others at Lannett to communicate with competitors,

 or tacitly approving of those communications by other Lannett employees, about market entry,

 loss of exclusivity, price increases, supply disruptions, and other significant markets events

 affecting Defendant Lannett and its competitors.

        1411. These communications resulted in agreements between Defendant Lannett and

 various competitors to allocate and divide customers and markets for various generic drugs in

 accordance with the fair share principles discussed above, and to fix and raise prices, and rig

 bids, for certain generic drugs. The generic drugs subject to these market allocation and price-

 fixing agreements include at least the following:

                                   Baclofen Tablets
                                   Levothyroxine

        1412. These agreements are facially anticompetitive because they allocate customers for

 the marketing and sale of generic drugs, artificially raise prices, and limit competition between

 Defendant Lannett and its competitors. These agreements have eliminated any meaningful form

 of price competition in the market for certain generic drugs, including those identified herein.

        1413. The conspiracies substantially affected and still affect interstate commerce.

        1414. The agreements constitute unreasonable restraints of trade that are per se illegal

 under Section 1 of the Sherman Act, 15 U.S.C. § 1. No elaborate analysis is required to

 demonstrate the anticompetitive character of these agreements.




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         1415. As a direct and proximate result of this ongoing conspiracy, Plaintiff States,

 governmental entities and/or consumers have been injured in their business or property because

 they have had to purchase or reimburse for certain generic drugs, including those identified

 herein, at supra-competitive prices, and Defendant Sullivan has personally enjoyed ill-gotten

 gains from the sales of these generic drugs.

         1416. As a participant in the agreements identified above, Defendant Sullivan is jointly

 and severally liable for any harm caused as a result of those conspiracies.

             COUNT THIRTY-FIVE – SUPPLEMENTAL STATE LAW CLAIMS

                                            Connecticut

         1417. Plaintiff State of Connecticut repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1418. Defendants' actions as alleged herein violate the Connecticut Antitrust Act, Conn.

 Gen. Stat. §§ 35-26 and 35-28, in that they have the purpose and/or effect of unreasonably

 restraining trade and commerce within the State of Connecticut and elsewhere.

         1419. Defendants' actions as alleged herein have damaged, directly and indirectly, the

 prosperity, welfare, and general economy of the State of Connecticut and the economic well

 being of a substantial portion of the People of the State of Connecticut and its citizens and

 businesses at large. Plaintiff State of Connecticut seeks recovery of such damages as parens

 patriae on behalf of the State of Connecticut and the People of the State of Connecticut pursuant

 to Conn. Gen. Stat. § 35-32(c)(2).

         1420. Defendants' acts and practices as alleged herein constitute unfair methods of

 competition in violation of the Connecticut Unfair Trade Practices Act, Conn. Gen. Stat. § 42-

 110b.




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         1421. Plaintiff State of Connecticut seeks injunctive relief pursuant to Conn. Gen. Stat.

 § 35-34, civil penalties pursuant to Conn. Gen. Stat. § 35-38 for each and every violation of the

 Connecticut Antitrust Act, civil penalties pursuant to Conn. Gen. Stat. § 42-110o of $5,000 for

 each and every willful violation of the Connecticut Unfair Trade Practices Act, an order pursuant

 to Conn. Gen. Stat. § 42-110m requiring Defendants to submit to an accounting to determine the

 amount of improper compensation paid to them as a result of the allegations in the Complaint,

 disgorgement of all revenues, profits and gains achieved in whole or in part through the unfair

 methods of competition complained of herein, pursuant to Conn. Gen. Stat. § 42-110m,

 reasonable attorney's fees pursuant to Conn. Gen. Stat. § 42-110m, and such other and further

 relief as this Court deems just and equitable.

                                               Alabama

         1422. Plaintiff State of Alabama repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1423. The acts and practices by Defendants constitute unconscionable acts in violation

 of the Alabama Deceptive Trade Practices Act, Code of Alabama, 1975, § 8-19-5(27) for which

 the State of Alabama is entitled to relief.

                                                  Alaska

         1424. Plaintiff State of Alaska repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1425. The aforementioned practices by Defendants are in violation of the Alaska

 Restraint of Trade Act, AS 45.50.562 et seq., and these violations had impacts within the State of

 Alaska and have substantially affected the people of Alaska. Specifically, the defendants

 conspired to allocate market share and to fix and raise prices of generic pharmaceuticals resulting




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 in a restraint of trade or commerce. Plaintiff State of Alaska is entitled to relief for these

 violations under AS 45.50.576-.580.

         1426. The aforementioned practices by Defendants are in violation of the Alaska Unfair

 Trade Practices and Consumer Protection Act, AS 45.50.471(b)(11) and (b)(12), and these

 violations had impacts within the State of Alaska and have substantially affected the people of

 Alaska. Specifically, the defendants’ conduct in allocating market share and in fixing and raising

 prices, as described in the preceding paragraphs, deceived and damaged Alaskans by causing

 them to pay increased prices for generic pharmaceuticals. Further, the defendants deceived and

 defrauded Alaskans and omitted a material fact, namely their anti-competitive conduct, when

 selling their product to wholesalers and pharmacies knowing this would increase the cost to

 consumers. Plaintiff State of Alaska is entitled to relief for these violations under AS 45.50.501,

 .537, and .551.

                                              American Samoa

         1427. Plaintiff Territory of American Samoa repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1428.     The Director of Consumer Protection, under the Office of the Attorney General, brings

 this action pursuant to its authority under A.S.C.A. § 27.0403. The aforementioned practices by

 Defendants violate American Samoa’s Consumer Protection Act codified as ASCA Title 27 Chapter 4 §§

 27.0401 et seq. More specifically, but not exclusively, Defendants violated § 27.0404 “Deceptive Acts

 and Practices” and § 27.0405 “Unconscionable Consumer Sales Practices.”

         1429.     The Territory of American Samoa is entitled to relief for these violations under §§

 27.0401 et seq. as well as any relief in equity, common law, or any other applicable law. American

 Samoa also seeks attorney fees and costs incurred in the pursuit of this action.




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                                                Arizona

         1430. Plaintiff State of Arizona repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1431. Defendants’ actions as alleged herein violate the Arizona State Uniform Antitrust

 Act, Ariz. Rev. Stat. § 44-1401, et seq.

         1432. Plaintiff State of Arizona brings this action pursuant to A.R.S. §§ 44-1407 and

 1408, and seeks relief, including but not limited to injunctive relief, civil penalties, other

 equitable relief (including but not limited to disgorgement), fees and costs, and such other relief

 as this Court deems just and equitable.

         1433. Defendants engaged in deception, deceptive or unfair acts or practices, fraud,

 false pretense, false promise, misrepresentation, or concealment, suppression or omission of

 material facts with the intent that others rely upon such concealment, suppression or omission, in

 connection with the sale or advertisement of generic drugs in violation of the Arizona Consumer

 Fraud Act, A.R.S. §§ 44-1521–44-1531, including but not limited to:

             a. Defendants engaged in deceptive and unfair acts and practices by omitting from

                 their customers and from end-users the fact that Defendants were engaged in an

                 overarching conspiracy to improperly allocate the markets for generic drugs

                 amongst competitors and maintain anti-competitively high prices for generic

                 drugs.

             b. Defendants engaged in deceptive and unfair acts and practices by misrepresenting

                 to their customers and other market participants the reasons for their price

                 increases and refusals to submit bids to supply generic drugs, by attributing these

                 actions to supply issues, among other things, instead of to their unlawful




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                  agreements with competitors to maintain their “fair share” of the market or inflate

                  prices.

         1434. The unfair acts and practices alleged in the preceding paragraphs caused or were

 likely to cause substantial injury to consumers that was not reasonably avoidable by consumers

 and was not outweighed by countervailing benefits to consumers or to competition.

         1435. Defendants’ violations of the Arizona Consumer Fraud Act were willful, in that

 they knew or should have known that their conduct was of the nature prohibited by A.R.S. §44-

 1522.

         1436. Plaintiff State of Arizona brings this action pursuant to A.R.S. §§ 44-1528 and

 1531, and seeks relief, including but not limited to injunctive relief, restitution, disgorgement and

 other equitable relief, civil penalties, fees and costs, and such other relief as this Court deems just

 and equitable.

                                               Arkansas

         1437. Plaintiff State of Arkansas repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1438. Defendants’ actions alleged herein violate, and Plaintiff State of Arkansas is

 entitled to relief under, The Arkansas Deceptive Trade Practices Act, Ark. Code Ann. § 4-88-101

 et seq., the Unfair Practices Act, Ark. Code Ann. § 4-75-201 et seq., Monopolies Generally, Ark.

 Code Ann. § 4-75-301 et seq., and the common law of Arkansas.

         1439. Plaintiff State of Arkansas also seeks relief, including, but not limited to, damages

 and restitution for Arkansas state entities and for Arkansas consumers for loss incurred, either

 directly or indirectly. Plaintiff State of Arkansas also seeks, and is entitled to, maximum civil

 penalties allowed by law, injunctive relief, attorney’s fees, costs, investigative expenses, expert




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 witness expenses, and such other relief as this Court deems just and equitable.

                                                 Colorado

         1440. Plaintiff State of Colorado repeats and realleges each and every preceding

 allegation as if fully set forth herein.

         1441. Defendants' actions violate, and Plaintiff State of Colorado is entitled to relief

 under, the Colorado Antitrust Act of 1992, § 6-4-101, et seq., Colo. Rev. Stat.

         1442. Plaintiff State of Colorado seeks relief including, but not limited to, equitable

 relief, damages on behalf of the Colorado Department of Health Care Policy and Financing, and

 all other relief allowed by law, including attorneys' fees and costs.

                                                 Delaware

         1443. Plaintiff State of Delaware repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1444. The aforementioned practices by defendants constitute violations of Section 2103

 of the Delaware Antitrust Act, 6 Del. C. § 2101, et seq.

         1445. Plaintiff State of Delaware through the Attorney General brings this action

 pursuant to Sections 2105 and 2107, and seeks civil penalties and equitable relief pursuant to

 Section 2107 of the Delaware Antitrust Act, 6 Del. C. § 2101, et seq.

                                            District of Columbia

         1446. Plaintiff District of Columbia, through its Attorney General, repeats and realleges

 each and every preceding allegation as if fully set forth herein.

         1447. The aforementioned practices by Defendants were in violation of the District of

 Columbia Antitrust Act, D.C. Code § 28-4502.

         1448. Plaintiff District of Columbia has been and continues to be injured by Defendants’




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 actions. The District is entitled to all available relief for these violations pursuant to D.C. Code

 §§ 28-4507 and 28-4509, including injunctive relief, damages, restitution, disgorgement, costs,

 attorney’s fees, and any other appropriate injunctive and equitable relief.

                                                Florida

         1449. The State of Florida repeats and re-alleges each and every preceding allegation as

 if fully set forth herein.

         1450. This is an action that alleges a violation of the Florida Antitrust Act, Section

 542.18, and the Florida Deceptive and Unfair Trade Practices Act, Section 501.201, et seq. The

 State of Florida is entitled to relief, including, but not limited to, damages, disgorgement, civil

 penalties, equitable relief, injunctive relief, attorneys’ fees and costs resulting from the

 Defendants’ conduct as stated above, for all purchases of pharmaceuticals by the State of Florida

 and its government entities and municipalities, Florida businesses, and individual consumers.

         1451. Minnesota Multistate Contracting Alliance for Pharmacy ("MMCAP") purchases

 pharmaceuticals directly from Defendants and/or has an assignment of antitrust claims from

 Cardinal Health, Inc. ("Cardinal"). The State of Florida purchases generic drugs from MMCAP

 and has a similar assignment from MMCAP for any claims MMCAP may have for violations of

 the antitrust laws. As a result of these assignments, any claims for violations of federal and/or

 state antitrust laws that MMCAP and/or Cardinal may have had have been assigned to the State

 of Florida when the claims relate to purchases by the State of Florida.

         1452. Defendants knowingly – that is, voluntarily and intentionally – entered into a

 continuing agreement, understanding, and conspiracy to raise, fix, maintain, and/or stabilize the

 prices charged for pharmaceuticals during the Relevant Period, continuing through the filing of

 this Complaint.




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        1453. Defendants directly and indirectly sold pharmaceuticals to the State of Florida and

 its government entities and municipalities, Florida businesses, and individual consumers.

        1454. The State of Florida and its government entities and municipalities, and Florida

 individual consumers have been injured and will continue to be injured by paying more for

 pharmaceuticals purchased directly and/or indirectly from the Defendants and their co-

 conspirators than they would have paid in the absence of the conspiracy.

        1455. As a direct and proximate result of the Defendants’ conduct, the State of Florida

 and its government entities and municipalities, and Florida individual consumers have been

 harmed and will continue to be harmed by paying supra-competitive prices for pharmaceuticals

 that they would not had to pay in the absence of the Defendants’ conduct as alleged herein.

        1456. The sale of pharmaceuticals in the State of Florida involves trade or commerce

 within the meaning of the Florida Antitrust Act and the Florida Deceptive and Unfair Trade

 Practices Act.

        1457. Defendants’ combination, conspiracy, acts, and practices, or the effects thereof,

 are continuing and will continue and are likely to recur unless permanently restrained and

 enjoined.

        1458. The combination, conspiracy, acts, and practices alleged herein constitute unfair

 methods of competition in violation of the Florida Deceptive and Unfair Trade Practices Act,

 501. 201, et seq, Florida Statutes.

        1459. Further, Defendants’ actions offend established public policy and are immoral,

 unethical, oppressive, unscrupulous, or substantially injurious to Florida governmental entities,

 to municipalities in the State of Florida, and to consumers in the State of Florida in violation of

 Section 501.204, Florida Statutes.




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                                                      Guam

          1460.    Plaintiff Territory of Guam repeats and re-alleges each and every preceding allegation as

 if fully set forth herein.

          1461     The aforementioned practices by Defendants violate Guam’s Antitrust Law, codified as

 Title 9 Chapter 69 §§ 69.10 through 69.70 of the Guam Code Annotated. In addition, the practices by

 Defendants violate Guam’s Deceptive Acts and Prohibited Practices, codified as Title 5 Chapter 32,

 Article 2 §§ 32201 through 32203 of the Guam Code Annotated.

          1462     The Territory of Guam is entitled to equitable relief, civil penalties, and any other relief

 available under the aforementioned statutes and all other applicable laws.

          1463. The Territory of Guam also seeks attorney fees and costs incurred in the pursuit of

 this action.
                                                     Hawaii

          1464. Plaintiff State of Hawaii repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

          1465. The aforementioned practices by Defendants negatively affected competition by

 unlawfully restraining trade or commerce, or having the purpose or effect of fixing, controlling

 or maintaining prices, allocating or dividing customers or markets, fixing or controlling prices or

 bidding for public or private contracts, or otherwise thwarting genuine competition in generic

 drug markets, in violation of Chapter 480, Hawaii Revised Statutes.

          1466. Section 480-2, Hawaii Revised Statutes, provides that “[u]nfair methods of

 competition and unfair or deceptive acts or practices in the conduct of any trade or commerce are

 unlawful.”

          1467. The aforementioned practices by Defendants were and are deceptive acts or




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 practices because they involve representations, omissions, and/or practices that were and are

 material, and likely to mislead entities acting reasonably under the circumstances.

         1468. The aforementioned practices by Defendants: were and are unfair because they

 offend public policy as established by statutes, the common law, or otherwise; were and are

 immoral, unethical, oppressive, unscrupulous, or substantially injurious to consumer and entities

 affected by Defendants’ practices; and were and are unfair competitive conduct.

         1469. The aforementioned practices are unfair or deceptive acts or practices and unfair

 methods of competition in violation of section 480-2, Hawaii Revised Statutes.

         1470. Plaintiff State of Hawaii is entitled to: injunctive relief pursuant to section 480-

 15, Hawaii Revised Statutes, and other equitable relief (including but not limited to restitution

 and disgorgement of Defendants’ ill-gotten gains); civil penalties pursuant to section 480-3.1,

 Hawaii Revised Statutes; threefold the actual damages sustained by government agencies; as

 parens patriae on behalf of natural persons residing in the State for threefold damages for injuries

 sustained by such natural persons to their property by reason of any violation of chapter 480; and

 reasonable attorney fees and costs.

                                                 Idaho

         1471. Plaintiff State of Idaho repeats and re-alleges each and every preceding allegation

 as if fully set forth herein.

         1472. Defendants’ actions as alleged herein violate the Idaho Competition Act, Idaho

 Code § 48-104, in that they have the purpose and/or the effect of unreasonably restraining Idaho

 commerce, as that term is defined by Idaho Code § 48-103(1).

         1473. For each and every violation alleged herein, Plaintiff State of Idaho, on behalf of

 itself, its state agencies, and persons residing in Idaho, is entitled to all legal and equitable relief




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 available under the Idaho Competition Act, Idaho Code §§ 48-108, 48-112, including, but not

 limited to, injunctive relief, actual damages or restitution, civil penalties, disgorgement,

 expenses, costs, attorneys’ fees, and such other and further relief as this Court deems just and

 equitable.

         1474. Defendants’ actions constitute per se violations of Idaho Code § 48-104. Pursuant

 to Idaho Code § 48-108(2), Plaintiff State of Idaho, as parens patriae on behalf of persons

 residing in Idaho, is entitled to treble damages for the per se violations of Idaho Code § 48-104.

                                                  Illinois

         1475. Plaintiff State of Illinois repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1476. Defendants’ actions as alleged herein violate sections 3(1), 3(2) and 3(3) of the

 Illinois Antitrust Act, 740 ILCS 10/1 et seq.

         1477. Plaintiff State of Illinois, under its antitrust enforcement authority in 740 ILCS

 10/7, seeks relief, including but not limited to damages, for Illinois consumers and Illinois state

 entities that paid for one or more of the drugs identified in this Complaint during the relevant

 period and thereby paid more than they would have paid but for Defendants’ unlawful conduct.

 Plaintiff State of Illinois also seeks, and is entitled to, injunctive relief, civil penalties, other

 equitable relief (including but not limited to disgorgement), fees and costs, and any other remedy

 available for these violations under sections 7(1), 7(2), and 7(4) of the Illinois Antitrust Act.

                                                  Indiana

         1478. Plaintiff State of Indiana repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1479. The aforementioned practices are a violation of Chapter Two of the Indiana




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 Antitrust Act, Ind. Code § 24-1-2-1, and the Plaintiff State of Indiana seeks recovery pursuant to

 I.C. § 24-1-2-5.

         1480. The aforementioned practices are a violation of Chapter One of the Indiana

 Antitrust Act, I.C. § 24-1-1-1, and the Plaintiff State of Indiana seeks recovery pursuant to I.C. §

 24-1-1-2 and IC § 24-1-1-5.1.

         1481. The aforementioned practices are unfair and/or deceptive acts by a supplier in the

 context of a consumer transaction in violation of the Indiana Deceptive Consumer Sales Act, I.C.

 § 24-5-0.5-3 and the Plaintiff State of Indiana seeks recovery pursuant to IC § 24-5-0.5-4.

         1482. Plaintiff State of Indiana under its authority in I.C. § 24-1-2-5, I.C. § 24-1-1-2, IC

 § 24-1-1-5.1 and I.C. § 24-5-0.5-4 seeks relief, including but not limited to damages, for Indiana

 consumers and Indiana state entities that paid for one or more of the drugs identified in this

 Complaint during the relevant period and thereby paid more than they would have paid but for

 Defendants' unlawful conduct. Plaintiff State of Indiana also seeks, and is entitled to, civil

 penalties, injunctive relief, other equitable relief (including but not limited to disgorgement), fees

 and costs and any other remedy available for these violations under the Indiana Antitrust Act and

 the Indiana Deceptive Consumer Sales Act.

                                                 Iowa

         1483    Plaintiff State of Iowa repeats and re-alleges each and every preceding allegation

 as if fully set forth herein.

         1484. The alleged practices by Defendants were in violation of the Iowa Competition

 Law, Iowa Code Chapter 553.

         1485    Iowa seeks an injunction and divestiture of profits resulting from these practices

 pursuant to Iowa Code § 553.12, and civil penalties pursuant to Iowa Code § 553.13.




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         1486. Defendants' acts and practices as alleged herein also constitute deceptive and/or

 unfair practices in violation of the Iowa Consumer Fraud Act, Iowa Code § 714.16(2)(a).

         1487. Pursuant to Iowa Code § 714.16(7), the State of Iowa seeks disgorgement,

 restitution, and other equitable relief for these violations. In addition, pursuant to Iowa Code

 § 714.16(11), the Attorney General seeks reasonable fees and costs for the investigation and

 litigation.

                                                Kansas

         1488. Plaintiff State of Kansas repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1489    The aforementioned practices by Defendants were and are in violation of the

 Kansas Restraint of Trade Act, Kan. Stat. Ann. §§ 50-101 et seq.

         1490. The State of Kansas seeks relief on behalf of itself and its agencies and as parens

 patriae on behalf of its residents, pursuant to Kan. Stat. Ann. §§ 50-103 and 50-162.

         1491. Kansas governmental entities and residents are entitled to money damages

 regardless of whether they purchased one or more of the drugs identified in this Complaint

 directly or indirectly from Defendants, pursuant to Kan. Stat. Ann. § 50-161(b).

         1492. The State of Kansas is entitled to injunctive relief, civil penalties, restitution,

 treble damages, reasonable expenses and investigative fees, reasonable attorney fees and costs,

 and any other appropriate relief the court so orders, pursuant to Kan. Stat. Ann. §§ 50-103, 50-

 160, and 50-161.

                                               Kentucky

         1493. Plaintiff Commonwealth of Kentucky repeats and re-alleges each and every

 preceding allegation as if fully set forth herein. The aforementioned acts or practices by




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 Defendants violate the Consumer Protection Act, Ky. Rev.Stat.Ann.§ 367.110 et seq. (“KCPA”)

        1494. Defendants, by distributing, marketing and selling generic pharmaceutical drugs

 to consumers through wholesalers and distributors, pharmacy and supermarket chains, and other

 resellers of generic pharmaceutical drugs and otherwise engaging in the conduct described herein

 with respect to the generic pharmaceutical drugs identified herein, are engaging in trade or

 commerce that harmed the Commonwealth and consumers within the meaning of Ky.Stat.Ann.

 §367.170.

        1495. Defendants impaired consumer choice in each generic drug market identified

 herein in what should have been a freely competitive marketplace for the generic pharmaceutical

 drugs identified herein. Defendants have deprived consumers of being able to meaningfully

 choose from the options a competitive market would have provided.

        1496. The Defendants agreed to, and did in fact, act in restraint of trade or commerce in

 each generic drug market identified herein, by affecting, fixing, controlling and/or maintaining at

 artificial and non-competitive levels, the prices at which the generic pharmaceutical drugs

 identified herein were sold, distributed or obtained. Such conduct has been and is unfair under

 the KCPA.

        1497. Defendants have misrepresented the absence of competition in each generic drug

 market identified herein. By misrepresenting and/or omitting material facts concerning the

 absence of competition in each generic drug market identified herein, the Defendants misled the

 Commonwealth that prices for the numerous generic pharmaceutical drugs identified herein were

 competitive and fair. Defendants’ conduct has been misleading and/or had a tendency to deceive.

        1498. The Defendants’ misrepresentations and omission of material facts had the

 following effects: (1) generic drug price competition was restrained, suppressed and eliminated;




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 (2) generic drug prices were raised, fixed, maintained and stabilized at artificially-high levels; (3)

 the Commonwealth was deprived of free and open markets; and (4) the Commonwealth and

 consumers paid supra-competitive, artificially inflated prices for the generic pharmaceutical

 drugs identified herein. The Defendants’ misrepresentations and omissions of material facts have

 caused Commonwealth harm in paying more for generic pharmaceutical drugs identified herein.

        1499. Defendants violated the KCPA:

                a.      Each time Defendants agreed to allocate the market for specific drugs in

                        the generic pharmaceutical drug market as set forth above;

                b.      Each time Defendants agreed to fix prices on the specified drugs in the

                        specified drug markets as set forth above;

                c.      Each time a Defendant failed to disclose the existence of a market

                        allocation agreement and/or a price-fixing agreement involving any of the

                        numerous generic pharmaceutical drugs identified herein;

                d.      Each time a Defendant submitted false or misleading cover bids and/or

                        offers to their customers and wholesalers;

                e.      Each time a Defendant provided false or misleading statements to

                        prospective customers related to supply capacity or reasons for bidding or

                        not bidding;

                f.      Each time a request for reimbursement was made to the Commonwealth

                        for any of the numerous generic pharmaceutical drugs identified herein;

                        and

                g.      Each time the Commonwealth or its consumers paid an artificially inflated

                        price for any of the numerous generic pharmaceutical drugs identified




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                       herein the Defendants’ distributed, marketed or sold.

        1500.   The above described conduct has been and is willful within the meaning of

 Ky.Stat.Ann. §367.990.

        1501.   The Commonwealth states that the public interest is served by seeking a

 permanent injunction to restrain the acts and practices described herein. The Commonwealth and

 its citizens will continue to be harmed unless the acts and practices complained of herein are

 permanently enjoined pursuant to Ky.Stat.Ann. §367.190. Further, the Commonwealth seeks

 restitution to the Commonwealth and/or disgorgement pursuant to Ky.Stat.Ann.§§ 367.190 -.200.

 The Commonwealth seeks a civil penalty of up to $2,000 for each such willful violation, or

 $10,000 for each such violation directed at a person over 60 pursuant to Ky.Stat.Ann.§ 367.990.

                                        Unjust Enrichment

        1502. Defendants have been unjustly enriched as a result of the conduct set forth herein.

 The Commonwealth and consumers were purchasers, reimbursers and/or end-payors of

 Defendants’ generic pharmaceutical drugs identified herein and have paid, at their expense,

 amounts far in excess of the competitive prices for such drugs that would have prevailed in a

 competitive and fair market.

        1503. For those customers that purchase directly or indirectly from Defendants at

 artificially inflated and supra-competitive prices, Defendants have increased prices above what

 would have prevailed in a competitive and fair market; thereby, directly benefiting Defendants in

 the form of increased revenues.

        1504. Defendants knew of, and appreciated and retained the benefits of Commonwealth

 and consumers’ purchases of any of the Defendants’ generic pharmaceutical drugs identified

 herein at amounts far in excess of the competitive price.




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         1505. Based on Defendants’ conduct set for herein, it would be inequitable and unjust

 for Defendants to retain such benefits without payment of value. Defendants will be unjustly

 enriched if they are permitted to retain the direct or indirect benefits received resulting from the

 purchase of any of the generic pharmaceutical drugs identified herein by the Commonwealth.

 The Commonwealth therefore seeks to recover the amounts that unjustly enriched the

 Defendants. The Commonwealth is entitled to equitable relief in the form of an injunction and

 disgorgement, and any other relief the Court deems appropriate.

                                              Louisiana

         1506. Plaintiff State of Louisiana repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1507. The practices of Defendants described herein are in violation of the Louisiana

 Monopolies Act, LSA-R.S. 51:121 et seq., and the Louisiana Unfair Trade Practices Act, LSA-

 R.S. 51:1401 et. seq.

         1508. Plaintiff State of Louisiana is entitled to injunctive relief and civil penalties under

 LSA-R.S. 51:1407 as well as damages, disgorgement and any other equitable relief that the court

 deems proper under LSA-R.S. 51:1408.

                                                Maine

         1509. Plaintiff State of Maine repeats and re-alleges each and every preceding allegation

 as if fully set forth herein.

         1510. The aforementioned practices by Defendants are in violation of the Maine

 Monopolies and Profiteering Law, 10 M.R.S.A §§ 1101 and 1102, and Plaintiff State of Maine is

 entitled to all available relief for these violations under 10 M.R.S.A. § 1104, including, without

 limitation, treble damages for Maine governmental and consumer purchasers, civil penalties,




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 injunctive relief, attorney’s fees, investigative and litigation costs, and any other appropriate

 injunctive and equitable relief.

                                               Maryland

         1511. Plaintiff State of Maryland repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1512. The aforementioned practices by Defendants were and are in violation of the

 Maryland Antitrust Act, Md. Com. Law Code Ann. §§ 11-201 et seq. These violations

 substantially affect the people of Maryland and have impacts within the State of Maryland.

         1513. Plaintiff State of Maryland brings this action against Defendants in the following

 capacities:

                 a.      Pursuant to Md. Com. Law Code Ann. § 11-209(a) in its sovereign

                         capacity for injunctive relief, civil penalties, restitution, disgorgement and

                         all other available equitable remedies;

                 b.      Pursuant to Md. Com Law Code Ann. § 11-209(b)(5) as parens patriae on

                         behalf of persons residing in Maryland. These persons are entitled to three

                         times the amount of money damages sustained regardless of whether they

                         have purchased generic pharmaceuticals directly or indirectly from

                         Defendants. Md. Health Gen. Code Ann. § 21-1114.

         1514. Plaintiff State of Maryland also seeks, pursuant to Md. Com. Law Code Ann.

 § 11-209(b), reimbursement of reasonable attorney's fees, expert fees and costs.

                                            Massachusetts

         1515. Plaintiff Commonwealth of Massachusetts repeats and re-alleges each and every

 preceding allegation as if fully set forth herein.




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         1516. The aforementioned practices by Defendants, including but not limited to

 agreements in restraint of trade and/or attempted agreements in restraint of trade, constitute

 unfair methods of competition and/or unfair or deceptive acts or practices in trade or commerce

 in violation of the Massachusetts Consumer Protection Act, M.G.L c. 93A, § 2 et seq.

         1517. Defendants knew or should have known that their conduct violated the

 Massachusetts Consumer Protection Act, M.G.L c. 93A, § 2 et seq.

         1518. Plaintiff Commonwealth of Massachusetts is entitled to relief under M.G.L. c.

 93A, § 4, including, without limitation, damages and restitution to Massachusetts consumers and

 Massachusetts governmental purchasers; civil penalties for each violation committed by the

 Defendants; injunctive relief and other equitable relief including, without limitation,

 disgorgement; fees and costs including, without limitation, costs of investigation, litigation, and

 attorneys’ fees; and any other relief available under M.G.L. c. 93A, § 4.

         1519.    Plaintiff Commonwealth of Massachusetts notified the Defendants of this

 intended action at least five days prior to the commencement of this action and gave the

 Defendants an opportunity to confer in accordance with M.G. L. c. 93A, § 4.

                                              Michigan

         1520. Plaintiff State of Michigan repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1521. The State of Michigan brings this action both on behalf of itself, its State

 Agencies, and as parens patriae on behalf of natural persons, pursuant to Mich. Comp. Laws

 §14.28, and §14.101, to enforce public rights and to protect residents and its general economy

 against violations of the Michigan Antitrust Reform Act, Mich. Comp. Laws § 445.771, et seq.,

 and the common law of the State of Michigan.




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         1522. The aforementioned practices by Defendants were and are in violation of the

 Michigan Antitrust Reform Act, Mich. Comp. Laws § 445.771, et seq., and the common law of

 the State of Michigan. As a result of Defendant's unfair, unconscionable, or deceptive methods,

 acts, or practices in the conduct of trade and Defendants' conspiracy to restrain trade for the

 purpose of excluding or avoiding competition, all as more fully described above, the Plaintiff

 State of Michigan, its agencies, and consumers have suffered and been injured in business and

 property by reason of having to purchase or reimburse at supra-competitive prices as direct and

 indirect purchasers and will continue to suffer ascertainable loss and damages in an amount to be

 determined at trial.

         1523. Accordingly, Plaintiff State of Michigan on behalf of itself, its agencies, and as

 parens patriae on behalf of its consumers affected by Defendants' illegal conduct, is entitled to

 relief including but not limited to injunctive relief and other equitable relief (including but not

 limited to disgorgement), civil penalties, damages, costs and attorney fees.

                                              Minnesota

         1524. Plaintiff State of Minnesota repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1525. Defendants’ acts as alleged herein violate the Minnesota Antitrust Law of 1971,

 Minn. Stat. §§ 325D.49-.66. Plaintiff State of Minnesota seeks relief, including but not limited

 to:

                 a.      damages for itself, its state agencies that paid for the generic
                         pharmaceutical drugs identified herein, and as parens patriae on behalf of
                         its consumers. Plaintiff State of Minnesota is entitled to damages under
                         Minn. Stat. § 8.31, subd. 3a and treble damages under Minn. Stat.
                         § 325D.57;

                 b.      disgorgement under Minn. Stat. § 325D.59 and Minn. Stat. Ch. 8;




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                c.       injunctive relief under Minn. Stat. §§ 325D.58 and Minn. Stat. § 8.31,
                         subd. 3;

                d.       costs and reasonable attorneys' fees under Minn. Stat. § 325D.57 and
                         Minn. Stat. § 8.31, subd. 3a; and

                e.       civil penalties under Minn. Stat. § 325D.56 and Minn. Stat. § 8.31, subd.

        1526. The Defendants deceptively misrepresented to Plaintiff State of Minnesota, its

 state agencies and Minnesota consumers that Defendants’ pricing at which the numerous generic

 pharmaceutical drugs identified herein were sold, distributed or obtained in Minnesota was

 competitive and fair.

        1527. The Defendants’ deceptive misrepresentations and failure to disclose material

 facts had the following effects: (1) generic drug price competition was restrained, suppressed and

 eliminated throughout Minnesota; (2) generic drug prices were raised, fixed, maintained and

 stabilized at artificially-high levels throughout Minnesota; (3) Plaintiff State of Minnesota, its

 state agencies and Minnesota consumers were deprived of free and open markets; and (4)

 Plaintiff State of Minnesota, its state agencies and Minnesota consumers paid supra-competitive,

 artificially inflated prices for the numerous generic pharmaceutical drugs identified herein.

        1528. The Defendants’ deceptive misrepresentations and failure to disclose material

 facts have caused Plaintiff State of Minnesota, its state agencies, and Minnesota consumers to

 suffer and to continue to suffer loss of money or property, real or personal, by means of

 Defendants’ use or employment of deceptive commercial practices as set forth above.

        1529. Defendants violated the deceptive trade practices laws of Minnesota:

                a.       Each time a Defendant failed to disclose the existence of a market
                         allocation agreement and/or a price-fixing agreement involving any of the
                         numerous generic pharmaceutical drugs identified herein;

                b.       Each time a Defendant submitted false or misleading cover bids and/or
                         offers to their customers and wholesalers;



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                c.      Each time a Defendant provided false or misleading statements to
                        prospective customers related to supply capacity or reasons for bidding or
                        not bidding;

                d.      Each time Plaintiff State of Minnesota, its state agencies and Minnesota
                        consumers paid an artificially inflated price for any of the numerous
                        generic pharmaceutical drugs identified herein; and

                e.      Each time a request for reimbursement was made to Minnesota for any of
                        the numerous generic pharmaceutical drugs identified herein.

        1530. The Defendants’ conduct is unlawful pursuant to the Uniform Deceptive Trade

 Practices Act of 1973, Minn. Stat. §§ 325D.43-.48 and Minn. Stat. Ch. 8. The aforesaid methods,

 acts or practices constitute deceptive acts under this Act, including, but not limited to:

                a.      Representing “that goods or services have sponsorship, approval,
                        characteristics, ingredients, uses, benefits, or quantities that they do not
                        have or that a person has a sponsorship, approval, status, affiliation, or
                        connection that the person does not have” in violation of Minn. Stat.
                        § 325D.44, subd. 1(5);

                b.      Representing “that goods or services are of a particular standard, quality,
                        or grade, or that goods are of a particular style or model, if they are of
                        another” in violation of Minn. Stat. § 325D.44, subd. 1(7); and

                c.      Engaging “in any other conduct which similarly creates a likelihood of
                        confusion or of misunderstanding” in violation of Minn. Stat. § 325D.44,
                        subd. 1(13).

        1531. Some or all of these violations by Defendants were willful.

        1532. Plaintiff State of Minnesota seeks relief for violations of the Uniform Deceptive

 Trade Practices Act of 1973, Minn. Stat. §§ 325D.43-.48 including but not limited to:

                a.      damages for itself, its state agencies that paid for the generic
                        pharmaceutical drugs identified herein, and as parens patriae on behalf of
                        its consumers under Minn. Stat. § 325D.45, subd. 3 and Minn. Stat. § 8.31,
                        subd. 3a;

                b.      disgorgement under Minn. Stat. § 325D.45, subd. 3, Minn. Stat. Ch. 8, and
                        Minnesota common law;

                c.      injunctive relief under Minn. Stat. § 325D.45, subd. 1 and Minn. Stat.
                        § 8.31, subd. 3;

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                d.      costs and reasonable attorneys’ fees under Minn. Stat. § 325D.44 and
                        Minn. Stat. § 8.31, subd. 3a; and

                e.      civil penalties under Minn. Stat. § 8.31, subd. 3.

        1533. By reason of the foregoing, the Defendants have been unjustly enriched as a result

 of the conduct set forth herein with respect to Plaintiff State of Minnesota, its state agencies that

 paid for the generic pharmaceutical drugs identified herein, and its consumers.

        1534. Plaintiff State of Minnesota, its state agencies that paid for the generic

 pharmaceutical drugs identified herein, and its consumers were purchasers, reimbursers and/or

 end-payors of Defendants’ generic pharmaceutical drugs identified herein and have paid amounts

 far in excess of the competitive prices for such drugs that would have prevailed in a competitive

 and fair market.

        1535. Defendants knew of and appreciated, retained, or used, the benefits of Plaintiff

 State of Minnesota, its state agencies that paid for the generic pharmaceutical drugs identified

 herein, and its consumers’ purchases of any of the Defendants’ generic pharmaceutical drugs

 identified herein at amounts far in excess of the competitive price. Defendants engaged in the

 conduct described herein to allocate or preserve the market share of the numerous generic

 pharmaceutical drugs identified herein thereby increasing their sales and profits.

        1536. For those customers that purchase directly or indirectly from Defendants at

 artificially inflated and supra-competitive prices, Defendants have increased prices above what

 would have prevailed in a competitive and fair market; thereby, directly benefiting Defendants in

 the form of increased revenues.

        1537. Based on Defendants’ conduct set forth herein, it would be inequitable and unjust

 for Defendants to retain such benefits without payment of value.




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         1538. Defendants will be unjustly enriched if they are permitted to retain the direct or

 indirect benefits received or used resulting from the purchase of any of the numerous generic

 pharmaceutical drugs identified herein by Plaintiff State of Minnesota, its state agencies that paid

 for the generic pharmaceutical drugs identified herein, and its consumers. Plaintiff State of

 Minnesota, on behalf of itself, its state agencies that paid for the generic pharmaceutical drugs

 identified herein, and as parens patriae on behalf of its consumers, seeks to recover the amounts

 that unjustly enriched the Defendants.

         1539    Plaintiff State of Minnesota seeks relief, on behalf of itself, its state agencies that

 paid for the generic pharmaceutical drugs identified herein, and as parens patriae on behalf of its

 consumers, and is therefore entitled to equitable relief in the form of an injunction, restitution

 and disgorgement and any other relief the Court deems appropriate under Minn. Stat. Ch. 8 and

 Minnesota common law for unjust enrichment.

                                              Mississippi

         1540.    Plaintiff State of Mississippi repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1541. Defendants' acts violate Miss. Code Ann. § 75- 21-1 et seq., and Plaintiff State of

 Mississippi is entitled to relief under Miss. Code Ann. § 75- 21-1 et seq.

         1542. The aforesaid conduct was not only anti-competitive but was also unfair and

 deceptive to the consumers of the State of Mississippi, therefore Defendants' acts violate the

 Mississippi Consumer Protection Act, Miss. Code Ann. § 75-24-1, et seq., and Plaintiff State of

 Mississippi is entitled to relief under the Mississippi Consumer Protection Act, Miss. Code Ann.

 § 75-24-1, et seq.

         1543. Pursuant to Miss. Code Ann. § 75-21-1 et seq., and the Mississippi Consumer




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 Protection Act, Miss. Code Ann. § 75-24-1, et seq., Plaintiff State of Mississippi seeks and is

 entitled to relief, including but not limited to injunctive relief, damages, restitution,

 disgorgement, civil penalties, costs, attorney fees, and any other just and equitable relief which

 this Court deems appropriate.

                                                Missouri

         1544. Plaintiff State of Missouri repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1545. The aforementioned practices by Defendants violate the Missouri Antitrust Law,

 Missouri Rev. Stat. §§ 416.011 et seq., and Missouri’s Merchandising Practices Act, Missouri

 Rev. Stat. §§ 407.010 et seq., as further interpreted by 15 CSR 60-8.010 et seq. and 15 CSR 60-

 9.01 et seq., and the State of Missouri is entitled to an injunction, disgorgement, civil penalties

 and any other relief available under the aforementioned Missouri statutes and regulations.

         1546. The State of Missouri also seeks its costs and attorney fees incurred in the

 prosecution of this action.

                                               Montana

         1547. Plaintiff State of Montana repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1548. Defendants’ acts and practices described in this Complaint violate Montana’s

 Unfair Trade Practices and Consumer Protection Act, Mont Code Ann. § 30-14-101 et seq.,

 including § 30-14-103, and Unfair Trade Practices Generally, Mont. Code Ann. § 30-14-201 et

 seq., including § 30-14-205.

         1549. Mont. Code Ann § 30-14-103 prohibits unfair methods of competition and unfair

 or deceptive acts or practices in the conduct of any trade or commerce. Mont. Code Ann. § 30-




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 14-102(8) defines the terms “trade” and “commerce” as meaning “the advertising, offering for

 sale, sale, or distribution of any services, any property, tangible or intangible, real, personal, or

 mixed, or any other article, commodity, or thing of value, wherever located, and includes any

 trade or commerce directly or indirectly affecting the people of this state.”

        1550. Montana’s standard for ‘unfairness' as prohibited under Mont. Code Ann. § 30-

 14-103 is articulated in Rohrer v. Knudson, 203 P.3d 759 (Mont. 2009) as an act or practice

 which “offends established public policy and which is either immoral, unethical, oppressive,

 unscrupulous or substantially injurious to consumers.”

        1551. Mont Code Ann. § 30-14-205 states that it is unlawful for a person or group of

 persons, directly or indirectly:

                (1)     to enter an agreement for the purpose of fixing the price or regulating the

                        production of an article of commerce;

                (2)     for the purpose of creating or carrying out any restriction in trade to: (a)

                        limit productions; (b) increase or reduce the price of merchandise or

                        commodities; (c) prevent competition in the distribution or sale of

                        merchandise or commodities; (d) fix a standard or figure whereby the

                        price of an article of commerce intended for sale, use, or consumption will

                        be in any way controlled.

        1552. Defendants’ anticompetitive and unfair and/or deceptive acts and practices in the

 marketing and sale of pharmaceuticals as described in this Complaint occurred in the conduct of

 “trade” and “commerce” as defined by Montana law.

        1553. Defendants’ anticompetitive and unfair and/or deceptive acts and practices in the

 marketing and sale of pharmaceuticals as described in this Complaint offend established public




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 policy. Those acts and practices are also unethical, oppressive, and unscrupulous and have

 substantially injured and continue to injure Montanans through supra-competitive prices.

         1554. Defendants’ price-fixing and market allocating conduct as described in this

 Complaint violates the plain language of Mont. Code Ann. § 30-14-205(1) and (2).

         1555. Defendants’ unlawful conduct was willful as defined in Mont. Code Ann. § 30-

 14-142(4).

         1556. Plaintiff State of Montana is entitled to injunctive and equitable relief, including

 disgorgement, and the maximum civil penalties available under Mont. Code Ann. § 30-14-101 et

 seq. and § 30-14-201 et seq., including but not limited to Mont. Code Ann. §§ 30-14-111(4), -

 131, -142(2), -144, and -222. Plaintiff State of Montana also seeks reasonable attorneys’ fees

 and costs.

                                              Nebraska

         1557. Plaintiff State of Nebraska repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1558. Defendants’ actions as alleged herein violate the Unlawful Restraint of Trade Act,

 Neb. Rev. Stat. § 59-801 et seq. and the Consumer Protection Act, Neb. Rev. Stat. § 59-1601 et

 seq. Specifically, Defendants’ actions constitute unreasonable restraints of trade or commerce in

 violation of Neb. Rev. Stat. § 59-801 and Neb. Rev. Stat. § 59-1603, and Defendants’ actions

 constitute unfair methods of competition in violation of Neb. Rev. Stat. § 59-1602. The sale of

 pharmaceuticals to the State of Nebraska and its citizens constitutes trade or commerce as

 defined in Neb. Rev. Stat. § 59-1601. These violations have had an impact, directly and

 indirectly, upon the public interest of the State of Nebraska, for the State of Nebraska, its state

 agencies, and its citizens have been injured and continue to be injured by paying supra-




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 competitive prices for pharmaceuticals purchased directly and/or indirectly from the Defendants.

         1559. Accordingly, Plaintiff State of Nebraska, on behalf of itself, its state agencies, and

 as parens patriae for all citizens within the state, seeks all relief available under the Unlawful

 Restraint of Trade Act, the Consumer Protection Act, and Neb. Rev. Stat. § 84-212. Plaintiff

 State of Nebraska is entitled to relief including, but not limited to: damages, disgorgement, civil

 penalties, equitable relief, injunctive relief, and its costs and attorney’s fees pursuant to Neb.

 Rev. Stat. §§ 59-803, 59-819, 59-821, 59-1608, 59-1609, 59-1614, and 84-212.

                                                Nevada

         1560. Plaintiff State of Nevada repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1561. As alleged in Sections IV and VI, supra, the Defendants’ conduct was and is

 directed at consumers nationwide, including in Nevada, and was overtly deceptive; not merely

 anticompetitive.

         1562. As repeatedly alleged supra, in the course of carrying out their schemes,

 Defendants often (i) declined bid opportunities and misrepresented the reason for their failure to

 bid, (ii) provided false bids that they knew would not be successful, or (iii) withdrew offers and

 misrepresented the reasons why the offers were withdrawn. In all such cases, the alleged acts

 and practices by Defendants were, and are, in violation of the Nevada Deceptive Trade Practices

 Act, Nev. Rev. Stat. § 598.0903, et seq., and specifically the following:

                 a.      NRS 598.0915(15), a person engages in a deceptive trade practice by

                         knowingly making a false representation in a transaction;

                 b.      NRS 598.0923(2), a person engages in a deceptive trade practice by

                         failing to disclose a material fact in connection with the sale or lease of




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                         goods or services; and

                 c.      NRS 598.0923(3), a person engages in a deceptive trade practice by

                         violating a state or federal statute or regulation relating to the sale or lease

                         of goods or services.

         1563. As alleged in Sections IV, V and VI, supra, the Defendants’ anticompetitive

 conduct produced, and continues to produce, harm across the Plaintiff States, including in

 Nevada. Accordingly, the aforementioned acts and practices by Defendants were, and are, also

 in violation of the Nevada Unfair Trade Practices Act, Nev. Rev. Stat. § 598A.010, et seq., and

 specifically the following:

                 a.      NRS 598A.060(a), competitors unlawfully restrain trade by engaging in

                         price fixing;

                 b.      NRS 598A.060(b), competitors unlawfully restrain trade by agreeing to

                         division of markets; and

                 c.      NRS 598A.060(c), competitors unlawfully restrain trade by agreeing to

                         allocate customers.

         1564    Accordingly, Plaintiff State of Nevada seeks all relief available under the Nevada

 Deceptive Trade Practices Act, the Nevada Unfair Trade Practices Act, and common law.

 Plaintiff State of Nevada is entitled to relief including but not limited to: disgorgement,

 injunctions, civil penalties, damages, and its costs and attorney's fees pursuant to Nev. Rev. Stat.

 §§ 598.0963, 598.0973, 598.0999, 598A.160, 598A.170, 598A.200 and 598A.250.

                                            New Hampshire

         1565. Plaintiff State of New Hampshire repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.




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         1566. The aforementioned collusive actions, practices and conduct by Defendants

 violate the New Hampshire Antitrust Provisions, N.H. RSA 356:1, et seq., by, among other

 things, unlawfully restraining trade or commerce, or having the purpose or effect of fixing,

 controlling or maintaining prices, allocating or dividing customers or markets, fixing or

 controlling prices or bidding for public or private contracts, or otherwise thwarting genuine

 competition in generic drug markets. Defendants impaired the competitive process which

 deprived New Hampshire consumers and customers of a free and open market place for generic

 products and/or of paying a price for the generic pharmaceutical drugs identified herein which

 would have been competitive and fair absent agreements to allocate customers, fix prices, and

 stabilize artificially inflated prices.

         1567. The aforementioned actions, practices and conduct by Defendants as suppliers in

 commercial transactions also violate the New Hampshire Consumer Protection Act, N.H. RSA

 358-A:1 et seq. by using unfair or deceptive business acts or practices, or methods of

 competition, in the conduct of trade or commerce including, among other things, pricing generic

 health care pharmaceutical goods in a manner that tends to harm competition; making

 misrepresentations, taking steps to conceal, failing to disclose a material fact, and/or

 participating in maintaining artificially inflated pricing in connection with the sale or

 advertisement of such generic products; or otherwise thwarting and harming genuine competition

 in generic drug markets as identified herein. Illegal conduct included, agreement to and, in fact,

 acting to restrain trade or commerce in each generic drug market identified herein, by affecting,

 fixing, controlling and/or maintaining at artificial and non-competitive levels, the prices at which

 the numerous generic pharmaceutical drugs identified herein were sold, distributed or obtained in

 the State of New Hampshire; as well as, among other things, submitting false or misleading




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 cover bids and/or offers to the customers and wholesalers, and/or providing false or misleading

 statements to prospective customers relating to supply capacity or reasons for bidding or not

 bidding, and/or otherwise engaging in a course of conduct to induce contracting and purchasing

 of generic products by customers at artificially inflated prices.

        1568. Defendants’ illegal conduct, collectively and individually, all relates to generic

 products that are intended and expected by consumers, private entities, and public entities to

 provide great savings for consumers and purchasing entities in the health care industry, offending

 public policy and comprising deceptive, unfair, immoral, unethical, oppressive or unscrupulous

 conduct. NH RSA 358-A:2.

        1569. These violations artificially inflated prices of generic drugs, substantially

 affecting and harming the people of New Hampshire (consumers, public entities, and private

 entities, alike) and having various past and ongoing harmful impacts within the state including

 affecting New Hampshire commerce and affecting the choice of generic drugs available to

 and/or prices paid by consumers and entities. The State of New Hampshire has reason to believe

 that Defendants directly and/or indirectly through nationwide or regional distributors,

 wholesalers, and retailers, sold or marketed the generic drugs at issue to the State of New

 Hampshire, its agencies and municipalities, to New Hampshire businesses, and to individual

 consumers, and that such products were received and purchased by such consumers and entities

 within the state, whether dealing with Defendants directly or indirectly.

        1570. The State of New Hampshire has reason to believe that Defendants received ill-

 gotten gains or proceeds as a result of their illegal conduct, and it would be inequitable and

 unjust for Defendants to retain such profits and benefits without payment of value.

        1571. Some or all of the violations by Defendants were willful and flagrant.




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         1572. The State of New Hampshire brings this action in its law enforcement capacity as

 a sovereign or quasi-sovereign and in a parens patriae capacity on behalf of state consumers of

 generic products, seeking legal and equitable remedies available under the New Hampshire

 Antitrust Provisions, under the New Hampshire Consumer Protection Act, and under common

 law theories such as unjust enrichment. New Hampshire seeks restoration to state consumers for

 ascertainable loss incurred in making payments and purchases, whether direct or indirect, in

 relation to the generic drug products identified herein, through among other things, restitution,

 disgorgement, and/or injunctive relief. New Hampshire seeks injunctive relief to prohibit

 Defendants from engaging in the unlawful business practices identified herein; civil penalties (in

 double/treble multipliers); and recovery for compensable investigation and litigation costs,

 expenses and attorney’s fees, and other relief as this Court deems just and equitable. See N.H.

 RSA 356:4 et seq.; N.H. RSA 358-A:1 et seq.

         1573. Plaintiff State of New Hampshire notified Defendants of this intended action at

 least ten days prior to the commencement of this action and gave Defendants an opportunity to

 confer with the attorney general in accordance with NH RSA 358-A:5.

                                            New Jersey

         1574. Plaintiff State of New Jersey repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1575. Defendants’ actions as alleged herein violate the New Jersey Antitrust Act,

 N.J.S.A. 56:9-1 et seq., in that they have the purpose and/or effect of unreasonably restraining

 trade and commerce within the State of New Jersey and elsewhere. N.J.S.A. 56:9-3. Plaintiff

 State of New Jersey seeks relief including but not limited to, treble damages for New Jersey

 consumers and state agencies that paid for one or more of the drugs identified in this Complaint,




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 injunctive relief, disgorgement, restitution, civil penalties and attorneys’ fees and investigative

 costs. N.J.S.A. 56:9-10, -12.

         1576. Defendants’ actions as alleged herein violate the New Jersey Consumer Fraud

 Act, N.J.S.A. 56:8-1 et seq., in that Defendants’ made misleading statements, omitted material

 facts and engaged in unconscionable commercial practices in connection with the advertising,

 offering for sale and sale of one or more of the drugs identified in this Complaint. N.J.S.A. 56:8-

 2. Plaintiff State of New Jersey seeks relief including but not limited to, injunctive relief,

 disgorgement, restitution, civil penalties and attorneys’ fees and investigative costs. N.J.S.A.

 56:8-8, -11, -13 and -19.

                                             New Mexico

         1577. Plaintiff State of New Mexico repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1578. The State of New Mexico, through its Attorney General, brings this enforcement

 action as parens patriae in its sovereign and quasi-sovereign capacity and in its proprietary

 capacity on behalf of the State, including its agencies and entities, to recover damages to the

 State, its residents, its economy, and all such other relief as may be authorized by statute or

 common law.

         1579. The aforementioned actions and practices by Defendants were and are a contract,

 agreement, combination, or conspiracy in an unreasonable restraint of trade or commerce in New

 Mexico, thus violating the New Mexico Antitrust Act, N.M. Stat. Ann. § 57-1-1 et seq.

         1580. The aforementioned actions and practices by Defendants were unfair or deceptive

 trade practices as they were false or misleading oral or written statements or other

 representations made in connection with the sale of goods in the regular course of their trade or




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 commerce, that may, tended to or did deceive or mislead consumers. These practices included

 false or misleading statements of fact concerning the price of drugs and failures to state material

 facts about the costs of drugs, actions that deceived or tended to deceive consumers.

 Additionally, Defendants' actions constituted unconscionable trade practices, because they

 resulted in supra-competitive prices for the aforementioned drugs, resulting in a gross disparity

 between the prices paid by consumers and the value received. These practices and actions

 violated the New Mexico Unfair Practices Act, N.M. Stat. Ann. § 57-12-1 et seq.

         1581. The aforementioned actions and practices by Defendants also constitute unfair

 competition and unjust enrichment under New Mexico’s common law.

         1582. Accordingly, the State of New Mexico is entitled remedies available to it under

 the New Mexico Antitrust Act, the New Mexico Unfair Practices Act, and New Mexico common

 law, including injunctive relief, actual, treble, and statutory damages, restitution, disgorgement,

 civil penalties, costs, attorney’s fees, and any other appropriate monetary and injunctive relief.

 See N.M. Stat. Ann. §§ 57-1-3, -7, -8; N.M. Stat. Ann. § 57-12-8, -10, -11.

                                             New York

         1583. Plaintiff State of New York repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1584. In addition to violating federal antitrust law, the aforementioned practices by the

 Defendants violate New York antitrust law, the Donnelly Act, New York Gen. Bus. Law §§ 340-

 342c, and constitute both "fraudulent" and "illegal" conduct in violation of New York Executive

 Law § 63(12).

         1585. Plaintiff State of New York seeks relief, including but not limited to damages, for

 New York consumers and New York state entities that paid for one or more of the drugs




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 identified in this Complaint during the relevant period and thereby paid more than they would

 have paid but for Defendants' unlawful conduct. Plaintiff State of New York also seeks, and is

 entitled to, civil penalties, injunctive relief, other equitable relief (including but not limited to

 disgorgement), and fees and costs.

         1586    Minnesota Multistate Contracting Alliance for Pharmacy ("MMCAP") contracts

 directly with Defendants and/or has an assignment of antitrust claims from Cardinal Health, Inc.

 ("Cardinal") or other intermediary. New York entities purchase generic drugs through MMCAP

 contracts and have a similar assignment from MMCAP for any claims MMCAP may have for

 violations of the antitrust laws.

         1587. To the extent these assignment clauses support a direct purchase by those

 represented by New York, in addition to all other remedies sought herein, Plaintiff State of New

 York seeks damages under federal antitrust law, 15 U.S.C. § 15.

                                            North Carolina

         1588. Plaintiff State of North Carolina repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1589. By distributing, marketing and selling generic pharmaceutical drugs to consumers

 through drug wholesalers and distributors, pharmacy and supermarket chains, and other resellers

 of generic pharmaceutical drugs and in otherwise engaging in the conduct more fully described

 herein with respect to the numerous generic pharmaceutical drugs identified herein, the

 Defendants are engaging in trade or commerce that directly or indirectly harmed North Carolina

 consumers pursuant to North Carolina’s Unfair or Deceptive Practices Act, N.C. Gen. Stat. § 75-

 1 et seq.

         1590. The Defendants agreed to, and did in fact, act in restraint of trade or commerce in




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 each generic drug market identified herein that includes North Carolina, by affecting, fixing,

 controlling and/or maintaining at artificial and non-competitive levels, the prices at which the

 numerous generic pharmaceutical drugs identified herein were sold, distributed or obtained in

 North Carolina and deprived North Carolina consumers from paying a price for the numerous

 generic pharmaceutical drugs identified herein which would have been competitive and fair

 absent the agreement to allocate customers and fix prices.

        1591. The aforesaid methods, acts or practices constitute unfair methods of competition

 and/or unfair acts or practices within their meaning under the North Carolina Unfair or Deceptive

 Practices Act, and are injurious to North Carolina consumers and the general economy of the

 State of North Carolina, including, but not limited to by:

                a.      Violating Section 1 of the Sherman Act, 15 U.S.C § 1, through engaging

                        in a market allocation agreement as set forth in the preceding counts;

                b.      Violating Section 1 of the Sherman Act, 15 U.S.C § 1, through engaging

                        in a price-fixing agreement as set forth in the preceding counts; and

                c.      Engaging in any conduct which causes substantial injury to consumers.

        1592. By deceptively misrepresenting and/or omitting material facts concerning the

 absence of competition in each generic drug market identified herein to the State of North

 Carolina and North Carolina consumers, the Defendants misled the State of North Carolina and

 North Carolina consumers into believing that prices for the numerous generic pharmaceutical

 drugs identified herein were competitive and fair in violation of the North Carolina Unfair or

 Deceptive Practices Act.

        1593. The Defendants agreed to, and did in fact, act in restraint of trade or commerce in

 each generic drug market identified herein that includes North Carolina, by affecting, fixing,




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 controlling and/or maintaining at artificial and non-competitive levels, the prices at which the

 numerous generic pharmaceutical drugs identified herein were sold, distributed or obtained in

 North Carolina.

        1594. The Defendants’ impairment of choice and the competitive process had the

 following effects: (1) generic drug price competition was restrained, suppressed and eliminated

 throughout North Carolina; (2) generic drug prices were raised, fixed, maintained and stabilized

 at artificially-high levels throughout North Carolina; (3) the State of North Carolina and North

 Carolina consumers were deprived of free and open markets; and (4) the State of North Carolina

 and North Carolina consumers paid supra-competitive, artificially inflated prices for the

 numerous generic pharmaceutical drugs identified herein.

        1595. The Defendants’ impairment of choice and the competitive process have caused

 the State of North Carolina and North Carolina consumers to suffer and to continue to suffer loss

 of money or property, real or personal, by means of Defendants’ use or employment of unfair

 methods of competition and/or unfair acts or practices as set forth above.

        1596. The Defendants’ deceptive misrepresentations and failure to disclose material

 facts had the following effects: (1) generic drug price competition was restrained, suppressed

 and eliminated throughout North Carolina; (2) generic drug prices were raised, fixed, maintained

 and stabilized at artificially-high levels throughout North Carolina; (3) the State of North

 Carolina and North Carolina consumers were deprived of free and open markets; and (4) the

 State of North Carolina and North Carolina consumers paid supra-competitive, artificially

 inflated prices for the numerous generic pharmaceutical drugs identified herein.

        1597. The Defendants’ deceptive misrepresentations and failure to disclose material

 facts have caused the State of North Carolina and North Carolina consumers to suffer and to




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 continue to suffer loss of money or property, real or personal, by means of Defendants’ use or

 employment of deceptive commercial practices as set forth above.

        1598. Defendants violated the North Carolina Unfair or Deceptive Practices Act:

                a.     Each time Defendants agreed to participate in the overarching conspiracy

                       within the generic pharmaceutical drug market as set forth herein;

                b.     Each time Defendants agreed to allocate the market for specific drugs in

                       the generic pharmaceutical drug market as set forth herein;

                c.     Each time Defendants agreed to fix prices on the specified drugs in the

                       specified drug markets as set forth herein;

                d.     Each time the State of North Carolina or a North Carolina consumer paid

                       an unfairly or unconscionably inflated price for any of the numerous

                       generic pharmaceutical drugs identified herein;

                e.     Each time a Defendant failed to disclose the existence of a market

                       allocation agreement and/or a price-fixing agreement involving any of the

                       numerous generic pharmaceutical drugs identified herein;

                f.     Each time a Defendant submitted false or misleading cover bids and/or

                       offers to their customers and wholesalers;

                g.     Each time a Defendant provided false or misleading statements to

                       prospective customers related to supply capacity or reasons for bidding or

                       not bidding;

                h.     Each time a request for reimbursement was made to the State of North

                       Carolina for any of the numerous generic pharmaceutical drugs identified

                       herein; and




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                  i.      Each time the State of North Carolina or a North Carolina consumer paid

                          an artificially inflated price for any of the numerous generic

                          pharmaceutical drugs identified herein.

         1599. Plaintiff State of North Carolina is entitled to relief pursuant to N.C. Gen. Stat. §

 75-1 et seq., including recovery of its costs and attorneys’ fees pursuant to N.C. Gen. Stat. § 75-

 16.1.

                                                North Dakota

         1600. Plaintiff State of North Dakota repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1601. The aforementioned practices by Defendants are in violation of North Dakota’s

 Uniform State Antitrust Act North Dakota Century Code (N.D.C.C.) § 51-08.1-01 et seq., and

 Plaintiff State of North Dakota is entitled to relief for these violations under N.D.C.C. § 51-08.1-

 01 et seq.

         1602. The aforementioned practices by Defendants constitute unconscionable or

 deceptive acts or practices in violation of the North Dakota Consumer Fraud Law, N.D.C.C. §51-

 15-01 et seq., and Plaintiff State of North Dakota is entitled to relief for those violations under

 N.D.C.C. §51-15-01 et seq.

                                        Northern Mariana Islands

         1603. Plaintiff Commonwealth of the Northern Mariana Islands repeats and re-alleges each and

 every preceding allegation as if fully set forth herein.

         1604.    The aforementioned practices by Defendants constitute “unfair acts or practices” made

 illegal pursuant to the Commonwealth’s Consumer Protection Act, 4 CMC §§ 5101 et. seq. Specifically,

 Defendants’ actions constitute unfair acts and practices pursuant to 4 CMC §5105 (m) engaging in any act




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 or practice which is unfair or deceptive to the consumer; and (t) engaging in price fixing which bears no

 reasonable relationship to the cost of the merchandise.

         1605.     In addition, the aforementioned practices by Defendants violate the Commonwealth of

 the Northern Mariana Islands’ Unfair Business Practices statutes, codified as 4 CMC §§ 5201 et. seq.

 Specifically, Defendants’ aforementioned actions are prohibited activities pursuant to 4 CMC § 5202 (a)

 to create or carry out restrictions in trade or commerce; (c) To prevent competition in the manufacture,

 making, transportation, sale, or purchase of any merchandise, produce, or commodity; and (f) To make or

 enter into or carry out any contract, obligation or agreement by which the persons do any of the

 following:

                   (1) Bind themselves not to sell, dispose of or transfer any article or
                   commodity below a common standard figure or fixed value; (2) Agree to
                   keep the price of such article, commodity or transportation at a fixed or
                   graduated figure; (3) Establish or set the price of any article, commodity
                   or transportation between them or themselves and others, so as directly
                   or indirectly to preclude free and unrestricted competition among
                   themselves or any purchaser or consumer in the sale or transportation of
                   a any such article or commodity; and (4) Agree to pool, combine or
                   directly or indirectly unite any interest that they may have connected
                   with the sale or transportation of any such article or commodity that
                   might in any way affect its price.

         1606. The Commonwealth of the Northern Mariana Islands seeks equitable relief, civil

 penalties, treble damages, costs of suit and any other relief available under the aforementioned statutes

 and all other applicable laws, including without limitation attorney fees and costs incurred in the pursuit

 of this action.

                                                     Ohio

         1607. Plaintiff State of Ohio repeats and re-alleges each and every preceding allegation

 as if fully set forth herein.

         1608. The aforementioned practices by Defendants were, and are, a per se illegal

 conspiracy against trade in violation of Ohio Revised Code Section 1331.01 et seq, the common

 law of Ohio, and void pursuant to Ohio Rev. Code § 1331.06. The State of Ohio, the general



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 economy of Ohio, Ohio entities and individuals in Ohio were harmed as a direct result of

 Defendants’ per se illegal conduct. Defendants received ill-gotten gains or proceeds as a direct

 result of their per se illegal conduct.

         1609. Plaintiff State of Ohio seeks and is entitled to an injunction, disgorgement and

 civil forfeiture pursuant to Ohio Rev. Code § 109.81 and Ohio Rev. Code §§ 1331.01 et seq,

 including Section 1331.03, which requires a forfeiture of $500 per day that each violation was

 committed or continued, and any other remedy available at law or equity.

                                             Oklahoma


         1610. Plaintiff State of Oklahoma repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1611. The aforementioned practices by Defendants are in violation of the Oklahoma

 Antitrust Reform Act, 79 O.S. §§ 201 et seq., and Plaintiff State of Oklahoma is entitled to relief

 under 79 O.S. § 205.

                                               Oregon

         1612. Plaintiff State of Oregon repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1613. The aforementioned practices by Defendants were, and are, in violation of the

 Oregon Antitrust Law, Oregon Revised Statutes (“ORS”) 646.705, et seq. These violations had

 impacts within the State of Oregon and substantially affected the people of Oregon.

         1614. Plaintiff State of Oregon seeks all relief available under the Oregon Antitrust Act

 for Oregon consumers and the State of Oregon, including injunctive, civil penalties, other

 equitable relief including but not limited to disgorgement, the State of Oregon’s costs incurred in

 bringing this action, plus reasonable attorney fees, expert witness fees, and costs of investigation,



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 and any other remedy available at law for these violations under ORS 646.760, ORS 646.770,

 ORS 646.775, and ORS 646.780.

                                             Pennsylvania

        1615. Plaintiff Commonwealth of Pennsylvania repeats and re-alleges each and every

 preceding allegation as if fully set forth herein.

               Pennsylvania Unfair Trade Practices and Consumer Protection Law

        1616. In distributing, marketing and selling generic pharmaceutical drugs to consumers

 through drug wholesalers and distributors, pharmacy and supermarket chains, and other resellers

 of generic pharmaceutical drugs and in otherwise engaging in the conduct more fully described

 herein with respect to the numerous generic pharmaceutical drugs identified herein, the

 Defendants are engaging in trade or commerce that directly or indirectly harmed the

 Commonwealth of Pennsylvania and Pennsylvania consumers within the meaning of 73 P. S. §

 201-2(3) of the Pennsylvania Unfair Trade Practices and Consumer Protection Law

 (“PUTPCPL”).

                   Unfair Methods of Competition and Unfair Acts or Practices

        1617. By reason of the foregoing, the Defendants have impaired Commonwealth of

 Pennsylvania and Pennsylvania consumer choice in each generic drug market identified herein.

        1618. By impairing choice in what should have been a freely competitive marketplace

 for the numerous generic pharmaceutical drugs identified herein, the Defendants have deprived

 the Commonwealth of Pennsylvania and Pennsylvania consumers from being able to

 meaningfully choose from among the options a competitive market would have provided.

        1619. The Defendants agreed to, and did in fact, act in restraint of trade or commerce in

 each generic drug market identified herein that includes Pennsylvania, by affecting, fixing,




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 controlling and/or maintaining at artificial and non-competitive levels, the prices at which the

 numerous generic pharmaceutical drugs identified herein were sold, distributed or obtained in

 Pennsylvania.

        1620. The Defendants impaired the competitive process which deprived the

 Commonwealth of Pennsylvania and Pennsylvania consumers from paying a price for the

 numerous generic pharmaceutical drugs identified herein which would have been competitive

 and fair absent the agreement to allocate customers and fix prices.

        1621. Regardless of the nature or quality of Defendants’ aforementioned acts or

 practices on the competitive process or competition, Defendants’ conduct has been otherwise

 unfair or unconscionable because they offend public policy as established by statutes, the

 common law, or otherwise, are immoral, unethical, oppressive, unscrupulous, or substantially

 injurious to the Commonwealth of Pennsylvania and Pennsylvania consumers.

        1622. Defendants’ unscrupulous conduct has resulted in the Commonwealth and its

 consumers being substantially injured by paying more for or not being able to afford the

 numerous generic pharmaceutical drugs identified herein.

        1623. The Defendants’ impairment of choice and the competitive process had the

 following effects: (1) generic drug price competition was restrained, suppressed and eliminated

 throughout Pennsylvania; (2) generic drug prices were raised, fixed, maintained and stabilized at

 artificially-high levels throughout Pennsylvania; (3) Commonwealth of Pennsylvania and

 Pennsylvania consumers were deprived of free and open markets; and (4) Commonwealth of

 Pennsylvania and Pennsylvania consumers paid supra-competitive, artificially inflated prices for

 the numerous generic pharmaceutical drugs identified herein.

        1624. The Defendants’ impairment of choice and the competitive process have caused




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 the Commonwealth of Pennsylvania and Pennsylvania consumers to suffer and to continue to

 suffer loss of money or property, real or personal, by means of Defendants’ use or employment

 of unfair methods of competition and/or unfair acts or practices as set forth above.

        1625. Defendants violated the PUTPCPL:

                a.      Each time Defendants agreed to participate in the overarching conspiracy

                        within the generic pharmaceutical drug market as set forth herein;

                b.      Each time Defendants agreed to allocate the market for specific drugs in

                        the generic pharmaceutical drug market as set forth herein;

                c.      Each time Defendants agreed to fix prices on the specified drugs in the

                        specified drug markets as set forth herein;

                d.      Each time Defendants agreed to fix prices on the specified drugs in the

                        specified drug markets as set forth herein;

                e.      Each time Defendants agreed to allocate markets and fix prices on the

                        specified drugs in the specified drug markets as set forth herein;

                f.      Each time Defendants agreed to decline to bid or otherwise bid high so as

                        to not take market share on the specified drugs in the specified drug

                        markets as set forth herein;

                g.      Each time Defendants knowingly breached a legal or equitably duty, justly

                        reposed, within the generic pharmaceutical drug market as set forth herein;

                        and

                h.      Each time the Commonwealth of Pennsylvania or a Pennsylvania

                        consumer paid an unfairly or unconscionably inflated price for any of the

                        numerous generic pharmaceutical drugs identified herein.




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        1626. The Defendants’ conduct more fully described herein is unlawful pursuant to 73

 P.S. § 201-3.

        1627. The aforesaid methods, acts or practices constitute unfair methods of competition

 and/or unfair acts or practices within their meaning under Sections 2 and 3 of the PUTPCPL,

 including, but not limited to:

                 a.     “Engaging in any other fraudulent or deceptive conduct which creates a

                        likelihood of confusion or of misunderstanding” in violation of 73 P.S. §

                        201-2(4)(xxi).

        1628. The above described conduct created the likelihood of confusion and

 misunderstanding and exploited unfair advantage of the Commonwealth of Pennsylvania and

 Pennsylvania consumers seeking to exercise a meaningful choice in a market expected to be free

 of impairment to the competitive process and thus constitutes constructive fraud or, in the

 alternative, constructive fraud in its incipiency through one or more of the following breaches of

 legal or equitable duties:

                 a.     Violating Section 1 of the Sherman Act, 15 U.S.C § 1, through engaging

                        in a market allocation agreement as set forth in the preceding counts;

                 b.     Violating Section 1 of the Sherman Act, 15 U.S.C § 1, through engaging

                        in a price-fixing agreement as set forth in the preceding counts;

                 c.     Violating Pennsylvania antitrust common law through engaging in a

                        market allocation agreement;

                 d.     Violating Pennsylvania antitrust common law through engaging in a price-

                        fixing agreement; and/or

                 e.     Engaging in any conduct which causes substantial injury to consumers.




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        1629. The above described conduct substantially injured Pennsylvania consumers and

 the Commonwealth of Pennsylvania.

        1630. The above described conduct has been willful within the meaning of 73 P.S. §

 201-8 and is unlawful under the PUTPCPL.

        1631. Pursuant to 71 P.S. § 201-4, the Commonwealth of Pennsylvania believes that the

 public interest is served by seeking a permanent injunction to restrain the methods, acts and

 practices described herein, as well as seeking restoration, disgorgement and attorneys’ fees and

 costs pursuant to 73 P.S. §§ 201-4 and 4.1 for the Commonwealth of Pennsylvania and

 Pennsylvania consumers and civil penalties of not exceeding $3,000 for each such willful

 violation pursuant to 73 P.S. § 201-8 (b). The Commonwealth of Pennsylvania believes that the

 Commonwealth of Pennsylvania and its citizens are suffering and will continue to suffer harm

 unless the methods, acts and practices complained of herein are permanently enjoined.

                                    Deceptive Acts or Practices

        1632. By reason of the foregoing, the Defendants have deceptively misrepresented the

 absence of competition in each generic drug market identified herein to the Commonwealth of

 Pennsylvania and Pennsylvania consumers in violation of the PUTPCPL.

        1633. By deceptively misrepresenting and/or omitting material facts concerning the

 absence of competition in each generic drug market identified herein to the Commonwealth of

 Pennsylvania and Pennsylvania consumers, the Defendants misled the Commonwealth of

 Pennsylvania and Pennsylvania consumers into believing that prices for the numerous generic

 pharmaceutical drugs identified herein were competitive and fair.

        1634. The Defendants agreed to, and did in fact, act in restraint of trade or commerce in

 in each generic drug market identified herein that includes Pennsylvania, by affecting, fixing,




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 controlling and/or maintaining at artificial and non-competitive levels, the prices at which the

 numerous generic pharmaceutical drugs identified herein were sold, distributed or obtained in

 Pennsylvania.

        1635. The Defendants deceptively misrepresented to the Commonwealth of

 Pennsylvania and Pennsylvania consumers that Defendants’ pricing at which the numerous

 generic pharmaceutical drugs identified herein were sold, distributed or obtained in Pennsylvania

 was competitive and fair.

        1636. Regardless of the nature or quality of Defendants’ aforementioned acts or

 practices on the competitive process or competition, Defendants’ conduct has had the tendency

 or capacity to deceive.

        1637. Defendants expressed, implied or otherwise falsely claimed conformance with

 prescribed bidding practices to their customers and wholesalers in relation to the numerous

 generic pharmaceutical drugs identified herein.

        1638. Defendants expressed, implied or otherwise falsely claimed supply capacity or

 reasons to prospective customers for bidding or not bidding in relation to the numerous generic

 pharmaceutical drugs identified herein.

        1639. The Defendants’ deceptive misrepresentations and failure to disclose material

 facts had the following effects: (1) generic drug price competition was restrained, suppressed

 and eliminated throughout Pennsylvania; (2) generic drug prices were raised, fixed, maintained

 and stabilized at artificially-high levels throughout Pennsylvania; (3) Commonwealth of

 Pennsylvania and Pennsylvania consumers were deprived of free and open markets; and (4)

 Commonwealth of Pennsylvania and Pennsylvania consumers paid supra-competitive, artificially

 inflated prices for the numerous generic pharmaceutical drugs identified herein.




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        1640. The Defendants’ deceptive misrepresentations and failure to disclose material

 facts have caused Commonwealth of Pennsylvania and Pennsylvania consumers to suffer and to

 continue to suffer loss of money or property, real or personal, by means of Defendants’ use or

 employment of deceptive commercial practices as set forth above.

        1641. Defendants violated the PUTPCPL:

                  a.   Each time a Defendant failed to disclose the existence of a market

                       allocation agreement and/or a price-fixing agreement involving any of the

                       numerous generic pharmaceutical drugs identified herein;

                  b.   Each time a Defendant submitted false or misleading cover bids and/or

                       offers to their customers and wholesalers;

                  c.   Each time a Defendant provided false or misleading statements to

                       prospective customers related to supply capacity or reasons for bidding or

                       not bidding;

                  d.   Each time a request for reimbursement was made to the Commonwealth of

                       Pennsylvania for any of the numerous generic pharmaceutical drugs

                       identified herein; and

                  e.   Each time the Commonwealth of Pennsylvania or a Pennsylvania

                       consumer paid an artificially inflated price for any of the numerous

                       generic pharmaceutical drugs identified herein.

        1642. The Defendants’ conduct more fully described herein is unlawful pursuant to 73

 P. S. § 201-3.

        1643. The aforesaid methods, acts or practices constitute deceptive acts or practices

 within their meaning under Sections 2 and 3 of the PUTPCPL, including, but not limited to:




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                a.      “Representing that goods or services have sponsorship, approval,

                        characteristics, ingredients, uses, benefits or quantities that they do not

                        have or that a person has a sponsorship, approval, status affiliation or

                        connection that he does not have” in violation of 73 P.S. § 201-2(4)(v);

                b.      “Representing that goods or services are of a particular standard, quality or

                        grade, or that goods are of a particular style or model, if they are of

                        another” in violation of 73 P.S. § 201-2(4)(vii); and

                c.      “Engaging in any other fraudulent or deceptive conduct which creates a

                        likelihood of confusion or of misunderstanding” in violation of 73 P.S. §

                        201-2(4)(xxi).

        1644. The above described conduct has been willful within the meaning of 73 P.S. §

 201-8 and is unlawful under the PUTPCPL.

        1645. Pursuant to 71 P.S. § 201-4, the Commonwealth of Pennsylvania believes that the

 public interest is served by seeking a permanent injunction to restrain the methods, acts and

 practices described herein, as well as seeking restoration, disgorgement and attorneys’ fees and

 costs pursuant to 73 P.S. §§ 201-4 and 4.1 for the Commonwealth of Pennsylvania and

 Pennsylvania consumers and civil penalties of not exceeding $3,000 for each such willful

 violation pursuant to 73 P.S. § 201-8 (b). The Commonwealth of Pennsylvania believes that the

 Commonwealth of Pennsylvania and its citizens are suffering and will continue to suffer harm

 unless the methods, acts and practices complained of herein are permanently enjoined.

                        Common Law Doctrine against Restraint of Trade

        1646. By reason of the foregoing, the Defendants have entered into an agreement in

 restraint of trade to allocate markets and fix prices in each generic drug market identified herein




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 within the Commonwealth of Pennsylvania.

        1647. The agreements to allocate customers and to fix pricing as set forth in the

 preceding counts constitute an unreasonable restraint of trade in violation of Pennsylvania

 antitrust common law.

        1648. Unless Defendants’ overall anticompetitive scheme is enjoined, the Defendants

 will continue to illegally restrain trade in the relevant market in concert with another in violation

 of the Pennsylvania common law doctrine against unreasonable restraint of trade.

        1649. Defendants’ conduct in engaging in a contract to unreasonably restrain trade

 concerning the customers to whom and the prices at which the numerous generic pharmaceutical

 drugs identified herein were sold, distributed or obtained in Pennsylvania threatens injury to the

 Commonwealth of Pennsylvania and Pennsylvania consumers.

        1650. Defendants’ anticompetitive and unlawful conduct alleged herein has injured, is

 injuring and will continue to injure competition in the relevant market by denying consumer

 choice and otherwise thwarting competition in the relevant market.

        1651. The Defendants’ contract in restraint of trade had the following effects: (1)

 generic drug price competition was restrained, suppressed and eliminated throughout

 Pennsylvania; (2) generic drug prices were raised, fixed, maintained and stabilized at artificially-

 high levels throughout Pennsylvania; (3) Commonwealth of Pennsylvania and Pennsylvania

 consumers were deprived of free and open markets; and (4) Commonwealth of Pennsylvania and

 Pennsylvania consumers paid supra-competitive, artificially inflated prices for the numerous

 generic pharmaceutical drugs identified herein.

        1652. The Defendants’ illegal conduct has had a substantial effect on the

 Commonwealth of Pennsylvania and Pennsylvania consumers.




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         1653. As a direct and proximate result of the Defendants’ unlawful conduct, the

 Commonwealth of Pennsylvania and Pennsylvania consumers have been injured in their business

 and property.

         1654. On behalf of the Commonwealth of Pennsylvania and its citizens pursuant to 71

 P.S. §732-204 (c), the Commonwealth of Pennsylvania seeks injunctive relief, disgorgement and

 any other relief the Court deems appropriate.

                            Common Law Doctrine against Unjust Enrichment

         1655. By reason of the foregoing, the Defendants have been unjustly enriched as a result

 of the conduct set forth herein with respect to the Commonwealth of Pennsylvania and

 Pennsylvania consumers.

         1656. The Commonwealth of Pennsylvania and Pennsylvania consumers were

 purchasers, reimbursers and/or end-payors of Defendants’ numerous generic pharmaceutical

 drugs identified herein and have paid amounts far in excess of the competitive prices for such

 drugs that would have prevailed in a competitive and fair market.

         1657. Defendants knew of, and appreciated and retained, or used, the benefits of

 Commonwealth of Pennsylvania and Pennsylvania consumers’ purchases of any of the

 Defendants’ numerous generic pharmaceutical drugs identified herein at amounts far in excess of

 the competitive price. Defendants engaged in the conduct described herein to increase the

 market share of the numerous generic pharmaceutical drugs identified herein thereby increasing

 their sales and profits.

         1658. For those customers that purchase directly or indirectly from Defendants at

 artificially inflated and supra-competitive prices, Defendants have increased prices above what

 would have prevailed in a competitive and fair market; thereby, directly benefiting Defendants in




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 the form of increased revenues.

        1659. Based on Defendants’ conduct set forth herein, it would be inequitable and unjust

 for Defendants to retain such benefits without payment of value.

        1660. Defendants will be unjustly enriched if they are permitted to retain the direct or

 indirect benefits received or used resulting from the purchase of any of the numerous generic

 pharmaceutical drugs identified herein by the Commonwealth of Pennsylvania and Pennsylvania

 consumers. The Commonwealth of Pennsylvania, on behalf of itself and Pennsylvania

 consumers, seeks to recover the amounts that unjustly enriched the Defendants.

        1661. The Commonwealth of Pennsylvania and Pennsylvania consumers are therefore

 entitled to equitable relief in the form of an injunction, restitution and disgorgement and any

 other relief the Court deems appropriate.

                                              Puerto Rico

        1662. Plaintiff Commonwealth of Puerto Rico repeats and re-alleges each and every

 preceding allegation as if fully set forth herein.

        1663. The aforementioned practices by Defendants were in violation of Puerto Rico

 Law No. 77 of June 25, 1964, also known as “Puerto Rico`s Antitrust and Restrictions of

 Commerce Law”, 10 P.R. Laws Ann. §§ 257 et seq., and 32 P.R. Laws Ann. § 3341.

        1664. The Commonwealth of Puerto Rico, through its Attorney General, brings this

 enforcement action as parens patriae in its proprietary capacity on behalf of the Commonwealth,

 including its agencies and entities, to recover damages to the Commonwealth and all such other

 relief as may be authorized by statute or common law.

        1665. Accordingly, the Commonwealth of Puerto Rico is entitled remedies available

 under the Puerto Rico`s Antitrust and Restrictions of Commerce Law and 32 P.R. Laws Ann.




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 § 3341, and 32 P.R. Laws Ann. § 3342, including injunctive relief, civil penalties and damages

 for the Commonwealth agencies and entities and any other appropriate monetary and injunctive

 relief.

           1666. The doctrine of unjust enrichment requires the following: (1) existence of

 enrichment; (2) a corresponding impoverishment; (3) a connection between the enrichment and

 the impoverishment; (4) lack of justification for enrichment, and (5) non-existence of legal

 principal which would prohibit application of unjust enrichment. Hatton v. Mun. de Ponce, 134

 D.P.R. 1001, 1994 WL 909605 (P.R. 1994).

           1667. The Defendants have been unjustly enriched as a result of the conduct set forth

 herein with respect to the Commonwealth of Puerto Rico.

           1668. Defendants have unjustly retained a benefit to Puerto Rico’s detriment, and

 Defendants’ retention of that benefit violates the fundamental principles of justice, equity, and

 good conscience.

           1669. As an expected and intended result of their conscious wrongdoing as set forth in

 this Complaint, Defendants artificially inflated and charged supra-competitive prices.

           1670. Defendants have increased prices above what would have prevailed in a

 competitive and fair market; thereby, directly benefiting Defendants in the form of increased

 revenues.

           1671. The Commonwealth of Puerto Rico has paid amounts far in excess of the

 competitive prices for such drugs that would have prevailed in a competitive and fair market.

           1672. Defendants will be unjustly enriched if they are permitted to retain the direct or

 indirect benefits received or used resulting by paying for purchases of numerous generic

 pharmaceutical drugs by the Commonwealth of Puerto Rico. The Commonwealth of Puerto




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Rico seeks to recover the amounts that unjustly enriched the Defendants.

         1673. The enrichment was without justification.

         1674. Accordingly, under principles of equity, Defendants should be disgorged of

 money retained by reason of their deceptive and illegal acts that in equity and good conscience

 belong to the Commonwealth.

                                            Rhode Island

         1675    Plaintiff State of Rhode Island repeats and re-alleges every preceding allegations

 as if fully set forth herein.

         1676. Defendants’ actions as alleged herein violate the Rhode Island Antitrust Act, R.I.

 Gen. Laws § 6-36-1, et seq.

         1677. Plaintiff State of Rhode Island brings this action pursuant to R.I. General Laws §§

 6-36-10, 6-36-11 and 6-36-12 and seeks relief, including but not limited to injunctive relief, civil

 penalties, other equitable relief (including but not limited to disgorgement), fees, costs, and such

 other relief as this court deems just and equitable.

         1678. Defendants’ actions as alleged herein constitute unfair methods of competition

 and unfair or deceptive acts or practices as defined in the Rhode Island Deceptive Trade

 Practices Act, R.I. Gen. Laws § 6-13.3-1, et seq.

         1679. Defendants engaged in unfair or deceptive acts or practices in connection with the

 sale or advertisement of merchandise by, among other things, making misrepresentations and

 taking steps to conceal their anticompetitive schemes.

         1680. Defendants’ violations of the Rhode Island Deceptive Trade Practices Act were

 willful, in that they knew or should have known that their conduct was of the nature prohibited

 by R.I. Gen. Laws § 6-13.1-2, as defined by the R.I. General Laws § 6-13.1-1(6).




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         1681. Plaintiff State of Rhode Island brings this action pursuant to Rhode Island Gen.

 Laws § 6-13.1-5, and seeks relief, including but not limited to injunctive relief, restitution,

 disgorgement and other equitable relief, civil penalties, fees, costs, and such other relief as this

 court deems just and equitable.

                                            South Carolina

         1682. Plaintiff South Carolina repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1683. The aforementioned practices by Defendants constitute "unfair methods of

 competition and unfair or deceptive acts or practices" under §39-5-20 of the South Carolina

 Code of Laws. The State of South Carolina asserts claims in a statutory parens patriae capacity

 under S.C. Code § 39-5-50 and a common law parens patriae capacity. Pursuant to common law

 and S.C. Code § 39-5-50(b), South Carolina seeks that this Court restore any ascertainable loss

 incurred in purchasing the generic drugs at issue. Pursuant to S.C. Code § 39-5-50(a), South

 Carolina seeks injunctive relief to prohibit Defendants from engaging in the conduct described in

 this complaint.

         1684. Defendants knew or reasonably should have known that their conduct violated

 S.C. Code § 39-5-20. Under S.C. Code § 39-5-110(c), Defendants' conduct therefore constitutes

 a willful violation of S.C. Code § 39-5-20. Accordingly, South Carolina seeks an award of civil

 penalties under S.C. Code § 39-5-110(a) in an amount up to $5,000.00 per violation in South

 Carolina.

         1685. South Carolina seeks attorneys' fees and costs under S.C. Code § 39-5-50(a).

                                            South Dakota

         1686. Plaintiff State of South Dakota repeats and realleges every preceding allegation as

 it fully set forth herein.

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         1687. The aforementioned practices by Defendants violate certain provisions of the laws

 of South Dakota including Chapter 37-1 entitled “Restrain of Trade Monopolies and

 Discriminatory Trade Practices” and Chapter 37-24 entitled “Deceptive Trade Practices and

 Consumer Protection Act.”

         1688. Pursuant to South Dakota Codified Law (SDCL) 37-1-3.1 a “contract,

 combination, or conspiracy between two or persons in restraint of trade or commerce” is

 unlawful. A person is “any natural person, partnership, limited liability company, corporation,

 association, or other legal entity.”

         1689. For the aforementioned violations, the Attorney General is authorized on behalf of

 the State of South Dakota to bring an action for injunctive or other equitable relief, and civil

 penalties of up to fifty-thousand ($50,000.00) dollars per violation. SDCL 37-1-14.2. Under

 SDCL 37-1-14.3, in addition to imposition of costs and reasonable attorney fees, the recovery for

 actual damages shall be increased to three times the damages sustained. These remedies are

 cumulative and not exclusive. SDCL 37-1-20.

         1690. The Attorney General is entitled to bring an action, by means of statute and

 common law, in the name of South Dakota, as parens patriae, on behalf of the natural persons

 residing in the State of South Dakota for threefold the total of monetary damages arising from

 the aforementioned intentional conduct, costs, and reasonable attorney’s fees. SDCL 37-1-23,

 37-1-24, 37-1-32.

         1691. Pursuant to SDCL 37-24-6 it is a deceptive act or practice for any person to

 “knowingly act, use, or employ any deceptive act or practice, fraud, false pretense, false

 promises, or misrepresentation or to conceal, suppress, or omit any material fact in connection

 with the sale or advertisement of any merchandise, regardless of whether any person has in fact




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 been misled, deceived, or damaged thereby…”

         1692. The aforementioned practices by Defendants amount to deceptive acts or practices

 which entitle the Attorney General to seek injunctive relief and civil penalties in the amount of

 up to two-thousand dollars ($2,000.00) per violation, costs, reasonable attorney’s fees and

 disgorgement of moneys received as a result of a deceptive act or practice. SDCL 37-24-23, 37-

 24-27, 37-24-29.

                                             Tennessee

         1693. Plaintiff State of Tennessee repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1694. This is an action that alleges violation of Tennessee's antitrust law, the Tennessee

 Trade Practices Act, Tenn. Code Ann. §§ 47-25-101 et seq.

         1695. Defendants directly and/or indirectly through nationwide distributors,

 wholesalers, and retailers, sold or marketed the generic drugs at issue to the State of Tennessee

 and its agencies, Tennessee businesses, and individual consumers.

         1696. Defendants made arrangements or agreements with a view to lessening, or which

 tend to lessen, full and free competition in the sale in Tennessee of, or which were designed to

 advance or control the prices charged for, the generic drugs at issue.

         1697. Defendants’ conduct affected Tennessee commerce to a substantial degree and

 substantially affected the people of Tennessee by affecting the choice of generic drugs available

 to, and/or the prices paid by, the State of Tennessee and its agencies, Tennessee businesses, and

 individual consumers for such generic drugs.

         1698. The aforementioned conduct by Defendants was in violation of Tennessee's

 antitrust law, the Tennessee Trade Practices Act, Tenn. Code Ann. §§ 47-25-101 et seq.




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         1699. As a direct and proximate result of Defendants’ illegal conduct, the State of

 Tennessee and its agencies, Tennessee businesses, and individual consumers have been harmed

 and will continue to be harmed, by, inter alia, paying more for generic drugs purchased directly

 and/or indirectly from the Defendants and their co-conspirators than they would have paid in the

 absence of the illegal conduct.

         1700. The State of Tennessee is entitled to relief for purchases of affected generic drugs

 by the State of Tennessee and its agencies, Tennessee businesses, and individual consumers.

         1701. On behalf of the State and its agencies, Tennessee businesses, and individual

 consumers, the State of Tennessee seeks all legal and equitable relief available under the

 Tennessee Trade Practices Act and the common law, including, but not limited to: damages for

 purchases of the affected generic drugs; equitable relief including disgorgement and injunctive

 relief; attorneys’ fees and costs; and such other and further relief as this Court deems just and

 equitable.

                                                 Utah

         1702. Plaintiff State of Utah repeats and re-alleges each and every preceding allegation

 as if fully set forth herein.

         1703. The aforementioned acts by Defendants violate the Utah Antitrust Act, Utah Code

 §§ 76-10-3101 through 76-10-3118 (the “UAA”), and Utah common law. Accordingly, Plaintiff

 State of Utah, by and through the Attorney General of Utah, on behalf of itself, Utah

 governmental entities, and as parens patriae for its natural persons, is entitled to all available

 relief under the UAA and Utah common law, including, without limitation, damages (including

 treble damages, where permitted), injunctive relief, including disgorgement, restitution, unjust

 enrichment, and other equitable monetary relief, civil penalties, and its costs and reasonable




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 attorneys’ fees.

         1704. The aforementioned acts by Defendants violate the Utah Consumer Sales

 Practices Act, Utah Code §§ 13-11-1 through 13-11-23 (the “CSPA”). Accordingly, Plaintiff

 State of Utah, Division of Consumer Protection, is entitled to relief under the CSPA, including,

 without limitation, injunctive relief, civil penalties, costs, including costs of investigation, and

 reasonable attorneys’ fees.

                                               Vermont

         1705. Plaintiff State of Vermont repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1706. Defendants’ actions alleged herein constitute unfair methods of competition in

 commerce and thereby violate the Vermont Consumer Protection Act, 9 V.S.A. § 2453. As

 alleged herein, directly and indirectly, Defendants’ actions have damaged the welfare and

 general economy of the State of Vermont and the economic well-being of the State of Vermont

 and its citizens and businesses at large. Plaintiff State of Vermont seeks recovery of such

 damages as parens patriae on behalf of the State of Vermont and its citizens. Pursuant to 9

 V.S.A. §§ 2458 and 2465, the State of Vermont seeks and is entitled to injunctive relief, civil

 penalties, and other equitable relief (including but not limited to an accounting to determine the

 amount of money paid to Defendants as a result of the actions described herein, and

 disgorgement of revenues, profits and gains achieved in whole or part through the unfair

 methods of competition alleged herein), as well as its costs and fees for these violations.

                                                Virginia

         1707. Plaintiff Commonwealth of Virginia repeats and re-alleges each and every

 preceding allegation as if fully set forth herein.




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         1708. The aforementioned practices by Defendants are in violation of the Virginia

 Antitrust Act, Virginia Code Sections 59.1-9.1, et seq. These violations substantially affect the

 people of Virginia and have impacts within the Commonwealth of Virginia.

         1709. Plaintiff Commonwealth of Virginia, through the Attorney General, brings this

 action pursuant to the Virginia Antitrust Act, Virginia Code Section 59.1-9.15. Pursuant to

 Sections 59.1-9.15(a) and (d), Plaintiff Commonwealth of Virginia seeks disgorgement,

 restitution, and other equitable relief as well as civil penalties for these violations. In addition,

 pursuant to Sections 59.1-9.15(b), the Plaintiff Commonwealth of Virginia seeks reasonable fees

 and costs for the investigation and litigation.

                                              Washington

         1710. Plaintiff State of Washington repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1711. The aforementioned practices by Defendants were, and are, in violation of the

 Washington Consumer Protection Act, Wash. Rev. Code 19.86.020 and .030. Defendants have

 also engaged in conduct in violation of RCW 19.86.020 that is not a reasonable business practice

 and constitutes incipient violations of antitrust law and/or unilateral attempts to fix prices or

 allocate markets. These violations have impacts within the State of Washington and

 substantially affect the people of Washington.

         1712. Plaintiff State of Washington seeks relief, including but not limited to damages,

 for Washington consumers and Washington state agencies that paid more for the generic drugs at

 issue than they would have paid but for the Defendants’ unlawful conduct. Plaintiff State of

 Washington also seeks, and is entitled to, injunctive relief, other equitable relief (including but

 not limited to disgorgement), civil penalties, and costs and fees under the Consumer Protection




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Act, Wash Rev. Code 19.86.080 and 19.86.140.

                                             West Virginia

         1713. Plaintiff State of West Virginia repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1714. Defendants’ acts violate the West Virginia Antitrust Act, see W. Va. Code § 47–

 18–1 et seq. These violations substantially affected the State of West Virginia and had impacts

 within the State of West Virginia.

         1715. West Virginia affirmatively expresses that the State is not seeking any relief in

 this action for the federal share of funding for West Virginia’s Medicaid Program.

         1716. Claims for damages for any federal monies expended by the State of West

 Virginia are hereby expressly disavowed.

         1717. Plaintiff State of West Virginia is entitled to all remedies available at law or in equity

 (including injunctive relief, disgorgement, restitution, and reimbursement), as well as civil

 penalties under West Virginia Code § 47–18–1 et seq.

         1718. Plaintiff State of West Virginia also is entitled to recover its costs and attorneys’

 fees under West Virginia Code § 47–18–9.

                                               Wisconsin

         1719. Plaintiff State of Wisconsin repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

         1720. The aforementioned practices by Defendants are in violation of Wisconsin's

 Antitrust Act, Wis. Stat. Ch. § 133.03 et seq. These violations substantially affect the people of

 Wisconsin and have impacts within the State of Wisconsin.

         1721. Plaintiff State of Wisconsin, under its antitrust enforcement authority in Wis. Stat.




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 Ch. 133, is entitled to all remedies available at law or in equity under Wis. Stat. §§ 133.03,

 133.14, 133.16, 133.17, and 133.18.

                                              Wyoming

          1722. Plaintiff State of Wyoming repeats and re-alleges each and every preceding

 allegation as if fully set forth herein.

          1723. Defendants’ actions as alleged herein constitute unlawful practices in violation of

 The Wyoming Consumer Protection Act, Wyoming Statutes § 40-12-101 et seq.

          1724. In the course of business and in connection with consumer transactions,

 Defendants knowingly and willfully engaged in deceptive acts or practices by, among other

 things, misrepresenting or omitting material facts about the price and cost of merchandise, the

 absence of competition in each generic drug market identified herein, and the existence of

 Defendants’ anticompetitive scheme. Such conduct has the tendency or capacity to deceive.

          1725. In the course of business and in connection with consumer transactions,

 Defendants knowingly and willfully engaged in unfair acts or practices by, among other things,

 entering into agreements or becoming parties to plans to prevent competition or to control or

 influence prices in each generic drug marketed identified herein. Such conduct offends public

 policy, substantially injures consumers, interferes with meaningful consumer choice, and offers

 no countervailing benefit to consumers or competition.

          1726. Plaintiff State of Wyoming, through the Office of the Wyoming Attorney

 General, brings this action in the public interest to protect Wyoming’s consumers and

 marketplace by restraining and enjoining Defendants from violating the Wyoming Consumer

 Protection Act, recovering statutory civil penalties, and recovering reasonable attorney’s fees and

 costs.




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                                    PRAYER FOR RELIEF

       Accordingly, the Plaintiff States request that the Court:

       A.     Adjudge and decree that Defendants violated Section 1 of the Sherman Act, 15

              U.S.C. § 1;

       B.     Adjudge and decree that the foregoing activities violated each of the State statutes

              enumerated in this Complaint;

       C.     Enjoin and restrain, pursuant to federal and state law, Defendants, their affiliates,

              assignees, subsidiaries, successors, and transferees, and their officers, directors,

              partners, agents and employees, and all other persons acting or claiming to act on

              their behalf or in concert with them, from continuing to engage in any

              anticompetitive conduct and from adopting in the future any practice, plan,

              program, or device having a similar purpose or effect to the anticompetitive

              actions set forth above;

       D.     Award to Plaintiff States disgorgement of the Defendants' ill-gotten gains and any

              other equitable relief as the Court finds appropriate to redress Defendants'

              violations of federal law or state antitrust and consumer protection laws to restore

              competition;

       E.     Award to the Plaintiff States damages, including treble damages, to the extent

              sought pursuant to applicable state laws as enumerated in Count Thirty-Four of

              this Complaint;

       F.     Award to each Plaintiff State the maximum civil penalties allowed by law as

              enumerated in Count Thirty-Four of this Complaint;

       G.     Award to each Plaintiff State its costs, including reasonable attorneys' fees; and

       H.     Order any other relief that this Court deems proper.

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                                           JURY DEMAND

        The Plaintiff States demand a trial by jury, pursuant to Rule 38(b) of the Federal Rules of

 Civil Procedure, on all issues triable as of right by jury.



                                                        PLAINTIFF

                                                        WILLIAM TONG
                                                        ATTORNEY GENERAL


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